Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 1 of 131 PageID #: 586




                       EXHIBIT E
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 2 of 131 PageID #: 587

                                                                                                                        US011055583B1

      United States Patent
( 12) Cosic                                                                                 ( 10) Patent No .: US 11,055,583 B1
                                                                                            (45 ) Date of Patent :   * Jul. 6 , 2021
( 54 ) MACHINE LEARNING FOR COMPUTING                                                   ( 56 )                               References Cited
      ENABLED SYSTEMS AND/OR DEVICES
                                                                                                                U.S. PATENT DOCUMENTS
( 71 ) Applicant: Jasmin Cosic , Miami , FL (US )                                                4,370,707 A                  1/1983 Phillips et al .             364/200
                                                                                                 4,730,315 A                  3/1988 Saito et al .                 371/19
( 72 ) Inventor : Jasmin Cosic , Miami , FL (US )                                                4,860,203 A                  8/1989 Corrigan et al .             364/300
( * ) Notice:      Subject to any disclaimer, the term of this                                   5,560,011 A                  9/1996 Uyama                        395/700
                                                                                                 5,602,982 A                  2/1997 Judd et al .                 395/326
                   patent is extended or adjusted under 35                                       6,026,234 A                  2/2000 Hanson et al.                395/704
                   U.S.C. 154 (b ) by 67 days.                                                   6,088,731 A                  7/2000 Kiraly et al .               709/229
                                                                                                 6,106,299 A                  8/2000 Ackermann et al .             434/81
                   This patent is subject to a terminal dis                                      6,126,330 A                 10/2000 Knight                       395/704
                   claimer .                                                                     6,314,558 B1                11/2001 Angel et al .                  717/4
                                                                                                 6,408,262 B1                 6/2002 Leerberg et al.                703/2
( 21 ) Appl. No .: 16 / 584,736                                                                  6,643,842 B2
                                                                                                 6,728,689 B1
                                                                                                                             11/2003 Angel et al .
                                                                                                                              4/2004 Drissi et al .
                                                                                                                                                                  717/130
                                                                                                                                                                    706/14
(22) Filed :      Sep. 26, 2019                                                                  6,735,632 B1                 5/2004 Kiraly et al .               709/229
                                                                                                 6,754,631 B1                 6/2004 Din                          704/270
             Related U.S. Application Data                                                                                      ( Continued )
( 63 ) Continuation of application No. 15 / 822,150 , filed on
       Nov. 26 , 2017 , now Pat . No. 10,474,934 .                                                                 OTHER PUBLICATIONS
( 51 ) Int . Ci .                                                                       About Event Tracing, retrieved from < URL : http://msdn.microsoft.
       G06K 9/66              ( 2006.01 )                                               com / en -us/ library / aa363668 ( d = default,l = en -us, v = vs.85 ).aspx > on Jan.
       GOON 5/02              ( 2006.01 )                                               12, 2014 , 2 pages.
       G06K 9/62              ( 2006.01 )
       G06T 7/70              ( 2017.01 )                                                                                       (Continued )
       G06F 9/30              ( 2018.01 )
       G06N 20/00             ( 2019.01 )                                               Primary Examiner — Andrew W Johns
       G06F 15/80             ( 2006.01 )
       G06F 15/78             ( 2006.01 )
( 52 ) U.S. CI .                                                                        ( 57 )                                 ABSTRACT
      CPC               GO6K 9866 (2013.01 ) ; G06F 9/30076
                 (2013.01 ) ; G06K 9/6202 ( 2013.01 ) ; GO6N                            Aspects of the disclosure generally relate to computing
             20/00 ( 2019.01 ) ; G06T 7/70 (2017.01 ) ; G06F                            enabled systems and / or devices and may be generally
            15/78 (2013.01 ) ; G06F 15/80 ( 2013.01 ) ; GOON                            directed to machine learning for computing enabled systems
                                            5/022 (2013.01 )                            and /or devices. In some aspects , the system captures one or
( 58 ) Field of Classification Search                                                   more digital pictures, receives one or more instruction sets ,
      CPC G06K 9/00355 ; G06K 9/00389 ; G06K 9/66 ;                                     and learns correlations between the captured pictures and the
                    GO6T 2207/20081 ; G06F 3/002 ; G06F                                 received instruction sets .
                  3/005 ; G06F 3/017 ; GOON 5/022 ; GOON
                                       5/025 ; G06N 20/00
      See application file for complete search history.                                                       34 Claims , 41 Drawing Sheets
                                                                    Method 6100



                               receiving a firsi digital picure                            receiving a new digital picture                       Step 6125
                   Step 6105

                                                                                            comparing the new digital picture with the first
                            receiving one or more instruction seta for operating           digital picture                                       Step 6130
                   Step 6110 a device
                                                                                            determining that there is at least a partial match
                                                                                            between the new digital picture and the first digital Step 6135
                             correlating the first digital picture with the one of         picture
                   Step 6115 more instruction sets for operating the device
                                                                                            executing the one or more instruction sets for
                                                                                           operating
                                                                                            picture
                                                                                                     the device correlated with the first digital Step 6140
                                storing the first digital picture correlated with the
                   Step 6120 one or more instructio . sets for operating the
                                device
                                                                                           performning, by the device . One or more operations
                                                                                            defined by the one or more instruction sets for
                                                                                           operating
                                                                                            picture
                                                                                                     the device correlated with the first digital Step 6145
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 3 of 131 PageID #: 588


                                                          US 11,055,583 B1
                                                                    Page 2

( 56 )                   References Cited                                    2006/0047612 Al      3/2006 Stanley et al .             706/16
                                                                             2006/0184410 A1      8/2006 Ramamurthy et al .            705/8
                  U.S. PATENT DOCUMENTS                                      2006/0190930 A1      8/2006 Hecht et al.                717/28
                                                                             2006/0265406 A1     11/2006 Chkodrov et al .           707/100
         6,801,912 B2    10/2004 Moskowitz et al .            707/10         2007/0006159 Al      1/2007 Hecht et al.               717/124
         6,842,877 B2     1/2005 Robarts et al .             715/708         2007/0050606 A1      3/2007 Ferren et al .             712/227
         6,915,105 B2     7/2005 Masuda                      434/350         2007/0050719 A1      3/2007 Lui et al .                715/762
         6,973,446 B2    12/2005 Mamitsuka et al .            706/50         2007/0058856 A1      3/2007 Boregowda et al .          382/159
         7,017,153 B2     3/2006 Gouriou et al .             717/158         2007/0061735 A1      3/2007 Hoffberg et al.            715/744
         7,052,277 B2     5/2006 Kellman                     434/118         2007/0106633 A1      5/2007 Reiner                        707/1
         7,113,946 B2     9/2006 Cosic                         707/8         2008/0144893 A1      6/2008 Guo et al .                382/118
         7,117,225 B2    10/2006 Cosic                       707/102         2008/0215508 A1      9/2008 Hanneman et al .            706/11
         7,222,127 B1     5/2007 Bem et al .                 707/102         2008/0254429 Al     10/2008 Woolf et al .              434/322
         7,240,335 B2     7/2007 Angel et al.                717/130         2008/0281764 A1     11/2008 Baxter                      706/12
         7,249,349 B2     7/2007 Hundt et al .               717/130         2008/0288259 Al     11/2008 Chambers et al .           704/275
         7,424,705 B2     9/2008 Lewis et al .               717/148         2009/0044113 A1      2/2009 Jones et al .              715/707
         7,478,371 B1     1/2009 Gove                        717/128         2009/0067727 Al     3/2009 Hirohata                    382/201
         7,484,205 B2     1/2009 Venkatapathy                717/158         2009/0110061 A1     4/2009 Lee et al .              375 / 240.02
         7,565,340 B2     7/2009 Herlocker et al .            706/52         2009/0131152 A1     5/2009 Busse                         463/23
         7,721,218 B2     5/2010 Awe et al .                 715/762         2009/0136095 A1     5/2009 Marcon et al.               382/118
         7,765,537 B2     7/2010 Havin et al .               717/166         2009/0141969 Al      6/2009 Yu et al .                 382/157
         7,797,259 B2     9/2010 Jiang et al .                706/21         2009/0222388 Al      9/2009 Hua et al .                 706/12
         7,840,060 B2    11/2010 Podilchuk                   382/155         2009/0287643 A1     11/2009 Corville et al .              707/3
         7,925,984 B2     4/2011 Awe et al .                 715/762         2009/0324010 A1     12/2009 Hou                        382/103
         7,987,144 B1     7/2011 Drissi et al.                706/20         2010/0023541 A1      1/2010 Cosic                      707/101
         8,005,828 B2     8/2011 Buchner et al .             707/728         2010/0033780 A1      2/2010 Gitter                       359/9
         8,019,699 B2     9/2011 Baxter                       706/12         2010/0063949 Al      3/2010 Eaton et al.                706/14
         8,078,556 B2    12/2011 Adi et al .                  706/16         2010/0082536 A1      4/2010 Cosic                        7/610
         8,090,669 B2     1/2012 Shahani et al .              706/14         2010/0114746 Al      5/2010 Bobbitt et al .             705/35
         8,137,112 B2     3/2012 Woolf et al .               434/323         2010/0138370 A1      6/2010 Wu et al .                  706/12
         8,166,463 B2     4/2012 Gill et al .                717/130         2010/0241595 Al      9/2010 Felsher                    705/400
         8,195,674 B1     6/2012 Bem et al .                 707/749         2010/0278420 A1     11/2010 Shet et al .               382/156
         8,196,119 B2     6/2012 Gill et al .               717/130          2011/0007079 A1 *    1/2011 Perez et al .        H04N 21/4532
         8,244,730 B2     8/2012 Gupta                      707/737                                                                 345/473
         8,251,704 B2     8/2012 Woolf et al .              434/322          2011/0030031 A1      2/2011 Lussier et al .            .. 726/1
         8,261,199 B2     9/2012 Cradick et al.             715/757          2011/0085734 A1     4/2011 Berg et al .                382/195
         8,266,608 B2     9/2012 Hecht et al.                717/158         2011/0218672 A1      9/2011 Maisonnier et al .         700/246
         8,335,805 B2    12/2012 Cosic                       707/805         2011/0270794 Al     11/2011 Drory et al.                706/52
         8,356,026 B2     1/2013 Heimendinger                707/713         2012/0150773 A1      6/2012 DiCorpo et al.              706/12
         8,364,612 B2     1/2013 Van Gael et al .             706/12         2012/0167057 Al      6/2012 Schmich et al .            717/130
         8,386,401 B2     2/2013 Virkar et al .               706/12         2012/0192096 A1      7/2012 Bowman et al .             715/780
         8,397,227 B2     3/2013 Fan et al .                717/166          2012/0284026 A1     11/2012 Cardillo et al .           704/246
         8,417,740 B2     4/2013 Cosic                       707/805         2012/0290347 A1     11/2012 Elazouni et al .          705 /7.12
         8,464,225 B2     6/2013 Greifeneder                 717/130         2013/0007532 A1      1/2013 Miller et al .              714/45
         8,549,359 B2    10/2013 Zheng                     714/ 38.11        2013/0156345 Al      6/2013 Shmunk                 G06T 3/4053
         8,572,035 B2    10/2013 Cosic                      707/625          2013/0159021 Al      6/2013 Felsher                G06F 19/322
         8,589,414 B2    11/2013 Waite et al .              707/749          2013/0218932 A1      8/2013 Cosic                G06F 17/30289
         8,595,154 B2    11/2013 Breckenridge et al .         706/12         2013/0226974 Al      8/2013 Cosic                G06F 17/30289
         8,655,260 B2     2/2014 Yueh et al.                 434/351         2013/0238533 Al      9/2013 Virkar et al .        GOON 99/005
         8,655,900 B2     2/2014 Cosic                       707/760         2013/0278501 A1     10/2013 Bulzacki                GO6F 3/017
         8,667,472 B1     3/2014 Molinari                  717/130           2013/0278631 Al     10/2013 Border et al .         GO2B 27/017
         8,996,432 B1     3/2015 Fu                    GOON 99/005           2013/0329946 A1     12/2013 Archibald et al .          382/103
         9,047,324 B2     6/2015 Cosic               G06F 17/30289           2014/0052717 Al      2/2014 Franks et al .       G06F 17/30867
         9,158,813 B2    10/2015 Ntoulas et al .     G06F 17/30451           2014/0075249 Al      3/2014 Sato et al .          G06F 11/3466
         9,268,454 B2     2/2016 Hamilton , II et al .                       2014/0161250 A1      6/2014 Leeds et al.           H04M 1/656
                                                         G06F 3/0481         2014/0177946 A1      6/2014 Lim et al .           G06K 9/00369
          9,282,309 B1 3/2016 Cosic                   HO4N 9/87              2014/0207580 A1      7/2014 Minnis et al .       G06Q 30/0269
          9,298,749 B2 3/2016 Cosic               G06F 17/30289              2014/0211988 A1      7/2014 Fan et al .           G06K 9/3241
          9,305,216 B1    4/2016 Mishra            G06K 9/00624              2014/0278754 Al      9/2014 Cronin et al .       G06Q 30/0201
          9,367,806 B1 6/2016 Cosic                  GOON 5/022              2015/0006171 Al      1/2015 Westby et al .         GIOL 15/26
          9,443,192 B1 9/2016 Cosic                  GOON 3/088              2015/0039304 A1      2/2015 Wein                   GIOL 25/78
          9,488,984 B1 * 11/2016 Williams et al .   G06K 9/2036              2015/0055821 A1      2/2015 Fotland               GO6K 9/3241
          9,582,762 B1 2/2017 Cosic                   GOON 5/04              2015/0264306 A1      9/2015 Marilly et al .         HO4N 7/147
          9,595,294 B2    3/2017 Cosic              G11B 27/036              2015/0269156 Al      9/2015 Awadallah et al .
          9,697,869 B2 7/2017 Cosic                 G11B 27/036                                                                G06F 17/3053
          9,864,933 B1 * 1/2018 Cosic                 G06K 9/52              2015/0269415 Al      9/2015 Gelbman               G06K 9/00214
         10,162,740 B1 12/2018 Setty et al.         G06F 1/3688              2015/0310041 A1     10/2015 Kier et al .         G06F 17/30259
         10,474,934 B1 * 11/2019 Cosic              G06K 9/6262              2015/0324685 Al     11/2015 Bohn et al .            GOON 3/04
 2003/0026588 A1          2/2003 Elder et al .                386/46         2015/0339213 Al     11/2015 Lee et al .           G06F 11/3664
 2003/0065662 Al          4/2003 Cosic                          707/9        2016/0063118 Al      3/2016 Campbell et al .
 2004/0117771 A1          6/2004 Venkatapathy                717/130                                                          G06F 17/30867
 2004/0194017 A1          9/2004 Cosic                     707 / 501.1       2016/0077166 Al      3/2016 Morozov et al .       GOIR 33/0286
 2004/0249774 A1         12/2004 Caid et al .                 706/14         2016/0140999 A1      5/2016 Cosic                  G11B 27/036
 2004/0267521 A1         12/2004 Cutler et al .              704/202         2016/0142650 A1      5/2016 Cosic                 HO4N 5/2624
 2005/0149517 Al          7/2005 Cosic                         707/3         2016/0167226 A1      6/2016 Schnittman              B25J 9/163
 2005/0149542 Al          7/2005 Cosic                       707/100         2016/0243701 A1      8/2016 Gildert et al .        B25J 9/1656
 2005/0240412 A1         10/2005 Fujita                      704/270         2016/0246819 Al      8/2016 Cosic                G06F 17/30289
 2005/0245303 A1         11/2005 Graepel et al.                463/1         2016/0246850 A1      8/2016 Cosic                G06F 17/30528
 2005/0289105 Al         12/2005 Cosic                         707/1         2016/0246868 A1      8/2016 Cosic                G06F 17/30595
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 4 of 131 PageID #: 589


                                                            US 11,055,583 B1
                                                                       Page 3

( 56 )                   References Cited                                   Indirect branch, retrieved from < URL : http://wikipedia.com > on
                                                                            May 5 , 2014 , 1 pages .
                   U.S. PATENT DOCUMENTS                                    Instruction cycle , retrieved from < URL : http://wikipedia.com > on
 2016/0274187 A1   9/2016 Menon et al .    GOIR 31/31718
                                                                            Apr. 30 , 2014 , 2 pages .
 2016/0292185 A1 10/2016 Cosic              G06F 17/30289                   Instruction set, retrieved from < URL : http://wikipedia.com > on Apr.
 2016/0328480 A1 11/2016 Owens et al .      GO1F 17/30867                   29, 2014 , 6 pages.
 2017/0161958 Al   6/2017 Eilat               G06T 19/006                   Interrupt, retrieved from < URL : http://wikipedia.com > on May 15 ,
 2018/0068564 A1 * 3/2018 Tanigawa et al .     GO8G 1/143                   2014, 5 pages .
 2018/0101146 A1   4/2018 Hariharan et al . GO5B 13/026                     Introduction to Instrumentation and Tracing, retrieved from < URL :
 2018/0120813 Al   5/2018 Coffman et al . G05B 19/4097                      http://msdn.microsoft.com/en-us/library/aa983649(d=default,l=en
 2019/0034765 A1 * 1/2019 Kaehler et al .    GO2B 27/0172                   us, v = vs.71) .aspx > on Jan. 10 , 2014 , 2 pages .
 2019/0107839 A1 4/2019 Parashar et al .      GO5D 1/0219                   Java bytecode, retrieved from <URL: http://wikipedia.com > on
                                                                            May 27 , 2014 , 4 pages .
                    OTHER PUBLICATIONS                                      Package java.util.logging, retrieved from < URL : http://docs.oracle .
                                                                            com / javase / 1.5.0 /docs / api /java /util/ logging/package - summary.
Add dynamic Java code to your application, retrieved from < URL :           html> on Mar. 19 , 2014 , 2 pages .
http://www.javaworld.com/article/2071777/design-patterns/add                Javac — Java programming language compiler, retrieved from < URL :
dynamic - java -code - to -your -application.html> on May 13 , 2014 , 6     http://docs.oracle.com/javase/7/docs/technotes/tools/windows/javac .
pages.                                                                      html> on May 13 , 2014 , 12 pages.
BCEL , retrieved from < URL : http://commons.apache.org > on May            Interface JavaCompiler, retrieved from < URL : http ://wikipedia.
13 , 2014, 2 pages.                                                         com> on May 13 , 2014 , 4 pages .
Artificial intelligence , retrieved from < URL : http://wikipedia.com >     Javassist, retrieved from < URL : http://wikipedia.com > on May 13 ,
on May 21 , 2014 , 28 pages .                                               2014, 2 pages .
Artificial neural network, retrieved from < URL : http :// wikipedia .      Just - in - time compilation , retrieved from < URL : http ://wikipedia .
com > on May 21 , 2014 , 12 pages .                                         com> on May 19 , 2014 , 5 pages .
Branch ( computer science ) , retrieved from < URL : http : //wikipedia .   JVM Tool Interface, retrieved from < URL : http://docs.oracle.com/
com> on May 6 , 2014 , 2 pages .                                            javase / 7 /docs /platform / jvmti/ jvmti.html > on Apr. 26 , 2014 , 127
                                                                            pages .
Branch trace, retrieved from <URL : http://wikipedia.com > on May           Machine code, retrieved from < URL : http://wikipedia.com > on Apr.
28, 2014, 2 pages.                                                          30, 2014 , 3 pages.
C Function Conventions and the Stack , retrieved from < URL :               Metaprogramming, retrieved from < URL : http://wikipedia.com > on
http://www.csee.umbc.edu/~chang/cs313.s02/stack.shtml> on Jan.              May 8 , 2014 , 3 pages .
11 , 2014 , 4 pages.                                                        Microsoft.VisualBasic.Logging Namespace, retrieved from < URL :
Call stack, retrieved from < URL : http://wikipedia.com > on Jan. 11 ,      http://msdn.microsoft.com/en-us/library/ms128122(d=default,l=en
2014 , 5 pages .                                                            us, v = vs.110 ) .aspx > on Jan. 13 , 2014 , 1 pages .
Program compilation and execution flow , retrieved from < URL :             Pin ( computer program ), retrieved from < URL : http : //wikipedia.
http://cs.stackexchange.com/questions/6187/program-compilation              com> on May 6 , 2014 , 3 pages.
and -execution - flow > on Jan. 9 , 2014 , 2 pages .                        Processor register, retrieved from < URL : http://wikipedia.com > on
Control unit, retrieved from < URL : http://wikipedia.com > on May          Apr. 29 , 2014 , 4 pages .
25 , 2014, 2 pages .                                                        Profiling ( computer programming ), retrieved from < URL : http : //
Create dynamic applications with javax.tools, retrieved from < URL :        wikipedia.com > on Jan. 10 , 2014 , 4 pages .
http://www.ibm.com/developerworks/library/j-jcomp > on May 13 ,             Profiling Overview , retrieved from < URL : http://msdn.microsoft.
2014 , 11 pages.                                                            com / en -us /library /bb384493( d = default ,l = en -us, v = vs.110 ) .aspx > on
Creating a Debugging and Profiling Agent with JVMTI, retrieved              Jan. 12 , 2014 , 6 pages.
from < URL : http://www.oracle.com/technetwork/articles/java/jvmti          Program counter, retrieved from < URL : http://wikipedia.com > on
136367.html> on Jan. 11 , 2014 , 18 pages .                                 Apr. 24 , 2014 , 2 pages .
Decision tree learning, retrieved from < URL : http://wikipedia.com >       Ptrace, retrieved from < URL : http://wikipedia.com > on Apr. 24 ,
on Jun . 24 , 2014, 5 pages .                                               2014, 2 pages.
Dynamic Bytecode Instrumentation, retrieved from <URL : http ://            Reflection ( computer programming ), retrieved from < URL : http : //
www.drdobbs.com/tools/dynamic-bytecode-instrumentation/                     wikipedia.com> on May 7 , 2014 , 5 pages .
184406433 > on Apr. 26 , 2014 , 6 pages .                                   Class Runtime , retrieved from < URL : http://docs.oracle.com/javase/
Dynamic programming language, retrieved from < URL : http ://               7 /docs/api /java/ lang/ Runtime.html> on Jan. 10 , 2014 , 10 pages .
wikipedia.com > on May 7 , 2014 , 4 pages .                                 Self -modifying code, retrieved from < URL : http://wikipedia.com >
Dynamic recompilation , retrieved from < URL : http :// wikipedia .         on Jan. 12, 2014, 6 pages.
com> on May 19 , 2014 , 4 pages .                                           Subjective logic , retrieved from < URL : http://wikipedia.com > on
Eval ( ) , retrieved from < URL : https://developer.mozilla.org/en-US/      May 22 , 2014 , 5 pages .
docs /Web / JavaScript/Reference /Global_Objects / eval> on May 7 ,         System.CodeDom.Compiler Namespace, retrieved from < URL: http :/
                                                                            msdn.microsoft.com/en-us/library/z6b99ydt(d=default,l=en-us,v=vs.
2014 , 13 pages.
Function , retrieved from < URL : https://developer.mozilla.org/en          110 ) .aspx > on May 13 , 2014 , 2 pages .
US/docs/Web/ JavaScript Reference/Global_Objects/ Function on May           System.Reflection.Emit Namespace, retrieved from < URL : http : //
7 , 2014 , 11 pages.                                                        msdn.microsoft.com/en-us/library/xd5fw18y(d=default,l=en-us,v=
Function Enter2 Function , retrieved from <URL : https://msdn .             vs.110 ).aspx > on May 13 , 2014 , 2 pages .
microsoft.com/en-us/library/aa964981(d=default,l=en-us,v=vs.110 ).          About | OpenCV, retrieved from < URL : http://opencv.org/about.
aspx > on Mar. 19 , 2014 , 2 pages .                                        html> on Dec. 13 , 2014 , 1 pages .
Function Leave2 Function , retrieved from < URL : https : //msdn .          Animetrics, Inc. | 3D Facial Recognition, retrieved from < URL :
microsoft.com/en-us/library/aa964942(d=default,l=en-us,v=vs.110 ).          http://animetrics.com/> on Dec. 13 , 2014 , 2 pages .
aspx > on Mar. 19 , 2014 , 1 pages .                                        Bag -of-words model, retrieved from < URL : http://wikipedia.com >
Heuristic , retrieved from < URL : http://wikipedia.com > on May 22 ,       on Nov. 19 , 2015 , 2 pages .
2014 , 5 pages .                                                            Beier-Neely morphing algorithm , retrieved from < URL : http ://
How to : Configure Trace Switches , retrieved from <URL : https://          wikipedia.com> on Nov. 19 , 2015 , 1 pages .
msdn.microsoft.com/en-us/library/vstudio/t06xyy08(d=default,l=en            Computer vision , retrieved from < URL : http://wikipedia.com > on
us, v = vs.100 ) .aspx > on Mar. 19 , 2014 , 3 pages .                      Nov. 19 , 2015 , 7 pages .
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 5 of 131 PageID #: 590


                                                             US 11,055,583 B1
                                                                        Page 4

( 56 )                     References Cited                                  Video content analysis, retrieved from < URL : http :// wikipedia .
                                                                             com> on Nov. 19 , 2015 , 2 pages .
                       OTHER PUBLICATIONS                                    Video tracking, retrieved from <URL: http://wikipedia.com > on
                                                                             Nov. 1 , 2015 , 2 pages.
Convolutional neural network , retrieved from < URL : http : //wikipedia.    Andrej Karpathy, Thomas Leung, George Toderici, Rahul Sukthankar,
com > on Nov. 11 , 2015 , 5 pages .                                          Sanketh Shetty, Li Fei - Fei , Large - scale Video Classitication with
Decimation ( signal processing ) , retrieved from <URL : http ://            Convolutional Neural Networks, Apr. 14 , 2014 , 8 pages, Stanford
wikipedia.com > on Nov. 19 , 2015 , 3 pages .                                University
Digital image processing, retrieved from < URL : http ://wikipedia .         Karen Simonyan, Andrew Zisserman , Two - Stream Convolutional
com> on Nov. 19 , 2015 , 3 pages .                                           Networks for Action Recognition in Videos, Nov. 13 , 2014 , 11
Dissolve ( filmmaking), retrieved from < URL : http ://wikipedia.            pages, University of Oxford.
com > on Nov. 11 , 2015 , 2 pages.                                           Tracing ( software ), retrieved from < URL : http://wikipedia.com > on
Facial recognition system , retrieved from < URL : http : //wikipedia.       Jan. 10, 2014 , 3 pages.
com> on Nov. 11 , 2015 , 6 pages .                                           Tree ( data structure), retrieved from < URL : http://wikipedia.com >
Feature detection ( computer vision ) , retrieved from < URL : http : //     on Jun. 24 , 2014 , 6 pages.
wikipedia.com> on Nov. 19 , 2015 , 3 pages .                                 PTRACE ( 2 ), retrieved from < URL : http://unixhelp.ed.ac.uk/CGI/
Feature extraction , retrieved from < URL : http://wikipedia.com > on        man -cgi ? ptrace > on Mar. 19 , 2014 , 5 pages .
Nov. 19 , 2015 , 2 pages.                                                    Wevtutil, retrieved from < URL : http://technet.microsoft.com/en-us/
Gesture recognition , retrieved from <URL : http://wikipedia.com >           library /cc732848 ( d = default, l = en -us , v = ws.11 ) .aspx > on Apr. 28 , 2014 ,
on Nov. 19 , 2015 , 5 pages .                                                5 pages .
GrabCut, retrieved from < URL : http://wikipedia.com > on Nov. 1 ,           Intel Processor Trace, retrieved from < URL : https ://software.intel.
2015 , 1 pages.                                                              com / en -us/blogs/ 2013 /09 /18 /processor-tracing > on Apr. 28 , 2014 , 3
Image processing , retrieved from < URL : http://wikipedia.com > on          pages.
Nov. 19, 2015 , 2 pages.                                                     Younghoon Jung, Java Dynamics Reflection and a lot more , Oct. 10 ,
Image segmentation , retrieved from < URL : http://wikipedia.com >           2012 , 55 pages , Columbia University .
on Nov. 19 , 2015 , 12 pages .                                               Amitabh Srivastava, Alan Eustace , ATOM a System for Building
Image warping, retrieved from < URL : http://wikipedia.com > on              Customized Program Analysis Tools, May 3 , 2004 , 12 pages .
Nov. 1 , 2015 , 2 pages.                                                     Mathew Smithson , Kapil Anand, Aparna Kotha , Khaled Elwazeer,
Inbetweening, retrieved from < URL : http://wikipedia.com > on Nov.          Nathan Giles , Rajeev Barua, Binary Rewriting without Relocation
11 , 2015 , 2 pages.                                                         Information, Nov. 10 , 2010 , 11 pages , University of Maryland .
Interpolation, retrieved from < URL : http://wikipedia.com > on Nov.         Marek Olszewski , Keir Mierte, Adam Czajkowski, Angela Demle
1 , 2015 , 5 pages .                                                         Brown, JIT Instrumentation A Novel Approach to Dynamically
Language model , retrieved from < URL : http://wikipedia.com > on            Instrument Operating Systems, Feb. 12 , 2007 , 14 pages, University
Nov. 19, 2015 , 4 pages .                                                    of Toronto .
List of speech recognition software, retrieved from < URL : http : //        Chen et al . Case - Based Reasoning System and Artificial Neural
wikipedia.com > on Nov. 19 , 2015 , 4 pages .                                Networks: A Review Neural Comput & Applic ( 2001 ) 10 : pp .
Livewire Segmentation Technique, retrieved from < URL : http : //            264-276 , 13 pages .
wikipedia.com > on Nov. 1 , 2015 , 2 pages.                                  John J. Grefenstette, Connie Loggia Ramsey, Alan C. Schultz ,
Morphing, retrieved from <URL : http://wikipedia.com > on Nov. 11 ,          Learning Sequential Decision Rules Using Simulation Models and
2015 , 2 pages.                                                              Competition, 1990 , Navy Center for Applied Research in Artificial
Motion estimation, retrieved from < URL : http://wikipedia.com > on          Intelligence, Naval Research Laboratory, Washington, DC , 27 pages .
Nov. 19, 2015 , 2 pages.                                                     Alan C. Schultz , John J. Grefenstette, Using a Genetic Algorithm to
Muse : Face Morph || Mesh Warping, retrieved from < URL : http ://           Learn Behaviors for Autonomous Vehicles, 1992 , Navy Center for
alexwolfe.blogspot.com/2011/10/face-morph-mesh-warping.html> on              Applied Research in Artificial Intelligence , Naval Research Labo
Nov. 19 , 2015 , 2 pages.                                                    ratory, Washington, DC , 12 pages .
N - gram , retrieved from < URL : http://wikipedia.com > on Nov. 1 ,         Koppula et al., “ Anticipating human activities using object affordances
2015 , 5 pages .                                                             for reactive robotic response ” , IEEE TRAMI 2016 , published May
Optical flow , retrieved from < URL : http://wikipedia.com > on Nov.         5 , 2015 , 16 pages .
1 , 2015 , 4 pages .                                                         Orme, " System design tips for entry level smartphones — part 3 ” ,
Outline of object recognition , retrieved from < URL : http ://wikipedia .   found online at “ https://community.arm.com/processors/b/blog/posts/
com> on Nov. 19 , 2015 , 7 pages .                                           system -design -tips -for - entry - level - smartphones ---part- 3 ”, Oct. 21 ,
Phonotactics , retrieved from < URL : http://wikipedia.com > on Nov.         2013 , 12 pages.
19, 2015 , 3 pages.                                                          Nowostawski, Mariusz et al ., “ Dynamic Demes Parallel Genetic
Recurrent neural network , retrieved from < URL : http ://wikipedia .        Algorithm ” , May 13 , 1999 , 6 pages .
com > on Nov. 11 , 2015 , 5 pages.                                           Stack Overflow , How can I quantify difference between two images?,
Sample rate conversion, retrieved from < URL : http ://wikipedia.            accessed Aug. 2 , 2017 at https://stackoverflow.com/questions/189943/
com> on Nov. 1 , 2015 , 2 pages .                                            how - can - i -quantify -difference -between -two - images, 8 pages .
Simple interactive object extraction , retrieved from < URL : http ://       Skolicki , Zbigniew et al . , “ The Influence of Migration Sizes and
wikipedia.com > on Nov. 19 , 2015 , 2 pages.                                 Intervals on Island Models ”, Jun . 29 , 2005 , 8 pages .
Speech recognition , retrieved from < URL : http://wikipedia.com >           Vahid Lari, et al . , “ Decentralized dynamic resource management
on Nov. 11 , 2015 , 12 pages .                                               support for massively parallel processor arrays ”, Sep. 11 , 2011 , 8
Speech segmentation, retrieved from < URL : http://wikipedia.com >           pages.
on Nov. 1 , 2015 , 4 pages.                                                  Vahid Lari, et al . , “ Distributed resource reservation in massively
Welcome to recognize-speech.com , retrieved from < URL : http : //           parallel processor arrays ” , May 16 , 2011 , 4 pages .
recognize-speech.com/ > on Oct. 18 , 2015 , 1 pages .                        Mohsen Hayati and Yazdan Shirvany, “ Artificial Neural Network
Introduction Speech , retrieved from < URL : http ://recognize -speech.      Approach for Short Term Load Forecasting for Illam Region ” , Jan.
com / speech > on Oct. 18 , 2015 , 1 pages.                                  2007 , 5 pages .
Preprocessing, retrieved from < URL : http://recognize-speech.com/           Hasim Sak, Andrew Senior, and Francoise Beaufays, “ Long Short
preprocessing > on Oct. 18 , 2015 , 4 pages .                                Term Memory Recurrent Neural Network Architectures for Large
Feature Extraction , retrieved from < URL : http : //recognize -speech .     Scale Acoustic Modeling ” , Jan. 2014 , 5 pages .
com / feature -extraction > on Oct. 18 , 2015 , 3 pages .                    Jorg Walter and Klaus Schulten , “ Implementation of self -organizing
Acoustic model , retrieved from < URL : http://recognize-speech.com/         neural networks for visuo -motor control of an industrial robot ” , Jan.
acoustic -model > on Oct. 18 , 2015 , 2 pages .                              1993 , 10 pages.
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 6 of 131 PageID #: 591


                                                           US 11,055,583 B1
                                                                        Page 5

( 56 )                   References Cited                                    Hernandez , Marco E. Perez , and Stephan Reiff-Marganiec. “ Autono
                                                                             mous and self controlling smart objects for the future internet. ”
                   OTHER PUBLICATIONS                                        Future Internet of things and cloud (FiCloud ), 2015 3rd interna
                                                                             tional conference on . IEEE , 2015. , 8 pages .
Heikki Hyotyniemi and Aamo Lehtola , " A Universal Relation                  Medini et al . , “ Building a Web of Things with Avatars ” , Managing
Database Interface for Knowledge Based Systems” , Apr. 1991 , 5              the Web of Things (2017 ) , 30 pages .
pages.
Mrissa , Michael , et al . “ An avatar architecture for the web of           Zhang, Yiying, Lei Guo, and Nicolas D. Georganas. “ AGILE: An
things . ” IEEE Internet Computing 19.2 ( 2015 ) : 30-38 . , 9 pages .       architecture for agent-based collaborative and interactive virtual
Luck, Michael , and Ruth Aylett. “ Applying artificial intelligence to       environments . ” Proc. Workshop on Application Virtual Reality
virtual reality : Intelligent virtual environments.” Applied Artificial      Technologies for Future Telecommunication System , IEEE Globecom
Intelligence 14.1 ( 2000 ) : 3-32 . , 30 pages .                             2000 Conference . 2000. ( Year: 2000 ) , 9 pages .
Terdjimi, Mehdi, et al . “ An avatar -based adaptation workflow for          Eladhari, Mirjam P., “ Semi- Autonomous Avatars in Virtual Game
the web of things.” Enabling Technologies: Infrastructure for Col            Worlds,” Pre - conference to the ECREA 2010—3rd European Com
laborative Enterprises (WETICE ) , 2016 IEEE 25th International              munication Conference, Avatars and Humans. Representing Users
Conference on . IEEE , 2016. , 6 pages .                                     in Digital Games, Hamburg, Germany , Oct. 2010 , Available from :
Bogdanovych , Anton, et al . “ Authentic interactive reenactment of          Jan. 21 , 2012 ( Year: 2012 ) , 8 pages .
cultural heritage with 3D virtual worlds and artificial intelligence.”
Applied Artificial Intelligence 24.6 ( 2010 ) : 617-647 . , 32 pages.        * cited by examiner
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 7 of 131 PageID #: 592


U.S. Patent                                                  Jul . 6 , 2021                        Sheet 1 of 41                             US 11,055,583 B1




                         17                  18                19                                  5
                                                                                                            25

                    27
                                                                                                                   Network Interface
                                                                 PAproligcatmosn DSaptcae                   16

                              Storage        OS
                                                                                                                   Alternaive Memory
                                                                                                                                                                            FIG
                                                                                                                                                                            1
                                                                                                                                                                            .

                                        14
                                                   Cache                                                    22                         23
                                                                                                                                                 -mHaucmhiane
                                    11

                                                                                        Memory                     VOControl                                    Interface
 70DCoemvpuitceng                                                                                      12

                                                                                                                                        21
                                                  Proces r       Port
                                                                 O
                                                                 /
                                                                 I
                                                                 Memory

                                                                              158
                                                                                        DVOevice       13

                                                                 VOPort
                                                                                                                                             Deivspilcaey
                                                                                 15A
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 8 of 131 PageID #: 593


U.S. Patent                                                                                           Jul . 6 , 2021                                    Sheet 2 of 41                   US 11,055,583 B1




  98
             100
                                                                                                           Artifcal Intelignce
                                                                                          110
                                                                                                                                                                                        27

                                                    AforOD(VUnit)upteSorvnAaitmDocuOesn                                    120                         130
                     andUnitforLSV/orUueirsaoimundaigln                                                                                                                       12

                                                                                                                                 AcquistonInterface Modifcaton Iterface            Memory Storage
                                        90
                                                                                           Picture CapturingAp ar tus
                                                                                                                                                                                                    FIG
                                                                                                                                                                                                    2
                                                                                                                                                                                                    .


                                        23
                                                                                           Human machine Interface                                           APprloicgatomn   11


            Device                                                                                                                          Proces r                          18

       50
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 9 of 131 PageID #: 594


U.S. Patent                           Jul . 6 , 2021                               Sheet 3 of 41                  US 11,055,583 B1



 100
 120                                                                                                                11

                                                  215
                                                        Arithmeic          UnitLogic
                                                                                                            214
                                                                                             RAergistaeyr
                                                         DInestcroudeirn                                                       .
                                                                                                                               FIG
                                                                                                                               3


                                                                                       213
                                                        IRnsetgriucteonr
                                                                                       212                                     12

       IUVSnAiDtO Anctqueirsfatceon                     CPorungtream
                                       Proces r                                        211                            Memory
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 10 of 131 PageID #: 595


 U.S. Patent             Jul . 6 , 2021
                                2                   Sheet 4 of 41                US 11,055,583 B1

                           100          120
       VSADO Unit
                    Acquisition Interface
                                                            250
                                               Logic Circuit
         input 1                                                                     output 1
         input 2                                                                     output 2
         input 3                                                                     power

         input 4                                                                     ground


                                             FIG . 4A

                                                                100        120
                                       VSADO Unit
                                                         Acquisition Interface

                                    Logic Circuit
         input 1                                                                     output 1
         input 2                                                                     output 2
         input 3                                                                     power

         input 4                                                                     ground

                           250
                                             FIG . 4B
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 11 of 131 PageID #: 596


 U.S. Patent                 Jul . 6 , 2021
                                    2           Sheet 5 of 41   US 11,055,583 B1

                                                                   526

           Instruction Set
            Function (Parameter 1 , Parameter2 , Parameter3 , ... )
                                              FIG , 5A
                                                                   526

           Instruction Set
            SELECT Col1 , Col2 ... FROM Tb11 , Tb12 ... ;

                                              FIG . 5B

                                                                   526

           Instruction Set
            iconst Value

                                              FIG , 5C

                                                                   526

           Instruction Set
            add Register1 Register2

                                              FIG . 5D

                                                                   526

           Instruction Set
            000000 00001 00010 00110 00000 100000

                                              FIG . 5E
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 12 of 131 PageID #: 597


 U.S. Patent          Jul . 6 , 2021        Sheet 6 of 41          US 11,055,583 B1




                                                            525                   527

  Digital Picture                                                 Extra Info
                                                                  time info , location
                                                                  info , computed
                                                                  info , observed
                                                                  info , sensory info
                                                                  etc.
                                       FIG . 6A




                                                            526                   527

  Instruction Set                                                 Extra Info
                                                                  time info , location
                                                                  info , computed
                                                                  info , observed
                                                                  info , sensory info
                                                                  etc.
                                       FIG . 6B
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 13 of 131 PageID #: 598


 U.S. Patent                                                                                 Jul . 6 , 2021                                     Sheet 7 of 41                     US 11,055,583 B1




  98      11

                         100                                                                                                                                                       27

                                                                                                                  Artifcal Intelig120ncUnite
                                                                                                            110

                                                                      forADOV(Unit)upetSovrnAaimtDcoueOsn                                                    130
                                       andUnitforLSV/orUueirsaoimundaigln                                                                                                               Storage
                                                                                                                                         AcquistonInterface Modifcaton Iterface    12

                                                                                                                                                                                        Memory
                      Proces r                                                                                                           AplicatonProgram                                         7
                                                                                                                                                                                                  .
                                                                                                                                                                                                  FIG


                 23

                                 Human machine Interfac Picture CapturingApartus
        Device
   50
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 14 of 131 PageID #: 599


 U.S. Patent                                                                   Jul . 6 , 2021                                   Sheet 8 of 41                  US 11,055,583 B1



 95
       96
                 100
                                                                                          Artifcal IntelignceUnit
                                                                110

                                                                                                        120                        130
                       for
                       VUnit
                        Using
                        or
                        /
                        and       DAfSuetrovniumcdroensgUnit)V(OpSerAatDioOn
                       Leiasmuianlg
                                                                                                               AcquistonInterface Modifcaton Iterface
      Network Server
      98                                                                                                                                                          27
                                                                                                                                                                              .
                                                                                                                                                                              FIG
                                                                                                                                                                              8

                                                                               Picture CapturingAp ar tus
                                                                                                               11


                                      90                                                                                      18                        2
                                                                                                                                                        12




              Device                  23                                       Human machine Interface Proces r A p l i c a t o n Pr o g r am                Memory Storage
      50
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 15 of 131 PageID #: 600


 U.S. Patent                                                    Jul . 6 , 2021                            Sheet 9 of 41                                  US 11,055,583 B1



 95
          97
                                                                     Picture CapturingAp ar tus
                                          90


      Network R e m ot e De vi c e
          98



                                                                      Artifcal Intelig120ncUnite
                                                                110
                                                                                                                                                       27

                                                                                                                   130                            2
                                                                                                                                                  12



                                     Land
                                     for
                                     Unit
                                     100
                                      Using
                                      or
                                      /        DAfSuetrovnimcdroeunsg
                                      Veiasrnuianlg O(
                                                     VUnit)pSerAatDioOn
                                                                                                AcquistonInterface Modifcaton Iterface                 Memory Storage   9
                                                                                                                                                                        .
                                                                                                                                                                        FIG



                                 21                                       23


                      Device
                                             Display Human machine Interface                           Proces r A p l i c a t o n P r o g r a m
            50
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 16 of 131 PageID #: 601


 U.S. Patent                                                                                      Jul . 6 , 2021                              Sheet 10 of 41                  US 11,055,583 B1




 98
       100                                                                         110
                                                                                                    Artifcal Intelig120nUnitce                                               27

                                             forADO(VUnit)upetSovrnAaitmDcoueOsn                                                            130
               and/UnitforLSVorUueirsaoimundaigln                                                                                                                  12

                                                                                    PReicotgnuirze AcquistonInterface Modifcaton Iterface                               Memory Storage
                                   350
                                                                                                                                                                                          10
                                                                                                                                                                                          .
                                                                                                                                                                                          FIG
                                                                                    Picture CapturingAp ar tus
                                  23
                                                                                     Human machine Interface
                                                                                                                                                  PAproligcatomn   11


      Device                                                                                                                     Proces r                          18


      50
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 17 of 131 PageID #: 602


 U.S. Patent                 Jul . 6 , 2021
                                    2                 Sheet 11 of 41               US 11,055,583 B1




                                              Processor
                                                          Application Program
      Picture Capturing Apparatus
                                                                                               100

  VSADO Unit                                                  120                     130

                                              Acquisition              Modification
                                              Interface                Interface
              110

      Artificial
      Intelligence                                                                      530
                                                              520
                                                                           Knowledgebase
                              Knowledge Structuring Unit
                                                              540

                     Decision -making Unit

                                                              550

                              Confirmation Unit




                                                   FIG . 11
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 18 of 131 PageID #: 603


 U.S. Patent                            Jul . 6 , 2021          Sheet 12 of 41                    US 11,055,583 B1

               Picture Capturing                  90 AcquisitionInterface             120
               Apparatus                                                                    520                530

  Knowledge                                                                                          Knowledgebase
  Structuring Unit                                                                   800ax
    Knowledge
     Cell

                         Digital Picture                      Instruction Set
                                                                                3


                                 :               525a5
                                                          }
                                                          }                     3
                         Digital Picture                                        3

                                            3
                                                                                    526a6
                     I                                                          {
                                            3
                                                 525a4                              526a5
                                            }}                 Instruction Set
                         Digital Picture    {
                                                              Instruction Set {
                                            3
                                                          }                     3
                     }                      {             }                     3
                                            3    525a3
                                                          3                     3
                                                          3                     3
                         Digital Picture                  }                     3
                                                                                3
                                                          {
                                                          {
                                            }                                   3
                                            (3 525a2                                526a4
                                                          }
                                                                                    526a3
                          Digital Picture   3
                                                              Instruction Set       526a2
                                            {
                                            3                 Instruction Set
                                            {3 525a                                 526a1
                                                              Instruction Set
                         Digital Picture *                    Instruction Set
                                            3




                                                   :                                 800ab
     Knowledge Cell
                                                                                     800aa
    Knowledge Cell

                                                         FIG . 12
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 19 of 131 PageID #: 604


 U.S. Patent                           Jul . 6 , 2021            Sheet 13 of 41                 US 11,055,583 B1

               Picture Capturing                90 Acquisition Interface            120
               Apparatus                                                                  520                530

  Knowledge                                                                                        Knowledgebase
  Structuring Unit                                           3                     800ax
       Knowledge                           3                                  3
     Cell                Digital Picture   3
                                           3
                                           1
                                                            Instruction Set   {
                                           {
                                                  ;                                800ae
     Knowledge                             1525a5       3
                                                                              3
     Cell                                               }                     }
                                                                              {
                                                        {
                                                                              3
                                                        3
                         Digital Picture                {                     3


                                                                              3
                  }
                                                        3
                                                        }                     3    800ad
                                           }                                  3
      Knowledge                            3
                                                        {
                                                                              {
                                                                                  526a6
     Cell                                  3
                                           3
                                                                              3
                                               525a4                              526a5
                  f                                         Instruction Set
                         Digital Picture 3                  Instruction Set
                                           3
                                                        {
                                           3
                                           3            3                          800ac
      Knowledge                                525a3    3
                                                                              3
                                                                              }
     Cell                                               3
                                                        3
                                                        3
                         Digital Picture                                      3


                                                                              3
                                           3
                                           }
                                                                                   800ab
      Knowledge                            I 525a2      {
                                                        }
                                                                              3
                                                                              3   526a4
     Cell                                               {
                                                                              3


                  1 Digital Picture                         Instruction Set
                                           }
                                           3
                                           3            3
                                                                              3    800aa
      Knowledge                            3
                                           3            }
                                                                                  526a3
     Cell                                  3
                  }
                     }                     3                                      526a2
                  }                                         Instruction Set
                                               525a1                              52621
                 I                                          Instruction Set
                         Digital Picture                illnstruction Set

                                                        FIG . 13
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 20 of 131 PageID #: 605


 U.S. Patent                              Jul . 6 , 2021         Sheet 14 of 41                     US 11,055,583 B1

               Picture Capturing                  90 AcquisitionInterface               120
               Apparatus                                                                      520                530

  Knowledge                                                                                            Knowledgebase
  Structuring Unit                                                                     800ax
    Knowledge
     Cell
                     Pok

                                                                                  {
                           Digital Picture                     Instruction Set
                                   ?                           Instruciion Set
                            Digital Picture                    Instruction Set    3
       525dni                                              3                      3

                                   :          3
                                              3
                                                           3
                                                                      :               52626
                                                           {

        525d1 Digital Picture
                                                           }                      3
                                                                                      526a5
                                   :                            Instruction Set
        525cn
                           Digital Picture                     Instruction Set

        525c1
                            Digital Picture i                                     }
                                                           3

        525bn                      :                       3
                                                           {
                                                                                  }
                                                                               152624
              Digital Picture                                                   526a3
        525b1
              Digital Picture                                  Instruction Set
                                                                                526a2
                                   :                           Instruction Set
       525an
                            Digital Picture                     Instruction Seti3
                           Digital Picture                 3
        525a1                                              }                          526a1
                                                                                  3
                                   :
                           Digital Picture                 ilInstruction Set


                                                   :                                   800ab
     Knowledge Cell
                                                                                       800aa
    Knowledge Cell

                                                           FIG , 14
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 21 of 131 PageID #: 606


 U.S. Patent                        Jul . 6 , 2021         Sheet 15 of 41                    US 11,055,583 B1

              Picture Capturing             90 Acquisition Interface 120
              Apparatus                                                                520                530

  Knowledge                                                                                     Knowledgebase
  Structuring Unit                                                             800ax
     Knowledge
     Cell            Digital Picture                     Instruction Set
                                                                           }
                             :                           Instruction Set
                     Digital Picture                     Instruction Set !3
                                                                           {
                                              ?      }                     3    800ad
     Cabledge Digital Picture                        {
                                                     3
                                                     {
                                                                           3
                                                                           }
                                        3
      525dn                  :          3
                                        3
                                                          Instruction Set 526a6
                                                                           3

      52501           Digital Picture                    Instruction Set 3 526a5
                                                     }                     3
                 }
                                                     }
                                                     }
                                                                                800ac
    Knowledge                                        3

     Cell            Digital Picture 3               3

                                        3            3                     3
      525cni                 :          3            3
                                                     3
                                                                           3

                                                     }
       52501 } Digital Picture                       }
                                                     }
                 {                                   3                     3
                                        3
                                                     3                     3   800ab
     cal edge,Digital Picture                            Instruction Set   526a4
                                                                           }
                                                                           3
       525bn                 :                           Instruction Set   526a3
                                                                         3

       525b1          Digital Picture                    Instruction Set 3 526a2
                 }                                   3                     3
                 }                      3
                                                                                800aa
                                        3            3

    Knowledge                                        {                     3
                     Digital Picture                                       3
                                                                           3
                                                                           3
      525ani                 :                                             3


       525a1          Digital Picture                i Instruction Set         526a1


                                                     FIG . 15
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 22 of 131 PageID #: 607


 U.S. Patent            Jul . 6 , 2021   Sheet 16 of 41               US 11,055,583 B1



       852
 853
                                                                     853
                                          oo
                                                                           852

               MBodel                                       MDodel
                                                                                   .
                                                                                   FIG
                                                                                   16



               MAodel                                       MCodel
        852
 853

                                                853
                                                      852
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 23 of 131 PageID #: 608


 U.S. Patent                    Jul . 6 , 2021
                                      2               Sheet 17 of 41               US 11,055,583 B1
                            800zb                               800cc

   Knowledge Cell                         Knowledge Cell
         Occurrences = 10                                  Occurrences = 15
         Weight=0.4                                        Weight=0.6

                 85321                                                        85322
                                          Knowledge Cell
                                                              800za
                                                   FIG . 17A

                            800zb                               800zc                                 800zd
   Knowledge Cell                         Knowledge Cell                      Knowledge Cell
         Occurrences = 10                                  Occurrences = 15           Occurrences = 1
         Weight=0.385                                      Weight= 0.577              Weight= 0.038
                                                                                                  85323
                  85371                                                       85322
                                          Knowledge Cell
                                                              800za
                                                   FIG . 17B

                            800zb                               83zc                                  800zd
   Knowledge Cell                         Knowledge Cell                      Knowledge Cell
         Occurrences - 11                                  Occurrences = 15           Occurrences = 1
         Weight=0.407                                      Weight= 0.556              Weight= 0.037
                                                                                                  -85323
                  85371                                                       85372
                                          Knowledge Cell
                                                              800za
                                                   FIG . 17C
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 24 of 131 PageID #: 609


 U.S. Patent                                                       Jul . 6 , 2021                         Sheet 18 of 41                                    US 11,055,583 B1


                                                                                                                                                                       530d
                             Knowledg   Cell



            80 ce Knowledg Cell
             80 cd Knowledg Cell
                                                                                                                                                                              18
                                                                                                                                                                              .
                                                                                                                                                                              FIG
            80 c Knowledg Cel
             80 cb Knowledg Cell
  CofKonlewlcetidogsne 80 ca Knowledg
                                        Cell


                                               KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                       520
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 25 of 131 PageID #: 610


 U.S. Patent                                       Jul . 6 , 2021                         Sheet 19 of 41                                                    US 11,055,583 B1


                             Layer :854e Layer                          Layer              Layer                    Layer                    Layer                     530a
                                                                 854d                                       854c                    854b                    854a
                             KCnoewl dlge 80 e CKnoewl dlge 80 ed KCnoewl dlge 80 ec CKnoewl dlge
                                            :
                                                                                                                   853e2 80 eb
                                                              8 5 3 e 4    8 5 3 e
                             KCnoewl dlge   :     CKneowledlge CKnoewl dlge CKnoewl dlge                             CKnoewl dlge          853e1 80 ea
                                                                        KCnoewl dlge        CKnoewl dlge             CKnoewl dlge            CKnoewledlge
                                                                                                                                                                              19
                                                                                                                                                                              .
                                                                                                                                                                              FIG
                             CKnoewl dlge         CKnoewl dlge          CKnoewl dlge        CKnoewl dlge             CKnoewl dlge            CKnoewl dlge
                                                                                             CKnoewl dlge           KCnoewl dlge             CKnoewl dlge

                                                  CKnoewl dlge          KCnoewildge         CKnoewl dlge
  Netuwroalk
                                                                                                                                                                        125
                             KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 ba KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                       520
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 26 of 131 PageID #: 611


 U.S. Patent                                       Jul . 6 , 2021                       Sheet 20 of 41                                                US 11,055,583 B1


                             Layer :854e Layer                          Layer           Layer                  Layer                   Layer                     530a
                                                                 854d                                   8540                   854b                   854a
                             KCnoewledlge   :     CKnoewl dlge          KCnoewl dlge     CKnoewl dlge
                                                  CKnoewl dlge          CKhoewl dlge     CKnoewl dlge           CKnoewl dlge          853 800

                             KCnoewl dlge   :    CelKnowledge           CKnoewl dlge     CKnoewl dlge          CKnoewl dlge            CKnoewl dlge
                                                                                                                                                                        20
                                                                                                                                                                        .
                                                                                                                                                                        FIG
                                                                                         CKnoewl dlge           CKnoewl dlge           CKnoewl dlge
                             CelKnowledge   :
                                                 CKnoewl dlge           CKnoewl dlge     CKnoewl dlge          KCnoewl dlge            CKnoewl dlge

                                                                        KCnoewl dlge     CKnoewl dlge
  Netuwroalk
                             KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                 520
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 27 of 131 PageID #: 612


 U.S. Patent                                             Jul . 6 , 2021                        Sheet 21 of 41                                     US 11,055,583 B1


                                                                          80 he KCnoewldlge                                                                         530b
                                                                                                                CKnoewledlge
                                            80 hd CKnoewldlge
                                                                              853h4
                             KCnoewl dlge                              853h                                                              CelKnowledge
                                                                                                                                                      8 0 ha
                                                                                              80 ha
                                                                                                 KCnoewl dlge                    853h1                          :


                                                                                                                                                                           21
                                                                                                                                                                           .
                                                                                                                                                                           FIG
                             CKnoewledlge                                                        CKnoewl dlge                  853h2
                                                        CKnoewl dlge                                            CKnoewl dlge             CKnoewledlge
                                                                                                                                                      8 0 h b
                             CKnoewl dlge
  Graph
                             KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                    520
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 28 of 131 PageID #: 613


 U.S. Patent                                                Jul . 6 , 2021                        Sheet 22 of 41                                           US 11,055,583 B1


                                                                                                                                                                      530c
                                       CKnoewledlge                            CKnoewl dlge        CKnoewl dlge         CKnoewledlge        CKnoewledlge
                             Sequnce                  :    CKnoewl dlge


                                                                                                                                                              800
                                       CKnoewl dlge        CKnoewl dlge        CKnoewl dlge        CKnoewl dlge         CKnoewl dlge        CKnoewl dlge      533
                    Sequnce                           :




                             CKnoewl dlge CKnoewl dlge CKnoewl dlge KCnoewl dlge CKnoewl dlge CKnoewledlge
                    Sequnce                           .
                                                                                                                                                                             22
                                                                                                                                                                             .
                                                                                                                                                                             FIG


                              K
                              C n o
                                  e w l e d
                                          l g e CKnoewl dlge CKnoewl dlge KCnoewl dlge CKnoewledlge CKnoewledlge
                    Sequnce
                                                      :
                                                      ||
                              K
                              Cn oew l   dlg e   CKnoewl dlge CKneowledlge CKnoewl dlge KCnoewl dlge KCnoewl dlge
  CofSoelqucetnioes Sequ nce

                                       KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                      520
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 29 of 131 PageID #: 614


 U.S. Patent                                                           Jul . 6 , 2021                                              Sheet 23 of 41                                               US 11,055,583 B1


                                                                                                                                                                                                                                           530d
                    Knowledg
                                                                                                                             :
   80 c
   80 b Knowledg
                 Cell
   80 a                                                                      526a 526a5                                                                     526a4 526a3 526a2 526a1
                                        SetInstruction   ::
                                                                                            SetInstruction SInsteruction                                                 ISetnstruction SetInstruction SetInstruction ISetnstruction
                                                                                                                                                                                                                                             23
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                             FIG


                                                         52 a5                      52 a4                                        52 a3                      52 a2                               52 am
  CofKonlewlcetidogsne CKneowledlge DPigctuarle          :
                                                                     DPigctuarle                              DPigctuarle                    PDicgturael                PDicgturael                                        PDicgtiurael


  Decison -making N                                                                                                                                                                                                                        540125
                                                             52515                      52 14                                        52 13                      52 12                                 5251                                  90

  CPicture apturingApartus PDicgtiurael                  :

                                                                     PDicgtiurael                              PDicgturael                   PDicgtiurael               PDicgtiurael                                        PDicgtiurael
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 30 of 131 PageID #: 615


 U.S. Patent                                                           Jul . 6 , 2021                                              Sheet 24 of 41                                            US 11,055,583 B1


                                                                                                                                                                                                                                         530d
                    Knowledg
                                                                                                                             :
   80 c
   80 b Knowledg
                 Cell
   80 a                                                                      526a 526a5                                                                    526a4 526a3 526a2 526a1
                                        SetInstruction   ::
                                                                                            SetInstruction SInsteruction                                              ISetnstruction SetInstruction SetInstruction ISetnstruction
                                                                                                                                                                                                                                           24
                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                           FIG

                                                         52 a5                      52 a4                                        52 a3                     52 a2                             52 am
  CofKonlewlcetidogsne CKneowledlge DPigctuarle          :
                                                                     DPigctuarle                              DPigctuarle                   PDicgturael               PDicgturael                                         PDicgtiurael


  Decison -making N                                                                                                                                                                                                                      540125

                                                             52513                      52 12                                        5251                      5251                                5251                                  90

  Picture CapturingAp ar tus
                                                         :

                                        PDicgtiurael                 PDicgtiurael                              PDicgturael                  PDicgtiurael              PDicgtiurael                                    w




                                                                                                                                                                                                                          PDicgtiurael
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 31 of 131 PageID #: 616


 U.S. Patent                                                      Jul . 6 , 2021               Sheet 25 of 41                              US 11,055,583 B1


                                                                                                                                                      530d
                              CKnoewledlge PDicgturael       :
                                                                  PDicgturael   PDicgtiurael   PDicgturael   PDicgtiurael   DPigctuarle

                                                                       52 d5 52 d4 52 d3 52 02 52 d1
              80 rd CKneowledlge PDicgturael                 :

                                                                 PDicgturael    PDicgtiurael   PDicgturael   PDicgtiurael   PDicgturael

             80 rc KCelnowledge PDicgtiurael                 :

                                                                 PDicgturael    PDicgtiurael   PDicgturael   PDicgturael    PDicgtiurael      52 c1         25
                                                                                                                                                            .
                                                                                                                                                            FIG

             80 rb CKnoewl dlge PDicgtiurael                                                                                                  52 c2
                                                             :
                                                                  PDicgturael   PDicgtiurael   PDicgturael   PDicgturael    PDicgtiurael
  CofKonlewlcetidogsne 80 ra CKnoewledlge
                                               PDicgturael   :

                                                                 PDicgturael    PDicgtiurael   PDicgturael   PDicgtiurael   PDicgturael
                                                                                                                                                       540
  Decison -making                                                               ? ?? ??                                                                 125
                                                            5 2 5 1 5   52 1 4       5 2 1 3     5 2 1 2      5 2 5 1                                  90

  Picture CapturingAp ar tus
                                                PDicgtiurael PDicgturael PDicgtiurael PDicgturael PDicgtiurael PDicgtiurael
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 32 of 131 PageID #: 617


 U.S. Patent                                                      Jul . 6 , 2021                                                        Sheet 26 of 41                                                                               US 11,055,583 B1


                                     Layer                              Layer                                  Layer                                 Layer                                Layer                                Layer                        530a
                                                           854e                                 854d                                                                   854c                                  854b                                    854a
                                                                                                                 CKnoewl dlge                        KCnoewl dlge

                                                                          KCnoewl dlge                          CKnoewl dlge                          CelKnowledge                          CKnoewl dlge                         CelKnowledge
                                                                                               0.25                                                                                                             0.35

                                       KCnoewl dlge                                            0.75 CKnoewledlge
                                                                                                                Cell              80 td KCnoewldlge                                        CKnoewl dlge 0.35 oCKnweowlledlgee dge80 ta
                                                                          CKneowledlge 85314                                         0.80
                                                          80 te                                   8537 CKnoewldlge 0.20                                                                                          0.30
                                                                                                                                                                                            CKnoewl dlge KCnoewl dlge
                                                                                                                                                                                                                      85 3 t 1                                     26
                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                   FIG

                                                                                                                                    80 tc C
                                                                                                                                          K n o
                                                                                                                                              e w l e
                                                                                                                                                    dlg e 8 5 3 t 2 810 tb

                                       KCnoewledlge                       KCnoewl dlge                          KCnoewl dlge                                                               CKnoewl dlge

  Netuwroalk                           CelKnowledge                       CKnoewl dlge                          KCelnowledge                          CKnoewledlge

  Decison -making                                                                                                                                                                                                                                           540125


  Picture CapturingAp ar tus   PDigcituarle PDioctuarle
                                                          :
                                                                  5PDi2cg5tiueranel 5PDi2cg5tiuera1el 5PDi2cg5tiudranel 5PDi2cg5ti0ur1ael 5PDi2cg5tiucranel 5PDi2cg5tiucra1el 5250PDicgtiurael 5PDi2cg5tiu0ra1el 5PDi2cg5tiaurnel DP525aigcituarle
                                                                           :                                        3
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 33 of 131 PageID #: 618


 U.S. Patent                                                            Jul . 6 , 2021                                                         Sheet 27 of 41                                                                              US 11,055,583 B1


                                                                                                                                                                                       KCnoewl dlge 80 ub                                                      530b
                                                                      853u1                                                                               0.60 0.30 0.10
                               80 ua CKnoewldlge 0.15                                                       CKnoewl dlge
                                                               0.85                                                                               853u2
                                                                                                                                                                                       CKnoewl dlge                         CKnoewledlge

     :
                                                                       CKnoewl dlge                                          80 uc CKnoewldlge                                                                                                             :




                                           CKnoewl dlge                      80 ud          0.20 CKnoewl dlge                               853u 85304                                                                                                                27
                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                      FIG

                                                                                                                                0.80
                                                                                                                                                                                       CKnoewl dlge
                                                                                                                                                                                                           80 ue
                                           KCnoewl dlge                                                     CKnoewl dlge
  Graph
                                                                                                                                                                                                                                                               540
  Decison -makingUnit                                                                                                                                                                                                                                           125
                                                                                                                                                                                                                                                               90

  Picture CapturingAp ar tus       PDicgtiurael PDicgtiurael             PD5i2cg5tiueranl 5PDi2cg5tiuera1el 5PDi2cg5tiudranel 5PDi2cg5tidur1ael D5Pi2gc5itucarhle P5Di2cg5tiu0ra1el 5PDi2cg5tiubranel 5PD2icg5tiur1ael DP5i2gci5tuarnle DP5i2gcit5uarl1e
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 34 of 131 PageID #: 619


 U.S. Patent                                                          Jul . 6 , 2021                                                        Sheet 28 of 41                                                                              US 11,055,583 B1


                                                                                                                                                                                                                                                           530c
                                              CKnoewledlge                    CKnoewledlge                          CKnoewl dlge                         CKnoewledlge                         CKnoewledlge                          CKnoewledlge
                           Sequ nce                               :




                                                                                   -80 de 80 d 80 dc -80 db 80 da
            53 wd                  K
                                   C n o
                                       e w l e d
                                               l g e                          CKnoewledlge                          CKnoewl dlge                         CKnoewledlge                         CKneowledlge                          KCnoewl dlge
                           Sequnce
            53 wc                             CKnoewl dlge                    KCnoewl dlge                          KCnoewledlge                         CKnoewl dlge                          CKnoewl dlge                         CKnoewl dlge 80 ca
                         Sequnce                                  :

                                                                                                                                                                                                                                                                  FIG
                                                                                                                                                                                                                                                                  28
                                                                                                                                                                                                                                                                  .

                   53 wb CKnoewldlge                                          CKnoewledlge                          CKnoewl dlge                         CKnoewledlge                          CKnoewl dlge                         CKneowledlge
                                                                                                                                                                                                                                                 8 0 c b
                         Sequnce                                  :




  CofSolequctnioes 53 wa Sequ nce CKnoewledlge                    :           CKneowledlge                         CKnoewledlge                          CKnoewledlge                         CKnoewledlge                          CKnoewl dlge
                                                                                                                                                                                                                                                           540
  Decison -makingUnit                                                                                                                                                                                                                                       125
                                                                                                                                                                                                                                                           90

  Picture CapturingAp ar tus          PDicgtiurael PDicgtiurael       PD5i2cg5tiueranl 5PDi2cg5tiuera1el 5PDi2cg5tiudranel 5PDi2cg5tidur1ael D5Pi2gc5itucarhle P5Di2cg5tiu0ra1el 5PDi2cg5tiubranel 5PD2icg5tiur1ael DP5i2gci5tuarnle DP5i2gcit5uarl1e
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 35 of 131 PageID #: 620


 U.S. Patent                        Jul . 6 , 2021                               Sheet 29 of 41                 US 11,055,583 B1



 100
 130                                                                                                              11

                                                215
                                                      Arithmeic          UnitLogic
                                                                                                          214
                                                                                           RAergistaeyr
                                                       DInestcroudeirn                                                       FIG
                                                                                                                             29
                                                                                                                             .

                                                                                     213
                                                      IRnsetgriucteonr
                                                                                     212                                     12

       MUVSnAiDtO Iondtiferca oen                     CPorungtream
                                     Proces r                                        211                            Memory
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 36 of 131 PageID #: 621


 U.S. Patent             Jul . 6 , 2021
                                2                   Sheet 30 of 41         US 11,055,583 B1

                           100          130
       VSADO Unit
                    Modification Interface
                                                            250
                                               Logic Circuit
         input 1                                                               output 1
         input 2                                                               output 2

         input 3                                                               power

         input 4                                                               ground

                     251
                                             FIG . 30A

                                                               100   130
                                       VSADO Unit Modification Interface



                                    Logic Circuit
         input 1                                                               output 1
         input 2                                                               output 2
                                                               251
         input 3                                                               power

         input 4                                                               ground

                           250
                                             FIG . 30B
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 37 of 131 PageID #: 622


 U.S. Patent                                                            Jul . 6 , 2021                                                                                                                              Sheet 31 of 41                                                                                                                                                                                                                       US 11,055,583 B1


                   6125Step                                                        6S1t3e0p                                                                                                   6135Step


                                                                                                                                                                                                                                                                                                                          othedcwithfpStep6140eirvgaeriltscnaetgdl                                                                                                                                                        6145Stepdfirstthewithciopergivertlaictilendg
                                                thefwithpnewdciomgrptiasurtienlg                                                       maplisatthattdeahrtaemicsrnahtelgpthenewdbandfiegtcriwteusartlne                                                                                       forsimoneortheenxeotrcutrsieong                                                                                                                            ,oneormoreobythedperfvaoitrmconesg setsforbytheoneormoreidnestfriucnteiodn
             pdraneweicgtivuranelg
                                                                               dpigctuarle                                                                                                                picture                                                                                                                                               picture                                                                                                                                                                                           picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            31
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            FIG




 6Me1t0hod
                                                                                                                                                                                                             withtheoneorpdfcoircgertilausritnelg
                                                                                     oforsioneormrnpecotrauitrcvsenog                                                                                                                                                                                                                                                thewcpdfsoirtcgoeritluashrnetldg
                   pdafriecgtriuvsriatnelg                                                                                                                                                                                                      dtheosetsformorei6115Steppensvtraiutc ineog                                                                                                             theosetsforimoreonepor6120Stepnestrautcinog

                                                                                                                        da6110
                                                                                                                          |eStepvice
                                                                                                                                                                                                                                                                                                                                                                                                                                                device
                                     6105Step
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 38 of 131 PageID #: 623


 U.S. Patent                                    Jul . 6 , 2021                                                                                                                    Sheet 32 of 41                                                                                                                                                                             US 11,055,583 B1


                   6220Step                                                                        6S2te5p


                                                                                                                                                                                                                  odcthewithfStep6230peirvgeariltscnaetgld                                                                                                                                                     6235Stepdfthewithciopergrivetlasctilendg
                                                siforormtheoneanteoircutrpaiseongdthefwcoipergvriatlsicahntelgdbmaplonateaitrcawseiucarhtdnle pdandthefnewicgrtiusratel              forismtheoneorenxetorcutriseong                                                                                                                          ,oneormoreobythedperfvaotrimconesgsetsforbytheoneormoreidnestfriucnteiodn
             pdraneweicgtivuranelg
                                                                                                                                                                                                                                                         picture                                                                                                                                                                                    picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                              32
                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                              FIG




 M6e2th0od
                                                                                                                             forosioneormrnpecotrauitrcvsenog                                                                                                thewcpdfloiercagtrilnuastrheldg
                   pdafriecgtriuvsriatnelg                                                                                                                                                                                                                                                 theosetsforimoreor6215oneSteppnestrautcinog

                                                                                                                                                                da6210eStepvice
                                                                                                                                                                                                                                                                                                                                     device
                                     6205Step
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 39 of 131 PageID #: 624


 U.S. Patent                                                                     Jul . 6 , 2021                                                                                                                                             Sheet 33 of 41                                                                                                                                                                                                                                      US 11,055,583 B1


                     6325Step                                                               6S3te0p                                                                                                             6S3te5p


                                                                                                                                                                                                                                                                                                                                                            octhedwsfpStep6340ertivrailtescanhetgmd                                                                                                                                                               6345Stepsfthewithcdtoireprvlsiatcmiendg
                                                        wpdsofthenewciotmgrpituaerhinmlsg                                                              mapisatldthatteahrtaemicsrnahtelg thenewsbpofdandeitcgrwieutraemnls                                                                                                   setsforimoneortheensxotrcurtieong                                                                                                                                  ,oneormoreobythedperfvaotrimconesg setsforbytheoneormoreidnestfriucnteiodn
             pofdanewsrietcgriuevtranmlsg
                                                                                     thefsofdptigcrtiesuartmels                                                                                                          fsofdptigcrtiesuartmels
                                                                                                                                                                                                                                                                                                                                                                                              ofdpicgtiuraels                                                                                                                                                                                          ofdpicgtiuraels
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         33
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         FIG




 M6e3th0od
                                                                                                  forosioneormrnpecotrauitrcvsenog                                                                                                    wpofdsthefcoitrcgerilutasiehtnmlsg                                                                                                                               cpdofsftheoirtcgoerilutasentmldg
                       pofdsafreitcgrieuvtsrantmlsg                                                                                                                                                                                                                   theoforsetsmoreioneor6315Steppnsetrautcinog                                                                                                                     osetsforiormorewiththeoneStep6320npsetrautcinog

                                                                                                                                                                                                                                                                                                                    device                                                                                                                                                          thedevice
                                                                                                                                     da6310eStepvice
                                             6305Step
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 40 of 131 PageID #: 625


 U.S. Patent                                                             Jul . 6 , 2021                                                                                                                                                                    Sheet 34 of 41                                                                                                                                                     US 11,055,583 B1


                    6425Step                                                        6S4t3e0p                                                                                                                                            6435Step                                                                                           6440Step                                                                                                                6445Step



                                                 thefwithpnewdciomgrptiasuritenlg                                                                                                  maplisatthattdeahrtaemicsrnahtelgpthenewdbandfiegtcriwteusartlne                                                                      input
                                                                                                                                                                                                                                                                                                                         creicrecivuintg
                                                                                                                                                                                                                                                                                                                          logic
                                                                                                                                                                                                                                                                                                                          by
                                                                                                                                                                                                                                                                                                                          one
                                                                                                                                                                                                                                                                                                                          least
                                                                                                                                                                                                                                                                                                                          at
                                                                                                                                                                                                                                                                                                                          the
                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                                                                                                                              oneo,atlbythedperfvoaritmscontegdbyoneoatlfortheepuftraipntsueitndg
              pdraneweicgtivuranelg
                                                                                                                                                                                                                                                                                                                                       cwthedfporigceriltasuhretdl                                                                                                                                  clbythepdireovdgcuicetd
                                                                                dpigctuarle                                                                                                                                                           picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              34
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              FIG




  6Me4th0od
                                                                                      atlwthe,oneirhencaeprisuvitng,andcbyalogicroneinputarealsoiecreiuvietd for,theoandpiurntopdutcse                                                                          theatlwithpdcfoiercgartilusraitnelg                                                                  withtheatcpdfsoirtcgoeriluatsrnetldg
                    pdafriecgtriuvsriatnelg                                                                                          rtocislthewoe6410Stepinhcofregiuevrictdn
                                                                                                                                                                                     doapevraitceng
                                                                                                                                                                                                                                                                                                      ione6415Stepnput                                                                                 ionel6420Stepnepaust
                                      6405Step
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 41 of 131 PageID #: 626


 U.S. Patent                                                            Jul . 6 , 2021                                                                                                                                                                                       Sheet 35 of 41                                                                                                                                                                                                        US 11,055,583 B1


                   6525Step                                                        6S5t3e0p                                                                                                                                                                 6535Step                                                                                                             6540Step



                                                thefwithpnewdciomgrptiasuritenlg                                                                                                                     maplisatthattdeahrtaemicsrnahtelgpthenewdbandfiegtcriwteusartlne                                                                        oneo,atlbythedperfvaoirtsmcotneg wconeobytheatldeuriftealpnsutehd
             pdraneweicgtivuranelg
                                                                               dpigctuarle                                                                                                                                                                                                                                                                                                                       thefdpigcritsuartle
                                                                                                                                                                                                                                                                        picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                35
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                FIG




 M6e5th0od
                                                                                     one,theatloreucteaipvsuintg fromaltthe
                                                                                                                 ,wcrhiaonersgcmieut centd                                                                                                                                        withtheatlpdfcoiercgartilustraitnelg                                                                                                                 theatwcpdfsoirtcgoertiluasthrneldg
                   pdafriecgtriuvsriatnelg                                                                                               pandirtocis6510Soencptfrdeiugtcvripsetddaoforthe,peutvrapituctnesg

                                                                                                                                                                                                                                                                                                                         oone6515Steputput                                                                                                                                  oonl6520Stepuetapsut
                                     6505Step
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 42 of 131 PageID #: 627


 U.S. Patent                                                            Jul . 6 , 2021                                                                                                                                                                                                Sheet 36 of 41                                                                                                                                                      US 11,055,583 B1


                   6425Step                                                        6St3e0p                                                                                                                                                                           6635Step                                                                                          6440Step



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   dbytheatonelciwithStep6445eonrfiapelnsuaetd
                                                thefwithpnewdciomgrptiasuritenlg                                                                                                                              maplisatthattdeahrtaemicsrnahtelgpthenewdbandfiegtcriwteusartlne                                                                      arecteuiavtionrg
                                                                                                                                                                                                                                                                                                                                                     by
                                                                                                                                                                                                                                                                                                                                                     input
                                                                                                                                                                                                                                                                                                                                                     one
                                                                                                                                                                                                                                                                                                                                                     least
                                                                                                                                                                                                                                                                                                                                                     at
                                                                                                                                                                                                                                                                                                                                                     the
                                                                                                                                                                                                                                                                                                                                                     ,                                                                                                    mone,atlaby
                                                                                                                                                                                                                                                                                                                                                                                                                                                           thepecortfuaoirsomtitnrg
             pdraneweicgtivuranelg
                                                                                                                                                                                                                                                                                                                                                                   cwthefdoprigcerlitasuhertdl
                                                                               dpigctuarle                                                                                                                                                                                                                                                                                                                                                                                                                                fdpigcritsuartle
                                                                                                                                                                                                                                                                                 picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             36
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             FIG




  M6eth0od
                                                                                     ltheatwi,onerhencaeprisuvitng,andbyanaarealsoroneicentuepaiutvoetrd                                                                                                                                   theatlwithpdcfoiercgartilusraitnelg                                                                   withtheatcpdfsoirtcgoeriluatsrnetldg
                   pdafriecgtriuvsriatnelg                                                                                                             irtocaisthew6610,Stepoenhctpfeuirgatevoisrdn
                                                                                                                                                                                                 mpandoetrifonrsm
                                                                                                                                                                                                                                                                                                                                 ione6615Stepnput                                                                                  ionel6420Stepnepaust
                                     6605Step
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 43 of 131 PageID #: 628


 U.S. Patent              Jul . 6 , 2021
                                     2           Sheet 37 of 41   US 11,055,583 B1



                                         1




                                 1

                             1
                             1                   1                     37
                                                                       .
                                                                       FIG
                  98a


                      >




                  >




              >



                                             H
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 44 of 131 PageID #: 629


 U.S. Patent                       Jul . 6 , 2021
                                         2          Sheet 38 of 41   US 11,055,583 B1




                          3




       306
             906
                   90a         E
                         98a
                                                        1
                                                                            .
                                                                            FIG
                                                                            38
                         98a
                                                    1

                   90a
                               906
                                 906
                                             ??
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 45 of 131 PageID #: 630


 U.S. Patent          Jul . 6 , 2021
                            2          Sheet 39 of 41    US 11,055,583 B1




   @
                                                                        39
                                                                        .
                                                                        FIG
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 46 of 131 PageID #: 631


 U.S. Patent          Jul . 6 , 2021
                              2        Sheet 40 of 41    US 11,055,583 B1




                                                                        40
                                                                        .
                                                                        FIG




                       2018
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 47 of 131 PageID #: 632


 U.S. Patent          Jul . 6 , 2021         Sheet 41 of 41   US 11,055,583 B1




                                       98d
                                             06




                                                                           41
                                                                           .
                                                                           FIG
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 48 of 131 PageID #: 633


                                                    US 11,055,583 B1
                               1                                                                  2
      MACHINE LEARNING FOR COMPUTING                             for operating the device correlated with the first digital
       ENABLED SYSTEMS AND/OR DEVICES                            picture , the executing performed in response to the antici
                                                                 pating of the artificial intelligence unit , wherein the device
             CROSS REFERENCE TO RELATED                          performs one or more operations defined by the one or more
                        APPLICATION                            5 instruction sets for operating the device correlated with the
                                                                 first digital picture, the one or more operations performed in
    This application is a continuation of, and claims priority response to the executing by the processor circuit .
 under 35 U.S.C. § 120 from , nonprovisional U.S. patent circuit    In certain embodiments , at least one of the processor
 application Ser. No. 15 / 822,150 entitled “ MACHINE                    , the memory unit , the picture capturing apparatus, or
 LEARNING FOR COMPUTING ENABLED SYSTEMS 10 the                         artificial intelligence unit are part of, operating on , or
 AND /OR DEVICES ” , filed on Nov. 26 , 2017. The disclo coupled to the device . In further embodiments, the device
 sure of the foregoing document is incorporated herein by includes one or more devices . In further embodiments, the
 reference .                                                     device includes a smartphone, a fixture , a control device, a
                                                                 computing enabled device , or a computer.
                            FIELD                             15    In some embodiments, the processor circuit includes one
                                                                 or more processor circuits . In further embodiments, the
    The disclosure generally relates to computing enabled processor circuit includes a logic circuit . The logic circuit
 systems and /or devices.                                        may include a microcontroller. The one or more instruction
                                                                 sets may include one or more inputs into or one or more
                    COPYRIGHT NOTICE                          20 outputs from the logic circuit .
                                                                    In certain embodiments , the processor circuit includes a
    A portion of the disclosure of this patent document logic circuit, the instruction sets for operating the device
 contains material which is subject to copyright protection. include inputs into the logic circuit , and executing instruc
 The copyright owner has no objection to the facsimile tion sets for operating the device includes performing logic
 reproduction by anyone of the patent document or the patent 25 operations on the inputs into the logic circuit and producing
 disclosure as it appears in the Patent and Trademark Office outputs for operating the device. The logic circuit may
 patent file or records, but otherwise reserves all copyright include a microcontroller. In further embodiments, the pro
 rights whatsoever.                                              cessor circuit includes a logic circuit , the instruction sets for
                                                                 operating the device include outputs from the logic circuit
                       BACKGROUND                             30 for operating the device, and executing instruction sets for
                                                                 operating the device includes performing logic operations on
    Computing enabled systems and / or devices range from inputs into the logic circuit and producing the outputs from
 appliances, toys , entertainment electronics, computers, and the logic circuit for operating the device .
 communication systems and / or devices to vehicles, robots ,          In some embodiments , the memory unit includes one or
 and industrial systems and / or devices, and / or others. These 35 more memory units . In further embodiments, the memory
 systems and /or devices depend on user's input to various unit resides on a remote computing device , the remote
 degrees for their operation. A machine learning solution is computing device coupled to the processor circuit via a
 needed for computing enabled systems and / or devices to be network . The remote computing device may include a
 less dependent on or fully independent from user input.             server.
                                                                40    In some embodiments, the picture capturing apparatus
             SUMMARY OF THE INVENTION                              includes one or more picture capturing apparatuses. In
                                                                   further embodiments , the picture capturing apparatus
    In some aspects , the disclosure relates to a system . The includes a motion picture camera or a still picture camera . In
 system may be implemented at least in part on one or more further embodiments, the picture capturing apparatus resides
 computing devices. In some embodiments, the system com- 45 on a remote device, the remote device coupled to the
 prises a processor circuit configured to execute instruction processor circuit via a network .
 sets for operating a device . The system may further include         In certain embodiments , the artificial intelligence unit is
 a memory unit configured to store data . The system may coupled to the picture capturing apparatus. In further
 further include a picture capturing apparatus configured to embodiments, the artificial intelligence unit is coupled to the
 capture digital pictures. The system may further include an 50 memory unit. In further embodiments, the artificial intelli
 artificial intelligence unit. In some embodiments, the artifi- gence unit is part of, operating on , or coupled to the
 cial intelligence unit may be configured to : receive a first processor circuit . In further embodiments, the system further
 digital picture from the picture capturing apparatus. The comprises: a second processor circuit, wherein the artificial
 artificial intelligence unit may be further configured to : intelligence unit is part of, operating on , or coupled to the
 receive one or more instruction sets for operating the device 55 second processor circuit . In further embodiments, the arti
 from the processor circuit. The artificial intelligence unit ficial intelligence unit is part of, operating on , or coupled to
 may be further configured to : learn the first digital picture a remote computing device, the remote computing device
 correlated with the one or more instruction sets for operating coupled to the processor circuit via a network . In further
 the device. The artificial intelligence unit may be further embodiments, the artificial intelligence unit includes a cir
 configured to : receive a new digital picture from the picture 60 cuit , a computing apparatus, or a computing system attach
 capturing apparatus. The artificial intelligence unit may be able to the processor circuit. In further embodiments, the
 further configured to : anticipate the one or more instruction artificial intelligence unit includes a circuit, a computing
 sets for operating the device correlated with the first digital apparatus, or a computing system attachable to the device . In
 picture based on at least a partial match between the new further embodiments, the artificial intelligence unit is attach
 digital picture and the first digital picture. The artificial 65 able to an application for operating the device , the applica
 intelligence unit may be further configured to : cause the tion running on the processor circuit . In further embodi
 processor circuit to execute the one or more instruction sets ments, the artificial intelligence unit includes a circuit, a
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 49 of 131 PageID #: 634


                                                     US 11,055,583 B1
                               3                                                                    4
 computing apparatus, or a computing system built into the time subsequent to the capturing the first digital picture. The
 processor circuit. In further embodiments, the artificial intel- one or more instruction sets that temporally correspond to
 ligence unit includes a circuit, a computing apparatus, or a the first digital picture may include one or more instruction
 computing system built into the device . In further embodi- sets executed within a threshold period of time prior to the
 ments, the artificial intelligence unit is built into an appli- 5 capturing the first digital picture or a threshold period of
 cation for operating the device , the application running on time subsequent to the capturing the first digital picture. The
 the processor circuit. In further embodiments, the artificial one or more instruction sets that temporally correspond to
 intelligence unit is provided as a feature of the processor the first digital picture may include one or more instruction
 circuit . In further embodiments, the artificial intelligence sets executed from a start of capturing a preceding digital
 unit is provided as a feature of an application running on the 10 picture to a start of capturing the first digital picture. The one
 processor circuit. In further embodiments, the artificial intel- or more instruction sets that temporally correspond to the
 ligence unit is provided as a feature of the device . In further first digital picture may include one or more instruction sets
 embodiments, the artificial intelligence unit is further con- executed from a start of capturing the first digital picture to
 figured to : take control from , share control with, or release a start of capturing a subsequent digital picture . The one or
 control to the processor circuit. In further embodiments, the 15 more instruction sets that temporally correspond to the first
 artificial intelligence unit is further configured to : take digital picture may include one or more instruction sets
 control from , share control with , or release control to an executed from a completion of capturing a preceding digital
 application or an object of the application , the application picture to a completion of capturing the first digital picture .
 running on the processor circuit . In further embodiments , the The one or more instruction sets that temporally correspond
 artificial intelligence unit is further configured to : take 20 to the first digital picture include one or more instruction sets
 control from , share control with , or release control to a user executed from a completion of capturing the first digital
 or a system .                                                        picture to a completion of capturing a subsequent digital
    In some embodiments , the first digital picture includes a picture.
 stream of digital pictures. In further embodiments , the new            In some embodiments, the one or more instruction sets for
 digital picture includes a stream of digital pictures. In further 25 operating the device are executed by the processor circuit. In
 embodiments, the first and the new digital pictures portray further embodiments, the one or more instruction sets for
 the device's surrounding. In further embodiments, the first operating the device are part of an application for operating
 and the new digital pictures portray a remote device's the device , the application running on the processor circuit .
 surrounding. In further embodiments, the first or the new In further embodiments, the one or more instruction sets for
 digital picture includes a JPEG picture , a GIF picture, a TIFF 30 operating the device include one or more inputs into or one
 picture , a PNG picture, a PDF picture, or a digitally encoded or more outputs from the processor circuit . In further
 picture . The stream of digital pictures may include a MPEG embodiments, the one or more instruction sets for operating
 motion picture, an AVI motion picture, a FLV motion the device include values or states of one or more registers
 picture, a MOV motion picture, a RM motion picture, a SWF or elements of the processor circuit . In further embodiments,
 motion picture , a WMV motion picture, a DivX motion 35 an instruction set includes at least one of: a command , a
 picture, or a digitally encoded motion picture. In further keyword, a symbol, an instruction , an operator, a variable , a
 embodiments, the first digital picture includes a comparative value , an object, a data structure, a function , a parameter, a
 digital picture whose at least one portion can be used for state , a signal, an input, an output , a character, a digit , or a
 comparisons with at least one portion of digital pictures           reference thereto . In further embodiments, the one or more
 subsequent to the first digital picture , the digital pictures 40 instruction sets include a source code , a bytecode , an inter
 subsequent to the first digital picture comprising the new mediate code , a compiled code, an interpreted code, a
 digital picture. In further embodiments, the first digital translated code , a runtime code, an assembly code , a struc
 picture includes a comparative digital picture that can be tured query language (SQL ) code , or a machine code. In
 used for comparisons with the new digital picture. In further further embodiments, the one or more instruction sets
 embodiments, the new digital picture includes an anticipa- 45 include one or more code segments , lines of code , state
 tory digital picture whose correlated one or more instruction ments, instructions, functions, routines, subroutines, or basic
 sets can be used for anticipation of one or more instruction blocks . In further embodiments, the processor circuit
 sets to be executed by the processor circuit .                    includes a logic circuit . The one or more instruction sets for
    In certain embodiments, the one or more instruction sets operating the device include one or more inputs into a logic
 for operating the device include one or more instruction sets 50 circuit . The one or more instruction sets for operating the
 that temporally correspond to the first digital picture. The device include one or more outputs from a logic circuit . In
 one or more instruction sets that temporally correspond to further embodiments, the one or more instruction sets for
 the first digital picture may include one or more instruction operating the device include one or more instruction sets for
 sets executed at a time of the capturing the first digital operating an application or an object of the application , the
 picture . The one or more instruction sets that temporally 55 application running on the processor circuit .
 correspond to the first digital picture may include one or           In some embodiments , the receiving the one or more
 more instruction sets executed prior to the capturing the first instruction sets for operating the device from the processor
 digital picture. The one or more instruction sets that tem- circuit includes obtaining the one or more instruction sets
 porally correspond to the first digital picture may include from the processor circuit. In further embodiments, the
 one or more instruction sets executed within a threshold 60 receiving the one or more instruction sets for operating the
 period of time prior to the capturing the first digital picture. device from the processor circuit includes receiving the one
 The one or more instruction sets that temporally correspond or more instruction sets as they are executed by the proces
 to the first digital picture may include one or more instruc- sor circuit . In further embodiments, the receiving the one or
 tion sets executed subsequent to the capturing the first digital more instruction sets for operating the device from the
 picture. The one or more instruction sets that temporally 65 processor circuit includes receiving the one or more instruc
 correspond to the first digital picture may include one or tion sets for operating the device from a register or an
 more instruction sets executed within a threshold period of element of the processor circuit . In further embodiments , the
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 50 of 131 PageID #: 635


                                                    US 11,055,583 B1
                               5                                                                  6
 receiving the one or more instruction sets for operating the more instruction sets for operating the device from the
 device from the processor circuit includes receiving the one processor circuit includes at least one of: tracing, profiling,
 or more instruction sets for operating the device from an or instrumentation of the processor circuit , the device , a
 element that is part of, operating on, or coupled to the virtual machine , a runtime engine, an operating system , an
 processor circuit . In further embodiments, the receiving the 5 execution stack , a program counter, or a processing element.
 one or more instruction sets for operating the device from In further embodiments, the receiving the one or more
 the processor circuit includes receiving the one or more instruction sets for operating the device from the processor
 instruction sets for operating the device from at least one of: circuit includes at least one of: tracing, profiling, or instru
 the memory unit , the device, a virtual machine , a runtime mentation of the processor circuit or tracing, profiling, or
 engine, a hard drive , a storage device, a peripheral device, a 10 instrumentation of a component of the processor circuit . In
 network connected device, or a user. In further embodi- further embodiments, the receiving the one or more instruc
 ments, the receiving the one or more instruction sets for tion sets for operating the device from the processor circuit
 operating the device from the processor circuit includes includes at least one of: tracing, profiling, or instrumentation
 receiving the one or more instruction sets from a plurality of of an application or an object of the application, the appli
 processor circuits , applications, memory units , devices, vir- 15 cation running on the processor circuit. In further embodi
 tual machines , runtime engines, hard drives , storage devices, ments, the receiving the one or more instruction sets for
 peripheral devices , network connected devices , or users .        operating the device from the processor circuit includes at
    In certain embodiments, the processor circuit includes a least one of: tracing, profiling, or instrumentation at a source
 logic circuit, and wherein the receiving the one or more code write time , a compile time , an interpretation time , a
 instruction sets for operating the device from the processor 20 translation time , a linking time , a loading time , or a runtime.
 circuit includes receiving the one or more instruction sets for In further embodiments, the receiving the one or more
 operating the device from the logic circuit . The logic circuit instruction sets for operating the device from the processor
 may include a microcontroller. The receiving the one or circuit includes at least one of: tracing, profiling, or instru
 more instruction sets for operating the device from the logic mentation of one or more of code segments, lines of code ,
 circuit may include receiving the one or more instruction 25 statements, instructions , functions , routines, subroutines, or
 sets for operating the device from an element of the logic basic blocks . In further embodiments, the receiving the one
 circuit . The receiving the one or more instruction sets for or more instruction sets for operating the device from the
 operating the device from the logic circuit may include processor circuit includes at least one of: tracing, profiling,
 receiving one or more inputs into the logic circuit. The or instrumentation of a user input. In further embodiments ,
 receiving the one or more instruction sets for operating the 30 the receiving the one or more instruction sets for operating
 device from the logic circuit may include receiving one or the device from the processor circuit includes at least one of:
 more outputs from the logic circuit.                               a manual, an automatic , a dynamic, or a just in time ( JIT )
    In some embodiments, the receiving the one or more tracing, profiling, or instrumentation. In further embodi
 instruction sets for operating the device from the processor ments, the receiving the one or more instruction sets for
 circuit includes receiving the one or more instruction sets for 35 operating the device from the processor circuit includes
 operating the device from an application for operating the utilizing at least one of: a .NET tool , a .NET application
 device, the application running on the processor circuit. In programming interface (API ) , a Java tool , a Java API , a
 further embodiments, the system further comprises : an logging tool , or an independent tool for obtaining instruction
 application including instruction sets for operating the sets. In further embodiments , the receiving the one or more
 device, the application running on the processor circuit , 40 instruction sets for operating the device from the processor
 wherein the receiving the one or more instruction sets for circuit includes utilizing an assembly language. In further
 operating the device from the processor circuit includes embodiments, the receiving the one or more instruction sets
 receiving the one or more instruction sets for operating the for operating the device from the processor circuit includes
 device from the application .                                      utilizing a branch or a jump. In further embodiments, the
    In certain embodiments, the receiving the one or more 45 receiving the one or more instruction sets for operating the
 instruction sets for operating the device from the processor device from the processor circuit includes a branch tracing
 circuit includes receiving the one or more instruction sets at or a simulation tracing.
 a source code write time , a compile time , an interpretation         In some embodiments, the system further comprises: an
 time , a translation time , a linking time , a loading time , or a interface configured to receive instruction sets , wherein the
 runtime. In further embodiments, the receiving the one or 50 one or more instruction sets for operating the device are
 more instruction sets for operating the device from the received by the interface. The interface may include an
 processor circuit includes at least one of: tracing, profiling, acquisition interface.
 or instrumentation of a source code , a bytecode , an inter-          In certain embodiments, the first digital picture correlated
 mediate code , a compiled code , an interpreted code, a with the one or more instruction sets for operating the device
 translated code , a runtime code , an assembly code , a struc- 55 includes a unit of knowledge of how the device operated in
 tured query language ( SQL ) code , or a machine code . In a visual surrounding. In further embodiments, the first
 further embodiments, the receiving the one or more instruc- digital picture correlated with the one or more instruction
 tion sets for operating the device from the processor circuit sets for operating the device is included in a neuron , a node ,
 includes at least one of: tracing, profiling, or instrumentation a vertex, or an element of a data structure . The data structure
 of an element that is part of, operating on , or coupled to the 60 may include a neural network , a graph, a collection of
 processor circuit . In further embodiments, the receiving the sequences, a sequence , a collection of knowledge cells , a
 one or more instruction sets for operating the device from knowledgebase, or a knowledge structure . Some of the
 the processor circuit includes at least one of: tracing, pro- neurons, nodes, vertices, or elements may be interconnected .
 filing, or instrumentation of a register of the processor             In some embodiments , the first digital picture correlated
 circuit , the memory unit, a storage, or a repository where the 65 with the one or more instruction sets for operating the device
 one or more instruction sets for operating the device are is structured into a knowledge cell . In further embodiments ,
 stored . In further embodiments, the receiving the one or          the knowledge cell includes a unit of knowledge of how the
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 51 of 131 PageID #: 636


                                                      US 11,055,583 B1
                                7                                                                    8
 device operated in a visual surrounding. In further embodi- include at least one of: a deep learning system , a supervised
 ments, the knowledge cell is included in a neuron , a node, learning system , an unsupervised learning system , a neural
 a vertex , or an element of a data structure . The data structure network , a search -based system , an optimization - based sys
 may include a neural network , a graph , a collection of tem , a logic -based system , a fuzzy logic -based system , a
 sequences, a sequence , a collection of knowledge cells , a 5 tree -based system , a graph -based system , a hierarchical
 knowledgebase, or a knowledge structure. Some of the system , a symbolic system , a sub -symbolic system , an
 neurons, nodes , vertices, or elements may be interconnected . evolutionary system , a genetic system , a multi -agent system ,
    In certain embodiments, the learning the first digital a deterministic system , a probabilistic system , or a statistical
 picture correlated with the one or more instruction sets for system .
 operating the device includes correlating the first digital 10 In certain embodiments , the anticipating the one or more
 picture with the one or more instruction sets for operating instruction sets for operating the device correlated with the
 the device . The correlating the first digital picture with the first digital picture based on at least a partial match between
 one or more instruction sets for operating the device may the new digital picture and the first digital picture includes
 include generating a knowledge cell , the knowledge cell comparing at least one portion of the new digital picture with
 comprising the first digital picture correlated with the one or 15 at least one portion of the first digital picture . The at least
 more instruction sets for operating the device . The correlat- one portion of the new digital picture may include at least
 ing the first digital picture with the one or more instruction one region, at least one feature , or at least one pixel of the
 sets for operating the device may include structuring a unit new digital picture. The at least one portion of the first
 of knowledge of how the device operated in a visual digital picture may include at least one region, at least one
 surrounding.                                                     20 feature , or at least one pixel of the first digital picture . The
    In some embodiments, the learning the first digital picture comparing the at least one portion of the new digital picture
 correlated with the one or more instruction sets for operating with the at least one portion of the first digital picture may
 the device includes learning a user's knowledge, style, or include comparing at least one region of the new digital
 methodology of operating the device in a visual surround- picture with at least one region of the first digital picture.
 ing . In further embodiments, the learning the first digital 25 The comparing the at least one portion of the new digital
 picture correlated with the one or more instruction sets for picture with the at least one portion of the first digital picture
 operating the device includes spontaneous learning the first may include comparing at least one feature of the new digital
 digital picture correlated with the one or more instruction picture with at least one feature of the first digital picture.
 sets for operating the device .                                     The at least one portion of the new digital picture with the
    In some embodiments, the learning the first digital picture 30 at least one portion of the first digital picture may include
 correlated with the one or more instruction sets for operating comparing at least one pixel of the new digital picture with
 the device includes storing, into the memory unit, the first at least one pixel of the first digital picture. The comparing
 digital picture correlated with the one or more instruction the at least one portion of the new digital picture with the at
 sets for operating the device, the first digital picture corre- least one portion of the first digital picture may include at
 lated with the one or more instruction sets for operating the 35 least one of: performing a color adjustment, performing a
 device being part of a stored plurality of digital pictures size adjustment, performing a content manipulation, utiliz
 correlated with one or more instruction sets for operating the ing a transparency, or utilizing a mask on the new or the first
 device. In further embodiments, the plurality of digital digital picture. The comparing the at least one portion of the
 pictures correlated with one or more instruction sets for new digital picture with the at least one portion of the first
 operating the device include a neural network, a graph , a 40 digital picture may include recognizing at least one person
 collection of sequences , a sequence , a collection of knowl- or object in the new digital picture and at least one person
 edge cells , a knowledgebase, a knowledge structure , or a or object in the first digital picture, and comparing the at
 data structure. In further embodiments, the plurality of least one person or object from the new digital picture with
 digital pictures correlated with one or more instruction sets the at least one person or object from the first digital picture .
 for operating the device are organized into a neural network , 45 In some embodiments, he anticipating the one or more
 a graph , a collection of sequences , a sequence , a collection instruction sets for operating the device correlated with the
 of knowledge cells , a knowledgebase, a knowledge struc- first digital picture based on at least a partial match between
 ture, or a data structure . In further embodiments, each of the the new digital picture and the first digital picture includes
 plurality of digital pictures correlated with one or more determining that there is at least a partial match between the
 instruction sets for operating the device is included in a 50 new digital picture and the first digital picture . In further
 neuron , a node , a vertex , or an element of a data structure . embodiments, the determining that there is at least a partial
 The data structure may include a neural network , a graph , a match between the new digital picture and the first digital
 collection of sequences, a sequence , a collection of knowl- picture includes determining that there is at least a partial
 edge cells , a knowledgebase , or a knowledge structure . match between one or more portions of the new digital
 Some of the neurons, nodes, vertices , or elements may be 55 picture and one or more portions of the first digital picture.
 interconnected . In further embodiments , the plurality of In further embodiments, the determining that there is at least
 digital pictures correlated with one or more instruction sets a partial match between the new digital picture and the first
 for operating the device include a user's knowledge, style, or digital picture includes determining that a similarity between
 methodology of operating the device in visual surroundings. at least one portion of the new digital picture and at least one
 In further embodiments, the plurality of digital pictures 60 portion of the first digital picture exceeds a similarity
 correlated with one or more instruction sets for operating the threshold . In further embodiments , the determining that
 device are stored on a remote computing device. In further there is at least a partial match between the new digital
 embodiments, the plurality of digital pictures correlated with picture and the first digital picture includes determining a
 one or more instruction sets for operating the device include substantial similarity between at least one portion of the new
 an artificial intelligence system for knowledge structuring, 65 digital picture and at least one portion of the first digital
 storing, or representation . The artificial intelligence system picture . The at least one portion of the new digital picture
 for knowledge structuring, storing , or representation may may include at least one region , at least one feature, or at
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 52 of 131 PageID #: 637


                                                     US 11,055,583 B1
                               9                                                                   10
 least one pixel of the new digital picture. The at least one        or more instruction sets for operating the device correlated
 portion of the first digital picture may include at least one with the first digital picture includes modifying a register or
 region , at least one feature , or at least one pixel of the first an element of the processor circuit . In further embodiments,
 digital picture. The substantial similarity may be achieved the causing the processor circuit to execute the one or more
 when a similarity between the at least one portion of the new 5 instruction sets for operating the device correlated with the
 digital picture and the at least one portion of the first digital
 picture exceeds a similarity threshold . The substantial simi first      digital picture includes inserting the one or more
                                                                    instruction sets for operating the device correlated with the
 larity may be achieved when a number or a percentage of first digital picture into a register or an element of the
 matching or partially matching regions from the new digital processor          circuit. In further embodiments, the causing the
 picture and from the first digital picture exceeds a threshold 10 processor circuit
 number or threshold percentage. The substantial similarity for operating theto device    execute the one or more instruction sets
 may be achieved when a number or a percentage of match picture includes redirectingcorrelated     the
                                                                                                             with the first digital
                                                                                                       processor circuit to the one
 ing or partially matching features from the new digital or more instruction sets for operating the device               correlated
 picture and from the first digital picture exceeds a threshold with the first digital picture. In further embodiments         , the
 number or threshold percentage . The substantial similarity 15 causing the processor circuit to execute the one or more
 may be achieved when a number or a percentage of match
 ing or partially matching pixels from the new digital picture instruction sets for operating the device correlated with the
 and from the first digital picture exceeds a threshold number first digital picture includes redirecting the processor circuit
 or threshold percentage. The substantial similarity may be to one or more alternate instruction sets , the alternate
 achieved when one or more same or similar objects are 20 instruction sets comprising the one or more instruction sets
 recognized in the new digital picture and the first digital for operating the device correlated with the first digital
 picture. In further embodiments, the determining that there         picture. In further embodiments, the causing the processor
 is at least a partial match between the new digital picture and     circuit to execute the one or more instruction sets for
 the first digital picture includes determining that a number or operating the device correlated with the first digital picture
 a percentage of matching regions from the new digital 25 includes transmitting, to the processor circuit for execution ,
 picture and from the first digital picture exceeds a threshold the one or more instruction sets for operating the device
 number or threshold percentage. The matching regions from correlated with the first digital picture. In further embodi
 the new digital picture and from the first digital picture may ments, the executing the one or more instruction sets for
 be determined factoring in at least one of: a location of a operating the device correlated with the first digital picture
 region , an importance of a region , a threshold for a similarity 30 includes issuing an interrupt to the processor circuit and
 in a region, or a threshold for a difference in a region . In executing the one or more instruction sets for operating the
 further embodiments, the determining that there is at least a device correlated with the first digital picture following the
 partial match between the new digital picture and the first interrupt. In further embodiments, the causing the processor
 digital picture includes determining that a number or a circuit to execute the one or more instruction sets for
 percentage of matching features from the new digital picture 35 operating the device correlated with the first digital picture
 and from the first digital picture exceeds a threshold number includes modifying an element that is part of, operating on ,
 or threshold percentage. The matching features from the new or coupled to the processor circuit .
 digital picture and from the first digital picture may be               In certain embodiments, the processor circuit includes a
 determined factoring in at least one of: a type of a feature, logic circuit , and wherein the causing the processor circuit
 an importance of a feature, a location of a feature, a 40 to execute the one or more instruction sets for operating the
 threshold for a similarity in a feature , or a threshold for a device correlated with the first digital picture includes
 difference in a feature . In further embodiments, the deter- causing the logic circuit to execute the one or more instruc
 mining that there is at least a partial match between the new tion sets for operating the device correlated with the first
 digital picture and the first digital picture includes determin- digital picture . The logic circuit may include a microcon
 ing that a number or a percentage of matching pixels from 45 troller. The causing the logic circuit to execute the one or
 the new digital picture and from the first digital picture more instruction sets for operating the device correlated with
 exceeds a threshold number or threshold percentage . The the first digital picture may include modifying an element of
 matching pixels from the new digital picture and from the the logic circuit. The causing the logic circuit to execute the
 first digital picture may be determined factoring in at least one or more instruction sets for operating the device corre
 one of: a location of a pixel , a threshold for a similarity in 50 lated with the first digital picture may include inserting the
 a pixel , or a threshold for a difference in a pixel . In further one or more instruction sets for operating the device corre
 embodiments, the determining that there is at least a partial lated with the first digital picture into an element of the logic
 match between the new digital picture and the first digital circuit. The causing the logic circuit to execute the one or
 picture includes recognizing a same person or object in the more instruction sets for operating the device correlated with
 new and the first digital pictures.                               55 the first digital picture may include redirecting the logic
    In some embodiments , the causing the processor circuit to circuit to the one or more instruction sets for operating the
 execute the one or more instruction sets for operating the device correlated with the first digital picture. The causing
 device correlated with the first digital picture includes the logic circuit to execute the one or more instruction sets
 causing the processor circuit to execute the one or more for operating the device correlated with the first digital
 instruction sets for operating the device correlated with the 60 picture may include replacing inputs into the logic circuit
 first digital picture instead of or prior to an instruction set with the one or more instruction sets for operating the device
 that would have been executed next. In further embodi-              correlated with the first digital picture . The causing the logic
 ments, the causing the processor circuit to execute the one         circuit to execute the one or more instruction sets for
 or more instruction sets for operating the device correlated operating the device correlated with the first digital picture
 with the first digital picture includes modifying one or more 65 may include replacing outputs from the logic circuit with the
 instruction sets of the processor circuit. In further embodi- one or more instruction sets for operating the device corre
 ments, the causing the processor circuit to execute the one lated with the first digital picture.
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 53 of 131 PageID #: 638


                                                       US 11,055,583 B1
                             11                                                                      12
    In certain embodiments, the causing the processor circuit          cessor circuit to execute the one or more instruction sets for
 to execute the one or more instruction sets for operating the         operating the device correlated with the first digital picture
 device correlated with the first digital picture includes includes a manual, an automatic, a dynamic , or a just in time
 causing an application for operating the device to execute ( JIT ) instrumentation of an application , the application run
 the one or more instruction sets for operating the device 5 ning on the processor circuit . In further embodiments, the
 correlated with the first digital picture, the application run- causing the processor circuit to execute the one or more
 ning on the processor circuit.                                      instruction sets for operating the device correlated with the
    In further embodiments, the system further comprises: an first         digital picture includes utilizing one or more of a .NET
 application including instruction sets for operating the tool
 device , the application running on the processor circuit , 10 Java atool.NET
                                                                         ,            application programming interface ( API ) , a
 wherein the causing the processor circuit to execute the one independent tool forAPImodifying
                                                                                 ,  a Java       , an operating system tool , or an
                                                                                                           instruction sets . In further
 or more instruction sets for operating the device correlated embodiments, the causing the processor                circuit to execute
 with the first digital picture includes modifying the appli the one or more instruction sets for operating                  the device
 cation .
    In further embodiments, the causing the    processor  circuit 15 correlated    with the first digital picture includes   utilizing at
                                                                     least one of: a dynamic , an interpreted, or a scripting
 to execute the one or more instruction sets for operating the programming
 device correlated with the first digital picture includes                            language. In further embodiments , the causing
 redirecting an application to the one or more instruction sets the processor circuit to execute the one or more instruction
 for operating the device correlated with the first digital sets for operating the device correlated with the first digital
 picture, the application running on the processor circuit . In 20 picture includes utilizing at least one of: a dynamic code, a
 further embodiments, the causing the processor circuit to dynamic class loading , or a reflection . In further embodi
 execute the one or more instruction sets for operating the ments, the causing the processor circuit to execute the one
 device correlated with the first digital picture includes or more instruction sets for operating the device correlated
 redirecting an application to one or more alternate instruc- with the first digital picture includes utilizing an assembly
 tion sets, the application running on the processor circuit, the 25 language . In further embodiments, the causing the processor
 alternate instruction sets comprising the one or more instruc-        circuit to execute the one or more instruction sets for
 tion sets for operating the device correlated with the first          operating the device correlated with the first digital picture
 digital picture . In further embodiments, the causing the             includes utilizing at least one of: a metaprogramming, a
 processor circuit to execute the one or more instruction sets
 for operating the device correlated with the first digital 30 Inselffurther
 picture includes modifying one or more instruction sets of an
                                                                      -modifying code , or an instruction set modification tool .
                                                                             embodiments, the causing the processor circuit to
 application, the application running on the processor circuit .       execute the one or more instruction sets for operating the
 In further embodiments, the causing the processor circuit to       device correlated with the first digital picture includes
 execute the one or more instruction sets for operating the         utilizing at least one of: just in time ( JIT) compiling, JIT
 device correlated with the first digital picture includes 35 interpretation      , JIT
                                                                    binary rewriting  . In translation, dynamic , recompiling
                                                                                            further embodiments    the causing, the
                                                                                                                                 or
 modifying a source code , a bytecode, an intermediate code , processor        circuit to execute the one or more instruction sets
 a compiled code , an interpreted code , a translated code , a
 runtime code, an assembly code , or a machine code . In for operating the device correlated with the first digital
 further embodiments, the causing the processor circuit to picture includes utilizing at least one of: a dynamic expres
 execute the one or more instruction sets for operating the 40 sion creation , a dynamic expression execution , a dynamic
 device correlated with the first digital picture includes function creation, or a dynamic function execution . In
 modifying at least one of: the memory unit, a register of the further embodiments, the causing the processor circuit to
 processor circuit, a storage , or a repository where instruction execute the one or more instruction sets for operating the
 sets are stored or used . In further embodiments, the causing device correlated with the first digital picture includes
 the processor circuit to execute the one or more instruction 45 adding or inserting additional code into a code of an appli
 sets for operating the device correlated with the first digital cation, the application running on the processor circuit. In
 picture includes modifying one or more instruction sets for further embodiments, the causing the processor circuit to
 operating an application or an object of the application , the execute the one or more instruction sets for operating the
 application running on the processor circuit . In further device correlated with the first digital picture includes at
 embodiments, the causing the processor circuit to execute 50 least one of: modifying, removing, rewriting, or overwriting
 the one or more instruction sets for operating the device a code of an application, the application running on the
 correlated with the first digital picture includes modifying at processor circuit. In further embodiments, the causing the
 least one of: an element of the processor circuit , an element processor circuit to execute the one or more instruction sets
 of the device , a virtual machine , a runtime engine, an for operating the device correlated with the first digital
 operating system , an execution stack , a program counter, or 55 picture includes at least one of: branching, redirecting,
 a user input. In further embodiments, the causing the pro- extending, or hot swapping a code of an application , the
 cessor circuit to execute the one or more instruction sets for application running on the processor circuit . The branching
 operating the device correlated with the first digital picture or redirecting the code may include inserting at least one of:
 includes modifying one or more instruction sets at a source a branch , a jump, or a means for redirecting an execution . In
 code write time , a compile time , an interpretation time , a 60 further embodiments, the executing the one or more instruc
 translation time , a linking time , a loading time , or a runtime. tion sets for operating the device correlated with the first
 In further embodiments, the causing the processor circuit to digital picture includes implementing a user's knowledge,
 execute the one or more instruction sets for operating the style, or methodology of operating the device in a visual
 device correlated with the first digital picture includes surrounding
 modifying one or more code segments, lines of code, 65 In some embodiments, the system further comprises: an
 statements, instructions, functions, routines , subroutines, or interface configured to cause execution of instruction sets ,
 basic blocks . In further embodiments , the causing the pro- wherein the executing the one or more instruction sets for
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 54 of 131 PageID #: 639


                                                     US 11,055,583 B1
                               13                                                                  14
 operating the device correlated with the first digital picture an extra information correlated with the first digital picture
 is caused by the interface . The interface may include a may include determining that a similarity between an extra
 modification interface .                                             information correlated with the new digital picture and an
    In certain embodiments, the one or more operations extra information correlated with the first digital picture
 defined by the one or more instruction sets for operating the 5 exceeds a similarity threshold .
 device correlated with the first digital picture include at least      In some embodiments, the system further comprises: a
 one of: an operation with or by a smartphone , an operation user interface , wherein the artificial intelligence unit is
 with or by a fixture, an operation with or by a control device , further configured to : present, via the user interface, a user
 or an operation with or by a computer or computing enabled with an option to execute the one or more instruction sets for
 device.                                                           10 operating the device correlated with the first digital picture.
    In some embodiments, the performing the one or more                 In certain embodiments, the system further comprises: a
 operations defined by the one or more instruction sets for user interface, wherein the artificial intelligence unit is
 operating the device correlated with the first digital picture further configured to : receive, via the user interface , a user's
 includes implementing a user's knowledge, style , or meth-          selection to execute the one or more instruction sets for
 odology of operating the device in a visual surrounding . 15 operating the device correlated with the first digital picture .
    In certain embodiments, the system further comprises: an           In some embodiments, the artificial intelligence unit is
 application running on the processor circuit.                      further configured to : rate the executed one or more instruc
    In some embodiments , the instruction sets for operating tion sets for operating the device correlated with the first
 the device are part of an application for operating the device , digital picture. The rating the executed one or more instruc
 the application running on the processor circuit.               20 tion sets for operating the device correlated with the first
    In certain embodiments, the system further comprises: an digital picture may include displaying, on a display, the
 application for operating the device, the application running executed one or more instruction sets for operating the
 on the processor circuit. The application for operating the device correlated with the first digital picture along with one
 device may include the instruction sets for operating the or more rating values as options to be selected by a user. The
 device .                                                        25 rating the executed one or more instruction sets for operating
    In some embodiments, the artificial intelligence unit is the device correlated with the first digital picture may
 further configured to : receive at least one extra information. include rating the executed one or more instruction sets for
 In further embodiments, the at least one extra information operating the device correlated with the first digital picture
 include one or more of: a time information, a location without a user input. The rating the executed one or more
 information, a computed information , an observed informa- 30 instruction sets for operating the device correlated with the
 tion , a sensory information, or a contextual information. In first digital picture may include associating one or more
 further embodiments, the at least one extra information rating values with the executed one or more instruction sets
 include one or more of: an information on a digital picture, for operating the device correlated with the first digital
 an information on an object in the digital picture, an infor- picture and storing the one or more rating values into the
 mation on the device's visual surrounding, an information 35 memory unit .
 on an instruction set , an information on an application, an          In certain embodiments, the system further comprises : a
 information on an object of the application , an information user interface , wherein the artificial intelligence unit is
 on the processor circuit , an information on the device, or an further configured to : present, via the user interface , a user
 information on an user. In further embodiments, the artificial with an option to cancel the execution of the executed one
 intelligence unit is further configured to : learn the first 40 or more instruction sets for operating the device correlated
 digital picture correlated with the at least one extra infor- with the first digital picture. In further embodiments , the
 mation . The learning the first digital picture correlated with canceling the execution of the executed one or more instruc
 at least one extra information may include correlating the tion sets for operating the device correlated with the first
 first digital picture with the at least one extra information . digital picture includes restoring the processor circuit or the
 The learning the first digital picture correlated with at least 45 device to a prior state . The restoring the processor circuit or
 one extra information may include storing the first digital the device to a prior state may include saving the state of the
 picture correlated with the at least one extra information into processor circuit or the device prior to executing the one or
 the memory unit . In further embodiments, the anticipating more instruction sets for operating the device correlated with
 the one or more instruction sets for operating the device the first digital picture.
 correlated with the first digital picture based on at least a 50 In some embodiments, the system further comprises: an
 partial match between the new digital picture and the first input device configured to receive a user's operating direc
 digital picture includes anticipating the one or more instruc- tions , the user's operating directions for instructing the
 tion sets for operating the device correlated with the first processor circuit on how to operate the device .
 digital picture based on at least a partial match between an          In certain embodiments, the autonomous device operating
 extra information correlated with the new digital picture and 55 includes a partially or a fully autonomous device operating.
 an extra information correlated with the first digital picture . The partially autonomous device operating may include
 The anticipating the one or more instruction sets for oper- executing the one or more instruction sets for operating the
 ating the device correlated with the first digital picture based device correlated with the first digital picture responsive to
 on at least a partial match between an extra information a user confirmation . The fully autonomous device operating
 correlated with the new digital picture and an extra infor- 60 may include executing the one or more instruction sets for
 mation correlated with the first digital picture may include operating the device correlated with the first digital picture
 comparing an extra information correlated with the new without a user confirmation .
 digital picture and an extra information correlated with the          In some embodiments , the artificial intelligence unit is
 first digital picture. The anticipating the one or more instruc- further configured to : receive a second digital picture from
 tion sets for operating the device correlated with the first 65 the picture capturing apparatus ; receive additional one or
 digital picture based on at least a partial match between an more instruction sets for operating the device from the
 extra information correlated with the new digital picture and processor circuit ; and learn the second digital picture cor
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 55 of 131 PageID #: 640


                                                     US 11,055,583 B1
                              15                                                                 16
 related with the additional one or more instruction sets for      graph . The first node and the second node may be connected
 operating the device . In further embodiments, the second         by a connection . In further embodiments , the first digital
 digital picture includes a second stream of digital pictures.     picture correlated with the one or more instruction sets for
 In further embodiments, the learning the first digital picture operating the device is stored into a first node of a sequence
 correlated with the one or more instruction sets for operating 5 and the second digital picture correlated with the additional
 the device and the learning the second digital picture cor        one or more instruction sets for operating the device is stored
 related with the additional one or more instruction sets for      into a second node of the sequence.
 operating the device include creating a connection between           In some aspects , the disclosure relates to a non - transitory
 the first digital picture correlated with the one or more computer storage medium having a computer program
 instruction sets for operating the device and the second 10 stored thereon , the program including instructions that when
 digital picture correlated with the additional one or more executed by one or more processor circuits cause the one or
 instruction sets for operating the device . The connection more processor circuits to perform operations comprising:
 may include or is associated with at least one of: an receiving               a first digital picture from a picture capturing
 occurrence count, a weight, a parameter, or a data . In further
 embodiments, the learning the first digital picture correlated 15 apparatus . The operations may further include receiving one
 with the one or more instruction sets for operating the device or more instruction sets for operating a device . The opera
 and the learning the second digital picture correlated with tions may further include learning the first digital picture
 the additional one or more instruction sets for operating the correlated with the one or more instruction sets for operating
 device include updating a connection between the first the device. The operations may further include receiving a
 digital picture correlated with the one or more instruction 20 new digital picture from the picture capturing apparatus. The
 sets for operating the device and the second digital picture operations may further include anticipating the one or more
 correlated with the additional one or more instruction sets instruction sets for operating the device correlated with the
 for operating the device . The updating the connection first digital picture based on at least a partial match between
 between the first digital picture correlated with the one or the new digital picture and the first digital picture . The
 more instruction sets for operating the device and the second 25 operations may further include causing an execution of the
 digital picture correlated with the additional one or more one or more instruction sets for operating the device corre
 instruction sets for operating the device may include updat- lated with the first digital picture, the causing performed in
 ing at least one of: an occurrence count, a weight, a response to the anticipating the one or more instruction sets
 parameter, or a data included in or associated with the for operating the device correlated with the first digital
 connection . In further embodiments, the learning the first 30 picture based on at least a partial match between the new
 digital picture correlated with the one or more instruction digital picture and the first digital picture, wherein the device
 sets for operating the device includes storing the first digital performs one or more operations defined by the one or more
 picture correlated with the one or more instruction sets for instruction sets for operating the device correlated with the
 operating the device into a first node of a data structure , and first digital picture, the one or more operations performed in
 wherein the learning the second digital picture correlated 35 response to the executing.
 with the additional one or more instruction sets for operating      In some aspects , the disclosure relates to a method com
 the device includes storing the second digital picture corre- prising: ( a ) receiving a first digital picture from a picture
 lated with the additional one or more instruction sets for        capturing apparatus by one or more processor circuits . The
 operating the device into a second node of the data structure .   method may further include ( b ) receiving one or more
 The data structure may include a neural network, a graph , a 40 instruction sets for operating a device by the one or more
 collection of sequences, a sequence , a collection of knowl- processor circuits . The method may further include (c )
 edge cells , a knowledgebase, or a knowledge structure . The learning the first digital picture correlated with the one or
 learning the first digital picture correlated with the one or more instruction sets for operating the device, the learning
 more instruction sets for operating the device and the of (c ) performed by the one or more processor circuits . The
 learning the second digital picture correlated with the addi- 45 method may further include (d) receiving a new digital
 tional one or more instruction sets for operating the device picture from the picture capturing apparatus by the one or
 may include creating a connection between the first node more processor circuits. The method may further include (e )
 and the second node . The learning the first digital picture anticipating the one or more instruction sets for operating
 correlated with the one or more instruction sets for operating the device correlated with the first digital picture based on at
 the device and the learning the second digital picture cor- 50 least a partial match between the new digital picture and the
 related with the additional one or more instruction sets for      first digital picture, the anticipating of ( e) performed by the
 operating the device may include updating a connection one or more processor circuits. The method may further
 between the first node and the second node . In further include ( f) executing the one or more instruction sets for
 embodiments, the first digital picture correlated with the one operating the device correlated with the first digital picture,
 or more instruction sets for operating the device is stored 55 the executing of (f) performed in response to the anticipating
 into a first node of a neural network and the second digital of ( e ) . The method may further include (g ) performing, by
 picture correlated with the additional one or more instruction the device, one or more operations defined by the one or
 sets for operating the device is stored into a second node of more instruction sets for operating the device correlated with
 the neural network . The first node and the second node may     the first digital picture , the one or more operations per
 be connected by a connection . The first node may be part of 60 formed in response to the executing of (f ).
 a first layer of the neural network and the second node may        The operations or steps of the non - transitory computer
 be part of a second layer of the neural network . In further storage medium and / or the method may be performed by
 embodiments, the first digital picture correlated with the one any of the elements of the above described systems as
 or more instruction sets for operating the device is stored applicable . The non - transitory computer storage medium
 into a first node of a graph and the second digital picture 65 and / or the method may include any of the operations, steps ,
 correlated with the additional one or more instruction sets       and embodiments of the above described systems as appli
 for operating the device is stored into a second node of the      cable as well as the following embodiments.
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 56 of 131 PageID #: 641


                                                     US 11,055,583 B1
                              17                                                                  18
   In certain embodiments , the device includes one or more          one or more instruction sets include a source code, a
 devices. In further embodiments, the device includes a              bytecode, an intermediate code, a compiled code , an inter
 smartphone, a fixture, a control device, a computing enabled        preted code , a translated code , a runtime code , an assembly
 device , or a computer. In further embodiments, the picture code , a structured query language ( SQL ) code, or a machine
 capturing apparatus includes one or more picture capturing 5 code . In further embodiments, the one or more instruction
 apparatuses . In further embodiments, the picture capturing sets include one or more code segments, lines of code ,
 apparatus includes a motion picture camera or a still picture statements , instructions, functions, routines, subroutines, or
 camera . In further embodiments, the picture capturing appa- basic blocks . In further embodiments , the one or more
 ratus resides on a remote device , the remote device coupled instruction sets for operating the device include one or more
 to the one or more processor circuits via a network .             10 inputs into a logic circuit . In further embodiments, the one
    In some embodiments, the one or more instruction sets for or more instruction sets for operating the device include one
 operating the device include one or more instruction sets that or more outputs from a logic circuit. In further embodi
 temporally correspond to the first digital picture . The one or ments, the one or more instruction sets for operating the
 more instruction sets that temporally correspond to the first device include one or more instruction sets for operating an
 digital picture may include one or more instruction sets 15 application or an object of the application .
 executed at a time of the capturing the first digital picture.          In some embodiments , the receiving the one or more
 The one or more instruction sets that temporally correspond instruction sets for operating the device includes obtaining
 to the first digital picture may include one or more instruc- the one or more instruction sets . In further embodiments , the
 tion sets executed prior to the capturing the first digital receiving the one or more instruction sets for operating the
 picture . The one or more instruction sets that temporally 20 device includes receiving the one or more instruction sets as
 correspond to the first digital picture may include one or they are executed . In further embodiments, the receiving the
 more instruction sets executed within a threshold period of one or more instruction sets for operating the device
 time prior to the capturing the first digital picture . The one includes receiving the one or more instruction sets for
 or more instruction sets that temporally correspond to the operating the device from a register or an element of a
 first digital picture may include one or more instruction sets 25 processor circuit . In further embodiments, the receiving the
 executed subsequent to the capturing the first digital picture . one or more instruction sets for operating the device
 The one or more instruction sets that temporally correspond includes receiving the one or more instruction sets for
 to the first digital picture may include one or more instruc- operating the device from an element that is part of, oper
 tion sets executed within a threshold period of time subse- ating on, or coupled to a processor circuit. In further
 quent to the capturing the first digital picture. The one or 30 embodiments, the receiving the one or more instruction sets
 more instruction sets that temporally correspond to the first for operating the device includes receiving the one or more
 digital picture may include one or more instruction sets instruction sets for operating the device from at least one of:
 executed within a threshold period of time prior to the a memory                        the device, a virtual machine , a runtime
 capturing the first digital picture or a threshold period of engine, a hard drive , a storage device, a peripheral device, a
 time subsequent to the capturing the first digital picture. The 35 network connected device, or a user. In further embodi
 one or more instruction sets that temporally correspond to ments, the receiving the one or more instruction sets for
 the first digital picture may include one or more instruction operating the device includes receiving the one or more
 sets executed from a start of capturing a preceding digital instruction sets from a plurality of processor circuits, appli
 picture to a start of capturing the first digital picture. The one cations, memory units , devices, virtual machines, runtime
 or more instruction sets that temporally correspond to the 40 engines, hard drives, storage devices, peripheral devices,
 first digital picture may include one or more instruction sets network connected devices, or users .
 executed from a start of capturing the first digital picture to         In certain embodiments, the receiving the one or more
 a start of capturing a subsequent digital picture. The one or instruction sets for operating the device includes receiving
 more instruction sets that temporally correspond to the first the one or more instruction sets for operating the device
 digital picture may include one or more instruction sets 45 from a logic circuit . The logic circuit may include a micro
 executed from a completion of capturing a preceding digital controller. The receiving the one or more instruction sets for
 picture to a completion of capturing the first digital picture. operating the device from the logic circuit may include
 The one or more instruction sets that temporally correspond receiving the one or more instruction sets for operating the
 to the first digital picture may include one or more instruc- device from an element of the logic circuit . The receiving the
 tion sets executed from a completion of capturing the first 50 one or more instruction sets for operating the device from
 digital picture to a completion of capturing a subsequent the logic circuit may include receiving one or more inputs
 digital picture .                                                    into the logic circuit . The receiving the one or more instruc
    In certain embodiments, the one or more instruction sets tion sets for operating the device from the logic circuit may
 for operating the device are executed by a processor circuit . include receiving one or more outputs from the logic circuit .
 In further embodiments , the one or more instruction sets for 55 In some embodiments, the receiving the one or more
 operating the device are part of an application for operating instruction sets for operating the device includes receiving
 the device. In further embodiments, the one or more instruc- the one or more instruction sets for operating the device
 tion sets for operating the device include one or more inputs from an application for operating the device . In further
 into or one or more outputs from a processor circuit . In embodiments, the receiving the one or more instruction sets
 further embodiments, the one or more instruction sets for 60 for operating the device includes receiving the one or more
 operating the device include values or states of one or more instruction sets for operating the device from an application ,
 registers or elements of a processor circuit. In further the application including instruction sets for operating the
 embodiments, an instruction set includes at least one of: a device. In further embodiments, the receiving the one or
 command , a keyword, a symbol, an instruction , an operator, more instruction sets for operating the device includes
 a variable, a value , an object, a data structure , a function, a 65 receiving the one or more instruction sets at a source code
 parameter, a state, a signal, an input, an output, a character, write time , a compile time , an interpretation time , a trans
 a digit , or a reference thereto . In further embodiments, the lation time , a linking time , a loading time , or a runtime. In
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 57 of 131 PageID #: 642


                                                     US 11,055,583 B1
                              19                                                                  20
 further embodiments, the receiving the one or more instruc- sets for operating the device is included in a neuron , a node ,
 tion sets for operating the device includes at least one of:     a vertex, or an element of a data structure . The data structure
 tracing, profiling, or instrumentation of a source code, a may include a neural network , a graph , a collection of
 bytecode , an intermediate code, a compiled code , an inter- sequences, a sequence , a collection of knowledge cells , a
 preted code , a translated code , a runtime code , an assembly 5 knowledgebase, or a knowledge structure . Some of the
 code , a structured query language ( SQL ) code , or a machine neurons, nodes , vertices, or elements maybe interconnected .
 code . In further embodiments, the receiving the one or more       In further embodiments, the first digital picture correlated
 instruction sets for operating the device includes at least one    with the one or more instruction sets for operating the device
 of: tracing, profiling, or instrumentation of an element that is structured into a knowledge cell . In further embodiments ,
 is part of,operating on, or coupled to a processor circuit . In 10 the knowledge cell includes a unit of knowledge of how the
 further embodiments, the receiving the one or more instruc- device operated in a visual surrounding. In further embodi
 tion sets for operating the device includes at least one of: ments, the knowledge cell is included in a neuron , a node ,
 tracing, profiling, or instrumentation of a register of a          a vertex , or an element of a data structure . The data structure
 processor circuit , a memory unit, a storage , or a repository may include a neural network, a graph , a collection of
 where the one or more instruction sets for operating the 15 sequences, a sequence, a collection of knowledge cells , a
 device are stored . In further embodiments, the receiving the knowledgebase, or a knowledge structure . Some of the
 one or more instruction sets for operating the device neurons , nodes, vertices , or elements may be interconnected .
 includes at least one of: tracing, profiling, or instrumentation   In certain embodiments, the learning the first digital
 of a processor circuit , the device , a virtual machine , a picture correlated with the one or more instruction sets for
 runtime engine, an operating system, an execution stack, a 20 operating the device includes correlating the first digital
 program counter, or a processing element. In further picture with the one or more instruction sets for operating
 embodiments, the receiving the one or more instruction sets the device . The correlating the first digital picture with the
 for operating the device includes at least one of: tracing, one or more instruction sets for operating the device may
 profiling, or instrumentation of a processor circuit or tracing, include generating a knowledge cell , the knowledge cell
 profiling, or instrumentation of a component of the proces- 25 comprising the first digital picture correlated with the one or
 sor circuit . In further embodiments, the receiving the one or more instruction sets for operating the device . The correlat
 more instruction sets for operating the device includes at ing the first digital picture with the one or more instruction
 least one of: tracing, profiling, or instrumentation of an sets for operating the device may include structuring a unit
 application or an object of the application. In further of knowledge of how the device operated in a visual
 embodiments, the receiving the one or more instruction sets 30 surrounding. In further embodiments, the learning the first
 for operating the device includes at least one of: tracing, digital picture correlated with the one or more instruction
 profiling, or instrumentation at a source code write time , a sets for operating the device includes learning a user's
 compile time , an interpretation time , a translation time , a knowledge, style, or methodology of operating the device in
 linking time , a loading time , or a runtime . In further embodi- a visual surrounding. In further embodiments, the learning
 ments, the receiving the one or more instruction sets for 35 the first digital picture correlated with the one or more
 operating the device includes at least one of: tracing, pro- instruction sets for operating the device includes spontane
 filing, or instrumentation of one or more of code segments, ous learning the first digital picture correlated with the one
 lines of code , statements, instructions, functions , routines, or more instruction sets for operating the device .
 subroutines, or basic blocks . In further embodiments, the             In some embodiments, the learning the first digital picture
 receiving the one or more instruction sets for operating the 40 correlated with the one or more instruction sets for operating
 device includes at least one of: tracing, profiling, or instru- the device includes storing , into a memory unit , the first
 mentation of a user input. In further embodiments , the digital picture correlated with the one or more instruction
 receiving the one or more instruction sets for operating the sets for operating the device , the first digital picture corre
 device includes at least one of: a manual , an automatic, a lated with the one or more instruction sets for operating the
 dynamic, or a just in time ( JIT ) tracing, profiling, or instru- 45 device being part of a stored plurality of digital pictures
 mentation . In further embodiments, the receiving the one or correlated with one or more instruction sets for operating the
 more instruction sets for operating the device includes device . In further embodiments, the memory unit includes
 utilizing at least one of: a .NET tool , a .NET application one or more memory units. In further embodiments, the
 programming interface (API ) , a Java tool , a Java API , a memory unit resides on a remote computing device, the
 logging tool , or an independent tool for obtaining instruction 50 remote computing device coupled to the one or more pro
 sets . In further embodiments , the receiving the one or more cessor circuits via a network . The remote computing device
 instruction sets for operating the device includes utilizing an may include a server . In further embodiments, the plurality
 assembly language. In further embodiments, the receiving of digital pictures correlated with one or more instruction
 the one or more instruction sets for operating the device sets for operating the device include a neural network , a
 includes utilizing a branch or a jump. In further embodi- 55 graph, a collection of sequences, a sequence, a collection of
 ments, the receiving the one or more instruction sets for          knowledge cells , a knowledgebase, a knowledge structure,
 operating the device includes a branch tracing or a simula-        or a data structure. In further embodiments, the plurality of
 tion tracing. In further embodiments, the receiving the one digital pictures correlated with one or more instruction sets
 or more instruction sets for operating the device includes for operating the device are organized into a neural network ,
 receiving the one or more instruction sets for operating the 60 a graph, a collection of sequences, a sequence , a collection
 device by an interface . The interface may include an acqui- of knowledge cells , a knowledgebase, a knowledge struc
 sition interface.                                               ture, or a data structure . In further embodiments, each of the
    In certain embodiments, the first digital picture correlated plurality of digital pictures correlated with one or more
 with the one or more instruction sets for operating the device instruction sets for operating the device is included in a
 includes a unit of knowledge of how the device operated in 65 neuron , a node, a vertex , or an element of a data structure .
 a visual surrounding. In further embodiments, the first The data structure may include a neural network, a graph, a
 digital picture correlated with the one or more instruction collection of sequences, a sequence, a collection of knowl
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 58 of 131 PageID #: 643


                                                     US 11,055,583 B1
                               21                                                                   22
 edge cells , a knowledgebase, or a knowledge structure.              picture includes determining that there is at least a partial
 Some of the neurons, nodes, vertices, or elements may be match between one or more portions of the new digital
 interconnected . In further embodiments, the plurality of picture and one or more portions of the first digital picture.
 digital pictures correlated with one or more instruction sets 5 In further embodiments, the determining that there is at least
 for operating the device include a user's knowledge, style, or a partial match between the new digital picture and the first
 methodology of operating the device in visual surroundings. digital picture includes determining that a similarity between
 In further embodiments , the plurality of digital pictures at least one portion of the new digital picture and at least one
 correlated with one or more instruction sets for operating the portion of the first digital picture exceeds a similarity
 device are stored on a remote computing device . In further threshold . In further embodiments, the determining that
 embodiments, the plurality of digital pictures correlated with 10 there is at least a partial match between the new digital
 one or more instruction sets for operating the device include picture and the first digital picture includes determining a
 an artificial intelligence system for knowledge structuring, substantial similarity between at least one portion of the new
 storing, or representation . The artificial intelligence system digital picture and at least one portion of the first digital
 for knowledge structuring, storing , or representation may picture. The at least one portion of the new digital picture
 include at least one of: a deep learning system , a supervised 15 may include at least one region , at least one feature, or at
 learning system , an unsupervised learning system , a neural least one pixel of the new digital picture . The at least one
 network , a search - based system , an optimization- based sys- portion of the first digital picture may include at least one
 tem , a logic - based system , a fuzzy logic -based system , a region , at least one feature , or at least one pixel of the first
 tree - based system , a graph -based system , a hierarchical digital picture. The substantial similarity may be achieved
 system , a symbolic system , a sub - symbolic system , an 20 when a similarity between the at least one portion of the new
 evolutionary system , a genetic system , a multi -agent system , digital picture and the at least one portion of the first digital
 a deterministic system , a probabilistic system , or a statistical picture exceeds a similarity threshold . The substantial simi
 system .                                                           larity may be achieved when a number or a percentage of
    In some embodiments, the anticipating the one or more matching or partially matching regions from the new digital
 instruction sets for operating the device correlated with the 25 picture and from the first digital picture exceeds a threshold
 first digital picture based on at least a partial match between number or threshold percentage. The substantial similarity
 the new digital picture and the first digital picture includes may be achieved when a number or a percentage of match
 comparing at least one portion of the new digital picture with ing or partially matching features from the new digital
 at least one portion of the first digital picture . The at least picture and from the first digital picture exceeds a threshold
 one portion of the new digital picture may include at least 30 number or threshold percentage. The substantial similarity
 one region , at least one feature , or at least one pixel of the may be achieved when a number or a percentage of match
 new digital picture. The at least one portion of the first ing or partially matching pixels from the new digital picture
 digital picture may include at least one region, at least one and from the first digital picture exceeds a threshold number
 feature, or at least one pixel of the first digital picture. The or threshold percentage. The substantial similarity may be
 comparing the at least one portion of the new digital picture 35 achieved when one or more same or similar objects are
 with the at least one portion of the first digital picture may recognized in the new digital picture and the first digital
 include comparing at least one region of the new digital picture. In further embodiments, the determining that there
 picture with at least one region of the first digital picture. is at least a partial match between the new digital picture and
 The comparing the at least one portion of the new digital the first digital picture includes determining that a number or
 picture with the at least one portion of the first digital picture 40 a percentage of matching regions from the new digital
 may include comparing at least one feature of the new digital picture and from the first digital picture exceeds a threshold
 picture with at least one feature of the first digital picture. number or threshold percentage. The matching regions from
 The comparing the at least one portion of the new digital the new digital picture and from the first digital picture may
 picture with the at least one portion of the first digital picture be determined factoring in at least one of: a location of a
 may include comparing at least one pixel of the new digital 45 region , an importance of a region , a threshold for a similarity
 picture with at least one pixel of the first digital picture . The in a region, or a threshold for a difference in a region. In
 comparing the at least one portion of the new digital picture further embodiments, the determining that there is at least a
 with the at least one portion of the first digital picture may partial match between the new digital picture and the first
 include at least one of: performing a color adjustment, digital picture includes determining that a number or a
 performing a size adjustment, performing a content manipu- 50 percentage of matching features from the new digital picture
 lation, utilizing a transparency , or utilizing a mask on the and from the first digital picture exceeds a threshold number
 new or the first digital picture . The comparing the at least or threshold percentage . The matching features from the new
 one portion of the new digital picture with the at least one digital picture and from the first digital picture may be
 portion of the first digital picture may include recognizing at determined factoring in at least one of: a type of a feature,
 least one person or object in the new digital picture and at 55 an importance of a feature, a location of a feature, a
 least one person or object in the first digital picture, and threshold for a similarity in a feature, or a threshold for a
 comparing the at least one person or object from the new difference in a feature . In further embodiments, the deter
 digital picture with the at least one person or object from the mining that there is at least a partial match between the new
 first digital picture .                                               digital picture and the first digital picture includes determin
    In certain embodiments, the anticipating the one or more 60 ing that a number or a percentage of matching pixels from
 instruction sets for operating the device correlated with the the new digital picture and from the first digital picture
 first digital picture based on at least a partial match between exceeds a threshold number or threshold percentage. The
 the new digital picture and the first digital picture includes matching pixels from the new digital picture and from the
 determining that there is at least a partial match between the first digital picture may be determined factoring in at least
 new digital picture and the first digital picture. In further 65 one of: a location of a pixel , a threshold for a similarity in
 embodiments, the determining that there is at least a partial        a pixel , or a threshold for a difference in a pixel . In further
 match between the new digital picture and the first digital          embodiments , the determining that there is at least a partial
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 59 of 131 PageID #: 644


                                                     US 11,055,583 B1
                              23                                                                   24
 match between the new digital picture and the first digital logic circuit with the one or more instruction sets for
 picture includes recognizing a same person or object in the operating the device correlated with the first digital picture.
 new and the first digital pictures.                                The executing, by the logic circuit, the one or more instruc
    In some embodiments, the executing the one or more tion sets for operating the device correlated with the first
 instruction sets for operating the device correlated with the 5 digital picture may include replacing outputs from the logic
 first digital picture includes executing the one or more circuit with the one or more instruction sets for operating the
 instruction sets for operating the device correlated with the device correlated with the first digital picture.
 first digital picture instead of or prior to an instruction set       In some embodiments, the executing the one or more
 that would have been executed next. In further embodi- instruction sets for operating the device correlated with the
 ments, the executing the one or more instruction sets for 10 first digital picture includes executing, by an application for
 operating the device correlated with the first digital picture operating the device , the one or more instruction sets for
 includes modifying one or more instruction sets . In further operating the device correlated with the first digital picture.
 embodiments, the executing the one or more instruction sets In further embodiments, the executing the one or more
 for operating the device correlated with the first digital instruction sets for operating the device correlated with the
 picture includes modifying a register or an element of a 15 first digital picture includes modifying an application, the
 processor circuit . In further embodiments, the executing the application including instruction sets for operating the
 one or more instruction sets for operating the device corre- device . In further embodiments, the executing the one or
 lated with the first digital picture includes inserting the one more instruction sets for operating the device correlated with
 or more instruction sets for operating the device correlated the first digital picture includes redirecting an application to
 with the first digital picture into a register or an element of 20 the one or more instruction sets for operating the device
 a processor circuit . In further embodiments, the executing correlated with the first digital picture. In further embodi
 the one or more instruction sets for operating the device ments, the executing the one or more instruction sets for
 correlated with the first digital picture includes redirecting a operating the device correlated with the first digital picture
 processor circuit to the one or more instruction sets for includes redirecting an application to one or more alternate
 operating the device correlated with the first digital picture. 25 instruction sets , the alternate instruction sets comprising the
 In further embodiments , the executing the one or more one or more instruction sets for operating the device corre
 instruction sets for operating the device correlated with the lated with the first digital picture. In further embodiments,
 first digital picture includes redirecting a processor circuit to the executing the one or more instruction sets for operating
 one or more alternate instruction sets , the alternate instruc- the device correlated with the first digital picture includes
 tion sets comprising the one or more instruction sets for 30 modifying one or more instruction sets of an application . In
 operating the device correlated with the first digital picture. further embodiments, the executing the one or more instruc
 In further embodiments, the executing the one or more tion sets for operating the device correlated with the first
 instruction sets for operating the device correlated with the digital picture includes modifying a source de , a bytecode ,
 first digital picture includes transmitting, to a processor an intermediate code , a compiled code , an interpreted code,
 circuit for execution , the one or more instruction sets for 35 a translated code , a runtime code, an assembly code , or a
 operating the device correlated with the first digital picture. machine code . In further embodiments, the executing the
 In further embodiments, the executing the one or more one or more instruction sets for operating the device corre
 instruction sets for operating the device correlated with the lated with the first digital picture includes modifying at least
 first digital picture includes issuing an interrupt to a proces- one of: a memory unit , a register of a processor circuit, a
 sor circuit and executing the one or more instruction sets for 40 storage , or a repository where instruction sets are stored or
 operating the device correlated with the first digital picture used . In further embodiments, the executing the one or more
 following the interrupt. In further embodiments, the execut-      instruction sets for operating the device correlated with the
 ing the one or more instruction sets for operating the device     first digital picture includes modifying one or more instruc
 correlated with the first digital picture includes modifying an   tion sets for operating an application or an object of the
 element that is part of, operating on , or coupled to a 45 application . In further embodiments, the executing the one
 processor circuit.                                                or more instruction sets for operating the device correlated
    In certain embodiments, the executing the one or more with the first digital picture includes modifying at least one
 instruction sets for operating the device correlated with the of: an element of a processor circuit , an element of the
 first digital picture includes executing, by a logic circuit, the device, a virtual machine , a runtime engine, an operating
 one or more instruction sets for operating the device corre- 50 system , an execution stack , a program counter, or a user
 lated with the first digital picture. The logic circuit may input. In further embodiments, the executing the one or more
 include a microcontroller. The executing , by the logic cir- instruction sets for operating the device correlated with the
 cuit , the one or more instruction sets for operating the device first digital picture includes modifying one or more instruc
 correlated with the first digital picture may include modi- tion sets at a source code write time , a compile time , an
 fying an element of the logic circuit. The executing, by the 55 interpretation time , a translation time , a linking time , a
 logic circuit , the one or more instruction sets for operating loading time , or a runtime. In further embodiments, the
 the device correlated with the first digital picture may executing the one or more instruction sets for operating the
 include inserting the one or more instruction sets for oper- device correlated with the first digital picture includes
 ating the device correlated with the first digital picture into modifying one or more code segments, lines of code ,
 an element of the logic circuit . The executing , by the logic 60 statements , instructions, functions, routines , subroutines, or
 circuit , the one or more instruction sets for operating the basic blocks . In further embodiments, the executing the one
 device correlated with the first digital picture may include or more instruction sets for operating the device correlated
 redirecting the logic circuit to the one or more instruction with the first digital picture includes a manual, an automatic,
 sets for operating the device correlated with the first digital a dynamic , or a just in time ( JIT) instrumentation of an
 picture. The executing, by the logic circuit, the one or more 65 application . In further embodiments, the executing the one
 instruction sets for operating the device correlated with the or more instruction sets for operating the device correlated
 first digital picture may include replacing inputs into the         with the first digital picture includes utilizing one or more of
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 60 of 131 PageID #: 645


                                                     US 11,055,583 B1
                               25                                                                   26
 a .NET tool , a .NET application programming interface               In certain embodiments, the operations of the non-tran
 (API ) , a Java tool , a Java API , an operating system tool , or sitory computer storage medium and /or the method further
 an independent tool for modifying instruction sets . In further comprise : receiving at least one extra information. In further
 embodiments, the executing the one or more instruction sets 5 embodiments , the at least one extra information include one
 for operating the device correlated with the first digital or more of: a time information , a location information , a
 picture includes utilizing at least one of: a dynamic, an computed              information , an observed information, a sensory
 interpreted , or a scripting programming language. In further information, or a contextual information . In further embodi
 embodiments, the executing the one or more instruction sets ments         , the at least one extra information include one or more
 for operating the device correlated with the first digital object information
                                                                   of:  an                 on a digital picture , an information on an
 picture includes utilizing at least one of: a dynamic code , a 10 visual    in the digital picture, an information on the device's
                                                                             surrounding, an information on an instruction set, an
 dynamic class loading , or a reflection . In further embodi
 ments , the executing the one or more instruction sets for information            on an application, an information on an object
 operating the device correlated with the first digital picture information on the, andevice
                                                                   of  the  application       information on a processor circuit , an
                                                                                                   , or an information on an user . In
 includes utilizing an assembly language. In further embodi- 15 further embodiments, the operations of the non -transitory
 ments, the executing the one or more instruction sets for            computer storage medium and /or the method further com
 operating the device correlated with the first digital picture      prise: learning the first digital picture correlated with the at
 includes utilizing at least one of: metaprogramming, a              least one extra information . The learning the first digital
 self -modifying code , or an instruction set modification tool . picture correlated with at least one extra information may
 Ininstruction
       further embodiments   , the executing the one or more 20 include correlating the first digital picture with the at least
               sets for operating the device correlated with the one extra information . The learning the first digital picture
 first digital picture includes utilizing at least one of: just in correlated with at least one extra information may include
 time ( JIT ) compiling, JIT interpretation, JIT translation , storing the first digital picture correlated with the at least one
 dynamic recompiling, or binary rewriting. In further extra information into a memory unit . In further embodi
 embodiments, the executing the one or more instruction sets 25 ments, the anticipating the one or more instruction sets for
 for operating the device correlated with the first digital operating the device correlated with the first digital picture
 picture includes utilizing at least one of: a dynamic expres- based on at least partial match between the new digital
 sion creation, a dynamic expression execution , a dynamic picture and the first digital picture includes anticipating the
 function creation , or a dynamic function execution . In one or more instruction sets for operating the device corre
 further embodiments, the executing the one or more instruc- 30 lated with the first digital picture based on at least a partial
 tion sets for operating the device correlated with the first match between an extra information correlated with the new
 digital picture includes adding or inserting additional code digital picture and an extra information correlated with the
 into a code of an application. In further embodi ents, the first digital picture. The anticipating the one or more instruc
 executing the one or more instruction sets for operating the tion sets for operating the device correlated with the first
 device correlated with the first digital picture includes at 35 digital picture based on at least a partial match between an
 least one of: modifying, removing, rewriting, or overwriting extra information correlated with the new digital picture and
 a code of an application . In further embodiments, the an extra information correlated with the first digital picture
 executing the one or more instruction sets for operating the may include comparing an extra information correlated with
 device correlated with the first digital picture includes at the new digital picture and an extra information correlated
 least one of: branching, redirecting, extending, or hot swap- 40 with the first digital picture. The anticipating the one or more
 ping a code of an application . The branching or redirecting instruction sets for operating the device correlated with the
 the code may include inserting at least one of: a branch , a first digital picture based on at least a partial match between
 jump, or a means for redirecting an execution . In further an extra information correlated with the new digital picture
 embodiments, the executing the one or more instruction sets and an extra information correlated with the first digital
 for operating the device correlated with the first digital 45 picture may include determining that a similarity between an
 picture includes implementing a user's knowledge, style, or extra information correlated with the new digital picture and
 methodology of operating the device in a visual surround- an extra information correlated with the first digital picture
 ing . In further embodiments, the executing the one or more exceeds a similarity threshold .
 instruction sets for operating the device correlated with the          In some embodiments, the operations of the non -transi
 first digital picture includes executing the one or more 50 tory computer storage medium and / or the method further
 instruction sets for operating the device correlated with the comprise: presenting, via a user interface , a user with an
 first digital picture via an interface . The interface may option to execute the one or more instruction sets for
 include a modification interface .                                  operating the device correlated with the first digital picture.
      In certain embodiments, the one or more operations                In certain embodiments, the operations of the non -tran
 defined by the one or more instruction sets for operating the 55 sitory computer storage medium and / or the method further
 device correlated with the first digital picture include at least comprise: receiving, via a user interface, a user's selection
 one of: an operation with or by a smartphone, an operation to execute the one or more instruction sets for operating the
 with or by a fixture, an operation with or by a control device , device correlated with the first digital picture.
 or an operation with or by a computer or computing enabled             In some embodiments, the operations of the non - transi
 device. In further embodiments, the performing the one or 60 tory computer storage medium and / or the method further
 more operations defined by the one or more instruction sets comprise: rating the executed one or more instruction sets
 for operating the device correlated with the first digital for operating the device correlated with the first digital
 picture includes implementing a user's knowledge, style , or picture. The rating the executed one or more instruction sets
 methodology of operating the device in a visual surround- for operating the device correlated with the first digital
 ing.                                                             65 picture may include displaying , on a display, the executed
      In some embodiments , the instruction sets for operating one or more instruction sets for operating the device corre
 the device are part of an application for operating the device . lated with the first digital picture along with one or more
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 61 of 131 PageID #: 646


                                                     US 11,055,583 B1
                              27                                                                   28
 rating values as options to be selected by a user. The rating storing the first digital picture correlated with the one or
 the executed one or more instruction sets for operating the more instruction sets for operating the device into a first
 device correlated with the first digital picture may include node of a data structure , and wherein the learning the second
 rating the executed one or more instruction sets for operating digital picture correlated with the additional one or more
 the device correlated with the first digital picture without a 5 instruction sets for operating the device may include storing
 user input. The rating the executed one or more instruction the second digital picture correlated with the additional one
 sets for operating the device correlated with the first digital or more instruction sets for operating the device into a
 picture may include associating one or more rating values second node of the data structure . The data structure may
 with the executed one or more instruction sets for operating include a neural network , a graph, a collection of sequences,
 the device correlated with the first digital picture and storing 10 a sequence, a collection of knowledge cells , a knowledge
 the one or more rating values into a memory unit .                  base , or a knowledge structure . The learning the first digital
    In certain embodiments, the operations of the non -tran- picture correlated with the one or more instruction sets for
 sitory computer storage medium and/ or the method further operating the device and the learning the second digital
 comprise : presenting, via a user interface, a user with an picture correlated with the additional one or more instruction
 option to cancel the execution of the executed one or more 15 sets for operating the device may include creating a con
 instruction sets for operating the device correlated with the       nection between the first node and the second node. The
 first digital picture . In further embodiments, the canceling learning the first digital picture correlated with the one or
 the execution of the executed one or more instruction sets for more instruction sets for operating the device and the
 operating the device correlated with the first digital picture learning the second digital picture correlated with the addi
 includes restoring a processor circuit or the device to a prior 20 tional one or more instruction sets for operating the device
 state . The restoring the processor circuit or the device to a may include updating a connection between the first node
 prior state may include saving the state of the processor and the second node. In further embodiments, the first digital
 circuit or the device prior to executing the one or more picture correlated with the one or more instruction sets for
 instruction sets for operating the device correlated with the operating the device is stored into a first node of a neural
 first digital picture.                                          25 network and the second digital picture correlated with the
    In some embodiments, the operations of the non - transi- additional one or more instruction sets for operating the
 tory computer storage medium and /or the method further device is stored into a second node of the neural network .
 comprise : receiving, via an input device , a user's operating The first node and the second node may be connected by a
 directions , the user's operating directions for instructing a connection . The first node may be part of a first layer of the
 processor circuit on how to operate the device.                 30 neural network and the second node may be part of a second
    In certain embodiments, the operations of the non -tran- layer of the neural network . In further embodiments, the first
 sitory computer storage medium and / or the method further digital picture correlated with the one or more instruction
 comprise : receiving a second digital picture from the picture sets for operating the device is stored into a first node of a
 capturing apparatus ; receiving additional one or more graph and the second digital picture correlated with the
 instruction sets for operating the device; and learning the 35 additional one or more instruction sets for operating the
 second digital picture correlated with the additional one or device is stored into a second node of the graph . The first
 more instruction sets for operating the device . In further node and the second node may be connected by a connec
 embodiments, the second digital picture includes a second tion . In further embodiments, the first digital picture corre
 stream of digital pictures. In further embodiments, the lated with the one or more instruction sets for operating the
 learning the first digital picture correlated with the one or 40 device is stored into a first node of a sequence and the second
 more instruction sets for operating the device and the digital picture correlated with the additional one or more
 learning the second digital picture correlated with the addi- instruction sets for operating the device is stored into a
 tional one or more instruction sets for operating the device second node of the sequence .
 include creating a connection between the first digital pic-       In some aspects , the disclosure relates to a system for
 ture correlated with the one or more instruction sets for 45 learning a visual surrounding for autonomous device oper
 operating the device and the second digital picture correlated ating . The system may be implemented at least in part on one
 with the additional one or more instruction sets for operating or more computing devices. In some embodiments, the
 the device . The connection may include or is associated with system comprises a processor circuit configured to execute
 at least one of: an occurrence count, a weight, a parameter, instruction sets for operating a device . The system may
 or a data . In further embodiments, the learning the first 50 further include a memory unit configured to store data . The
 digital picture correlated with the one or more instruction system may further include a picture capturing apparatus
 sets for operating the device and the learning the second configured to capture digital pictures. The system may
 digital picture correlated with the additional one or more further include an artificial intelligence unit. In some
 instruction sets for operating the device include updating a embodiments, the artificial intelligence unit may be config
 connection between the first digital picture correlated with 55 ured to : receive a first digital picture from the picture
 the one or more instruction sets for operating the device and capturing apparatus. The artificial intelligence unit may be
 the second digital picture correlated with the additional one further configured to : receive one or more instruction sets
 or more instruction sets for operating the device . The for operating the device from the processor circuit. The
 updating the connection between the first digital picture artificial intelligence unit may be further configured to : learn
 correlated with the one or more instruction sets for operating 60 the first digital picture correlated with the one or more
 the device and the second digital picture correlated with the instruction sets for operating the device .
 additional one or more instruction sets for operating the            In some aspects , the disclosure relates to a non -transitory
 device may include updating at least one of: an occurrence        computer storage medium having a computer program
 count, a weight, a parameter, or a data included in or stored thereon , the program including instructions that when
 associated with the connection . In further embodiments, the 65 executed by one or more processor circuits cause the one or
 learning the first digital picture correlated with the one or more processor circuits to perform operations comprising:
 more instruction sets for operating the device includes receiving a first digital picture from a picture capturing
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 62 of 131 PageID #: 647


                                                   US 11,055,583 B1
                             29                                                                 30
 apparatus. The operations may further include: receiving          digital picture . The operations may further include : causing
 one or more instruction sets for operating a device . The an execution of the one or more instruction sets for operating
 operations may further include : learning the first digital the device correlated with the first digital picture, the caus
 picture correlated with the one or more instruction sets for ing performed in response to the anticipating the one or more
 operating the device.                                         5 instruction sets for operating the device correlated with the
    In some aspects , the disclosure relates to a method com- first digital picture based on at least a partial match between
 prising: (a ) receiving a first digital picture from a picture the new digital picture and the first digital picture , wherein
 capturing apparatus by one or more processor circuits . The the device performs one or more operations defined by the
 method may further include : (b ) receiving one or more one or more instruction sets for operating the device corre
 instruction sets for operating a device by the one or more 10 lated with the first digital picture, the one or more operations
 processor circuits. The method may further include: (c ) performed in response to the executing .
 learning the first digital picture correlated with the one or      In some aspects , the disclosure relates to a method com
 more instruction sets for operating the device , the learning prising: ( a ) accessing a memory unit that stores a plurality of
 of (c ) performed by the one or more processor circuits .       digital pictures correlated with one or more instruction sets
    The operations or steps of the non - transitory computer 15 for operating a device , the plurality including a first digital
 storage medium and / or the method may be performed by picture correlated with one or more instruction sets for
 any of the elements of the above described systems as operating the device, the accessing of ( a) performed by the
 applicable. The non - transitory computer storage medium one or more processor circuits. The method may further
 and /or the method may include any of the operations, steps ,     include: (b ) receiving a new digital picture from a picture
 and embodiments of the above described systems as appli- 20 capturing apparatus by the one or more processor circuits .
 cable .                                                           The method may further include : ( c ) anticipating the one or
   In some aspects , the disclosure relates to a system for        more instruction sets for operating the device correlated with
 using a visual surrounding for autonomous device operating.       the first digital picture based on at least a partial match
 The system may be implemented at least in part on one or between the new digital picture and the first digital picture,
 more computing devices. In some embodiments, the system 25 the anticipating of ( c ) performed by the one or more pro
 comprises a processor circuit configured to execute instruc- cessor circuits . The method may further include: ( d ) execut
 tion sets for operating a device . The system may further ing the one or more instruction sets for operating the device
 include a memory unit configured to store data . The system correlated with the first digital picture, the executing of (d)
 may further include a picture capturing apparatus configured performed in response to the anticipating of (c ) . The method
 to capture digital pictures. The system may further include 30 may further include: (e ) performing, by the device, one or
 an artificial intelligence unit . In some embodiments, the more operations defined by the one or more instruction sets
 artificial intelligence unit may be configured to: access the for operating the device correlated with the first digital
 memory unit that stores a plurality of digital pictures cor- picture, the one or more operations performed in response to
 related with one or more instruction sets for operating the the executing of (d ) .
 device , the plurality including a first digital picture corre- 35 The operations or steps of the non - transitory computer
 lated with one or more instruction sets for operating the storage medium and / or the method may be performed by
 device . The artificial intelligence unit may be further con- any of the elements of the above described systems as
 figured to : receive a new digital picture from the picture applicable . The non - transitory computer storage medium
 capturing apparatus. The artificial intelligence unit may be and /or the method may include any of the operations, steps ,
 further configured to : anticipate the one or more instruction 40 and embodiments of the above described systems as appli
 sets for operating the device correlated with the first digital cable .
 picture based on at least a partial match between the new           In some aspects , the disclosure relates to a system for
 digital picture and the first digital picture . The artificial learning and using a visual surrounding for autonomous
 intelligence unit may be further configured to : cause the device operating. The system may be implemented at least
 processor circuit to execute the one or more instruction sets 45 in part on one or more computing devices . In some embodi
 for operating the device correlated with the first digital ments, the system comprises a processor circuit configured
 picture, the executing performed in response to the antici- to execute instruction sets for operating a device . The system
 pating of the artificial intelligence unit , wherein the device may further include a memory unit configured to store data .
 performs one or more operations defined by the one or more The system may further include a picture capturing appara
 instruction sets for operating the device correlated with the 50 tus configured to capture digital pictures. The system may
 first digital picture, the one or more operations performed in further include an artificial intelligence. In some embodi
 response to the executing by the processor circuit.              ments, the artificial intelligence unit may be configured to :
    In some aspects , the disclosure relates to a non - transitory receive a first stream of digital pictures from the picture
 computer storage medium having a computer program capturing apparatus . The artificial intelligence unit may be
 stored thereon , the program including instructions that when 55 further configured to : receive one or more instruction sets
 executed by one or more processor circuits cause the one or for operating the device from the processor circuit. The
 more processor circuits to perform operations comprising: artificial intelligence unit may be further configured to : learn
 accessing a memory unit that stores a plurality of digital the first stream of digital pictures correlated with the one or
 pictures correlated with one or more instruction sets for more instruction sets for operating the device. The artificial
 operating a device , the plurality including a first digital 60 intelligence unit may be further configured to : receive a new
 picture correlated with one or more instruction sets for stream of digital pictures from the picture capturing appa
 operating the device . The operations may further include: ratus . The artificial intelligence unit may be further config
 receiving a new digital picture from a picture capturing ured to : anticipate the one or more instruction sets for
 apparatus. The operations may further include : anticipating operating the device correlated with the first stream of
 the one or more instruction sets for operating the device 65 digital pictures based on at least a partial match between the
 correlated with the first digital picture based on at least a new stream of digital pictures and the first stream of digital
 partial match between the new digital picture and the first pictures. The artificial intelligence unit may be further
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 63 of 131 PageID #: 648


                                                    US 11,055,583 B1
                              31                                                                 32
 configured to : cause the processor circuit to execute the one cell , the knowledge cell comprising the first stream of digital
 or more instruction sets for operating the device correlated pictures correlated with the one or more instruction sets for
 with the first stream of digital pictures, the executing per- operating the device . The correlating the first stream of
 formed in response to the anticipating of the artificial digital pictures with the one or more instruction sets for
 intelligence unit, wherein the device performs one or more 5 operating the device may include structuring a unit of
 operations defined by the one or more instruction sets for knowledge of how the device operated in a visual surround
 operating the device correlated with the first stream of ing . In further embodiments , the learning the first stream of
 digital pictures, the one or more operations performed in digital pictures correlated with the one or more instruction
 response to the executing by the processor circuit.                sets for operating the device includes learning a user's
    In certain embodiments, the first stream of digital pictures 10 knowledge, style , or methodology of operating the device in
 includes one or more digital pictures. In further embodi- a visual surrounding. In further embodiments , the learning
 ments , the new stream of digital pictures includes one or the first stream of digital pictures correlated with the one or
 more digital pictures. In further embodiments, the first and more instruction sets for operating the device includes
 the new streams of digital pictures portray the device's spontaneous learning the first stream of digital pictures
 surrounding. In further embodiments, the first and the new 15 correlated with the one or more instruction sets for operating
 streams of digital pictures portray a remote device's sur- the device .
 rounding. In further embodiments, the first or the new                In some embodiments, the learning the first stream of
 stream of digital pictures includes a digital motion picture. digital pictures correlated with the one or more instruction
 The digital motion picture may include a MPEG motion sets for operating the device includes storing, into the
 picture, an AVI motion picture , a FLV motion picture , a 20 memory unit , the first stream of digital pictures correlated
 MOV motion picture, a RM motion picture, a SWF motion with the one or more instruction sets for operating the
 picture, a WMV motion picture, a DivX motion picture, or device, the first stream of digital pictures correlated with the
 a digitally encoded motion picture. In further embodiments , one or more instruction sets for operating the device being
 the first stream of digital pictures includes a comparative part of a stored plurality of streams of digital pictures
 stream of digital pictures whose at least one portion can be 25 correlated with one or more instruction sets for operating the
 used for comparisons with at least one portion of streams of device . In further embodiments, the plurality of streams of
 digital pictures subsequent to the first stream of digital digital pictures correlated with one or more instruction sets
 pictures, the streams of digital pictures subsequent to the for operating the device include a neural network , a graph ,
 first stream of digital pictures comprising the new stream of a collection of sequences , a sequence, a collection of knowl
 digital pictures. In further embodiments, the first stream of 30 edge cells , a knowledgebase, a knowledge structure, or a
 digital pictures includes a comparative stream of digital data structure. In further embodiments, the plurality of
 pictures that can be used for comparisons with the new streams of digital pictures correlated with one or more
 stream of digital pictures. In further embodiments, the new instruction sets for operating the device are organized into a
 stream of digital pictures includes an anticipatory stream of neural network , a graph , a collection of sequences, a
 digital pictures whose correlated one or more instruction sets 35 sequence , a collection of knowledge cells , a knowledgebase ,
 can be used for anticipation of one or more instruction sets a knowledge structure , or a data structure. In further embodi
 to be executed by the processor circuit.                           ments, each of the plurality of streams of digital pictures
    In some embodiments, the first stream of digital pictures correlated with one or more instruction sets for operating the
 correlated with the one or more instruction sets for operating device is included in a neuron , a node , a vertex , or an
 the device includes a unit of knowledge of how the device 40 element of a data structure . The data structure may include
 operated in a visual surrounding. In further embodiments, a neural network , a graph, a collection of sequences , a
 the first stream of digital pictures correlated with the one or sequence , a collection of knowledge cells , a knowledgebase,
 more instruction sets for operating the device is included in or a knowledge structure . Some of the neurons, nodes ,
 a neuron , a node, a vertex, or an element of a data structure . vertices, or elements may be interconnected . In further
 In further embodiments, the data structure includes a neural 45 embodiments, the plurality of streams of digital pictures
 network , a graph , a collection of sequences, a sequence , a correlated with one or more instruction sets for operating the
 collection of knowledge cells , a knowledgebase , or a knowl- device include a user's knowledge , style , or methodology of
 edge structure . Some of the neurons, nodes , vertices, or operating the device in visual surroundings. In further
 elements may be interconnected . In further embodiments, embodiments, the plurality of streams of digital pictures
 the first stream of digital pictures correlated with the one or 50 correlated with one or more instruction sets for operating the
 more instruction sets for operating the device is structured device are stored on a remote computing device . In further
 into a knowledge cell . In further embodiments, the knowl- embodiments, the plurality of streams of digital pictures
 edge cell includes a unit of knowledge of how the device correlated with one or more instruction sets for operating the
 operated in a visual surrounding. In further embodiments, device include an artificial intelligence system for knowl
 the knowledge cell is included in a neuron , a node , a vertex, 55 edge structuring, storing, or representation . The artificial
 or an element of a data structure . The data structure may intelligence system for knowledge structuring, storing, or
 include a neural network, a graph, a collection of sequences, representation may include at least one of: a deep learning
 a sequence , a collection of knowledge cells , a knowledge- system , a supervised learning system , an unsupervised learn
 base , or a knowledge structure . Some of the neurons, nodes , ing system , a neural network , a search -based system , an
 vertices, or elements may be interconnected.                  60 optimization - based system , a logic -based system , a fuzzy
    In certain embodiments, the learning the first stream of logic -based system , a tree - based system , a graph -based
 digital pictures correlated with the one or more instruction system , a hierarchical system , a symbolic system , a sub
 sets for operating the device includes correlating the first symbolic system , an evolutionary system , a genetic system ,
 stream of digital pictures with the one or more instruction a multi-agent system , a deterministic system , a probabilistic
 sets for operating the device. The correlating the first stream 65 system , or a statistical system .
 of digital pictures with the one or more instruction sets for        In some embodiments, the anticipating the one or more
 operating the device may include generating a knowledge instruction sets for operating the device correlated with the
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 64 of 131 PageID #: 649


                                                     US 11,055,583 B1
                              33                                                                  34
 first stream of digital pictures based on at least a partial digital pictures exceeds a similarity threshold . In further
 match between the new stream of digital pictures and the embodiments, the determining that there is at least a partial
 first stream of digital pictures includes comparing at least match between the new stream of digital pictures and the
 one portion of the new stream of digital pictures with at least first stream of digital pictures includes determining a sub
 one portion of the first stream of digital pictures. The at least 5 stantial similarity between at least one portion of the new
 one portion of the new stream of digital pictures may include stream of digital pictures and at least one portion of the first
 at least one digital picture, at least one region, at least one stream of digital pictures. The at least one portion of the new
 feature, or at least one pixel of the new stream of digital stream of digital pictures may include at least one digital
 pictures. The at least one portion of the first stream of digital picture , at least one region , at least one feature, or at least
 pictures may include at least one digital picture, at least one 10 one pixel of the new stream of digital pictures. The at least
 region , at least one feature, or at least one pixel of the first one portion of the first stream of digital pictures may include
 stream of digital pictures. The comparing the at least one at least one digital picture, at least one region , at least one
 portion of the new stream of digital pictures with the at least feature, or at least one pixel of the first stream of digital
 one portion of the first stream of digital pictures may include pictures. The substantial similarity may be achieved when a
 comparing at least one digital picture of the new stream of 15 similarity between the at least one portion of the new stream
 digital pictures with at least one digital picture of the first of digital pictures and the at least one portion of the first
 stream of digital pictures. The at least one portion of the new stream of digital pictures exceeds a similarity threshold . The
 stream of digital pictures with the at least one portion of the substantial similarity may be achieved when a number or a
 first stream of digital pictures may include comparing at percentage of matching or partially matching digital pictures
 least one region of at least one digital picture of the new 20 from the new stream of digital pictures and from the first
 stream of digital pictures with at least one region of at least stream of digital pictures exceeds a threshold number or
 one digital picture of the first stream of digital pictures. The threshold percentage. The substantial similarity may be
 comparing the at least one portion of the new stream of achieved when a number or a percentage of matching or
 digital pictures with the at least one portion of the first partially matching regions of at least one digital picture from
 stream of digital pictures may include comparing at least one 25 the new stream of digital pictures and from the first stream
 feature of at least one digital picture of the new stream of of digital pictures exceeds a threshold number or threshold
 digital pictures with at least one feature of at least one digital percentage. The substantial similarity may be achieved
 picture of the first stream of digital pictures. The comparing when a number or a percentage of matching or partially
 the at least one portion of the new stream of digital pictures matching features of at least one digital picture from the new
 with the at least one portion of the first stream of digital 30 stream of digital pictures and from the first stream of digital
 pictures may include comparing at least one pixel of at least pictures exceeds a threshold number or threshold percent
 one digital picture of the new stream of digital pictures with age . The substantial similarity may be achieved when a
 at least one pixel of at least one digital picture of the first number or a percentage of matching or partially matching
 stream of digital pictures. The comparing the at least one pixels of at least one digital picture from the new stream of
 portion of the new stream of digital pictures with the at least 35 digital pictures and from the first stream of digital pictures
 one portion of the first stream of digital pictures may include exceeds a threshold number or threshold percentage. The
 at least one of: performing a color adjustment, performing a substantial similarity may be achieved when one or more
 size adjustment, performing a content manipulation, per- same or similar objects are recognized in the new stream of
 forming temporal alignment, performing dynamic time digital pictures and the first stream of digital pictures. In
 warping, utilizing a transparency , or utilizing a mask on the 40 further embodiments, the determining that there is at least a
 new or the first stream of digital pictures. The comparing the partial match between the new stream of digital pictures and
 at least one portion of the new stream of digital pictures with the first stream of digital pictures includes determining that
 the at least one portion of the first stream of digital pictures a number or a percentage of matching digital pictures from
 may include recognizing at least one person or object in the the new stream of digital pictures and from the first stream
 new stream of digital pictures and at least one person or 45 of digital pictures exceeds a threshold number or threshold
 object in the first stream of digital pictures, and comparing percentage. The matching digital pictures from the new
 the at least one person or object from the new stream of stream of digital pictures and from the first stream of digital
 digital pictures with the at least one person or object from pictures may be determined factoring in at least one of: an
 the first stream of digital pictures.                               order of a digital picture in a stream of digital pictures, an
    In certain embodiments , the anticipating the one or more 50 importance of a digital picture , a threshold for a similarity in
 instruction sets for operating the device correlated with the a digital picture, or a threshold for a difference in a digital
 first stream of digital pictures based on at least a partial picture. In further embodiments, the determining that there
 match between the new stream of digital pictures and the is at least a partial match between the new stream of digital
 first stream of digital pictures includes determining that pictures and the first stream of digital pictures includes
 there is at least a partial match between the new stream of 55 determining that a number or a percentage of matching
 digital pictures and the first stream of digital pictures. In regions from at least one digital picture of the new stream of
 further embodiments, the determining that there is at least a digital pictures and from at least one digital picture of the
 partial match between the new stream of digital pictures and first stream of digital pictures exceeds a threshold number or
 the first stream of digital pictures includes determining that threshold percentage. The matching regions from at least
 there is at least a partial match between one or more portions 60 one digital picture of the new stream of digital pictures and
 of the new stream of digital pictures and one or more from at least one digital picture of the first stream of digital
 portions of the first stream of digital pictures. In further pictures may be determined factoring in at least one of: a
 embodiments, the determining that there is at least a partial location of a region , an importance of a region , a threshold
 match between the new stream of digital pictures and the for a similarity in a region, or a threshold for a difference in
 first stream of digital pictures includes determining that a 65 a region. In further embodiments, the determining that there
 similarity between at least one portion of the new stream of is at least a partial match between the new stream of digital
 digital pictures and at least one portion of the first stream of pictures and the first stream of digital pictures includes
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 65 of 131 PageID #: 650


                                                     US 11,055,583 B1
                               35                                                                   36
 determining that a number or a percentage of matching with the first stream of digital pictures. In further embodi
 features from at least one digital picture of the new stream ments, the executing the one or more instruction sets for
 of digital pictures and from at least one digital picture of the operating the device correlated with the first stream of
 first stream of digital pictures exceeds a threshold number or digital pictures includes issuing an interrupt to the processor
 threshold percentage. The matching features from at least 5 circuit and executing the one or more instruction sets for
 one digital picture of the new stream of digital pictures and operating the device correlated with the first stream of
 from at least one digital picture of the first stream of digital digital pictures following the interrupt. In further embodi
 pictures may be determined factoring in at least one of: a ments, the causing the processor circuit to execute the one
 type of a feature, an importance of a feature , a location of a or more instruction sets for operating the device correlated
 feature, a threshold for a similarity in a feature, or a 10 with the first stream of digital pictures includes modifying
 threshold for a difference in a feature . In further embodi- an element that is part of, operating on , or coupled to the
 ments  , the determining that there is at least a partial match processor
 between the new stream of digital pictures and the first
                                                                                 circuit.
                                                                        In some embodiments, the processor circuit includes a
 stream of digital pictures includes determining that a number logic circuit , and wherein the causing the processor circuit
 or a percentage of matching pixels from at least one digital 15 to execute the one or more instruction sets for operating the
 picture of the new stream of digital pictures and from at least device correlated with the first stream of digital pictures
 one digital picture of the first stream of digital pictures includes causing the logic circuit to execute the one or more
 exceeds a threshold number or threshold percentage. The instruction sets for operating the device correlated with the
 matching pixels from at least one digital picture of the new first stream of digital pictures. The logic circuit may include
 stream of digital pictures and from at least one digital picture 20 a microcontroller. The causing the logic circuit to execute
 of the first stream of digital pictures may be determined the one or more instruction sets for operating the device
 factoring in at least one of a location of a pixel , a threshold correlated with the first stream of digital pictures may
 for a similarity in a pixel , or a threshold for a difference in include modifying an element of the logic circuit . The
 a pixel . In further embodiments, the determining that there causing the logic circuit to execute the one or more instruc
 is at least a partial match between the new stream of digital 25 tion sets for operating the device correlated with the first
 pictures and the first stream of digital pictures includes stream of digital pictures may include inserting the one or
 recognizing a same person or object in the new and the first more instruction sets for operating the device correlated with
 streams of digital pictures.                                        the first stream of digital pictures into an element of the logic
    In certain embodiments, the causing the processor circuit circuit. The causing the logic circuit to execute the one or
 to execute the one or more instruction sets for operating the 30 more instruction sets for operating the device correlated with
 device correlated with the first stream of digital pictures the first stream of digital pictures may include redirecting
 includes causing the processor circuit to execute the one or the logic circuit to the one or more instruction sets for
 more instruction sets for operating the device correlated with operating the device correlated with the first strean of
 the first stream of digital pictures instead of or prior to an digital pictures. The causing the logic circuit to execute the
 instruction set that would have been executed next . In 35 one or more instruction sets for operating the device corre
 further embodiments, the causing the processor circuit to lated with the first stream of digital pictures may include
 execute the one or more instruction sets for operating the replacing inputs into the logic circuit with the one or more
 device correlated with the first stream of digital pictures instruction sets for operating the device correlated with the
 includes modifying one or more instruction sets of the first stream of digital pictures. The causing the logic circuit
 processor circuit. In further embodiments, the causing the 40 to execute the one or more instruction sets for operating the
 processor circuit to execute the one or more instruction sets device correlated with the first stream of digital pictures may
 for operating the device correlated with the first stream of include replacing outputs from the logic circuit with the one
 digital pictures includes modifying a register or an element or more instruction sets for operating the device correlated
 of the processor circuit . In further embodiments, the causing with the first stream of digital pictures.
 the processor circuit to execute the one or more instruction 45 In certain embodiments, the causing the processor circuit
 sets for operating the device correlated with the first stream to execute the one or more instruction sets for operating the
 of digital pictures includes inserting the one or more instruc- device correlated with the first stream of digital pictures
 tion sets for operating the device correlated with the first includes causing an application for operating the device to
 stream of digital pictures into a register or an element of the execute the one or more instruction sets for operating the
 processor circuit. In further embodiments, the causing the 50 device correlated with the first stream of digital pictures, the
 processor circuit to execute the one or more instruction sets application running on the processor circuit .
 for operating the device correlated with the first stream of           In some embodiments, the system further comprises: an
 digital pictures includes redirecting the processor circuit to application including instruction sets for operating the
 the one or more instruction sets for operating the device device, the application running on the processor circuit ,
 correlated with the first stream of digital pictures . In further 55 wherein the causing the processor circuit to execute the one
 embodiments, the causing the processor circuit to execute or more instruction sets for operating the device correlated
 the one or more instruction sets for operating the device with the first stream of digital pictures includes modifying
 correlated with the first stream of digital pictures includes the application.
 redirecting the processor circuit to one or more alternate             In certain embodiments , the causing the processor circuit
 instruction sets , the alternate instruction sets comprising the 60 to execute the one or more instruction sets for operating the
 one or more instruction sets for operating the device corre- device correlated with the first stream of digital pictures
 lated with the first stream of digital pictures. In further includes redirecting an application to the one or more
 embodiments, the causing the processor circuit to execute instruction sets for operating the device correlated with the
 the one or more instruction sets for operating the device first stream of digital pictures, the application running on the
 correlated with the first stream of digital pictures includes 65 processor circuit. In further embodiments, the causing the
 transmitting, to the processor circuit for execution, the one processor circuit to execute the one or more instruction sets
 or more instruction sets for operating the device correlated for operating the device correlated with the first stream of
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 66 of 131 PageID #: 651


                                                      US 11,055,583 B1
                               37                                                                  38
 digital pictures includes redirecting an application to one or embodiments, the causing the processor circuit to execute
 more alternate instruction sets, the application running on the one or more instruction sets for operating the device
 the processor circuit , the alternate instruction sets compris- correlated with the first stream of digital pictures includes
 ing the one or more instruction sets for operating the device utilizing an assembly language. In further embodiments , the
 correlated with the first stream of digital pictures. In further 5 causing the processor circuit to execute the one or more
 embodiments, the causing the processor circuit to execute instruction sets for operating the device correlated with the
 the one or more instruction sets for operating the device first stream of digital pictures includes utilizing at least one
 correlated with the first stream of digital pictures includes of: a metaprogramming, a self-modifying code, or an
 modifying one or more instruction sets of an application , the instruction set modification tool . In further embodiments ,
 application running on the processor circuit . In further 10 the causing the processor circuit to execute the one or more
 embodiments, the causing the processor circuit to execute instruction sets for operating the device correlated with the
 the one or more instruction sets for operating the device first stream of digital pictures includes utilizing at least one
 correlated with the first stream of digital pictures includes of: just in time (JIT ) compiling, JIT interpretation, JIT
 modifying a source code , a bytecode, an intermediate code, translation , dynamic recompiling, or binary rewriting. In
 a compiled code , an interpreted code , a translated code , a 15 further embodiments, the causing the processor circuit to
 runtime code, an assembly code , or a machine code . In execute the one or more instruction sets for operating the
 further embodiments, the causing the processor circuit to device correlated with the first stream of digital pictures
 execute the one or more instruction sets for operating the includes utilizing at least one of a dynamic expression
 device correlated with the first stream of digital pictures creation, a dynamic expression execution , a dynamic func
 includes modifying at least one of: the memory unit, a 20 tion creation , or a dynamic function execution . In further
 register of the processor circuit , a storage, or a repository embodiments, the causing the processor circuit to execute
 where instruction sets are stored or used . In further embodi- the one or more instruction sets for operating the device
 ments, the causing the processor circuit to execute the one correlated with the first stream of digital pictures includes
 or more instruction sets for operating the device correlated adding or inserting additional code into a code of an appli
 with the first stream of digital pictures includes modifying 25 cation , the application running on the processor circuit. In
 one or more instruction sets for operating an application or further embodiments, the causing the processor circuit to
 an object of the application , the application running on the execute the one or more instruction sets for operating the
 processor circuit. In further embodiments, the causing the device correlated with the first stream of digital pictures
 processor circuit to execute the one or more instruction sets includes at least one of: modifying, removing, rewriting, or
 for operating the device correlated with the first stream of 30 overwriting a code of an application, the application running
 digital pictures includes modifying at least one of: an on the processor circuit. In further embodiments, the causing
 element of the processor circuit, an element of the device, a the processor circuit to execute the one or more instruction
 virtual machine , a runtime engine , an operating system , an sets for operating the device correlated with the first stream
 execution stack , a program counter, or a user input. In of digital pictures includes at least one of: branching,
 further embodiments, the causing the processor circuit to 35 redirecting, extending, or hot swapping a code of an appli
 execute the one or more instruction sets for operating the cation, the application running on the processor circuit . The
 device correlated with the first stream of digital pictures branching or redirecting the code may include inserting at
 includes modifying one or more instruction sets at a source least one of: a branch , a jump, or a means for redirecting an
 code write time , a compile time , an interpretation time , a execution .
 translation time , a linking time , a loading time , or a runtime. 40 In some embodiments, the executing the one or more
 In further embodiments, the causing the processor circuit to instruction sets for operating the device correlated with the
 execute the one or more instruction sets for operating the first stream of digital pictures includes implementing a
 device correlated with the first stream of digital pictures user's knowledge, style, or methodology of operating the
 includes modifying one or more code segments, lines of device in a visual surrounding.
 code , statements, instructions, functions, routines , subrou- 45 In certain embodiments, the system further comprises : an
 tines , or basic blocks . In further embodiments , the causing interface configured to cause execution of instruction sets ,
 the processor circuit to execute the one or more instruction wherein the executing the one or more instruction sets for
 sets for operating the device correlated with the first stream operating the device correlated with the first stream of
 of digital pictures includes a manual, an automatic, a digital pictures is caused by the interface . The interface may
 dynamic , or a just in time (JIT) instrumentation of an 50 include a modification interface .
 application, the application running on the processor circuit .       In some embodiments, the artificial intelligence unit is
 In further embodiments, the causing the processor circuit to further configured to : receive at least one extra information .
 execute the one or more instruction sets for operating the In further embodiments, the at least one extra information
 device correlated with the first stream of digital pictures include one or more of: an information on a stream of digital
 includes utilizing one or more of a .NET tool , a .NET 55 pictures, an information on an object in the stream of digital
 application programming interface (API), a Java tool , a Java pictures, an information on the device's visual surrounding,
 API , an operating system tool , or an independent tool for an information on an instruction set, an information on an
 modifying instruction sets . In further embodiments , the application, an information on an object of the application ,
 causing the processor circuit to execute the one or more an information on the processor circuit , an information on
 instruction sets for operating the device correlated with the 60 the device, or an information on an user . In further embodi
 first stream of digital pictures includes utilizing at least one   ments, the artificial intelligence unit is further configured to :
 of: a dynamic, an interpreted, or a scripting programming          learn the first stream of digital pictures correlated with the at
 language . In further embodiments, the causing the processor   least one extra information . The learning the first stream of
 circuit to execute the one or more instruction sets for        digital pictures correlated with at least one extra information
 operating the device correlated with the first stream of 65 may include correlating the first stream of digital pictures
 digital pictures includes utilizing at least one of: a dynamic with the at least one extra information. The learning the first
 code , a dynamic class loading , or a reflection. In further stream of digital pictures correlated with at least one extra
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 67 of 131 PageID #: 652


                                                    US 11,055,583 B1
                              39                                                                 40
 information may include storing the first stream of digital includes storing the first stream of digital pictures correlated
 pictures correlated with the at least one extra information with the one or more instruction sets for operating the device
 into the memory unit. In further embodiments, the antici- into a first node of a data structure , and wherein the learning
 pating the one or more instruction sets for operating the the second stream of digital pictures correlated with the
 device correlated with the first stream of digital pictures 5 additional one or more instruction sets for operating the
 based on at least a partial match between the new stream of device includes storing the second stream of digital pictures
 digital pictures and the first stream of digital pictures correlated with the additional one or more instruction sets
 includes anticipating the one or more instruction sets for for operating the device into a second node of the data
 operating the device correlated with the first stream of structure . The data structure may include a neural network ,
 digital pictures based on at least a partial match between an 10 a graph , a collection of sequences, a sequence, a collection
 extra information correlated with the new stream of digital of knowledge cells , a knowledgebase, or a knowledge
 pictures and an extra information correlated with the first structure. The learning the first stream of digital pictures
 stream of digital pictures. The anticipating the one or more correlated with the one or more instruction sets for operating
 instruction sets for operating the device correlated with the the device and the learning the second stream of digital
 first stream of digital pictures based on at least a partial 15 pictures correlated with the additional one or more instruc
 match between an extra information correlated with the new tion sets for operating the device may include creating a
 stream of digital pictures and an extra information correlated connection between the first node and the second node. The
 with the first stream of digital pictures may include com- learning the first stream of digital pictures correlated with
 paring an extra information correlated with the new stream the one or more instruction sets for operating the device and
 of digital pictures and an extra information correlated with 20 the learning the second stream of digital pictures correlated
 the first stream of digital pictures. The anticipating the one with the additional one or more instruction sets for operating
 or more instruction sets for operating the device correlated the device may include updating a connection between the
 with the first stream of digital pictures based on at least a first node and the second node . In further embodiments , the
 partial match between an extra information correlated with first stream of digital pictures correlated with the one or
 the new stream of digital pictures and an extra information 25 more instruction sets for operating the device is stored into
 correlated with the first stream of digital pictures may a first node of a neural network and the second stream of
 include determining that a similarity between an extra digital pictures correlated with the additional one or more
 information correlated with the new stream of digital pic- instruction sets for operating the device is stored into a
 tures and an extra information correlated with the first         second node of the neural network . The first node and the
 stream of digital pictures exceeds a similarity threshold . 30 second node may be connected by a connection . The first
    In certain embodiments, the artificial intelligence unit is node may be part of a first layer of the neural network and
 further configured to : receive a second stream of digital the second node may be part of a second layer of the neural
 pictures from the picture capturing apparatus; receive addi- network . In further embodiments, the first stream of digital
 tional one or more instruction sets for operating the device pictures correlated with the one or more instruction sets for
 from the processor circuit ; and learn the second stream of 35 operating the device is stored into a first node of a graph and
 digital pictures correlated with the additional one or more the second stream of digital pictures correlated with the
 instruction sets for operating the device . In further embodi- additional one or more instruction sets for operating the
 ments, the learning the first stream of digital pictures cor- device is stored into a second node of the graph . The first
 related with the one or more instruction sets for operating the node and the second node may be connected by a connec
 device and the learning the second stream of digital pictures 40 tion . In further embodiments , the first stream of digital
 correlated with the additional one or more instruction sets pictures correlated with the one or more instruction sets for
 for operating the device include creating a connection operating the device is stored into a first node of a sequence
 between the first stream of digital pictures correlated with and the second stream of digital pictures correlated with the
 the one or more instruction sets for operating the device and additional one or more instruction sets for operating the
 the second stream of digital pictures correlated with the 45 device is stored into a second node of the sequence.
 additional one or more instruction sets for operating the           In some aspects , the disclosure relates to a non -transitory
 device . The connection includes or is associated with at least computer storage medium having a computer program
 one of: an occurrence count, a weight, a parameter, or a data . stored thereon , the program including instructions that when
 In further embodiments, the learning the first stream of executed by one or more processor circuits cause the one or
 digital pictures correlated with the one or more instruction 50 more processor circuits to perform operations comprising:
 sets for operating the device and the learning the second receiving a first stream of digital pictures from a picture
 stream of digital pictures correlated with the additional one capturing apparatus . The operations may further include :
 or more instruction sets for operating the device include receiving one or more instruction sets for operating a device .
 updating a connection between the first stream of digital The operations may further include : learning the first stream
 pictures correlated with the one or more instruction sets for 55 of digital pictures correlated with the one or more instruction
 operating the device and the second stream of digital pic- sets for operating the device . The operations may further
 tures correlated with the additional one or more instruction include: receiving a new stream of digital pictures from the
 sets for operating the device . The updating the connection picture capturing apparatus. The operations may further
 between the first stream of digital pictures correlated with include: anticipating the one or more instruction sets for
 the one or more instruction sets for operating the device and 60 operating the device correlated with the first stream of
 the second stream of digital pictures correlated with the digital pictures based on at least a partial match between the
 additional one or more instruction sets for operating the new stream of digital pictures and the first stream of digital
 device may include updating at least one of: an occurrence       pictures. The operations may further include : causing an
 count, a weight, a parameter, or a data included in or execution of the one or more instruction sets for operating
 associated with the connection . In further embodiments, the 65 the device correlated with the first stream of digital pictures,
 learning the first stream of digital pictures correlated with the causing performed in response to the anticipating the one
 the one or more instruction sets for operating the device          or more instruction sets for operating the device correlated
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 68 of 131 PageID #: 653


                                                       US 11,055,583 B1
                               41                                                                 42
 with the first stream of digital pictures based on at least a stream of digital pictures with the one or more instruction
 partial match between the new stream of digital pictures and sets for operating the device . The correlating the first stream
 the first stream of digital pictures, wherein the device of digital pictures with the one or more instruction sets for
 performs one or more operations defined by the one or more operating the device may include generating a knowledge
 instruction sets for operating the device correlated with the 5 cell , the knowledge cell comprising the first stream of digital
 first stream of digital pictures, the one or more operations pictures correlated with the one or more instruction sets for
 performed in response to the executing .                        operating the device. The correlating the first stream of
    In some aspects , the disclosure relates to a method com- digital pictures with the one or more instruction sets for
 prising: (a ) receiving a first stream of digital pictures from operating the device may include structuring a unit of
 a picture capturing apparatus by one or more processor 10 knowledge of how the device operated in a visual surround
 circuits . The method may further include : (b ) receiving one ing . In further embodiments, the learning the first stream of
 or more instruction sets for operating a device by the one or digital pictures correlated with the one or more instruction
 more processor circuits . The method may further include: (c ) sets for operating the device includes learning a user's
 learning the first stream of digital pictures correlated with knowledge, style, or methodology of operating the device in
 the one or more instruction sets for operating the device, the 15 a visual surrounding. In further embodiments, the learning
 learning of ( c ) performed by the one or more processor the first stream of digital pictures correlated with the one or
 circuits . The method may further include : ( d ) receiving a more instruction sets for operating the device includes
 new stream of digital pictures from the picture capturing spontaneous learning the first stream of digital pictures
 apparatus by the one or more processor circuits. The method correlated with the one or more instruction sets for operating
 may further include: (e ) anticipating the one or more instruc- 20 the device.
 tion sets for operating the device correlated with the first          In some embodiments, the learning the first stream of
 stream of digital pictures based on at least a partial match digital pictures correlated with the one or more instruction
 between the new stream of digital pictures and the first sets for operating the device includes storing, into a memory
 stream of digital pictures, the anticipating of ( e ) performed     unit, the first stream of digital pictures correlated with the
 by the one or more processor circuits. The method may 25 one or more instruction sets for operating the device, the first
 further include : ( f) executing the one or more instruction sets   stream of digital pictures correlated with the one or more
 for operating the device correlated with the first stream of        instruction sets for operating the device being part of a
 digital pictures, the executing of ( f) performed in response       stored plurality of streams of digital pictures correlated with
 to the anticipating of (e ) . The method may further include: one or more instruction sets for operating the device . In
 ( g) performing, by the device , one or more operations 30 further embodiments, the plurality of streams of digital
 defined by the one or more instruction sets for operating the       pictures correlated with one or more instruction sets for
 device correlated with the first stream of digital pictures, the    operating the device include a neural network , a graph , a
 one or more operations performed in response to the execut-         collection of sequences, a sequence , a collection of knowl
 ing of ( f).                                                    edge cells , a knowledgebase , a knowledge structure, or a
    The operations or steps of the non - transitory computer 35 data structure . In further embodiments, the plurality of
 storage medium and /or the method may be performed by streams of digital pictures correlated with one or more
 any of the elements of the above described systems as instruction sets for operating the device are organized into a
 applicable. The non - transitory computer storage medium neural network , a graph , a collection of sequences, a
 and / or the method may include any of the operations, steps , sequence, a collection of knowledge cells , a knowledgebase,
 and embodiments of the above described systems as appli- 40 a knowledge structure , or a data structure. In further embodi
 cable as well as the following embodiments.                     ments, each of the plurality of streams of digital pictures
    In some embodiments, the first stream of digital pictures correlated with one or more instruction sets for operating the
 correlated with the one or more instruction sets for operating device is included in a neuron , a node, a vertex , or an
 the device includes a unit of knowledge of how the device element of a data structure . The data structure may include
 operated in a visual surrounding. In further embodiments, 45 a neural network , a graph, a collection of sequences, a
 the first stream of digital pictures correlated with the one or sequence , a collection of knowledge cells , a knowledgebase ,
 more instruction sets for operating the device is included in       or a knowledge structure . Some of the neurons, nodes ,
 a neuron , a node, a vertex , or an element of a data structure .   vertices, or elements may be interconnected . In further
 The data structure may include a neural network , a graph , a embodiments, the plurality of streams of digital pictures
 collection of sequences, a sequence , a collection of knowl- 50 correlated with one or more instruction sets for operating the
 edge cells , a knowledgebase , or a knowledge structure . device include a user's knowledge, style , or methodology of
 Some of the neurons, nodes, vertices , or elements may be operating the device in visual surroundings. In further
 interconnected . In further embodiments , the first stream of embodiments, the plurality of streams of digital pictures
 digital pictures correlated with the one or more instruction correlated with one or more instruction sets for operating the
 sets for operating the device is structured into a knowledge 55 device are stored on a remote computing device. In further
 cell . In further embodiments, the knowledge cell includes a embodiments, the plurality of streams of digital pictures
 unit of knowledge of how the device operated in a visual correlated with one or more instruction sets for operating the
 surrounding. In further embodiments, the knowledge cell is device include an artificial intelligence system for knowl
 included in a neuron , a node , a vertex , or an element of a data edge structuring, storing, or representation . The artificial
 structure . The data structure may include a neural network, 60 intelligence system for knowledge structuring, storing , or
 a graph, a collection of sequences , a sequence , a collection representation may include at least one of: a deep learning
 of knowledge cells , a knowledgebase , or a knowledge          system , a supervised learning system , an unsupervised learn
 structure . Some of the neurons, nodes, vertices, or elements       ing system , a neural network , a search -based system , an
 may be interconnected .                                        optimization -based system , a logic -based system , a fuzzy
    In certain embodiments, the learning the first stream of 65 logic -based system , a tree -based system , a graph -based
 digital pictures correlated with the one or more instruction system , a hierarchical system , a symbolic system , a sub
 sets for operating the device includes correlating the first symbolic system , an evolutionary system , a genetic system ,
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 69 of 131 PageID #: 654


                                                     US 11,055,583 B1
                              43                                                                  44
 a multi-agent system , a deterministic system , a probabilistic     embodiments, the determining that there is at least a partial
 system , or a statistical system .                                    match between the new stream of digital pictures and the
    In further embodiments, the anticipating the one or more first stream of digital pictures includes determining that a
 instruction sets for operating the device correlated with the similarity between at least one portion of the new stream of
 first stream of digital pictures based on at least a partial 5 digital pictures and at least one portion of the first stream of
 match between the new stream of digital pictures and the digital pictures exceeds a similarity threshold . In further
 first stream of digital pictures includes comparing at least embodiments, the determining that there is at least a partial
 one portion of the new stream of digital pictures with at least match between the new stream of digital pictures and the
 one portion of the first stream of digital pictures. The at least first stream of digital pictures includes determining a sub
 one portion of the new stream of digital pictures may include 10 stantial similarity between at least one portion of the new
 at least one digital picture, at least one region , at least one stream of digital pictures and at least one portion of the first
 feature, or at least one pixel of the new stream of digital stream of digital pictures. The at least one portion of the new
 pictures. The at least one portion of the first stream of digital stream of digital pictures may include at least one digital
 pictures may include at least one digital picture, at least one picture , at least one region , at least one feature , or at least
 region , at least one feature , or at least one pixel of the first 15 one pixel of the new stream of digital pictures. The at least
 stream of digital pictures. The comparing the at least one one portion of the first stream of digital pictures may include
 portion of the new stream of digital pictures with the at least at least one digital picture , at least one region, at least one
 one portion of the first stream of digital pictures may include feature, or at least one pixel of the first stream of digital
 comparing at least one digital picture of the new stream of pictures. The substantial similarity may be achieved when a
 digital pictures with at least one digital picture of the first 20 similarity between the at least one portion of the new stream
 stream of digital pictures. The comparing the at least one of digital pictures and the at least one portion of the first
 portion of the new stream of digital pictures with the at least stream of digital pictures exceeds a similarity threshold . The
 one portion of the first stream of digital pictures may include substantial similarity may be achieved when a number or a
 comparing at least one region of at least one digital picture percentage of matching or partially matching digital pictures
 of the new stream of digital pictures with at least one region 25 from the new stream of digital pictures and from the first
 of at least one digital picture of the first stream of digital stream of digital pictures exceeds a threshold number or
 pictures. The comparing the at least one portion of the new threshold percentage. The substantial similarity may be
 stream of digital pictures with the at least one portion of the achieved when a number or a percentage of matching or
 first stream of digital pictures may include comparing at partially matching regions of at least one digital picture from
 least one feature of at least one digital picture of the new 30 the new stream of digital pictures and from the first stream
 stream of digital pictures with at least one feature of at least of digital pictures exceeds a threshold number or threshold
 one digital picture of the first stream of digital pictures . The percentage . The substantial similarity may be achieved
 comparing the at least one portion of the new stream of when a number or a percentage of matching or partially
 digital pictures with the at least one portion of the first matching features of at least one digital picture from the new
 stream of digital pictures may include comparing at least one 35 stream of digital pictures and from the first stream of digital
 pixel of at least one digital picture of the new stream of pictures exceeds a threshold number or threshold percent
 digital pictures with at least one pixel of at least one digital age . The substantial similarity may be achieved when a
 picture of the first stream of digital pictures . The comparing number or a percentage of matching or partially matching
 the at least one portion of the new stream of digital pictures pixels of at least one digital picture from the new stream of
 with the at least one portion of the first stream of digital 40 digital pictures and from the first stream of digital pictures
 pictures may include at least one of performing a color exceeds a threshold number or threshold percentage. The
 adjustment, performing a size adjustment, performing a substantial similarity may be achieved when one or more
 content manipulation , performing temporal alignment, per- same or similar objects are recognized in the new stream of
 forming dynamic time warping , utilizing a transparency, or digital pictures and the first stream of digital pictures. In
 utilizing a mask on the new or the first stream of digital 45 further embodiments, the determining that there is at least a
 pictures . The comparing the at least one portion of the new partial match between the new stream of digital pictures and
 stream of digital pictures with the at least one portion of the the first stream of digital pictures includes determining that
 first stream of digital pictures may include recognizing at a number or a percentage of matching digital pictures from
 least one person or object in the new stream of digital the new stream of digital pictures and from the first stream
 pictures and at least one person or object in the first stream 50 of digital pictures exceeds a threshold number or threshold
 of digital pictures, and comparing the at least one person or percentage. The matching digital pictures from the new
 object from the new stream of digital pictures with the at stream of digital pictures and from the first stream of digital
 least one person or object from the first stream of digital pictures may be determined factoring in at least one of: an
 pictures.                                                         order of a digital picture in a stream of digital pictures, an
    In some embodiments, the anticipating the one or more 55 importance of a digital picture , a threshold for a similarity in
 instruction sets for operating the device correlated with the a digital picture , or a threshold for a difference in a digital
 first stream of digital pictures based on at least a partial picture . In further embodiments, the determining that there
 match between the new stream of digital pictures and the is at least a partial match between the new stream of digital
 first stream of digital pictures includes determining that pictures and the first stream of digital pictures includes
 there  is at least a partial match between the new stream of 60 determining that a number or a percentage of matching
 digital pictures and the first stream of digital pictures. In regions from at least one digital picture of the new stream of
 further embodiments, the determining that there is at least a digital pictures and from at least one digital picture of the
 partial match between the new stream of digital pictures and first stream of digital pictures exceeds a threshold number or
 the first stream of digital pictures includes determining that threshold percentage. The matching regions from at least
 there is at least a partial match between one or more portions 65 one digital picture of the new stream of digital pictures and
 of the new stream of digital pictures and one or more from at least one digital picture of the first stream of digital
 portions of the first stream of digital pictures. In further pictures may be determined factoring in at least one of: a
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 70 of 131 PageID #: 655


                                                     US 11,055,583 B1
                              45                                                                  46
 location of a region , an importance of a region , a threshold correlated with the first stream of digital pictures. In further
 for a similarity in a region, or a threshold for a difference in embodiments, the executing the one or more instruction sets
 a region . In further embodiments, the determining that there for operating the device correlated with the first stream of
 is at least a partial match between the new stream of digital digital pictures includes issuing an interrupt to a processor
 pictures and the first stream of digital pictures includes 5 circuit and executing the one or more instruction sets for
 determining that a number or a percentage of matching operating the device correlated with the first stream of
 features from at least one digital picture of the new stream digital pictures following the interrupt. In further embodi
 of digital pictures and from at least one digital picture of the ments, the executing the one or more instruction sets for
 first stream of digital pictures exceeds a threshold number or operating the device correlated with the first stream of
 threshold percentage. The matching features from at least 10 digital pictures includes modifying an element that is part of,
 one digital picture of the new stream of digital pictures and operating on , or coupled to a processor circuit.
 from at least one digital picture of the first stream of digital    In some embodiments, the executing the one or more
 pictures may be determined factoring in at least one of: a instruction sets for operating the device correlated with the
 type of a feature , an importance of a feature , a location of a first stream of digital pictures includes executing, by a logic
 feature , a threshold for a similarity in a feature, or a 15 circuit, the one or more instruction sets for operating the
 threshold for a difference in a feature . In further embodi- device correlated with the first stream of digital pictures. The
 ments , the determining that there is at least a partial match logic circuit may include a microcontroller. The executing ,
 between the new stream of digital pictures and the first by the logic circuit , the one or more instruction sets for
 stream of digital pictures includes determining that a number operating the device correlated with the first stream of
 or a percentage of matching pixels from at least one digital 20 digital pictures may include modifying an element of the
 picture of the new stream of digital pictures and from at least logic circuit. The executing , by the logic circuit, the one or
 one digital picture of the first stream of digital pictures more instruction sets for operating the device correlated with
 exceeds a threshold number or threshold percentage. The the first stream of digital pictures may include inserting the
 matching pixels from at least one digital picture of the new one or more instruction sets for operating the device corre
 stream of digital pictures and from at least one digital picture 25 lated with the first stream of digital pictures into an element
 of the first stream of digital pictures may be determined of the logic circuit. The executing , by the logic circuit , the
 factoring in at least one of: a location of a pixel , a threshold one or more instruction sets for operating the device corre
 for a similarity in a pixel , or a threshold for a difference in lated with the first stream of digital pictures may include
 a pixel . In further embodiments, the determining that there redirecting the logic circuit to the one or more instruction
 is at least a partial match between the new stream of digital 30 sets for operating the device correlated with the first stream
 pictures and the first stream of digital pictures includes of digital pictures. The executing , by the logic circuit, the
 recognizing a same person or object in the new and the first one or more instruction sets for operating the device corre
 streams of digital pictures.                                        lated with the first stream of digital pictures may include
    In certain embodiments , the executing the one or more replacing inputs into the logic circuit with the one or more
 instruction sets for operating the device correlated with the 35 instruction sets for operating the device correlated with the
 first stream of digital pictures includes executing the one or first stream of digital pictures. The executing , by the logic
 more instruction sets for operating the device correlated with circuit, the one or more instruction sets for operating the
 the first stream of digital pictures instead of or prior to an device correlated with the first stream of digital pictures my
 instruction set that would have been executed next. In include replacing outputs from the logic circuit with the one
 further embodiments, the executing the one or more instruc- 40 or more instruction sets for operating the device correlated
 tion sets for operating the device correlated with the first with the first stream of digital pictures.
 stream of digital pictures includes modifying one or more              In certain embodiments, the executing the one or more
 instruction sets. In further embodiments , the executing the instruction sets for operating the device correlated with the
 one or more instruction sets for operating the device corre- first stream of digital pictures includes executing , by an
 lated with the first stream of digital pictures includes modi- 45 application for operating the device , the one or more instruc
 fying a register or an element of a processor circuit . In tion sets for operating the device correlated with the first
 further embodiments, the executing the one or more instruc- stream of digital pictures. In further embodiments, the
 tion sets for operating the device correlated with the first executing the one or more instruction sets for operating the
 stream of digital pictures includes inserting the one or more device correlated with the first stream of digital pictures
 instruction sets for operating the device correlated with the 50 includes modifying an application, the application including
 first stream of digital pictures into a register or an element instruction sets for operating the device . In further embodi
 of a processor circuit . In further embodiments, the executing ments, the executing the one or more instruction sets for
 the one or more instruction sets for operating the device operating the device correlated with the first stream of
 correlated with the first stream of digital pictures includes digital pictures includes redirecting an application to the one
 redirecting a processor circuit to the one or more instruction 55 or more instruction sets for operating the device correlated
 sets for operating the device correlated with the first stream with the first stream of digital pictures. In further embodi
 of digital pictures. In further embodiments, the executing the ments, the executing the one or more instruction sets for
 one or more instruction sets for operating the device corre- operating the device correlated with the first stream of
 lated with the first stream of digital pictures includes redi- digital pictures includes redirecting an application to one or
 recting a processor circuit to one or more alternate instruc- 60 more alternate instruction sets , the alternate instruction sets
 tion sets , the alternate instruction sets comprising the one or comprising the one or more instruction sets for operating the
 more instruction sets for operating the device correlated with device correlated with the first stream of digital pictures. In
 the first stream of digital pictures. In further embodiments , further embodiments, the executing the one or more instruc
 the executing the one or more instruction sets for operating tion sets for operating the device correlated with the first
 the device correlated with the first stream of digital pictures 65 stream of digital pictures includes modifying one or more
 includes transmitting, to a processor circuit for execution , instruction sets of an application . In further embodiments,
 the one or more instruction sets for operating the device the executing the one or more instruction sets for operating
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 71 of 131 PageID #: 656


                                                     US 11,055,583 B1
                              47                                                                    48
 the device correlated with the first stream of digital pictures       the device correlated with the first stream of digital pictures
 includes modifying a source code , a bytecode , an interme- includes adding or inserting additional code into a code of an
 diate code , a compiled code , an interpreted code , a translated application . In further embodiments, the executing the one
 code , a runtime code , an assembly code, or a machine code . or more instruction sets for operating the device correlated
 In further embodiments, the executing the one or more 5 with the first stream of digital pictures includes at least one
 instruction sets for operating the device correlated with the of: modifying, removing, rewriting, or overwriting a code of
 first stream of digital pictures includes modifying at least an application . In further embodiments, the executing the
 one of: a memory unit , a register of a processor circuit, a one or more instruction sets for operating the device corre
 storage, or a repository where instruction sets are stored or lated with the first stream of digital pictures includes at least
 used . In further embodiments, the executing the one or more 10 one of: branching, redirecting, extending, or hot swapping a
 instruction sets for operating the device correlated with the code of an application . The branching or redirecting the code
 first stream of digital pictures includes modifying one or may include inserting at least one of: a branch , a jump, or a
 more instruction sets for operating an application or an means for redirecting an execution . In further embodiments,
 object of the application . In further embodiments, the the executing the one or more instruction sets for operating
 executing the one or more instruction sets for operating the 15 the device correlated with the first stream of digital pictures
 device correlated with the first stream of digital pictures includes implementing a user's knowledge, style , or meth
 includes modifying at least one of: an element of a processor odology of operating the device in a visual surrounding. In
 circuit , an element of the device , a virtual machine , a further embodiments, the executing the one or more instruc
 runtime engine, an operating system , an execution stack , a tion sets for operating the device correlated with the first
 program counter, or a user input. In further embodiments, 20 stream of digital pictures includes executing the one or more
 the executing the one or more instruction sets for operating instruction sets for operating the device correlated with the
 the device correlated with the first stream of digital pictures first stream of digital pictures via an interface . The interface
 includes modifying one or more instruction sets at a source may include a modification interface .
 code write time , a compile time , an interpretation time , a            In certain embodiments, the operations of the non -tran
 translation time , a linking time , a loading time , or a runtime. 25 sitory computer storage medium and / or the method further
 In further embodiments, the executing the one or more comprise: receiving at least one extra information . In further
 instruction sets for operating the device correlated with the embodiments, the at least one extra information include one
 first stream of digital pictures includes modifying one or or more of: an information on a stream of digital pictures, an
 more code segments, lines of code, statements, instructions, information on an object in the stream of digital pictures, an
 functions, routines, subroutines , or basic blocks . In further 30 information on the device's visual surrounding, an informa
 embodiments , the executing the one or more instruction sets tion on an instruction set , an information on an application ,
 for operating the device correlated with the first stream of an information on an object of the application , an informa
 digital pictures includes a manual, an automatic , a dynamic , tion on a processor circuit , an information on the device , or
 or a just in time ( JIT ) instrumentation of an application . In an information on an user . In further embodiments , the
 further embodiments, the executing the one or more instruc- 35 operations of the non - transitory computer storage medium
 tion sets for operating the device correlated with the first and / or the method further comprise: learning the first stream
 stream of digital pictures includes utilizing one or more of of digital pictures correlated with the at least one extra
 a .NET tool , a .NET application programming interface information . The learning the first stream of digital pictures
 (API ) , a Java tool , a Java API , an operating system tool , or correlated with at least one extra information may include
 an independent tool for modifying instruction sets . In further 40 correlating the first stream of digital pictures with the at least
 embodiments , the executing the one or more instruction sets one extra information . The learning the first stream of digital
 for operating the device correlated with the first stream of pictures correlated with at least one extra information may
 digital pictures includes utilizing at least one of: a dynamic, include storing the first stream of digital pictures correlated
 an interpreted, or a scripting programming language. In with the at least one extra information into a memory unit.
 further embodiments, the executing the one or more instruc- 45 In further embodiments, the anticipating the one or more
 tion sets for operating the device correlated with the first instruction sets for operating the device correlated with the
 stream of digital pictures includes utilizing at least one of: a first stream of digital pictures based on at least a partial
 dynamic code, a dynamic class loading, or a reflection . In match between the new stream of digital pictures and the
 further embodiments, the executing the one or more instruc- first stream of digital pictures includes anticipating the one
 tion sets for operating the device correlated with the first 50 or more instruction sets for operating the device correlated
 stream of digital pictures includes utilizing an assembly with the first stream of digital pictures based on at least a
 language . In further embodiments, the executing the one or partial match between an extra information correlated with
 more instruction sets for operating the device correlated with the new stream of digital pictures and an extra information
 the first stream of digital pictures includes utilizing at least correlated with the first stream of digital pictures. The
 one of: a metaprogramming, a self -modifying code , or an 55 anticipating the one or more instruction sets for operating
 instruction set modification tool . In further embodiments,          the device correlated with the first stream of digital pictures
 the executing the one or more instruction sets for operating based on at least a partial match between an extra informa
 the device correlated with the first stream of digital pictures tion correlated with the new stream of digital pictures and an
 includes utilizing at least one of: just in time ( JIT ) compil- extra information correlated with the first stream of digital
 ing , JIT interpretation , JIT translation , dynamic recompiling, 60 pictures may include comparing an extra information cor
 or binary rewriting. In further embodiments, the executing related with the new stream of digital pictures and an extra
 the one or more instruction sets for operating the device information correlated with the first stream of digital pic
 correlated with the first stream of digital pictures includes tures . The anticipating the one or more instruction sets for
 utilizing at least one of: a dynamic expression creation , a operating the device correlated with the first stream of
 dynamic expression execution , a dynamic function creation , 65 digital pictures based on at least a partial match between an
 or a dynamic function execution . In further embodiments, extra information correlated with the new stream of digital
 the executing the one or more instruction sets for operating pictures and an extra information correlated with the first
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 72 of 131 PageID #: 657


                                                     US 11,055,583 B1
                             49                                                                     50
 stream of digital pictures may include determining that a           is stored into a first node of a neural network and the second
 similarity between an extra information correlated with the stream of digital pictures correlated with the additional one
 new stream of digital pictures and an extra information or more instruction sets for operating the device is stored
 correlated with the first stream of digital pictures exceeds a into a second node of the neural network . The first node and
 similarity threshold .                                          5 the second node may be connected by a connection . The first
    In some embodiments , the operations of the non -transi- node may be part of a first layer of the neural network and
 tory computer storage medium and /or the method further the second node may be part of a second layer of the neural
 comprise : receiving a second stream of digital pictures from
 the picture capturing apparatus; receiving additional one or network       . In further embodiments , the first stream of digital
 more instruction sets for operating the device ; and learning 10 operatingcorrelated
                                                                   pictures             with the one or more instruction sets for
 the second stream of digital pictures correlated with the the second stream ofis stored
                                                                              the  device
                                                                                            digital
                                                                                                    into a first node of a graph and
                                                                                                     pictures correlated with the
 additional one or more instruction sets for operating the additional one or more instruction
 device. In further embodiments, the learning the first stream device is stored into a second node ofsetstheforgraph   operating the
                                                                                                                          . The first
 of digital pictures correlated with the one or more instruction
 sets for operating the device and the learning the second 15 node       and   the second node  may    be  connected   by  a connec
 stream of digital pictures correlated with the additional one tion . In further embodiments, the first stream of digital
 or more instruction sets for operating the device include pictures          correlated with the one or more instruction sets for
 creating a connection between the first stream of digital operating the device is stored into a first node of a sequence
 pictures correlated with the one or more instruction sets for and the second stream of digital pictures correlated with the
 operating the device and the second stream of digital pic- 20 additional one or more instruction sets for operating the
 tures correlated with the additional one or more instruction        device is stored into a second node of the sequence .
 sets for operating the device . The connection may include or      In some aspects , the disclosure relates to a system for
 be associated with at least one of: an occurrence count, a learning a visual surrounding for autonomous device oper
 weight, a parameter, or a data . In further embodiments , the ating . The system may be implemented at least in part on one
 learning the first stream of digital pictures correlated with 25 or more computing devices . In some embodiments , the
 the one or more instruction sets for operating the device and system comprises a processor circuit configured to execute
 the learning the second stream of digital pictures correlated instruction sets for operating a device . The system may
 with the additional one or more instruction sets for operating further include a memory unit configured to store data . The
 the device include updating a connection between the first system may further include a picture capturing apparatus
 stream of digital pictures correlated with the one or more 30 configured to capture digital pictures. The system may
 instruction sets for operating the device and the second further include an artificial intelligence unit. In some
 stream of digital pictures correlated with the additional one embodiments, the artificial intelligence unit may be config
 or more instruction sets for operating the device . The ured to : receive a first stream of digital pictures from the
 updating the connection between the first stream of digital picture capturing apparatus . The artificial intelligence unit
 pictures correlated with the one or more instruction sets for 35 may be further configured to : receive one or more instruc
 operating the device and the second stream of digital pic- tion sets for operating the device from the processor circuit .
 tures correlated with the additional one or more instruction The artificial intelligence unit may be further configured to :
 sets for operating the device may include updating at least learn the first stream of digital pictures correlated with the
 one of: an occurrence count, a weight, a parameter, or a data       one or more instruction sets for operating the device .
 included in or associated with the connection . In further 40          In some aspects , the disclosure relates to a non - transitory
 embodiments, the learning the first stream of digital pictures computer storage medium having a computer program
 correlated with the one or more instruction sets for operating stored thereon , the program including instructions that when
 the device includes storing the first stream of digital pictures executed by one or more processor circuits cause the one or
 correlated with the one or more instruction sets for operating more processor circuits to perform operations comprising:
 the device into a first node of a data structure, and wherein 45 receiving a first stream of digital pictures from a picture
 the learning the second stream of digital pictures correlated capturing apparatus. The operations may further include :
 with the additional one or more instruction sets for operating receiving one or more instruction sets for operating a device .
 the device includes storing the second stream of digital The operations may further include : learning the first stream
 pictures correlated with the additional one or more instruc- of digital pictures correlated with the one or more instruction
 tion sets for operating the device into a second node of the 50 sets for operating the device.
 data structure . The data structure may include a neural            In some aspects , the disclosure relates to a method com
 network , a graph , a collection of sequences, a sequence , a prising: (a ) receiving a first stream of digital pictures from
 collection of knowledge cells , a knowledgebase , or a knowl- a picture capturing apparatus by one or more processor
 edge structure . The learning the first stream of digital circuits. The method may further include: (b ) receiving one
 pictures correlated with the one or more instruction sets for 55 or more instruction sets for operating a device by the one or
 operating the device and the learning the second stream of more processor circuits . The method may further include : (c )
 digital pictures correlated with the additional one or more learning the first stream of digital pictures correlated with
 instruction sets for operating the device may include creat- the one or more instruction sets for operating the device , the
 ing a connection between the first node and the second node . learning of (c ) performed by the one or more processor
 The learning the first stream of digital pictures correlated 60 circuits .
 with the one or more instruction sets for operating the device     The operations or steps of the non - transitory computer
 and the learning the second stream of digital pictures cor- storage medium and / or the method may be performed by
 related with the additional one or more instruction sets for any of the elements of the above described systems as
 operating the device may include updating a connection applicable . The non - transitory computer storage medium
 between the first node and the second node. In further 65 and / or the method may include any of the operations, steps ,
 embodiments, the first stream of digital pictures correlated        and embodiments of the above described systems as appli
 with the one or more instruction sets for operating the device      cable .
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 73 of 131 PageID #: 658


                                                     US 11,055,583 B1
                              51                                                                   52
    In some aspects , the disclosure relates to a system for of (a ) performed by the one or more processor circuits . The
 using a visual surrounding for autonomous device operating. method may further include: (b ) receiving a new stream of
 The system may be implemented at least in part on one or digital pictures from a picture capturing apparatus by the one
 more computing devices. In some embodiments , the system or more processor circuits. The method may further include :
 comprises a processor circuit configured to execute instruc- 5 (c ) anticipating the one or more instruction sets for operating
 tion sets for operating a device. The system may further the device correlated with the first stream of digital pictures
 include a memory unit configured to store data . The system based on at least a partial match between the new stream of
 may further include a picture capturing apparatus configured digital pictures and the first stream of digital pictures, the
 to capture digital pictures. The system may further include anticipating of (c ) performed by the one or more processor
 an artificial intelligence unit. In some embodiments, the 10 circuits. The method may further include : (d) executing the
 artificial intelligence unit may be configured to : access the one or more instruction sets for operating the device corre
 memory unit that stores a plurality of streams of digital lated with the first stream of digital pictures, the executing
 pictures correlated with one or more instruction sets for of (d) performed in response to the anticipating of ( C ) . The
 operating the device, the plurality including a first stream of method may further include : (e ) performing, by the device,
 digital pictures correlated with one or more instruction sets 15 one or more operations defined by the one or more instruc
 for operating the device . The artificial intelligence unit may tion sets for operating the device correlated with the first
 be further configured to : receive a new stream of digital stream of digital pictures, the one or more operations per
 pictures from the picture capturing apparatus. The artificial formed in response to the executing of (d) .
 intelligence unit may be further configured to : anticipate the      The operations or steps of the non - transitory computer
 one or more instruction sets for operating the device corre- 20 storage medium and / or the method may be performed by
 lated with the first stream of digital pictures based on at least any of the elements of the above described systems as
 a partial match between the new stream of digital pictures applicable . The non - transitory computer storage medium
 and the first stream of digital pictures. The artificial intelli- and / or the method may include any of the operations, steps ,
 gence unit may be further configured to : cause the processor and embodiments of the above described systems as appli
 circuit to execute the one or more instruction sets for 25 cable .
 operating the device correlated with the first stream of             In some aspects , the disclosure relates to a system for
 digital pictures, the executing performed in response to the learning and using a visual surrounding for autonomous
 anticipating of the artificial intelligence unit, wherein the device operating. The system may be implemented at least
 device performs one or more operations defined by the one in part on one or more computing devices . In some embodi
 or more instruction sets for operating the device correlated 30 ments, the system comprises a logic circuit configured to
 with the first stream of digital pictures, the one or more receive inputs and produce outputs, the outputs for operating
 operations performed in response to the executing by the a device. The system may further include a memory unit
 processor circuit.                                                configured store data . The system may further include a
    In some aspects , the disclosure relates to a non - transitory picture capturing apparatus configured to capture digital
 computer storage medium having a computer program 35 pictures. The system may further include an artificial intel
 stored thereon , the program including instructions that when ligence unit. In some embodiments, the artificial intelligence
 executed by one or more processor circuits cause the one or unit may be configured to : receive a first digital picture from
 more processor circuits to perform operations comprising: the picture capturing apparatus. The artificial intelligence
 accessing a memory unit that stores a plurality of streams of unit may be further configured to : receive at least one input,
 digital pictures correlated with one or more instruction sets 40 wherein the at least one input is also received by the logic
 for operating a device , the plurality including a first stream circuit . The artificial intelligence unit may be further con
 of digital pictures correlated with one or more instruction figured to : learn the first digital picture correlated with the at
 sets for operating the device . The operations may further least one input. The artificial intelligence unit may be further
 include : receiving a new stream of digital pictures from a configured to : receive a new digital picture from the picture
 picture capturing apparatus . The operations may further 45 capturing apparatus. The artificial intelligence unit may be
 include : anticipating the one or more instruction sets for further configured to : anticipate the at least one input
 operating the device correlated with the first stream of correlated with the first digital picture based on at least a
 digital pictures based on at least a partial match between the partial match between the new digital picture and the first
 new stream of digital pictures and the first stream of digital digital picture. The artificial intelligence unit may be further
 pictures . The operations may further include : causing an 50 configured to : cause the logic circuit to receive the at least
 execution of the one or more instruction sets for operating one input correlated with the first digital picture, the causing
 the device correlated with the first stream of digital pictures, performed in response to the anticipating of the artificial
 the causing performed in response to the anticipating the one intelligence unit, wherein the device performs at least one
 or more instruction sets for operating the device correlated operation defined by at least one output for operating the
 with the first stream of digital pictures based on at least a 55 device produced by the logic circuit .
 partial match between the new stream of digital pictures and          In certain embodiments, the logic circuit configured to
 the first stream of digital pictures, wherein the device receive inputs and produce outputs includes a logic circuit
 performs one or more operations defined by the one or more configured to produce outputs based at least in part on logic
 instruction sets for operating the device correlated with the operations performed on the inputs. In further embodiments,
 first stream of digital pictures , the one or more operations 60 the learning the first digital picture correlated with the at
 performed in response to the executing.                            least one input includes correlating the first digital picture
 In some aspects , the disclosure relates to a method com- with the at least one input. In further embodiments , the
 prising: (a ) accessing a memory unit that stores a plurality of learning the first digital picture correlated with the at least
 streams of digital pictures correlated with one or more one input includes storing , into the memory unit, the first
 instruction sets for operating a device , the plurality includ- 65 digital picture correlated with the at least one input, the first
 ing a first stream of digital pictures correlated with one or digital picture correlated with the at least input being part of
 more instruction sets for operating the device, the accessing       a stored plurality of digital pictures correlated with at least
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 74 of 131 PageID #: 659


                                                      US 11,055,583 B1
                               53                                                              54
 one input. In further embodiments, the anticipating the at performing, by the device , at least one operation defined by
 least one input correlated with the first digital picture based at least one output for operating the device produced by the
 on at least a partial match between the new digital picture logic circuit.
 and the first digital picture includes comparing at least one        The operations or steps of the non - transitory computer
 portion of the new digital picture with at least one portion of 5 storage medium and / or the method may be performed by
 the first digital picture. In further embodiments, the antici- any of the elements of the above described systems as
 pating the at least one input correlated with the first digital applicable . The non - transitory computer storage medium
 picture based on at least a partial match between the new and /or the method may include any of the operations, steps ,
 digital picture and the first digital picture includes determin- and embodiments of the above described systems as appli
 ing that there is at least a partial match between the new 10 cable.
 digital picture and the first digital picture. In further embodi-    In some aspects , the disclosure relates to a system for
 ments, the causing the logic circuit to receive the at least one learning and using a visual surrounding for autonomous
 input correlated with the first digital picture includes trans- device operating. The system may be implemented at least
 mitting, to the logic circuit, the at least one input correlated in part on one or more computing devices . In some embodi
 with the first digital picture. In further embodiments, the 15 ments, the system comprises a logic circuit configured to
 causing the logic circuit to receive the at least one input receive inputs and produce outputs, the outputs for operating
 correlated with the first digital picture includes replacing at a device. The system may further include a memory unit
 least one input into the logic circuit with the at least one configured to store data . The system may further include a
 input correlated with the first digital picture .                 picture capturing apparatus configured to capture digital
    In some aspects , the disclosure relates to a non - transitory 20 pictures. The system may further include an artificial intel
 computer storage medium having a computer program ligence unit . In some embodiments, the artificial intelligence
 stored thereon, the program including instructions that when unit may be configured to : receive a first digital picture from
 executed by one or more processor circuits cause the one or the picture capturing apparatus. The artificial intelligence
 more processor circuits to perform operations comprising : unit may be further configured to : receive at least one output,
 receiving a first digital picture from a picture capturing 25 the at least one output transmitted from the logic circuit . The
 apparatus. The operations may further include: receiving at artificial intelligence unit may be further configured to : learn
 least one input, wherein the at least one input is also received the first digital picture correlated with the at least one output.
 by a logic circuit, and wherein the logic circuit is configured The artificial intelligence unit may be further configured to :
 to receive inputs and produce outputs, the outputs for receive a new digital picture from the picture capturing
 operating a device . The operations may further include: 30 apparatus. The artificial intelligence unit may be further
 learning the first digital picture correlated with the at least configured to : anticipate the at least one output correlated
 one input. The operations may further include : receiving a with the first digital picture based on at least a partial match
 new digital picture from the picture capturing apparatus . The between the new digital picture and the first digital picture .
 operations may further include : anticipating the at least one The artificial intelligence unit may be further configured to :
 input correlated with the first digital picture based on at least 35 cause the device to perform at least one operation defined by
 a partial match between the new digital picture and the first the at least one output correlated with the first digital picture.
 digital picture . The operations may further include: causing           In certain embodiments , the logic circuit configured to
 the logic circuit to receive the at least one input correlated      receive inputs and produce outputs includes a logic circuit
 with the first digital picture , the causing performed in           configured to produce outputs based at least in part on logic
 response to the anticipating the at least one input correlated 40 operations performed on the inputs. In further embodiments,
 with the first digital picture based on at least a partial match    the learning the first digital picture correlated with the at
 between the new digital picture and the first digital picture ,     least one output includes correlating the first digital picture
 wherein the device performs at least one operation defined          with the at least one output. In further embodiments, the
 by at least one output for operating the device produced by         learning the first digital picture correlated with the at least
 the logic circuit.                                            45 one output includes storing, into the memory unit , the first
    In some aspects , the disclosure relates to a method com- digital picture correlated with the at least one output, the first
 prising: (a ) receiving a first digital picture from a picture digital picture correlated with the at least output being part
 capturing apparatus by one or more processor circuits. The of a stored plurality of digital pictures correlated with at least
 method may further include : (b ) receiving at least one input one output. In further embodiments, the anticipating the at
 by the one or more processor circuits, wherein the at least 50 least one output correlated with the first digital picture based
 one input are also received by a logic circuit, and wherein on at least a partial match between the new digital picture
 the logic circuit is configured to receive inputs and produce and the first digital picture includes comparing at least one
 outputs, the outputs for operating a device . The method may portion of the new digital picture with at least one portion of
 further include : ( c ) learning the first digital picture corre- the first digital picture. In further embodiments, the antici
 lated with the at least one input, the learning of ( c ) per- 55 pating the at least one output correlated with the first digital
 formed by the one or more processor circuits . The method picture based on at least a partial match between the new
 may further include : (d) receiving a new digital picture from digital picture and the first digital picture includes determin
 the picture capturing apparatus by the one or more processor ing that there is at least a partial match between the new
 circuits . The method may further include : ( e) anticipating digital picture and the first digital picture. In further embodi
 the at least one input correlated with the first digital picture 60 ments, the causing the device to perform at least one
 based on at least a partial match between the new digital operation defined by the at least one output correlated with
 picture and the first digital picture, the anticipating of (e ) the first digital picture includes replacing at least one output
 performed by the one or more processor circuits . The from the logic circuit with the at least one output correlated
 method may further include: (f) receiving, by the logic with the first digital picture.
 circuit , the at least one input correlated with the first digital 65 In some aspects , the disclosure relates to a non -transitory
 picture, the receiving of ( f) performed in response to the computer storage medium having a computer program
 anticipating of (e ) . The method may further include: (g ) stored thereon, the program including instructions that when
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 75 of 131 PageID #: 660


                                                     US 11,055,583 B1
                              55                                                                  56
 executed by one or more processor circuits cause the one or digital picture based on at least a partial match between the
 more processor circuits to perform operations comprising: new digital picture and the first digital picture. The artificial
 receiving a first digital picture from the picture capturing intelligence unit may be further configured to : cause the
 apparatus. The operations may further include: receiving at actuator to receive the at least one input correlated with the
 least one output, the at least one output transmitted from a 5 first digital picture, the causing performed in response to the
 logic circuit, wherein the logic circuit is configured to anticipating of the artificial intelligence unit, wherein the
 receive inputs and produce outputs, the outputs for operating actuator performs at least one motion defined by the at least
 a device. The operations may further include: learning the one input correlated with the first digital picture .
 first digital picture correlated with the at least one output.        In some aspects , the disclosure relates to a non -transitory
 The operations may further include: receiving a new digital 10 computer storage medium having a computer program
 picture from the picture capturing apparatus. The operations stored thereon , the program including instructions that when
 may further include: anticipating the at least one output executed by one or more processor circuits cause the one or
 correlated with the first digital picture based on at least a more processor circuits to perform operations comprising:
 partial match between the new digital picture and the first receiving a first digital picture from a picture capturing
 digital picture. The operations may further include: causing 15 apparatus. The operations may further include: receiving at
 the device to perform at least one operation defined by the least one input, wherein the at least one input is also received
 at least one output correlated with the first digital picture . by an actuator, and wherein the actuator is configured to
    In some aspects , the disclosure relates to a method com- receive inputs and perform motions . The operations may
 prising : ( a ) receiving a first digital picture from the picture further include : learning the first digital picture correlated
 capturing apparatus by one or more processor circuits. The 20 with the at least one input. The operations may further
 method may further include: ( b ) receiving at least one output include: receiving a new digital picture from the picture
 by the one or more processor circuits , the at least one output capturing apparatus. The operations may further include :
 transmitted from a logic circuit, wherein the logic circuit is anticipating the at least one input correlated with the first
 configured to receive inputs and produce outputs, the out- digital picture based on at least a partial match between the
 puts for operating a device . The method may further include : 25 new digital picture and the first digital picture . The opera
 ( c ) learning the first digital picture correlated with the at tions may further include : causing the actuator to receive the
 least one output, the learning of (c ) performed by the one or at least one input correlated with the first digital picture, the
 more processor circuits . The method may further include: causing performed in response to the anticipating the at least
 ( d ) receiving a new digital picture from the picture capturing one input correlated with the first digital picture based on at
 apparatus by the one or more processor circuits. The method 30 least a partial match between the new digital picture and the
 may further include : (e ) anticipating the at least one output first digital picture, wherein the actuator performs at least
 correlated with the first digital picture based on at least a one motion defined by the at least one input correlated with
 partial match between the new digital picture and the first the first digital picture.
 digital picture, the anticipating of (e ) performed by the one      In some aspects , the disclosure relates to a method com
 or more processor circuits . The method may further include : 35 prising: ( a) receiving a first digital picture from a picture
 ( f) performing, by the device , at least one operation defined capturing apparatus by one or more processor circuits . The
 by the at least one output correlated with the first digital method may further include: ( b ) receiving at least one input
 picture.                                                          by the one or more processor circuits , wherein the at least
      The operations or steps of the non - transitory computer one input are also received by an actuator, and wherein the
 storage medium and / or the method may be performed by 40 actuator is configured to receive inputs and perform
 any of the elements of the above described systems as motions . The method may further include : (c ) learning the
 applicable. The non - transitory computer storage medium first digital picture correlated with the at least one input, the
 and / or the method may include any of the operations, steps , learning of (c ) performed by the one or more processor
 and embodiments of the above described systems as appli- circuits . The method may further include: ( d ) receiving a
 cable .                                                         45 new digital picture from the picture capturing apparatus by
    In some aspects , the disclosure relates to a system for the one or more processor circuits. The method may further
 learning and using a visual surrounding for autonomous include : ( e) anticipating the at least one input correlated with
 device operating. The system may be implemented at least the first digital picture based on at least a partial match
 in part on one or more computing devices. In some embodi- between the new digital picture and the first digital picture,
 ments, the system comprises an actuator configured to 50 the anticipating of ( e ) performed by the one or more pro
 receive inputs and perform motions . The system may further cessor circuits . The method may further include : ( f) receiv
 include a memory unit configured to store data . The system ing , by the actuator, the at least one input correlated with the
 may further include a picture capturing apparatus configured first digital picture, the receiving of ( f) performed in
 to capture digital pictures. The system may further include response to the anticipating of (e ) . The method may further
 an artificial intelligence unit. In some embodiments, the 55 include: ( g ) performing, by the actuator, at least one motion
 artificial intelligence unit may be configured to : receive a defined by the at least one input correlated with the first
 first digital picture from the picture capturing apparatus. The digital picture.
 artificial intelligence unit may be further configured to :          The operations or steps of the non - transitory computer
 receive at least one input, wherein the at least one input is storage medium and / or the method may be performed by
 also received by the actuator. The artificial intelligence unit 60 any of the elements of the above described systems as
 may be further configured to : learn the first digital picture applicable . The non - transitory computer storage medium
 correlated with the at least one input. The artificial intelli- and /or the method may include any of the operations, steps ,
 gence unit may be further configured to : receive a new and embodiments of the above described systems as appli
 digital picture from the picture capturing apparatus. The cable .
 artificial intelligence unit may be further configured to . The 65 Other features and advantages of the disclosure will
 artificial intelligence unit may be further configured to : become apparent from the following description, including
 anticipate the at least one input correlated with the first the claims and drawings.
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 76 of 131 PageID #: 661


                                                   US 11,055,583 B1
                             57                                                                58
       BRIEF DESCRIPTION OF THE DRAWINGS                           correlated with any Instruction Sets 526 and / or Extra Info
                                                                   527 using Collection of Sequences 530c.
    FIG . 1 illustrates a block diagram of Computing Device          FIG . 23 illustrates an embodiment of determining antici
 70 that can provide processing capabilities used in some of patory Instruction Sets 526 from a single Knowledge Cell
 the disclosed embodiments .                                   5 800 .
    FIG . 2 illustrates an embodiment of Device 98 comprising       FIG . 24 illustrates an embodiment of determining antici
 Unit for Learning and / or Using Visual Surrounding for patory Instruction Sets 526 by traversing a single Knowl
 Autonomous Device Operation (VSADO Unit 100 ) .                  edge Cell 800 .
    FIG . 3 illustrates some embodiments of obtaining instruc-      FIG . 25 illustrates an embodiment of determining antici
 tion sets, data , and / or other information through tracing, 10 patory Instruction Sets 526 using collective similarity com
 profiling, or sampling of Processor 11 registers , memory , or parisons.
 other computing system components.                                 FIG . 26 illustrates an embodiment of determining antici
    FIGS . 4A - 4B illustrate some embodiments of obtaining patory Instruction Sets 526 using Neural Network 530a .
 instruction sets , data , and /or other information through trac-      FIG . 27 illustrates an embodiment of determining antici
 ing , profiling, or sampling of Logic Circuit 250 .               15 patory Instruction Sets 526 using Graph 530b.
   FIGS . 5A - 5E illustrate some embodiments of Instruction         FIG . 28 illustrates an embodiment of determining antici
 Sets 526 .                                                    patory Instruction Sets 526 using Collection of Sequences
    FIGS . 6A - 6B illustrate some embodiments of Extra Infor- 530c .
 mation 527 .                                                    FIG . 29 illustrates some embodiments of modifying
    FIG . 7 illustrates an embodiment where VSADO Unit 100 20 execution and / or functionality of Processor 11 through
 is part of or operating on Processor 11 .                     modification of Processor 11 registers, memory, or other
   FIG . 8 illustrates an embodiment where VSADO Unit 100 computing system components .
 resides on Server 96 accessible over Network 95 .             FIGS . 30A - 30B illustrate some embodiments of modify
   FIG . 9 illustrates an embodiment where Picture Capturing ing execution and / or functionality of Logic Circuit 250
 Apparatus 90 is part of Remote Device 97 accessible over 25 through modification of inputs and / or outputs of Logic
 Network 95 .                                                      Circuit 250 .
   FIG . 10 illustrates an embodiment of VSADO Unit 100              FIG . 31 illustrates a flow chart diagram of an embodiment
 comprising Picture Recognizer 350 .                             of method 6100 for learning and / or using visual surrounding
    FIG . 11 illustrates an embodiment of Artificial Intelli- for autonomous device operation .
 gence Unit 110 .                                             30    FIG . 32 illustrates a flow chart diagram of an embodiment
    FIG . 12 illustrates an embodiment of Knowledge Struc- of method 6200 for learning and / or using visual surrounding
 turing Unit 520 correlating individual Digital Pictures 525 for autonomous device operation .
 with any Instruction Sets 526 and / or Extra Info 527 .            FIG . 33 illustrates a flow chart diagram of an embodiment
    FIG . 13 illustrates another embodiment of Knowledge of method 6300 for learning and / or using visual surrounding
 Structuring Unit 520 correlating individual Digital Pictures 35 for autonomous device operation.
 525 with any Instruction Sets 526 and / or Extra Info 527 .        FIG . 34 illustrates a flow chart diagram of an embodiment
    FIG . 14 illustrates an embodiment of Knowledge Struc- of method 6400 for learning and / or using visual surrounding
 turing Unit 520 correlating streams of Digital Pictures 525 for autonomous device operation .
 with any Instruction Sets 526 and / or Extra Info 527 .            FIG . 35 illustrates a flow chart diagram of an embodiment
   FIG . 15 illustrates another embodiment of Knowledge 40 of method 6500 for learning and / or using visual surrounding
 Structuring Unit 520 correlating streams of Digital Pictures for autonomous device operation.
 525 with any Instruction Sets 526 and / or Extra Info 527 .        FIG . 36 illustrates a flow chart diagram of an embodiment
   FIG . 16 illustrates various artificial intelligence methods, of method 6600 for learning and / or using visual surrounding
 systems , and / or models that can be utilized in VSADO Unit for autonomous device operation .
 100 embodiments.                                            45  FIG . 37 illustrates an exemplary embodiment of Comput
   FIGS . 17A - 17C illustrate embodiments of interconnected ing - enabled Machine 98a .
 Knowledge Cells 800 and updating weights of Connections        FIG . 38 illustrates an exemplary embodiment of Comput
 853 .                                                       ing -enabled Machine 98a comprising or coupled to a plu
    FIG . 18 illustrates an embodiment of learning Knowledge rality of Picture Capturing Apparatuses 90 .
 Cells 800 comprising one or more Digital Pictures 525 50 FIG . 39 illustrates an exemplary embodiment of Fixture
 correlated with any Instruction Sets 526 and / or Extra Info 98b .
 527 using Collection of Knowledge Cells 530d .                     FIG . 40 illustrates an exemplary embodiment of Control
    FIG . 19 illustrates an embodiment of learning Knowledge Device 98c.
 Cells 800 comprising one or more Digital Pictures 525              FIG . 41 illustrates an exemplary embodiment of Smart
 correlated with any Instruction Sets 526 and / or Extra Info 55 phone 98d.
 527 using Neural Network 530a .                                    Like reference numerals in different figures indicate like
    FIG . 20 illustrates an embodiment of learning Knowledge elements . Horizontal or vertical “ ... ” or other such indicia
 Cells 800 comprising one or more Digital Pictures 525 may be used to indicate additional instances of the same type
 correlated with any Instruction Sets 526 and / or Extra Info of element n, m , x , or other such letters or indicia represent
 527 using Neural Network 530a comprising shortcut Con- 60 integers or other sequential numbers that follow the
 nections 853 .                                                  sequence where they are indicated . It should be noted that n ,
    FIG . 21 illustrates an embodiment of learning Knowledge m , x , or other such letters or indicia may represent different
 Cells 800 comprising one or more Digital Pictures 525 numbers in different elements even where the elements are
 correlated with any Instruction Sets 526 and / or Extra Info depicted in the same figure. In general, n, m , x , or other such
 527 using Graph 530b .                                       65 letters or indicia may follow the sequence and / or context
    FIG . 22 illustrates an embodiment of learning Knowledge where they are indicated . Any of these or other such letters
 Cells 800 comprising one or more Digital Pictures 525             or indicia may be used interchangeably depending on the
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 77 of 131 PageID #: 662


                                                    US 11,055,583 B1
                              59                                                               60
 context and space available . The drawings are not necessar-      interfaced with cache memory 14. Storage 27 may include
 ily to scale , with emphasis instead being placed upon            memory, which provides an operating system , also referred
 illustrating the embodiments, principles, and concepts of the     to as OS 17 , additional application programs 18 operating on
 disclosure . A line or arrow between any of the disclosed         OS 17 , and / or data space 19 in which additional data or
 elements comprises an interface that enables the coupling, 5 information can be stored. Alternative memory device 16
 connection, and / or interaction between the elements .      can be connected to the remaining components of Comput
                                                                   ing Device 70 via bus 5. Network interface 25 can also be
                DETAILED DESCRIPTION                               connected with bus 5 and be used to communicate with
                                                                    external computing devices via a network . Some or all
    The disclosed artificially intelligent devices, systems, and 10 described elements of Computing Device 70 can be directly
 methods for learning and / or using visual surrounding for or operatively connected or coupled with each other using
 autonomous device operation comprise apparatuses, sys- any other connection means known in art. Other additional
 tems , methods, features, functionalities, and / or applications elements may be included as needed , or some of the dis
 that enable learning one or more digital pictures of a closed ones may be excluded , or a combination thereof may
 device's surrounding along with correlated instruction sets 15 be utilized in alternate implementations of Computing
 for operating the device, storing this knowledge in a knowl- Device 70 .
 edgebase (i.e. neural network , graph, sequences, etc. ) , and       Processor 11 includes any logic circuitry that can respond
 autonomously operating a device . The disclosed artificially to or process instructions fetched from memory 12 or other
 intelligent devices, systems , and methods for learning and / or element. Processor 11 may also include any combination of
 using visual surrounding for autonomous device operation, 20 hardware and / or processing techniques or capabilities for
 any of their elements, any of their embodiments , or a implementing or executing logic functions or programs.
 combination thereof can generally be referred to as VSADO , Processor 11 may include a single core or a multi core
 VSADO Unit, or as other similar name or reference .                processor. Processor 11 includes the functionality for load
    Referring now to FIG . 1 , an embodiment is illustrated of ing operating system 17 and operating any application
 Computing Device 70 ( also referred to simply as computing 25 programs 18 thereon . In some embodiments, Processor 11
 device or other similar name or reference, etc.) that can can be provided in a microprocessing or a processing unit,
 provide processing capabilities used in some embodiments such as , for example , Snapdragon processor produced by
 of the forthcoming disclosure. Later described devices and Qualcomm Inc. , processor by Intel Corporation of Mountain
 systems , in combination with processing capabilities of View , Calif., processor manufactured by Motorola Corpo
 Computing Device 70 , enable learning and / or using a 30 ration of Schaumburg , Ill .; processor manufactured by
 device's visual surrounding for autonomous device opera- Transmeta Corporation of Santa Clara, Calif.; the RS / 6000
 tion and / or other functionalities described herein . Various     processor, processor manufactured by International Busi
 embodiments of the disclosed devi              systems, and /or ness Machines of White Plains , N.Y .; processor manufac
 methods include hardware , functions, logic , programs, and / tured by Advanced Micro Devices of Sunnyvale, Calif ., or
 or a combination thereof that can be provided or imple- 35 any computing unit for performing similar functions. In
 mented on any type or form of computing, computing other embodiments, processor 11 can be provided in a
 enabled , or other device such as a mobile device, a com- graphics processing unit (GPU ), visual processing unit
 puter, a computing enabled telephone, a server , a cloud ( VPU ), or other highly parallel processing unit or circuit
 device , a gaming device , a television device, a digital such as , for example , nVidia GeForce line of GPUs , AMD
 camera, a GPS receiver, a media player, an embedded 40 Radeon line of GPUs, and / or others. Such GPUs or other
 device , a supercomputer, a wearable device , an implantable highly parallel processing units may provide superior per
 device , or any other type or form of computing, computing formance in processing operations on neural networks and /
 enabled, or other device capable of performing the opera- or other data structures. In further embodiments, processor
 tions described herein .                                            11 can be provided in a micro controller such as , for
    In some designs, Computing Device 70 comprises hard- 45 example, Texas instruments, Atmel, Microchip Technology,
 ware , processing techniques or capabilities, programs, or a ARM , Silicon Labs , Intel, and /or other lines of micro
 combination thereof. Computing Device 70 includes one or controllers, and /or others. In further embodiments, processor
 more central processing units, which may also be referred to 11 includes any circuit (i.e. logic circuit , etc. ) or device for
 as processors 11. Processor 11 includes one or more memory performing logic operations. Computing Device 70 can be
 ports 10 and / or one or more input -output ports, also referred 50 based on one or more of the aforementioned or other
 to as I /O ports 15 , such as I/ O ports 15A and 15B . Processor processors capable of operating as described herein .
 11 may be special or general purpose. Computing Device 70             Memory 12 includes one or more memory chips capable
 may further include memory 12 , which can be connected to of storing data and allowing any storage location to be
 the remainder of the components of Computing Device 70 accessed by processor 11 and / or other element. Examples of
 via bus 5. Memory 12 can be connected to processor 11 via 55 Memory 12 include static random access memory ( SRAM ),
 memory port 10. Computing Device 70 may also include Flash memory, Burst SRAM or SynchBurst SRAM
 display device 21 such as a monitor, projector, glasses , (BSRAM ), Dynamic random access memory (DRAM ), Fast
 and / or other display device . Computing Device 70 may also      Page Mode DRAM (FPM DRAM ), Enhanced DRAM
 include Human -machine Interface 23 such as a keyboard , a        (EDRAM ), Extended Data Output RAM (EDO RAM ),
 pointing device , a mouse , a touchscreen , a joystick , and / or 60 Extended Data Output DRAM ( EDO DRAM ), Burst
 other input device that can be connected with the remainder Extended Data Output DRAM ( BEDO DRAM ), Enhanced
 of the Computing Device 70 components via I/ O control 22 . DRAM (EDRAM ), synchronous DRAM (SDRAM ),
 In some implementations, Human -machine Interface 23 can JEDEC SRAM , PC100 SDRAM , Double Data Rate
 be connected with bus 5 or directly connected with specific SDRAM (DDR SDRAM ), Enhanced SDRAM (ESDRAM ),
 components of Computing Device 70. Computing Device 70 65 SyncLink DRAM ( SLDRAM ), Direct Rambus DRAM
 may include additional elements , such as one or more (DRDRAM ), Ferroelectric RAM ( FRAM ), and / or others.
 input/output devices 13. Processor 11 may include or be Memory 12 can be based on any of the above described
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 78 of 131 PageID #: 663


                                                       US 11,055,583 B1
                               61                                                                 62
 memory chips , or any other available memory chips capable modules, sub programs, or portions of code , etc. ) . Applica
 of operating as described herein . In some embodiments, tion Program 18 can be delivered in various forms such as ,
 processor 11 can communicate with memory 12 via a system for example , executable file , library, script, plugin, addon ,
 bus 5. In other embodiments, processor 11 can communicate applet , interface, console application , web application ,
 directly with memory 12 via a memory port 10 .             5 application service provider (ASP ) -type application, oper
    Processor 11 can communicate directly with cache ating system , and / or other forms. Application program 18
 memory 14 via a connection means such as a secondary bus can be deployed to be executed on one computing device or
 which may also sometimes be referred to as a backside bus . on multiple computing devices (i.e. cloud , distributed, or
 In some embodiments, processor 11 can communicate with parallel computing, etc. ) , or at one site or distributed across
 cache memory 14 using the system bus 5. Cache memory 14 10 multiple sites interconnected by a communication network .
 may typically have a faster response time than main memory     Network interface 25 can be utilized for interfacing
 12 and can include a type of memory which is considered Computing Device 70 with other devices via a network
 faster than main memory 12 , such as for example SRAM , through a variety of connections including standard tele
 BSRAM , or EDRAM . Cache memory includes any structure phone lines, wired or wireless connections, LAN or WAN
 such as multilevel caches, for example. In some embodi- 15 links (i.e. 802.11 , T1 , T3 , 56 kb, X.25 , etc. ) , broadband
 ments, processor 11 can communicate with one or more I /O connections ( i.e. ISDN , Frame Relay, ATM , etc. ) , or a
 devices 13 via a system bus 5. Various busses can be used combination thereof. Examples of networks include the
 to connect processor 11 to any of the I/O devices 13 , such Internet, an intranet, an extranet, a local area network
 as a VESA VL bus , an ISA bus , an EISA bus , a MicroChan- (LAN ), a wide area network (WAN ), a personal area net
 nel Architecture ( MCA) bus , a PCI bus , a PCI - X bus , a 20 work ( PAN ), a home area network (HAN ), a campus area
 PCI - Express bus , a NuBus, and / or others. In some embodi-       network ( CAN ), a metropolitan area network (MAN ), a
 ments, processor 11 can communicate directly with I /O              global area network (GAN ), a storage area network (SAN ),
 device 13 via HyperTransport, Rapid I/O , or InfiniBand . In        virtual network , a virtual private network (VPN) , Bluetooth
 further embodiments, local busses and direct communica-             network , a wireless network, a wireless LAN , a radio
 tion can be mixed . For example, processor 11 can commu- 25 network , a HomePNA , a power line communication net
 nicate with an I/ O device 13 using a local interconnect bus  work , a G.hn network , an optical fiber network , an Ethernet
 and communicate with another I/ O device 13 directly. Simi-   network , an active networking network , a client - server net
 lar configurations can be used for any other components work, a peer-to - peer network , a bus network , a star network,
 described herein .                                            a ring network , a mesh network, a star - bus network , a tree
    Computing Device 70 may further include alternative 30 network, a hierarchical topology network , and / or other net
 memory such as a SD memory slot , a USB memory stick, an works. Network interface 25 may include a built - in network
 optical drive such as a CD - ROM drive, a CD - R /RW drive, adapter, network interface card, PCMCIA network card,
 a DVD - ROM drive or a BlueRay disc , a hard -drive, and / or card bus network adapter, wireless network adapter, Blu
 any other device comprising non - volatile memory suitable etooth network adapter, WiFi network adapter, USB network
 for storing data or installing application programs. Comput- 35 adapter, modem , and / or any other device suitable for inter
 ing Device 70 may further include a storage device 27 facing Computing Device 70 with any type of network
 comprising any type or form of non - volatile memory for capable of communication and / or operations described
 storing an operating system ( OS ) such as any type or form herein .
 of Windows OS , Mac OS , Unix OS , Linux OS , Android OS ,         Still referring to FIG . 1 , 1 / O devices 13 may be present in
 iPhone OS , mobile version of Windows OS , an embedded 40 various shapes or forms in Computing Device 70. Examples
 OS , or any other OS that can operate on Computing Device of I/ O device 13 capable of input include a joystick, a
 70. Computing Device 70 may also include application keyboard , a mouse , a trackpad , a trackpoint, a touchscreen ,
 programs 18 , and/ or data space 19 for storing additional data a trackball, a microphone, a drawing tablet, a glove , a tactile
 or information. In some embodiments, alternative memory input device, a still or video camera , and / or other input
 16 can be used as or similar to storage device 27. Addition- 45 device . Examples of I /O device 13 capable of output include
 ally, OS 17 and / or application programs 18 can be operable a video display, a touchscreen , a projector, a glasses , a
 from a bootable medium , such as for example, a flash drive, speaker, a tactile output device, and / or other output device .
 a micro SD card, a bootable CD or DVD , and / or other Examples of 1/0 device 13 capable of input and output
 bootable medium .                                                include a disk drive, an optical storage device, a modem , a
   Application Program 18 ( also referred to as program , 50 network card , and /or other input/output device . I/O device
 computer program , application , script , code, or other similar 13 can be interfaced with processor 11 via an I /O port 15 , for
 name or reference ) comprises instructions that can provide example. I/O device 13 can also be controlled by I/ O control
 functionality when executed by processor 11. As such ,              22 in some implementations. I /O control 22 may control one
 Application Program 18 may be used to operate (i.e. perform         or more I /O devices such as Human- machine Interface 23
 operations on /with ) or control a device or system . Applica- 55 (i.e. keyboard, pointing device, touchscreen , joystick ,
 tion program 18 can be implemented in a high- level proce- mouse , optical pen , etc. ) . I /O control 22 enables any type or
 dural or object - oriented programming language, or in a form of a device such as , for example, a video camera or
 low - level machine or assembly language. Any language microphone to be interfaced with other components of
 used can be compiled , interpreted, or otherwise translated Computing Device 70. Furthermore , I/ O device 13 may also
 into machine language. Application program 18 can be 60 provide storage such as or similar to storage 27 , and / or
 deployed in any form including as a stand - alone program or alternative memory such as or similar to alternative memory
 as a module , component, subroutine, or other unit suitable 16 in some implementations.
 for use in a computing system . Application program 18 does          An output interface such as a graphical user interface, an
 not necessessarily correspond to a file in a file system . A acoustic output interface , a tactile output interface, any
 program can be stored in a portion of a file that may hold 65 device driver (i.e. audio, video , or other driver ), and / or other
 other programs or data , in a single file dedicated to the          output interface or system can be utilized to process output
 program , or in multiple files (i.e. files that store one or more   from elements of Computing Device 70 for conveyance on
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 79 of 131 PageID #: 664


                                                    US 11,055,583 B1
                              63                                                                 64
 an output device such as Display 21. In some aspects , poration of Redmond, Wash .; Mac OS , iPhone OS , etc.
 Display 21 or other output device itself may include an manufactured by Apple Computer of Cupertino, Calif .; OS / 2
 output interface for processing output from elements of manufactured by International Business Machines of
 Computing Device 70. Further, an input interface such as a Armonk , N.Y .; Linux , a freely -available operating system
 keyboard listener, a touchscreen listener, a mouse listener, 5 distributed by Caldera Corp. of Salt Lake City, Utah; or any
 any device driver (i.e. audio , video , keyboard, mouse , touch type or form of a Unix operating system , among others . Any
 screen , or other driver ), a speech recognizer, a video inter operating systems such as the ones for Android devices can
 preter, and / or other input interface or system can be utilized similarly be utilized .
 to process input from Human -machine Interface 23 or other             Computing Device 70 can be implemented as or be part
 input   device   for use by elements  of Computing  Device   70. 10 of various different model architectures such as web ser
 In some aspects , Human -machine Interface 23 or other input vices , distributed computing , grid computing, cloud com
 device itself may include an input interface for processing puting, and / or other architectures . For example, in addition
 input for use by elements of Computing Device 70 .
    Computing Device 70 may include or be connected to to the traditional desktop , server, or mobile operating system
 multiple display devices 21. Display devices 21 can each be 15 toarchitectures  , a cloud - based operating system can be utilized
                                                                         provide the structure on which embodiments of the
 of the same or different type or form . Computing Device 70
 and / or its elements comprise any type or form of suitable disclosure can be implemented. Other aspects of Computing
 hardware, programs, or a combination thereof to support, Device 70 can also be implemented in the cloud without
 enable, or provide for the connection and use of multiple departing from the spirit and scope of the disclosure . For
 display devices 21. In one example, Computing Device 70 20 example, memory, storage, processing , and / or other ele
 includes any type or form of video adapter, video card,            ments can be hosted in the cloud . In some embodiments ,
 driver, and / or library to interface, communicate, connect, or Computing Device 70 can be implemented on multiple
 otherwise use display devices 21. In some aspects , a video devices. For example, a portion of Computing Device 70 can
 adapter may include multiple connectors to interface to be implemented on a mobile device and another portion can
 multiple display devices 21. In other aspects , Computing 25 be implemented on wearable electronics.
 Device 70 includes multiple video adapters, with each video       Computing Device 70 can be or include any mobile
 adapter connected to one or more display devices 21. In device, a mobile phone , a smartphone (i.e. iPhone , Windows
 some embodiments, Computing Device's 70 operating sys- phone, Blackberry, Android phone , etc. ) , a tablet, a personal
 tem can be configured for using multiple displays 21. In digital assistant (PDA) , wearable electronics, implantable
 other embodiments, one or more display devices 21 can be 30 electronics, or another mobile device capable of implement
 provided by one or more other computing devices such as ing the functionalities described herein . In other embodi
 remote computing devices connected to Computing Device ments, Computing Device 70 can be or include an embedded
 70 via a network .                                                evice, which can be any device or system with a dedicated
     In some embodiments, I /O device 13 can be a bridge function within another device or system . Embedded sys
 between system bus 5 and an external communication bus , 35 tems range from the simplest ones dedicated to one task with
 such as a USB bus , an Apple Desktop Bus , an RS - 232 serial no user interface to complex ones with advanced user
 connection, a SCSI bus , a FireWire bus , a FireWire 800 bus , interface that may resemble modern desktop computer sys
 an Ethernet bus , an AppleTalk bus , a Gigabit Ethernet bus , tems . Examples of devices comprising an embedded device
 an Asynchronous Transfer Mode bus , a HIPPI bus , a Super include a mobile telephone, a personal digital assistant
 HIPPI bus , a SerialPlus bus , a SC1/ LAMP bus , a FibreChan- 40 (PDA) , a gaming device , a media player, a digital still or
 nel bus , a Serial Attached small computer system interface video camera, a pager, a television device , a set -top box , a
 bus , and /or other bus .                                        personal navigation device, a global positioning system
    Computing Device 70 can operate under the control of (GPS ) receiver, a portable storage device ( i.e. a USB flash
 operating system 17 , which may support Computing drive, etc. ), a digital watch , a DVD player, a printer, a
 Device's 70 basic functions, interface with and manage 45 microwave oven , a washing machine , a dishwasher, a gate
 hardware resources , interface with and manage peripherals , way, a router, a hub , an automobile entertainment system , an
 provide common services for application programs, sched- automobile navigation system , a refrigerator, a washing
 ule tasks , and / or perform other functionalities. A modern machine , a factory automation device , an assembly line
 operating system enables features and functionalities such as device, a factory floor monitoring device , a thermostat, an
 a high resolution display, graphical user interface (GUI), 50 automobile, a factory controller, a telephone, a network
 touchscreen , cellular network connectivity ( i.e. mobile oper- bridge, and /or other devices . An embedded device can
 ating system , etc. ) , Bluetooth connectivity, WiFi connectiv- operate under the control of an operating system for embed
 ity, global positioning system (GPS ) capabilities , mobile ded devices such as MicroC /OS - II, QNX , VxWorks, eCos ,
 navigation, microphone, speaker, still picture camera , video TinyOS, Windows Embedded, Embedded Linux , and / or
 camera, voice recorder, speech recognition, music player, 55 other embedded device operating systems.
 video player, near field communication , personal digital          Various implementations of the disclosed devices , sys
 assistant (PDA) , and / or other features, functionalities, or tems , and / or methods can be realized in digital electronic
 applications. For example, Computing Device 70 can use circuitry , integrated circuitry, logic gates, specially designed
 any conventional operating system , any embedded operating application specific integrated circuits ( ASICs ), field pro
 system , any real -time operating system , any open source 60 grammable gate arrays ( FPGAs ), computer hardware, firm
 operating system , any video gaming operating system , any ware , programs, virtual machines, and/ or combinations
 proprietary operating system , any online operating system , thereof including their structural, logical , and / or physical
 any operating system for mobile computing devices , or any equivalents.
 other operating system capable of running on Computing             The disclosed devices, systems , and /or methods may
 Device 70 and performing operations described herein . 65 include clients and servers . A client and server are generally
 Example of operating systems include Windows XP, Win- remote from each other and typically interact via a network .
 dows 7 , Windows 8 , etc. manufactured by Microsoft Cor- The relationship of a client and server may arise by virtue of
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 80 of 131 PageID #: 665


                                                      US 11,055,583 B1
                               65                                                                    66
 computer programs running on their respective computers elements thereof, can be implemented entirely or in part as
 and having a client -server relationship to each other.        a computer program and executed by one or more Proces
    The disclosed devices, systems , and / or methods can be sors 11. Such program can be implemented in one or more
 implemented in a computing system that includes a back end modules or units of a single or multiple computer programs.
 component, a middleware component, a front end compo- 5 Such program may be able to attach to or interface with ,
 nent, or any combination thereof. The components of the inspect , and / or take control of another application program
 system can be interconnected by any form or medium of to implement VSADO functionalities . In further embodi
 digital data communication such as , for example, a network . ments, the disclosed artificially intelligent devices, systems,
    Computing Device 70 may include or be interfaced with and / or methods for learning and /or using visual surrounding
 a computer program product comprising instructions or 10 for autonomous device operation , or elements thereof, can
 logic encoded on a computer -readable medium . Such be implemented as a network , web , distributed , cloud, or
 instructions or logic , when executed , may configure or cause other such application accessed on one or more remote
 a processor to perform the operations and / or functionalities computing devices (i.e. servers , cloud , etc. ) via Network
 disclosed herein . For example, a computer program can be Interface 25 , such remote computing devices including
 provided or encoded on a computer - readable medium such 15 processing capabilities and instructions for implementing
 as an optical medium (i.e. DVD - ROM , etc. ) , flash drive , VSADO functionalities. In further embodiments, the dis
 hard drive, any memory, firmware , or other medium . Com- closed artificially intelligent devices, systems , and / or meth
 puter program can be installed onto a computing device to ods for learning and / or using visual surrounding for autono
 cause the computing device to perform the operations and / or mous device operation , or elements thereof, can be ( 1 )
 functionalities disclosed herein . Machine- readable medium , 20 attached to or interfaced with any computing device or
 computer -readable medium , or other such terms may refer to application program , ( 2 ) included as a feature of an operat
 any computer program product, apparatus, and / or device for ing system , ( 3 ) built (i.e. hard coded, etc. ) into any com
 providing instructions and / or data to a programmable pro- puting device or application program , and / or ( 4 ) available in
 cessor. As such , machine- readable medium includes any any other configuration to provide its functionalities .
 medium that can send or receive machine instructions as a 25 In yet other embodiments, the disclosed artificially intel
 machine - readable signal . Examples of a machine - readable ligent devices, systems, and / or methods for learning and / or
 medium include a volatile and / or non - volatile medium , a using visual surrounding for autonomous device operation ,
 removable and /or non -removable medium , a communica-                or elements thereof, can be implemented at least in part in
 tion medium , a storage medium , and / or other medium . A            a computer program such as Java application or program .
 communication medium , for example , can transmit com- 30 Java provides a robust and flexible environment for appli
 puter readable instructions and / or data in a modulated data cation programs including flexible user interfaces, robust
 signal such as a carrier wave or other transport technique, security, built - in network protocols, powerful application
 and may include any other form of information delivery programming interfaces, database or DBMS connectivity
 medium known in art . A non - transitory machine - readable and interfacing functionalities, file manipulation capabili
 medium comprises all machine- readable media except for a 35 ties , support for networked applications, and / or other fea
 transitory, propagating signal.                                tures or functionalities. Application programs based on Java
    In some embodiments, the disclosed artificially intelligent can be portable across many devices, yet leverage each
 devices, systems, and / or methods for learning and / or using device's native capabilities . Java supports the feature sets of
 visual surrounding for autonomous device operation, or most smartphones and a broad range of connected devices
 elements thereof, can be implemented entirely or in part in 40 while still fitting within their resource constraints. Various
 a device ( i.e. microchip, circuitry, logic gates, electronic Java platforms include virtual machine features comprising
 device, computing device , special or general purpose pro- a runtime environment for application programs. Java plat
 cessor, etc. ) or system that comprises (i.e. hard coded ,            forms provide a wide range of user - level functionalities that
 internally stored , etc.) or is provided with (i.e. externally can be implemented in application programs such as dis
 stored , etc. ) instructions for implementing VSADO func- 45 playing text and graphics, playing and recording audio
 tionalities . As such , the disclosed artificially intelligent content, displaying and recording visual content, communi
 devices, systems, and / or methods for learning and / or using cating with another computing device , and / or other func
 visual surrounding for autonomous device operation, or tionalities . It should be understood that the disclosed artifi
 elements thereof, may include the processing, memory, cially intelligent devices, systems, and /or methods for
 storage , and / or other features, functionalities, and embodi- 50 learning and / or using visual surrounding for autonomous
 ments of Computing Device 70 or elements thereof. Such device operation, or elements thereof, are programming
 device or system can operate on its own (i.e. standalone language, platform , and operating system independent.
 device or system , etc. ) , be embedded in another device or Examples of programming languages that can be used
 system ( i.e. a television device, an oven, a refrigerator, a instead of or in addition to Java include C , C ++ , Cobol ,
 vehicle, an industrial machine , a robot, a smartphone, and / or 55 Python, Java Script , Tcl, Visual Basic , Pascal , VB Script,
 any other device or system capable of housing the elements Perl, PHP, Ruby, and / or other programming languages
 needed for VSADO functionalities ), work in combination               capable of implementing the functionalities described
 with other devices or systems, or be available in any other           herein .
 configuration . In other embodiments , the disclosed artifi-             Where a reference to a specific file or file type is used
 cially intelligent devices , systems, and / or methods for learn- 60 herein , other files, file types , or formats can be substituted .
 ing and / or using visual surrounding for autonomous device             Where a reference to a data structure is used herein , it
 operation, or elements thereof, may include Alternative should be understood that any variety of data structures can
 Memory 16 that provides instructions for implementing be used such as , for example, array, list , linked list , doubly
 VSADO functionalities to one or more Processors 11. In linked list , queue, tree , heap , graph , map , grid , matrix ,
 further embodiments, the disclosed artificially intelligent 65 multi- dimensional matrix, table , database, database manage
 devices, systems, and / or methods for learning and / or using ment system ( DBMS ) , file, neural network , and / or any other
 visual surrounding for autonomous device operation, or                type or form of a data structure including a custom one . A
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 81 of 131 PageID #: 666


                                                    US 11,055,583 B1
                             67                                                                    68
 data structure may include one or more fields or data fields       illustrated . Device 98 also comprises interconnected Proces
 that are part of or associated with the data structure. A field sor 11 , Human -machine Interface 23 , Picture Capturing
 or data field may include a data, an object, a data structure , Apparatus 90 , Memory 12 , and Storage 27. Processor 11
 and / or any other element or a reference /pointer thereto . A includes or executes Application Program 18. VSADO Unit
 data structure can be stored in one or more memories, files, 5 100 comprises interconnected Artificial Intelligence Unit
 or other repositories. A data structure and / or any elements 110 , Acquisition Interface 120 , and Modification Interface
 thereof, when stored in a memory , file, or other repository, 130. Other additional elements can be included as needed, or
 may be stored in a different arrangement than the arrange-         some of the disclosed ones can be excluded , or a combina
 ment of the data structure and / or any elements thereof. For      tion thereof can be utilized in alternate embodiments.
 example, a sequence of elements can be stored in an 10 In one example, the teaching presented by the disclosure
 arrangement other than a sequence in a memory, file , or can be implemented in a device or system for learning and / or
 other repository.                                                  using visual surrounding for autonomous device operation .
    Where a reference to a repository is used herein , it should The device or system may include a processor circuit (i.e.
 be understood that a repository may be or include one or Processor 11 , etc. ) configured to execute instruction sets (i.e.
 more files or file systems, one or more storage locations or 15 Instruction Sets 526 , etc. ) for operating a device . The device
 structures, one or more storage systems, one or more data or system may further include a memory unit (i.e. Memory
 structures or objects, one or more memory locations or 12 , etc. ) configured to store data . The device or system may
 structures, and / or other storage , memory, or data arrange- further include a picture capturing apparatus ( i.e. Picture
 ments .                                                            Capturing Apparatus 90 , etc.) configured to capture digital
    Where a reference to an interface is used herein , it should 20 pictures (i.e. Digital Pictures 525 , etc. ) . The device or
 be understood that the interface comprises any hardware, system may further include an artificial intelligence unit (i.e.
 device , system , program , method , and / or combination Artificial Intelligence Unit 110 , etc. ). The artificial intelli
 thereof that enable direct or operative coupling , connection , gence unit may be configured to receive a first digital picture
 and / or interaction of the elements between which the inter-      from the picture capturing apparatus. The artificial intelli
 face is indicated . A line or arrow shown in the figures 25 gence unit may also be configured to receive one or more
 between any of the depicted elements comprises such inter- instruction sets for operating the device from the processor
 face . Examples of an interface include a direct connection , circuit. The artificial intelligence unit may also be config
 an operative connection, a wired connection (i.e. wire , cable , ured to learn the first digital picture correlated with the one
 etc. ) , a wireless connection , a device , a network, a bus , a or more instruction sets for operating the device . The
 circuit , a firmware , a driver, a bridge , a program , a combi- 30 artificial intelligence unit may also be configured to receive
 nation thereof, and /or others.                                    a new digital picture from the picture capturing apparatus.
   Where a reference to an element coupled or connected to          The artificial intelligence unit may also be configured to
 another element is used rein , it should be understood that anticipate the one or more instruction sets for operating the
 the element may be in communication or any other interac- device correlated with the first digital picture based on at
 tive relationship with the other element. Furthermore , an 35 least a partial match between the new digital picture and the
 element coupled or connected to another element can be first digital picture. The artificial intelligence unit may also
 coupled or connected to any other element in alternate be configured to cause the processor circuit to execute the
 implementations. Terms coupled , connected , interfaced, or one or more instruction sets for operating the device corre
 other such terms may be used interchangeably herein lated with the first digital picture, the executing performed
 depending on context.                                      40 in response to the anticipating of the artificial intelligence
     Where a reference to an element matching another ele- unit, wherein the device performs one or more operations
 ment is used herein , it should be understood that the element defined by the one or more instruction sets for operating the
 may be equivalent or similar to the other element. Therefore , device correlated with the first digital picture, the one or
 the term match or matching can refer to total equivalence or more operations performed in response to the executing by
 similarity depending on context.                                45 the processor circuit. Any of the operations of the described
     Where a reference to a device is used herein , it should be elements can be performed repeatedly and / or in different
 understood that the device may include or be referred to as orders in alternate embodiments . In some embodiments , a
 a system , and vice versa depending on context, since a stream of digital pictures can be used instead of or in
 device may include a system of elements and a system may addition to any digital picture such as , for example , using a
 be embodied in a device .                                       50 first stream of digital pictures instead of the first digital
     Where a mention of a function, method, routine, subrou- picture . In other embodiments, a logic circuit ( i.e. Logic
 tine , or other such procedure is used herein , it should be Circuit 250 , etc.) may be used instead of the processor
 understood that the function, method, routine , subroutine, or circuit . In such embodiments, the one or more instruction
 other such procedure comprises a call , reference, or pointer sets for operating the device may include or be substituted
 toprocedure
      the function
             .
                   , method, routine, subroutine , or other such 55 with one or more inputs into or one or more outputs from the
                                                                    logic circuit. In further embodiments, an actuator may be
     Where a mention of data , object, data structure , item , included instead of or in addition to the processor circuit. In
 element, or thing is used herein , it should be understood that such embodiments , the one or more instruction sets for
 the data, object, data structure, item , element, or thing operating the device may include or be substituted with one
 comprises a reference or pointer to the data , object, data 60 or more inputs into the actuator. Other additional elements
 structure , item , element, or thing.                              can be included as needed, or some of the disclosed ones can
     The term collection of elements can refer to plurality of be excluded , or a combination thereof can be utilized in
 elements without implying that the collection is an element alternate embodiments . The device or system for learning
 itself .                                                           and / or using visual surrounding for autonomous device
     Referring to FIG . 2 , an embodiment of Device 98 com- 65 operation may include any actions or operations of any of
 prising Unit for Learning and /or Using Visual Surrounding the disclosed methods such as methods 6100 , 6200 , 6300 ,
 for Autonomous Device Operation (VSADO Unit 100 ) is 6400 , 6500 , and / or 6600 (all later described) .
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 82 of 131 PageID #: 667


                                                    US 11,055,583 B1
                              69                                                                   70
    Device 98 comprises any hardware , programs, or a com-          Capturing Apparatus 90 may be or comprises any other
 bination thereof. Device 98 may include a system . Device 98       picture capturing apparatus . In general, Picture Capturing
 may include any features, functionalities, and embodiments         Apparatus 90 may capture any light (i.e. visible light,
 of Computing Device 70 , or elements thereof. Examples of          infrared light, ultraviolet light, x - ray light, etc. ) across the
 Device 98 include a desktop or other computer, a smart- 5 electromagnetic spectrum onto a light- sensitive material. In
 phone or other mobile computer, a vehicle , an industrial one example, a digital Picture Capturing Apparatus 90 can
 machine, a toy, a robot , a microwave or other oven , and / or utilize a charge coupled device (CCD ) , a CMOS sensor,
 any other device or machine comprising processing capa- and / or other electronic image sensor to capture digital
 bilities . Such device or machine may be built for any pictures that can then be stored in a memory or storage , or
 function or purpose examples of which are described later. 10 transmitted to an element such as Artificial Intelligence Unit
    User 50 (also referred to simply as user or other similar 110. In another example, analog Picture Capturing Appara
 name or reference ) comprises a human user or non -human tus       90 can utilize an analog -to - digital converter to produce
 user . A non - human User 50 includes any device, system ,
 program , and / or other mechanism for operating or control digital pictures. In some embodiments, Picture Capturing
 ling Device 98 and / or elements thereof. In one example, 15 Apparatus     90 can be built, embedded , or integrated in
 User 50 may issue an operating direction to Application Device 98 , VSADO Unit 100 , and / or other disclosed ele
 Program 18 responsive to which Application Program's 18 ment. In other embodiments , Picture Capturing Apparatus
 instructions or instruction sets may be executed by Processor 90 can be an external Picture Capturing Apparatus 90
 11 to perform a desired operation on Device 98. In another connected with Device 98 , VSADO Unit 100 , and /or other
 example, User 50 may issue an operating direction to 20 disclosed element. In further embodiments, Picture Captur
 Processor 11 , Logic Circuit 250 ( later described ), and / or ing Apparatus 90 comprises Computing Device 70 or ele
 other processing element responsive to which Processor 11 , ments thereof. In general, Picture Capturing Apparatus 90
 Logic Circuit 250 , and / or other processing element may can be implemented in any suitable configuration to provide
 implement logic to perform a desired operation on Device its functionalities. Picture Capturing Apparatus 90 may
 98. User's 50 operating directions comprise any user input- 25 capture one or more Digital Pictures 525. Digital Picture 525
 ted data (i.e. values , text, symbols, etc. ) , directions ( i.e. (also referred to simply as digital pictures, etc. ) may include
 move right, move up , move forward , copy an item , click on a collection of color encoded pixels or dots . Examples of file
 a link, etc. ) , instructions or instruction sets (i.e. manually formats that can be utilized to store Digital Picture 525
 inputted instructions or instruction sets, etc. ) , and / or other include JPEG , GIF, TIFF, PNG , PDF, and / or other file
 inputs or information . A non -human User 50 can utilize 30 formats. A stream of Digital Pictures 525 i.e. motion
 more suitable interfaces instead of, or in addition to , Human- picture , video , etc.) may include one or more Digital Pic
 machine Interface 23 and / or Display 21 for controlling tures 525. Examples of file formats that can be utilized to
 Device 98 and / or elements thereof. Examples of such inter- store a stream of Digital Pictures 525 include MPEG , AVI,
 faces include an application programming interface (API), FLV, MOV, RM , SWF , WMV, DivX , and / or other file
 bridge ( i.e. bridge between applications, devices , or systems, 35 formats. In some aspects , Digital Picture 525 may include or
 etc. ) , driver, socket, direct or operative connection , handle, be substituted with a stream of Digital Pictures 525 , and vice
 function / routine/ subroutine, and /or other interfaces.           versa . Therefore , the terms digital picture and stream of
    In some embodiments, Processor 11 , Logic Circuit 250 , digital pictures may be used interchangeably herein depend
 Application Program 18 , and / or other processing element ing on context. In some aspects , Device's 98 surrounding
 may control or affect an actuator ( not shown) . Actuator 40 may include exterior of Device 98. In other aspects ,
 comprises the functionality for implementing movements, Device's 98 surrounding may include interior of Device 98
 actions , behaviors, maneuvers , and / or other mechanical or in case of hollow Device 98 , Device 98 comprising com
 physical operations. Device 98 may include one or more partments or openings , and /or other variously shaped Device
 actuators to enable Device 98 to perform mechanical, physi- 98 .
 cal , or other operations and / or to interact with its environ- 45 VSADO Unit 100 comprises any hardware, programs, or
 ment. For example, an actuator can be connected to or a combination thereof. VSADO Unit 100 comprises the
 coupled to an element such as a wheel, arm , or other element functionality for learning the operation of Device 98 in
 to act upon the environment. Examples of an actuator various visual surroundings. VSADO Unit 100 comprises
 include a motor, a linear motor, a servomotor, a hydraulic the functionality for structuring and / or storing this knowl
 element, a pneumatic element, an electro -magnetic element, 50 edge in a knowledgebase (i.e. neural network , graph,
 a spring element, and / or other actuators . Examples of types sequences , other repository, etc. ) . VSADO Unit 100 com
 of actuators include a rotary actuator, a linear actuator, prises the functionality for enabling autonomous operation
 and / or other types of actuators . In other embodiments ,         of Device 98 in various visual surroundings. VSADO Unit
 Processor 11 , Logic Circuit 250 , Application Program 18 ,        100 comprises the functionality for interfacing with or
 and / or other processing element may control or affect any 55 attaching to Application Program 18 , Processor 11 , Logic
 other device or element instead of or in addition to an            Circuit 250 , and / or other processing element. VSADO Unit
 actuator.                                                          100 comprises the functionality for obtaining instruction
      Picture Capturing Apparatus 90 comprises the function- sets, data, and / or other information used , implemented ,
 ality for capturing one or more pictures, and /or other func- and / or executed by Application Program 18 , Processor 11 ,
 tionalities. As such , Picture Capturing Apparatus 90 can be 60 Logic Circuit 250 , and / or other processing element. VSADO
 used to capture pictures of Device's 98 surrounding. In some Unit 100 comprises the functionality for modifying instruc
 embodiments , Picture Capturing Apparatus 90 may be or tion sets, data, and / or other information used , implemented,
 comprises a motion picture camera that can capture streams and / or executed by Application Program 18 , Processor 11 ,
 of pictures ( i.e. motion pictures, videos , etc. ). In other Logic Circuit 250 , and / or other processing element. VSADO
 embodiments, Picture Capturing Apparatus 90 may be or 65 Unit 100 comprises learning, anticipating, decision making,
 comprises a still picture camera that can capture still pictures automation, and /or other functionalities disclosed herein .
 ( i.e. photographs , etc. ) . In further embodiments, Picture Statistical , artificial intelligence, machine learning, and / or
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 83 of 131 PageID #: 668


                                                    US 11,055,583 B1
                              71                                                                 72
 other models or techniques are utilized to implement the         implement Device's 98 operation. In one example, VSADO
 disclosed devices, systems , and methods.                        Unit 100 may be a primary or preferred system for imple
   When the disclosed VSADO Unit 100 functionalities are          menting Device's 98 operation. While operating autono
 applied on Application Program 18 , Processor 11 , Logic mously under the control of VSADO Unit 100 , Device 98
 Circuit 250 ( later described ), and /or other processing ele- 5 may encounter a visual surrounding that has not been
 ment of Device 98 , Device 98 may become autonomous . encountered or learned before. In such situations, User 50
 VSADO Unit 100 may take control from , share control with , and / or non -VSADO system may take control ofDevice's 98
 and / or release control to Application Program 18 , Processor operation . VSADO Unit 100 may take control again when
 11 , Logic Circuit 250 , and / or other processing element to Device 98 encounters a previously learned visual surround
 implement autonomous operation of Device 98. VSADO 10 ing . Naturally, VSADO Unit 100 can learn Device's 98
 Unit 100 may take control from , share control with , and / or operation in visual surroundings while User 50 and /or
 release control to Application Program 18 , Processor 11 , non - VSADO system is in control of Device 98 , thereby
 Logic Circuit 250 , and / or other processing element auto- reducing or eliminating the need for future involvement of
 matically or after prompting User 50 to allow it . In some User 50 and / or non- VSADO system . In another example,
 aspects , Application Program 18 , Processor 11 , Logic Cir- 15 User 50 and / or non - VSADO system may be a primary or
 cuit 250 , and /or other processing element of an autonomous preferred system for control of Device's 98 operation . While
 Device 98 may include or be provided with anticipatory operating under the control of User 50 and / or non - VSADO
 instructions or instruction sets that User 50 did not issue or system , User 50 and /or non-   n -VSADO system may release
 cause to be executed . Such anticipatory instructions or control to VSADO Unit 100 for any reason (i.e. User 50 gets
 instruction sets include instruction sets that User 50 may 20 tired or distracted , non - VSADO system gets stuck or cannot
 want or is likely to issue or cause to be executed . Anticipa- make a decision , etc. ) , at which point Device 98 can be
 tory instructions or instruction sets can be generated by controlled by VSADO Unit 100. In some designs , VSADO
 VSADO Unit 100 or elements thereof based on the visual Unit 100 may take control in certain special visual surround
 surrounding of Device 98. As such , Application Program 18 , ings where VSADO Unit 100 may offer superior perfor
 Processor 11 , Logic Circuit 250 , and / or other processing 25 mance even though User 50 and / or non -VSADO system
 element of an autonomous Device 98 may include or be may generally be preferred. Once Device 98 leaves such
 provided with some or all original instructions or instruction special visual surrounding, VSADO Unit 100 may release
 sets and / or any anticipatory instructions or instruction sets control to User 50 and / or a non - VSADO system . In general,
 generated by VSADO Unit 100. Therefore , autonomous VSADO Unit 100 can take control from , share control with,
 Device 98 operating may include executing some or all 30 or release control to User 50 , non - VSADO system , and / or
 original instructions or instruction sets and/ or any anticipa- other system or process at any time , under any circum
 tory instructions or instruction sets generated by VSADO stances , and remain in control for any period of time as
 Unit 100. In one example, VSADO Unit 100 can overwrite             needed .
 or rewrite the original instructions or instruction sets of          In some embodiments, VSADO Unit 100 may control one
 Application Program 18 , Processor 11 , Logic Circuit 250 , 35 or more sub - devices, sub - systems , or elements of Device 98
 and / or other processing element with VSADO Unit 100- while User 50 and /or non - VSADO system may control other
 generated instructions or instruction sets . In another one or more sub -devices, sub -systems, or elements of
 example , VSADO Unit 100 can insert or embed VSADO                 Device 98 .
 Unit 100 - generated instructions or instruction sets among          It should be understood that a reference to autonomous
 the original instructions or instruction sets of Application 40 operating of Device 98 may include autonomous operating
 Program 18 , Processor 11 , Logic Circuit 250 , and / or other of Application Program 18 , Processor 11 , Logic Circuit 250 ,
 processing element. In a further example, VSADO Unit 100 and / or other processing element depending on context.
 can branch, redirect, or jump to VSADO Unit 100 - generated          Acquisition Interface 120 comprises the functionality for
 instructions or instruction sets from the original instructions obtaining or receiving instruction sets , data, and / or other
 or instruction sets of Application Program 18 , Processor 11 , 45 information . Acquisition Interface 120 comprises the func
 Logic Circuit 250 , and / or other processing element.            tionality for obtaining or receiving instruction sets , data,
    In some embodiments, autonomous Device 98 operating and/ or other information from Processor 11 , Application
 comprises determining, by VSADO Unit 100 , a next instruc- Program 18 , Logic Circuit 250 ( later described ), and /or
 tion or instruction set to be executed based on Device's 98 other processing element. Acquisition Interface 120 com
 visual surrounding prior to the user issuing or causing to be 50 prises the functionality for obtaining or receiving instruction
 executed the next instruction or instruction set . In yet other sets , data, and / or other information at runtime. In some
 embodiments, autonomous application operating comprises aspects , an instruction set may include any computer com
 determining, by VSADO Unit 100 , a next instruction or mand, instruction , signal, or input used in Application Pro
 instruction set to be executed based on Device's 98 visual         gram 18 , Processor 11 , Logic Circuit 250 , and /or other
 surrounding prior to the system receiving the next instruc- 55 processing element. Therefore, the terms instruction set,
 tion or instruction set .                                       command , instruction , signal, input, or other such terms may
    In some embodiments, autonomous Device 98 operating be used interchangeably herein depending on context .
 includes a partially or fully autonomous operating. In an Acquisition Interface 120 also comprises the functionality
 example involving partially autonomous Device 98 operat- for attaching to or interfacing with Application Program 18 ,
 ing , a user confirms VSADO Unit 100 -generated instruc- 60 Processor 11 , Logic Circuit 250 , and / or other processing
 tions or instruction sets prior to their execution . In an element. In one example, Acquisition Interface 120 com
 example involving fully autonomous application operating, prises the functionality to access and / or read runtime engine/
 VSADO Unit 100 - generated instructions or instruction sets environment, virtual machine, operating system , compiler,
 are executed without user or other system confirmation ( i.e. just - in -time (JIT ) compiler, interpreter, translator, execution
 automatically, etc. ) .                                      65 stack , file, object, data structure , and /or other computing
    In some embodiments , a combination of VSADO Unit system elements. In another example, Acquisition Interface
 100 and other systems and / or techniques can be utilized to 120 comprises the functionality to access and / or read
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 84 of 131 PageID #: 669


                                                         US 11,055,583 B1
                                 73                                                                74
 memory , storage , bus , interfaces, and / or other computing instruction sets , some or all basic blocks , some or all
 system elements. In a further example, Acquisition Interface functions/ routines / subroutines, and / or some or all other code
 120 comprises the functionality to access and / or read Pro- segments.
 cessor 11 registers and / or other Processor 11 elements. In a       In some embodiments , Application Program 18 can be
 further example, Acquisition Interface 120 comprises the 5 automatically instrumented . In one example, Acquisition
 functionality to access and / or read inputs and / or outputs of Interface 120 can access Application Program's 18 source
 Application Program 18 , Processor 11 , Logic Circuit 250 , code , bytecode , or machine code and select instrumentation
 and / or other processing element. In a further example , points of interest . Selecting instrumentation points may
 Acquisition Interface 120 comprises the functionality to include finding locations in the source code , bytecode , or
 access and / or read functions, methods, procedures, routines, 10 machine code corresponding to function calls , function
 subroutines, and / or other elements of Application Program       entries, function exits , object creations, object destructions,
 18. In a further example, Acquisition Interface 120 com- event handler calls , new lines (i.e. to instrument all lines of
 prises the functionality to access and / or read source code , code , etc. ) , thread creations, throws, and / or other points of
 bytecode, compiled , interpreted, or otherwise translated              interest. Instrumentation code can then be inserted at the
 code , machine code , and / or other code . In a further example, 15 instrumentation points of interest to output Application
 Acquisition Interface 120 comprises the functionality to               Program’s 18 instruction sets, data , and /or other informa
 access and / or read values , variables, parameters , and / or        tion . In response to executing instrumentation code , Appli
 other data or information . Acquisition Interface 120 also            cation Program's 18 instruction sets , data, and / or other
 comprises the functionality for transmitting the obtained             information may be received by Acquisition Interface 120 .
 instruction sets , data , and / or other information to Artificial 20 In some aspects , Application Program's 18 source code ,
 Intelligence Unit 110 and / or other element. As such , Acqui- bytecode, or machine code can be dynamically instru
 sition Interface 120 provides input into Artificial Intelligence mented . For example, instrumentation code can be dynami
 Unit 110 for knowledge structuring, anticipating, decision cally inserted into Application Program 18 at runtime .
 making , and / or other functionalities later in the process .           In other embodiments, Application Program 18 can be
 Acquisition Interface 120 also comprises other disclosed 25 manually instrumented . In one example, a programmer can
 functionalities .                                                     instrument a function call by placing an instrumenting
    Acquisition Interface 120 can employ various techniques        instruction immediately after the function call as in the
 for obtaining instruction sets , data , and / or other information .
                                                                   following example .
 In one example, Acquisition Interface 120 can attach to              Objectl.moveRight ( 73 ) ;
 and / or obtain Processor's 11 , Application Program's 18 , 30 trace Application Object1.moveRight( 73 );') ;
 Logic Circuit's 250 , and / or other processing element's In another example, an instrumenting instruction can be
 instruction sets , data , and /or other information through trac- placed immediately before the function call , or at the begin
 ing or profiling techniques. Tracing or profiling may be used ning , nd , or anywhere within the function itself. A pro
 for outputting Processor's 11 , Application Program's 18 ,             grammer may instrument all function calls or only function
 Logic Circuit's 250 , and / or other processing element’s 35 calls of interest. In a further example, a programmer can
 instruction sets, data , and / or other information at runtime. instrument all lines of code or only code lines of interest. In
 For instance, tracing or profiling may include adding trace a further example , a programmer can instrument other
 code (i.e. instrumentation , etc. ) to an application and / or elements utilized or implemented within Application Pro
 outputting trace information to a specific target. The out- gram 18 such as objects and / or any of their functions, data
 putted trace information (i.e. instruction sets , data , and / or 40 structures and / or any of their functions, event handlers
 other information , etc. ) can then be provided to or recorded and /or any of their functions, threads and / or any of their
 into a file, data structure, repository, an application , and / or functions, and / or other elements or functions. Similar instru
 other system or target that may receive such trace informa- mentation as in the preceding examples can be performed
 tion . As such , Acquisition Interface 120 can utilize tracing or automatically or dynamically. In some designs where
 profiling to obtain instruction sets, data, and / or other infor- 45 manual code instrumentation is utilized , Acquisition Inter
 mation and provide them as input into Artificial Intelligence face 120 can optionally be omitted and Application Pro
 Unit 110. In some aspects , instrumentation can be performed gram's 18 instruction sets , data, and / or other information
 in source code , bytecode, compiled, interpreted , or other- may be transmitted directly to Artificial Intelligence Unit
 wise translated code , machine code , and /or other code . In 110 .
 other aspects , instrumentation can be performed in various 50 In some embodiments , VSADO Unit 100 can be selective
 elements of a computing system such as memory, virtual in learning instruction sets , data, and / or other information to
 machine, runtime engine/ environment, operating system , those implemented, utilized, or related to an object, data
 compiler, interpreter, translator, processor registers, execu- structure, repository, thread , function, and / or other element
 tion stack , program counter, and /or other elements . In yet of Application Program 18. In some aspects , Acquisition
 other aspects , instrumentation can be performed in various 55 Interface 120 can obtain Application Program's 18 instruc
 abstraction layers of a computing system such as in software tion sets, data , and / or other information implemented , uti
 layer ( i.e. Application Program 18 , etc. ) , in virtual machine lized , or related to a certain object in an object oriented
 ( if VM is used ), in operating system , in Processor 11 , and /or Application Program 18 .
 in other layers or areas that may exist in a particular                 In some embodiments, various computing systems and /or
 computing system implementation . In yet other aspects, 60 platforms may provide native tools for obtaining instruction
 instrumentation can be performed at various time periods in sets, data, and / or other information . Also , independent ven
 an application's execution such as source code write time , dors may provide portable tools with similar functionalities
 compile time , interpretation time , translation time , linking that can be utilized across different computing systems
 time , loading time , runtime, and / or other time periods. In yet and / or platforms. These native and portable tools may
 other aspects , instrumentation can be performed at various 65 provide a wide range of functionalities to obtain runtime and
 granularities or code segments such as some or all lines of other information such as instrumentation , tracing or pro
 code , some or all statements, some or all instructions or             filing, logging application or system messages , outputting
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 85 of 131 PageID #: 670


                                                      US 11,055,583 B1
                               75                                                                    76
 custom text messages , outputting objects or data structures , to notify the profiler that a function is about to return to the
 outputting functions / routines /subroutines or their invoca- caller and can provide information about the stack frame and
 tions , outputting variable or parameter values , outputting function return value . An alternative to call stack profiling
 thread or process behaviors, outputting call or other stacks , includes call stack sampling in which the profiler can
 outputting processor registers, providing runtime memory 5 periodically examine the stack . In some aspects , the Profil
 access , providing inputs and / or outputs, performing live ing API enables the profiler to change the in -memory code
 application monitoring, and /or other capabilities. One of stream for a routine before it is just - in- time (JIT ) compiled
 ordinary skill in art will understand that, while all possible where the profiler can dynamically add instrumentation code
 variations of the techniques to obtain instruction sets , data , to all or particular routines of interest. Other platforms,
 and / or other information are too voluminous to describe, 10 tools , and /or techniques may provide equivalent or similar
 these techniques are within the scope of this disclosure.        functionalities as the above described ones .
    In one example, obtaining instruction sets , data, and / or      In a further example , obtaining instruction sets , data ,
 other information can be implemented through the .NET and / or other information can be implemented through Java
 platform's native tools for application tracing or profiling platform's APIs for application tracing or profiling such as
 such as System.Diagnostics.Trace , System.Diagnostics.De- 15 Java Virtual Machine Profiling Interface (JVMPI ) , Java
 bug , and System.Diagnostics.TraceSource classes for trac- Virtual Machine Tool Interface (JVMTI ) , and / or other APIs
 ing execution flow , and System . Diagnostics . Process , Sys-        or tools . These APIs can be used for instrumentation of an
 tem.Diagnostics.EventLog, and System . Diagnostics.                   application, for notification of Java Virtual Machine (VM )
 PerformanceCounter classes for profiling code , accessing             events , and / or other functionalities . One of the tracing or
 local and remote processes , starting and stopping system 20 profiling techniques that can be utilized includes bytecode
 processes, and interacting with Windows event logs , etc. For instrumentation. The profiler can insert bytecodes into all or
 instance, a set of trace switches can be created that output an some of the classes . In application execution profiling, for
 application's information. The switches can be configured example, these bytecodes may include methodEntry and
 using the .config file . For a Web application, this may methodExit calls . In memory profiling, for example, the
 typically be Web.config file associated with the project. In a 25 bytecodes may be inserted after each new or after each
 Windows application, this file may typically be named constructor. In some aspects , insertion of instrumentation
 applicationName.exe.config . Trace code can be added to bytecode can be performed either by a post -compiler or a
 application code automatically or manually as previously custom class loader . An alternative to bytecode instrumen
 described . Appropriate listener can be created where the tation includes monitoring events generated by the JVMPI
 trace output is received . Trace code may output trace mes- 30 or JVMTI interfaces. Both APIs can generate events for
 sages to a specific target such as a file , a log , a database , an method entry / exit, object allocation , and / or other events . In
 object, a data structure , and / or other repository or system . some aspects , JVMTI can be utilized for dynamic bytecode
 Acquisition Interface 120 or Artificial Intelligence Unit 110 instrumentation where insertion of instrumentation byte
 can then read or obtain the trace information from these codes is performed at runtime. The profiler may insert the
 targets. In some aspects , trace code may output trace mes- 35 necessary instrumentation when a selected class is invoked
 sages directly to Acquisition Interface 120. In other aspects , in an application . This can be accomplished using the
 trace code may output trace messages directly to Artificial JVMTI's redefineClasses method , for example. This
 Intelligence Unit 110. In the case of outputting trace mes- approach also enables changing of the level of profiling as
 sages to Acquisition Interface 120 or directly to Artificial the application is running. If needed , these changes can be
 Intelligence Unit 110 , custom listeners can be built to 40 made adaptively without restarting the application. Other
 accommodate these specific targets. Other platforms, tools , platforms, tools , and / or techniques may provide equivalent
 and / or techniques can provide equivalent or similar func- or similar functionalities as the above described ones .
 tionalities as the above described ones .                            In a further example , obtaining instruction sets , data ,
    In another example , obtaining instruction sets, data, and / and / or other information can be implemented through JVM
 or other information can be implemented through the .NET 45 TI’s programming interface that enables creation of software
 platform's Profiling API that can be used to create a custom agents that can monitor and control a Java application. An
 profiler application for tracing, monitoring, interfacing with, agent may use the functionality of the interface to register
 and /or managing a profiled application . The Profiling API for notification of events as they occur in the application,
 provides an interface that includes methods to notify the and to query and control the application. A JVMTI agent
 profiler of events in the profiled application . The Profiling 50 may use JVMTI functions to extract information from a Java
 API may also provide an interface to enable the profiler to       application . A JVMTI agent can be utilized to obtain an
 call back into the profiled application to obtain information application's runtime information such as method calls ,
 about the state of the profiled application. The Profiling API memory allocation, CPU utilization , lock contention , and /or
 may further provide call stack profiling functionalities. Call other information . JVMTI may include functions to obtain
 stack ( also referred to as execution stack, control stack , 55 information about variables, fields, methods, classes , and /or
 runtime stack, machine stack , the stack , etc. ) includes a data other information . JVMTI may also provide notification for
 structure that can store information about active subroutines numerous events such as method entry and exit , exception ,
 of an application. The Profiling API may provide a stack field access and modification , thread start and end, and /or
 snapshot method, which enables a trace of the stack at a other events . Examples of JVMTI built - in methods include
 particular point in time . The Profiling API may also provide 60 GetMethodName to obtain the name of an invoked method ,
 a shadow stack method , which tracks the call stack at every          GetThreadInfo to obtain information for a specific thread ,
 instant. shadow stack can obtain function arguments,                  GetClassSignature to obtain information about the class of
 return values , and information about generic instantiations . an object, GetStackTrace to obtain information about the
 A function such as FunctionEnter can be utilized to notify stack including information about stack frames, and / or other
 the profiler that control is being passed to a function and can 65 methods. Other platforms, tools , and / or techniques may
 provide information about the stack frame and function provide equivalent or similar functionalities as the above
 arguments. A function such as FunctionLeave can be utilized described ones .
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 86 of 131 PageID #: 671


                                                      US 11,055,583 B1
                          77                                                                      78
   In a further example, obtaining instruction sets , data ,         sets, data, and /or other information needed for Artificial
 and / or other information can be implemented through java-         Intelligence Unit 110 and / or other elements. In addition to
 .lang.Runtime class that provides an interface for application      logging capabilities native to their respective platforms
 tracing or profiling. Examples of methods provided in java- and / or operating systems, many independent tools exist that
 .lang.Runtime that can be used to obtain an application's 5 provide logging on different platforms and / or operating
 instruction sets , data , and / or other information include systems . Examples of these tools include Log 43, Logback ,
 tracemethodcalls, traceinstructions, and / or other methods.        SmartInspect, NLog , log 4net, Microsoft Enterprise Library,
 These methods prompt the Java Virtual Machine to output ObjectGuy Framework , and / or others . Other platforms,
 trace information for a method or instruction in the virtual tools, and /or techniques may provide equivalent or similar
 machine as it is executed . The destination of trace output 10 functionalities as the above described ones.
 may be system dependent and include a file, a listener,
 and / or other destinations where Acquisition Interface 120 , andIn/ ora other
                                                                              further example, obtaining instruction sets , data ,
 Artificial Intelligence Unit 110 , and / or other disclosed ele ing or profilinginformation
                                                                                     the
                                                                                               can be implemented through trac
                                                                                         operating system on which an application
 ments can access needed information. In addition to tracing
 ortemsprofiling       native
                   tools      to their respective computing  sys- 15 runs . As in tracing or profiling an application, one of the
          and / or platforms, many independent tools exist that techniques that can be utilized includes adding instrumen
 provide tracing or profiling functionalities on more than one tation code to the operating system's source code . Such
 computing system and /or platform . Examples of these tools instrumentation code can be added to the operating system's
 include Pin , DynamoRIO , KernInst, DynInst , Kprobes, source code before kernel compilation or recompilation, for
 OpenPAT, DTrace , SystemTap , and / or others. Other plat- 20 instance . This type of instrumentation may involve defining
 forms, tools , and / or techniques may provide equivalent or or finding locations in the operating system's source code
 similar functionalities as the above described ones .               where instrumentation code may be inserted . Kernel instru
     In a further example, obtaining instruction sets , data , mentation can also be performed without the need for kernel
 and / or other information can be implemented through log- recompilation or rebooting. In some aspects , instrumenta
 ging tools of the platform and / or operating system on which 25 tion code can be added at locations of interest through binary
 an application runs. Some logging tools may include nearly rewriting of compiled kernel code . In other aspects , kernel
 full feature sets of the tracing or profiling tools previously instrumentation can be performed dynamically where instru
 described . In one example, Visual Basic enables logging of mentation code is added and / or removed where needed at
 runtime messages through its Microsoft.VisualBasic.Log- runtime. For instance, dynamic instrumentation may over
 ging namespace that provides a log listener where the log 30 write kernel code with a branch instruction that redirects
 listener may direct logging output to a file and / or other execution to instrumentation code or instrumentation rou
 target. In another example, Java enables logging through its tine . In yet other aspects , kernel instrumentation can be
 java.util.logging class . In some aspects, obtaining an appli- performed using just - in -time ( JIT ) dynamic instrumentation
 cation's instruction sets , data , and / or other information can   where execution may be redirected to a copy of kernel's
 be implemented through logging capabilities of the operat- 35 code segment that includes instrumentation code . This type
 ing system on which an application runs. For example, of instrumentation may include a JIT compiler and creation
 Windows NT features centralized log service that applica- of a copy of the original code segment having instrumen
 tions and operating -system components can utilize to report tation code or calls to instrumentation routines embedded
 their events including any messages . Windows NT provides into the original code segment. Instrumentation of the oper
 functionalities for system , application, security, and / or other 40 ating system may enable total system visibility including
 logging . An application log may include events logged by visibility into an application's behavior by enabling genera
 applications. Windows NT, for example, may include sup- tion of low level trace information . Other platforms, tools ,
 port for defining an event source (i.e. application that created and / or techniques may provide equivalent or similar func
 the event, etc. ). Windows Vista, for example, supports a tionalities as the above described ones .
 structured XML log - format and designated log types to 45 In a further example, obtaining instruction sets , data ,
 allow applications to more precisely log events and to help and / or other information can be implemented through trac
 interpret the events . Examples of different types of event ing or profiling the processor on which an application runs .
 logs include administrative , operational, analytic , debug , For example, some Intel processors provide Intel Processor
 and / or other log types including any of their subcategories . Trace ( i.e. Intel PT, etc. ) , a low - level tracing feature that
 Examples of event attributes that can be utilized include 50 enables recording executed instruction sets, and / or other
 eventID , level , task, opcode , keywords, and / or other event data or information of one or more applications . Intel PT is
 attributes. Windows wevtutil tool enables access to events, facilitated by the Processor Trace Decoder Library along
 their structures, registered event publishers, and / or their with its related tools . Intel PT is a low - overhead execution
 configuration even before the events are fired . Wevtutil tracing feature that records information about application
 supports capabilities such as retrieval of the names of all 55 execution on each hardware thread using dedicated hard
 logs on a computing device; retrieval of configuration infor- ware facilities . The recorded execution / trace information is
 mation for a specific log ; retrieval of event publishers on a collected in data packets that can be buffered internally
 computing device; reading events from an event log , from a before being sent to a memory subsystem or another system
 log file, or using a structured query ; exporting events from or element (i.e. Acquisition Interface 120 , Artificial Intelli
 an event log , from a log file , or using a structured query to 60 gence Unit 110 , etc.). Intel PT also enables navigating the
 a specific target; and /or other capabilities . Operating system recorded execution / trace information via reverse stepping
 logs can be utilized solely if they contain sufficient infor- commands. Intel PT can be included in an operating sys
 mation on an application's instruction sets , data , and / or tem's core files and provided as a feature of the operating
 other information . Alternatively, operating system logs can system . Intel PT can trace globally some or all applications
 be utilized in combination with another source of informa- 65 running on an operating system . Acquisition Interface 120 or
 tion ( i.e. trace information, call stack , processor registers , Artificial Intelligence Unit 110 can read or obtain the
 memory , etc.) to reconstruct the application's instruction         recorded execution / trace information from Intel PT. Other
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 87 of 131 PageID #: 672


                                                      US 11,055,583 B1
                               79                                                                   80
 platforms, tools , and / or techniques may provide equivalent platforms, tools , and / or techniques may provide equivalent
 or similar functionalities as the above described ones .         or similar functionalities as the above described ones .
    In a further example, obtaining instruction sets , data,         In a further example, it may be sufficient to obtain user or
 and / or other information can be implemented through 5 other inputs, variables, parameters, and / or other data in
 branch tracing or profiling. Branch tracing may include an some procedural, simple object oriented , or other applica
 abbreviated instruction trace in which only the successful tions . In one instance , a simple procedural application
                                                                  executes a sequence of instruction sets until the end of the
 branch instruction sets are traced or recorded . Branch tracing program
 can be implemented through utilizing dedicated processor user or other    . During its execution , the application may receive
 commands, for example. Executed branches may be saved                           input, store the input in a variable, and perform
 into special branch trace store area of memory. With the 10 calculations       using   the variableto reach a result. The value of
 availability and reference to a compiler listing of the appli the    variable can be obtained or traced . In another instance ,
                                                                  a more complex procedural application comprises one or
 cation together with branch trace information, a full path of more
 executed instruction sets can be reconstructed . The full path includefunctions
                                                                           a
                                                                                    / routines / subroutines each of which may
                                                                             sequence    of instruction sets . The application may
 can also be reconstructed with a memory dump ( containing 15 execute a main sequence           of instruction sets with a branch to
 the program storage ) and branch trace information . In some a function / routine/ subroutine
 aspects , branch tracing can be utilized for pre - learning or application may receive user or. During          its execution , the
                                                                                                        other input, store the input
 automated learning of an application's instruction sets, data , in a variable, and pass the variable as a parameter to the
 and / or other information where a number of application function / routine / subroutine. The function /routine /subrou
 simulations ( i.e. simulations of likely / common operations, 20 tine may perform calculations using the parameter and
 etc. ) are performed . As such , the application's operation can return a value that the rest of the application can use to reach
 be learned automatically saving the time that would be a result . The value of the variable or parameter passed to the
 needed to learn the application's operation directed by a function /routine / subroutine, and / or return value can be
 user. Other platforms, tools , and / or techniques may provide obtained or traced . Values of user or other inputs, variables ,
 equivalent or similar functionalities as the above described 25 parameters, and / or other items of interest can be obtained
 ones .                                                           through previously described tracing, instrumentation , and /
    In a further example , obtaining instruction sets , data , or other techniques. Other platforms, tools , and / or tech
 and / or other information can be implemented through niques may provide equivalent or similar functionalities as
 assembly language. Assembly language is a low - level pro-           the above described ones .
 gramming language for a computer or other programmable 30 Referring to FIG . 3 , in yet another example, obtaining
 device in which there is a strong correlation between the instruction sets , data, and / or other information may be
 language and the architecture's machine instruction sets . implemented through tracing, profiling, or sampling of
 Syntax, addressing es , operands , and / or other elements instruction sets or data in processor registers, memory , or
 of an assembly language instruction set may translate other computing system components where instruction sets ,
 directly into numeric (i.e. binary, etc. ) representations of that 35 data, and / or other information may be stored or utilized . For
 particular instruction set . Because of this direct relationship example , Instruction Register 212 may be part of Processor
 with the architecture's machine instruction sets , assembly 11 and it may store the instruction set currently being
 language can be a powerful tool for tracing or profiling an executed or decoded . In some processors , Program Counter
 application's execution in processor registers , memory, and / 211 (also referred to as instruction pointer, instruction
 or other computing system components. For example, using 40 address register, instruction counter, or part of instruction
 assembly language, memory locations of a loaded applica- sequencer ) may be incremented after fetching an instruction
 tion can be accessed , instrumented , and /or otherwise set, and it may hold or point to the memory address of the
 manipulated. In some aspects , assembly language can be next instruction set to be executed . In a processor where the
 used to rewrite or overwrite original in -memory instruction incrementation precedes the fetch , Program Counter 211
 sets of an application with instrumentation instruction sets . 45 may point to the current instruction set being executed . In
 In other aspects , assembly language can be used to redirect the instruction cycle , an instruction set may be loaded into
 application's execution to instrumentation routine/ subrou- Instruction Register 212 after Processor 11 fetches it from
 tine or other code segment elsewhere in memory by insert- location in Memory 12 pointed to by Program Counter 211 .
 ing a jump into the application's in -memory code , by Instruction Register 212 may hold the instruction set while
 redirecting program counter, or by other techniques. Some 50 it is decoded by Instruction Decoder 213 , prepared , and
 operating systems may implement protection from changes executed . In some aspects , data (i.e. operands, etc. ) needed
 to applications loaded into memory. Operating system , pro- for instruction set execution may be loaded from Memory 12
 cessor, or other low level commands such as Linux mprotect into a register within Register Array 214. In other aspects ,
 command or similar commands in other operating systems the data may be loaded directly into Arithmetic Logic Unit
 may be used to unprotect the protected locations in memory 55 215. For instance, as instruction sets pass through Instruc
 before the change . In yet other aspects , assembly language tion Register 212 during application execution , they may be
 can be used to obtain instruction sets , data, and / or other transmitted to Acquisition Interface 120 as shown. Examples
 information through accessing and / or reading instruction of the steps in execution of a machine instruction set may
 register, program counter, other processor registers , memory include decoding the opcode ( i.e. portion of a machine
 locations, and / or other components of a computing system . 60 instruction set that may specify the operation to be per
 In yet other aspects , high -level programming languages may formed ), determining where the operands may be located
 call or execute an external assembly language program to ( depending on architecture, operands may be in registers, the
 facilitate obtaining instruction sets, data, and / or other infor- stack , memory, I/ O ports, etc. ), retrieving the operands,
 mation as previously described . In yet other aspects , rela- allocating processor resources to execute the instruction set
 tively low - level programming languages such as C may 65 ( needed in some types of processors ) , performing the opera
 allow embedding assembly language directly in their source tion indicated by the instruction set, saving the results of
 code such as , for example, using asm keyword of C. Other execution, and / or other execution steps . Examples of the
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 88 of 131 PageID #: 673


                                                     US 11,055,583 B1
                              81                                                                   82
 types of machine instruction sets that can be utilized include performed on the inputs. Logic Circuit 250 may generally be
 arithmetic, data handling, logical , program control, as well implemented using transistors , diodes , and / or other elec
 as special and / or other instruction set types. In addition to tronic switches , but can also be constructed using vacuum
 the ones described or shown , examples of other computing 5 tubes , electromagnetic relays ( relay logic ) , fluidic logic ,
 system or processor components that can be used during an pneumatic logic , optics , molecules , or even mechanical
 instruction cycle include memory address register (MAR ) elements. In some aspects , Logic Circuit 250 may be or
 that may hold the address of a memory block to be read from include a microcontroller, field -programmable gate array
 or written to ; memory data register ( MDR) that may hold ( FPGA ), application -specific integrated circuit (ASIC ) , and /
 data fetched from memory or data waiting to be stored in or          other computing circuit or device . In other aspects , Logic
 memory ; data registers that may hold numeric values , char- 10 Circuit   250 may be or include any circuit or device com
 acters, small bit arrays , or other data ; address registers that prising one or more logic gates , one or more transistors , one
 may hold addresses used by instruction sets that indirectly or more switches
 access memory ; general purpose registers (GPRS ) that may nents . In further , aspects
                                                                                      and /or one or more other logic compo
                                                                                             , Logic Circuit 250 may be or
 store both data and addresses ; conditional registers that may
 hold truth values often used to determine whether some 15 include any integrated or other circuit or device that can
 instruction set should or should not be executed ; floating perform logic operations. Logic may generally refer to
 point registers (FPRs ) that may store floating point numbers; Boolean logic utilized in binary operations, but other logics
 constant registers that may hold read - only values such as can also be used . Input into Logic Circuit 250 may include
 zero , one, or pi ; special purpose registers ( SPRs ) such as or refer to a value inputted into the Logic Circuit 250 ,
 status register, program counter, or stack pointer that may 20 therefore, these terms may be used interchangeably herein
 hold information on program state ; machine -specific regis- depending on context. In one example , Logic Circuit 250
 ters that may store data and settings related to a particular       may perform some logic operations using four input values
 processor; Register Array 214 that may include an array of          and produce two output values . As the four input values are
 any number of processor registers; Arithmetic Logic Unit            delivered to or received by Logic Circuit 250 , they may be
 215 that may perform arithmetic and logic operations; 25 obtained by Acquisition Interface 120 through the four
 control unit that may direct processor's operation ; and / or       hardwired connections as shown in FIG . 4A . In another
 other circuits or components. Tracing, profiling, or sampling example , Logic Circuit 250 may perform some logic opera
 of processor registers, memory, or other computing system tions using four input values and produce two output values .
 components can be implemented in a program , combination As the two output values are generated by or transmitted out
 of hardware and program , or purely hardware system . Dedi- 30 of Logic Circuit 250 , they may be obtained by Acquisition
 cated hardware may be built to perform tracing , profiling, or Interface 120 through the two hardwired connections as
 sampling of processor registers or any computing system shown in FIG . 4B . In a further example, instead of or in
 components with marginal or no impact to computing over- addition to obtaining input and / or output values of Logic
 head .                                                            Circuit 250 , the state of Logic Circuit 250 may be obtained
     One of ordinary skill in art will recognize that FIG . 3 35 by reading or accessing values from one or more Logic
 depicts one of many implementations of processor or com- Circuit's 250 internal components such as registers, memo
 puting system components, and that various additional com- ries, buses , and / or others ( i.e. similar to the previously
 ponents can be included , or some of the disclosed ones can described tracing, profiling, and / or sampling of Processor 11
 be excluded , or a combination thereof can be utilized in components, etc. ) . Tracing, profiling, or sampling of Logic
 alternate implementations. Processor or computing system 40 Circuit 250 can be implemented in a program , combination
 components may be arranged or connected differently in of hardware and program , or purely hardware system . Dedi
 alternate implementations. Processor or computing system cated hardware may be built to perform tracing, profiling or
 components may also be connected with external elements sampling of Logic Circuit 250 with marginal or no impact to
 using various connections. For instance, the connection computing overhead. Any of the elements and / or techniques
 between Instruction Register 212 and Acquisition Interface 45 for tracing, profiling, or sampling of Logic Circuit 250 can
 120 may include any number or types of connections such similarly be implemented with Processor 11 and/ or other
 as , for example, a dedicated connection for each bit of processing elements . In some designs , VSADO Unit 100
 Instruction Register 212 (i.e. 32 connections for a 32 bit may include clamps and / or other elements to attach VSADO
 Instruction Register 212 , etc. ) . Any of the described or other Unit 100 to inputs ( i.e. input wires, etc.) into and / or outputs
 connections or interfaces may be implemented among any 50 (i.e. output wires, etc. ) from Logic Circuit 250. Such clamps
 processor or computing system components and Acquisition and / or attachment elements enable seamless attachment of
 Interface 120 or other elements .                                 VSADO Unit 100 to any circuit or computing device
     Referring to FIGS . 4A - 4B , in yet another example, without the need to redesign or alter the circuit or computing
 obtaining instruction sets , data , and / or other information device .
 may be implemented through tracing, profiling, or sampling 55 In some embodiments, VSADO Unit 100 may learn input
 of Logic Circuit 250. While Processor 11 includes any type values directly from an actuator (previously described, not
 or embodiment of logic circuit, Logic Circuit 250 is shown ). For example, Logic Circuit 250 or other processing
 described separately here to offer additional detail on its element may control an actuator that enables Device 98 to
 functioning. Some Devices 98 may not need the processing perform mechanical, physical, and /or other operations. An
 capabilities of an entire Processor 11 , but instead a more 60 actuator may receive one or more input values or control
 tailored Logic Circuit 250. Examples of such Devices 98 signals from Logic Circuit 250 or other processing element
 include home appliances, audio or video electronics, vehicle directing the actuator to perform specific operations.As one
 systems , toys , industrial machines , robots , and / or others. or more input values or control signals are delivered to or
 Logic Circuit 250 comprises the functionality for perform- received by the actuator, they may be obtained by Acquisi
 ing logic operations. Logic Circuit 250 comprises the func- 65 tion Interface 120 as previously described with respect to
 tionality for performing logic operations using the circuit's obtaining input values of Logic Circuit 250. Specifically, for
 inputs and producing outputs based on the logic operations instance, one or more input values or control signals of an
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 89 of 131 PageID #: 674


                                                      US 11,055,583 B1
                               83                                                                    84
 actuator may be obtained by Acquisition Interface 120 via capturing or receiving of Digital Picture 525. In other
 hardwired or other connections .                                 embodiments, the system can obtain Extra Info 527 at a time
    One of ordinary skill in art will recognize that FIGS . of acquisition of Instruction Set 526. In general, the system
 4A - 4B depict one of many implementations of Logic Circuit or any element thereof can obtain Extra Info 527 at any time .
 250 and that any number of input and / or output values can 5 Examples of Extra Info 527 include time information , loca
 be utilized in alternate implementations. One of ordinary tion information, computed information , observed informa
 skill in art will also recognize that Logic Circuit 250 may tion , sensory information, contextual information , and /or
 include any number and / or combination of logic compo- other information. Any information can be utilized that can
 nents to implement any logic operations.                         provide information for enhanced comparisons or decision
    Other additional techniques or elements may be utilized 10 making performed in autonomous device operation . Which
 as needed for obtaining instruction sets , data , and / or other information is utilized and /or stored in Extra Info 527 can be
 information, or some of the disclosed techniques or elements set by a user, by VSADO system administrator, or automati
 may be excluded, or a combination thereof may be utilized cally by the system . Extra Info 527 may include or be
 in alternate embodiments .                                       referred to as contextual information , and vice versa . There
    Referring to FIGS . 5A - 5C , some embodiments of Instruc- 15 fore, these terms may be used interchangeably herein
 tion Sets 526 are illustrated . In some aspects , Instruction Set     depending on context.
 526 includes one or more instructions or commands of                    In some aspects , time information ( i.e. time stamp, etc.)
 Application Program 18. For example , Instruction Set 526             can be utilized and / or stored in Extra Info 527. Time
 may include one or more instructions or commands of a                 information can be useful in comparisons or decision mak
 high - level programming language such as Java or SQL , a 20 ing performed in autonomous device operation related to a
 low - level language such as assembly or machine language , specific time period as Device 98 may be required to
 an intermediate language or construct such as bytecode, perform specific operations at certain parts of day, month ,
 and / or any other language or construct. In other aspects , year, and / or other time periods. Time information can be
 Instruction Set 526 includes one or more inputs into and / or obtained from the system clock, online clock , oscillator, or
 outputs from Logic Circuit 250 , Processor 11 , Application 25 other time source . In one example, a thermostat device may
 Program 18 , and / or other processing element. In further be directed to turn heat on in the morning and / or turn heat
 aspects , Instruction Set 526 includes one or more values or off during the day. In a further example, a personal computer
 states of registers and / or other components of Logic Circuit device may be directed to start or stop an application
 250 , Processor 11 , and / or other processing element. In program or process on a particular day of the month . In
 general, Instruction Set 526 may include one or more 30 general, Extra Info 527 may include time information
 instructions, commands, keywords, symbols ( i.e. parenthe- related to when Device 98 performed an operation. In other
 ses, brackets , commas, semicolons , etc. ) , operators ( i.e. = , < , aspects , location information (i.e. coordinates, address, etc.)
 >, etc.), var es , values , objects, data structures, functions        can be utilized and / or stored in Extra Info 527. Location
 ( i.e. Function1 ( ) , FIRSTO ) , MIN ( ) , SQRT ( ), etc. ) , param- information can be useful in comparisons or decision mak
 eters , states , signals, inputs, outputs, characters, digits, ref- 35 ing performed in autonomous device operation related to a
 erences thereto , and / or other components for performing an specific place as Device 98 may be required to perform
 operation .                                                            specific operations at certain places . Location information
     In an embodiment shown in FIG . 5A , Instruction Set 526 can be obtained from a positioning system ( i.e. radio signal
 includes code of a high - level programming language ( i.e. triangulation in smartphones or tablets, GPS capabilities ,
 Java, C ++ , etc. ) comprising the following function call 40 etc. ) if one is available . In one example, a smartphone device
 construct: Function1 (Parameter , Parameter2 , may be directed to engage a vibrate mode in a school or
 Parameter3, .. ). An example of a function call applying the house of worship . In another example, a vehicle may be
 above construct includes the following Instruction Set 526 : directed to turn right at a particular road crossing . In general,
 moveTo ( Object1, 29 , 17 ) . The function or reference thereto Extra Info 527 may include location information related to
 “ moveTo (Object1, 29 , 17 )” may be an Instruction Set 526 45 where Device 98 performed an operation . In further aspects ,
 directing Object1 to move to a location with coordinates 29 computed information can be utilized and / or stored in Extra
 and 17 , for example. In another embodiment shown in FIG . Info 527. Computed information can be useful in compari
 5B , Instruction Set 526 includes structured query language sons or decision making performed in autonomous device
 ( SQL ) . In a further embodiment shown in FIG . 5C , Instruc- operation where information can be calculated , inferred , or
 tion Set 526 includes bytecode ( i.e. Java bytecode , Python 50 derived from other available information. VSADO Unit 100
 bytecode, CLR bytecode , etc. ) . In a further embodiment may include computational functionalities to create Extra
 shown in FIG . 5D , Instruction Set 526 includes assembly Info 527 by performing calculations or inferences using
 code . In a further embodiment shown in FIG . 5E , Instruction other information . In one example , Device's 98 speed can be
 Set 526 includes machine code.                                         computed or estimated from the Device's 98 location and / or
     Referring to FIGS . 6A - 6B , some embodiments of Extra 55 time information . In another example, Device's 98 bearing
 Information 527 ( also referred to as Extra Info 527 ) are (i.e. angle or direction of movement, etc.) can be computed
 illustrated . In an embodiment shown in FIG . 6A , Digital or estimated from the Device's 98 location information by
 Picture 525 may include or be associated with Extra Info utilizing Pythagorean theorem , trigonometry, and / or other
 527. In an embodiment shown in FIG . 6B , Instruction Set theorems, formulas, or disciplines. In a further example ,
 526 may include or be associated with Extra Info 527 . 60 speeds , bearings, distances , and / or other properties of
     Extra Info 527 comprises the functionality for storing any objects around Device 98 can similarly be computed or
 information useful in comparisons or decision making per- inferred , thereby providing geo - spatial and situational
 formed in autonomous device operation , and / or other func-          awareness and / or capabilities to the Device 98. In further
 tionalities. One or more Extra Infos 527 can be stored in ,           aspects , observed information can be utilized and / or stored
 appended to , or associated with a Digital Picture 525 , 65 in Extra Info 527. Observed information can be useful in
 Instruction Set 526 , and / or other element. In some embodi-         comparisons or decision making performed in autonomous
 ments, the system can obtain Extra Info 527 at a time of              device operation related to a specific object or environment
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 90 of 131 PageID #: 675


                                                    US 11,055,583 B1
                              85                                                                86
 as Device 98 may be required to perform certain operations be or include any type or form of a remote computing device
 around specific objects or in specific environments. For such as an application server, a network service server , a
 example , an object or environment can be recognized by cloud server, a cloud , and / or other remote computing device .
 processing one or more Digital Pictures 525 from Picture Server 96 may include any features, functionalities, and
 Capturing Apparatus 90. Any features, functionalities, and 5 embodiments of the previously described Computing
 embodiments of Picture Recognizer 350 ( later described ) Device 70. It should be understood that Server 96 does not
 can be utilized for such recognizing. In one example , book have to be a separate computing device and that Server 96 ,
 shelves recognized in the background of one or more Digital its elements, or its functionalities can be implemented on
 Pictures 525 from Picture Capturing Apparatus 90 may Device 98. Network 95 may include various networks,
 indicate a library or book store . In another example, trees 10 connection types , protocols , interfaces, APIs , and / or other
 recognized in the background of one or more Digital Pic- elements or techniques known in art all of which are within
 tures 525 from Picture Capturing Apparatus 90 may indicate the scope of this disclosure . Any of the previously described
 a park . In a further example, a pedestrian recognized in one networks, network or connection types, networking inter
 or more Digital Pictures 525 from Picture Capturing Appa- faces, and /or other networking elements or techniques can
 ratus 90 may indicate a street . In further aspects , sensory 15 similarly be utilized . Any of the disclosed elements may
 information can be utilized and / or stored in Extra Info 527 . reside on Server 96 in alternate implementations. In one
 Examples of sensory information include acoustic informa-         example , Artificial Intelligence Unit 110 can reside on
 tion, visual information , tactile information, and / or others. Server 96 and Acquisition Interface 120 and / or Modification
 Sensory information can be useful in comparisons or deci- Interface 130 can reside on Device 98. In another example,
 sion making performed in autonomous device operation 20 Knowledgebase 530 can reside on Server 96 and the rest of
 related to a specific object or environment as Device 98 may the elements of VSADO Unit 100 can reside on Device 98 .
 be required to perform certain operations around specific Any other combination of local and remote elements can be
 objects or in specific environments . For example, an object implemented.
 or environment can be recognized by processing digital               Referring to FIG . 9 , an embodiment where Picture Cap
 sound from a sound capturing apparatus (i.e. microphone, 25 turing Apparatus 90 is part of Remote Device 97 accessible
 etc. , not shown ). Any features, functionalities, and embodi-    over Network 95 is illustrated . In such embodiments ,
 ments of a speech or sound recognizer (not shown) can be          VSADO Unit 100 may learn Device's 98 operation based on
 utilized for such recognizing. In one example, sound of           another device's visual surrounding. Such embodiments can
 waves recognized in digital sound from a sound capturing          be utilized , for instance , in any situation where one device
 apparatus may indicate a beach . In another example, sound 30 controls ( i.e. remote control, etc. ) another device, any situ
 of a horn recognized in digital sound from a sound capturing ation where some or all of the processing is on one device
 apparatus may indicate a proximal vehicle. In some designs and picture capturing capabilities are on another device ,
 where acoustic information includes one or more digital and / or other situations. In one example, a drone controlling
 sound samples of Device's 98 surrounding captured by a device (i.e. Device 98 ) may receive its visual input from a
 sound capturing apparatus, the digital sound samples can be 35 camera on the drone (i.e. Remote Device 97 ) . In another
 learned and / or used similar to Digital Pictures 525 of example, a toy controlling device (i.e. Device 98 ) may
 Device's 98 visual surrounding. In such designs , both Digi- receive its visual input from a camera on the toy (i.e. Remote
 tal Pictures 525 and digital sound samples of a device's Device 97 ) . In a further example, a people or crowd ana
 surrounding can be learned and / or used for autonomous lyzing computing device ( i.e. Device 98 ) may receive its
 device operation. In further aspects , other information can 40 visual input from a camera of a monitoring device (i.e.
 be utilized and/ or stored in Extra Info 527. Examples of such Remote Device 97 ) . Any of the disclosed elements in
 other information include user specific information ( i.e. skill addition to Picture Capturing Apparatus 90 may reside on
 level , age , gender, etc. ) , group user information ( i.e. access Remote Device 97 in alternate implementations as previ
 level , etc. ) , version of Application Program 18 , the type of ously described with respect to Server 96 .
 Application Program 18 , the type of Processor 11 , the type 45 Referring to FIG . 10 , an embodiment of VSADO Unit 100
 of Logic Circuit 250 , the type of Device 98 , and / or other comprising Picture Recognizer 350 is illustrated. VSADO
 information .                                                       Unit 100 can utilize Picture Recognizer 350 to detect or
    Referring to FIG . 7 , an embodiment where VSADO Unit recognize persons, objects, and / or their activities in one or
 100 is part of or operating on Processor 11 is illustrated . In more digital pictures from Picture Capturing Apparatus 90 .
 one example, VSADO Unit 100 may be a hardware element 50 In general, VSADO Unit 100 and / or other disclosed ele
 or circuit embedded or built into Processor 11. In another ments can use Picture Recognizer 350 for any operation
 example , VSADO Unit 100 may be a program operating on supported by Picture Recognizer 350. Picture Recognizer
 Processor 11 .                                                      350 comprises the functionality for detecting or recognizing
    Referring to FIG . 8 , an embodiment where VSADO Unit persons or objects in visual data . Picture Recognizer 350
 100 resides on Server 96 accessible over Network 95 is 55 comprises the functionality for detecting or recognizing
 illustrated . Any number of Devices 98 may connect to such activities in visual data . Picture Recognizer 350 comprises
 remote VSADO Unit 100 and the remote VSADO Unit 100 the functionality for tracking persons , objects, and / or their
 may learn their operations in various visual surroundings. In activities in visual data . Picture Recognizer 350 comprises
 turn , any number of Devices 98 can utilize the remote other disclosed functionalities. Visual data includes digital
 VSADO Unit 100 for autonomous operation. A remote 60 motion pictures, digital still pictures (i.e. bitmaps, etc.),
 VSADO Unit 100 can be offered as a network service ( i.e. and / or other visual data. Examples of file formats that can be
 online application, etc. ). In some aspects , a remote VSADO utilized to store visual data include AVI, DivX , MPEG ,
 Unit 100 ( i.e. global VSADO Unit 100 , etc. ) may reside on JPEG , GIF, TIFF, PNG , PDF, and / or other file formats .
 the Internet and be available to all the world's Devices 98 Picture Recognizer 350 may detect or recognize a person
 configured to transmit their operations in various visual 65 and / or his /her activities as well as track the person and /or
 surroundings and / or configured to utilize the remote his / her activities in one or more digital pictures or streams
 VSADO Unit 100 for autonomous operation. Server 96 may of digital pictures ( i.e. motion pictures , video , etc. ) . Picture
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 91 of 131 PageID #: 676


                                                     US 11,055,583 B1
                               87                                                                  88
 Recognizer 350 may detect or recognize a human head or              Picture Recognizer 350 include convolutional neural net
 face, upper body, full body, or portions/combinations works (CNNs ), time delay neural networks ( TDNNs), deep
 thereof. In some aspects , Picture Recognizer 350 may detect neural networks , and / or others . In one example, picture
 or recognize persons , objects, and / or their activities from a recognition techniques and /or tools involving convolutional
 digital picture by comparing regions of pixels from the 5 neural networks may include identifying and /or analyzing
 digital picture with collections of pixels comprising known tiled and / or overlapping regions or features of a digital
 persons, objects, and / or their activities . The collections of picture, which may then be used to search for pictures with
 pixels comprising known persons , objects, and / or their matching regions or features. In another example, features of
 activities can be learned or manually , programmatically , or different convolutional neural networks responsible for spa
 otherwise defined . The collections of pixels comprising 10 tial and temporal streams can be fused to detect persons ,
 known persons, objects, and /or their activities can be stored objects, and / or their activities in streams of digital pictures
 in any data structure or repository (i.e. one or more files , (i.e. motion pictures, videos , etc. ). In general, Picture Rec
 database, etc. ) that resides locally on Device 98 , or remotely ognizer 350 may include any machine learning, deep learn
 on a remote computing device ( i.e. server , cloud , etc.) ing , and / or other artificial intelligence techniques. Any other
 accessible over a network . In other aspects , Picture Recog- 15 techniques known in art can be utilized in Picture Recog
 nizer 350 may detect or recognize persons, objects, and / or nizer 350. For example , thresholds for similarity, statistical ,
 their activities from a digital picture by comparing features and/ or optimization techniques can be utilized to determine
 ( i.e. lines , edges, ridges, corners , blobs , regions, etc. ) of the a match in any of the above -described detection or recog
 digital picture with features of known persons, objects, nition techniques. Picture Recognizer 350 comprises any
 and / or their activities . The features of known persons , 20 features , functionalities , and embodiments of Similarity
 objects, and /or their activities can be learned or manually, Comparison 125 (later described ).
 programmatically , or otherwise defined . The features of                In some exemplary embodiments, object recognition tech
 known persons, objects, and / or their activities can be stored niques and / or tools such as OpenCV ( Open Source Com
 in any data structure or repository (i.e. neural network , one puter Vision ) library, CamFind API , Kooaba, 6px API ,
 or more files , database , etc.) that resides locally on Device 25 Dextro API , and /or others can be utilized for detecting or
 98 , or remotely on a remote computing device ( i.e. server , recognizing objects ( i.e. objects, animals , people , etc.) in
 cloud, etc. ) accessible over a network . Typical steps or digital pictures . In some aspects , object recognition tech
 elements in a feature oriented picture recognition include niques and / or tools involve identifying and / or analyzing
 pre -processing, feature extraction , detection /segmentation , object features such as lines , edges, ridges, corners , blobs ,
 decision -making , and / or others, or a combination thereof, 30 regions, and / or their relative positions , sizes , shapes , etc.,
 each of which may include its own sub - steps or sub- which may then be used to search for pictures with matching
 elements depending on the application. In further aspects , features. For example, OpenCV library can detect an object
 Picture Recognizer 350 may detect or recognize multiple (i.e. car , pedestrian, door, building, animal, person , etc. ) in
 persons, objects, and / or their activities from a digital picture one or more digital pictures captured by Picture Capturing
 using the aforementioned pixel or feature comparisons, 35 Apparatus 90 or stored in an electronic repository, which can
 and / or other detection or recognition techniques. For then be utilized in VSADO Unit 100, Artificial Intelligence
 example, a picture may depict two persons in two of its Unit 110 , and /or other elements .
 regions both of whom Picture Recognizer 350 can detect                   In other exemplary embodiments, facial recognition tech
 simultaneously. In further aspects , where persons , objects , niques and / or tools such as OpenCV ( Open Source Com
 and / or their activities span multiple pictures, Picture Rec- 40 puter Vision ) library, Animetrics FaceR API , Lambda Labs
 ognizer 350 may detect or recognize persons , objects, and / or Facial Recognition API , Face ++ SDK , Neven Vision ( also
 their activities by applying the aforementioned pixel or known as N - Vision ) Engine, and / or others can be utilized for
 feature comparisons and / or other detection or recognition detecting or recognizing faces in digital pictures. In some
 techniques over a stream of digital pictures (i.e. motion aspects , facial recognition techniques and / or tools involve
 picture, video, etc. ) . For example, once a person is detected 45 identifying and / or analyzing facial features such as the
 in a digital picture (i.e. frame, etc.) of a stream of digital relative position , size , and / or shape of the eyes , nose ,
 pictures (i.e. motion picture , video, etc. ) , the region of pixels cheekbones, jaw , etc. , which may then be used to search for
 comprising the detected person or the person's features can pictures with matching features. For example, FaceR API
 be searched in other pictures of the stream of digital pictures, can detect a person's face in one or more digital pictures
 thereby tracking the person through the stream of digital 50 captured by Picture Capturing Apparatus 90 or stored in an
 pictures. In further aspects , Picture Recognizer 350 may electronic repository, which can then be utilized in VSADO
 detect or recognize a person's activities by identifying Unit 100 , Artificial Intelligence Unit 110 , and / or other
 and / or analyzing differences between a detected region of elements .
 pixels of one picture (i.e. frame, etc. ) and detected regions           Referring to FIG . 11 , an embodiment of Artificial Intel
 of pixels of other pictures in a stream of digital pictures. For 55 ligence Unit 110 is illustrated . Artificial Intelligence Unit
 example , a region of pixels comprising a person's face can 110 comprises interconnected Knowledge Structuring Unit
 be detected in multiple consecutive pictures of a stream of 520 , Knowledgebase 530 , Decision - making Unit 540 , and
 digital pictures ( i.e. motion picture , video , etc. ). Differences Confirmation Unit 550. Other additional elements can be
 among the detected regions of the consecutive pictures may included as needed , or some of the disclosed ones can be
 be identified in the mouth part of the person's face to 60 excluded , or a combination thereof can be utilized in alter
 indicate smiling or speaking activity. Any technique for nate embodiments.
 recognizing speech from mouth / lip movements can be used          Artificial Intelligence Unit 110 comprises the functional
 in this and other examples. In further aspects , Picture ity for learning Device's 98 operation in various visual
 Recognizer 350 may detect or recognize persons , objects , surroundings. Artificial Intelligence Unit 110 comprises the
 and / or their activities using one or more artificial neural 65 functionality for learning one or more digital pictures cor
 networks, which may include statistical techniques . related with any instruction sets, data, and / or other infor
 Examples of artificial neural networks that can be used in mation . In some aspects , Artificial Intelligence Unit 110
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 92 of 131 PageID #: 677


                                                      US 11,055,583 B1
                               89                                                                90
 comprises the functionality for learning one or more Digital execute . User 50 may be provided with an interface (i.e.
 Pictures 525 of Device's 98 surrounding correlated with any graphical user interface , etc. ) to rate (i.e. on a scale from 0
 Instruction Sets 526 and /or Extra Info 527. In other aspects , to 1 , etc. ) how well Decision -making Unit 540 predicted the
 Artificial Intelligence Unit 110 comprises the functionality executed anticipatory Instruction Sets 526. In some aspects ,
 for learning one or more Digital Pictures 525 of Device's 98 5 rating can be automatic and based on a particular function or
 surrounding some of which may not be correlated with any            method that rates how well the anticipatory Instruction Sets
 Instruction Sets 526 and / or Extra Info 527. Further, Artificial   526 matched the desired operation . In one example, a rating
 Intelligence Unit 110 comprises the functionality for antici-       function or method can assign a higher rating to anticipatory
 pating Device's 98 operation in various visual surroundings.        Instruction Sets 526 that were least modified in the confir
 Artificial Intelligence Unit 110 comprises the functionality 10 mation process . In another example, a rating function or
 for anticipating one or more instruction sets , data , and / or method can assign a higher rating to anticipatory Instruction
 other information . Artificial Intelligence Unit 110 comprises Sets 526 that were canceled least number of times by User
 the functionality for anticipating one or more Instruction 50. Any other automatic rating function or method can be
 Sets 526 based on one or more incoming Digital Pictures             utilized . In yet other embodiments, Confirmation Unit 550
 525 of Device's 98 surrounding. Artificial Intelligence Unit 15 can serve as a means of canceling anticipatory Instruction
 110 comprises the functionality for anticipating one or more Sets 526 if they did not match User's 50 intended operation.
 Instruction Sets 526 to be used or executed in Device's 98          For example, Decision -making Unit 540 may determine one
 autonomous operation. Artificial Intelligence Unit 110 also or more anticipatory Instruction Sets 526 , which the system
 comprises other disclosed functionalities.                       may automatically execute . The system may save the state of
    Knowledge Structuring Unit 520 , Knowledgebase 530 , 20 Device 98 , Processor 11 ( save its register values , etc. ) , Logic
 and Decision -making Unit 540 are described later.               Circuit 250 , Application Program 18 ( i.e. save its variables ,
    Confirmation Unit 550 comprises the functionality for data structures, objects, location of its current instruction ,
 confirming, modifying, evaluating ( .e . rating, etc. ), and /or etc. ) , and / or other processing elements before executing
 canceling one or more anticipatory Instruction Sets 526 , anticipatory Instruction Sets 526. User 50 may be provided
 and / or other functionalities . Confirmation Unit 550 is an 25 with an interface (i.e. graphical user interface, selectable list
 optional element that can be omitted depending on imple- of prior executed anticipatory Instruction Sets 526 , etc. ) to
 mentation . In some embodiments , Confirmation Unit 550             cancel one or more of the prior executed anticipatory
 can serve as a means of confirming anticipatory Instruction         Instruction Sets 526 , and restore Device 98 , Processor 11 ,
 Sets 526. For example, Decision -making Unit 540 may Logic Circuit 250 , Application Program 18 , and / or other
 determine one or more anticipatory Instruction Sets 526 and 30 processing elements to a prior state . In some aspects , Con
 provide them to User 50 for confirmation . User 50 may be firmation Unit 550 can optionally be disabled or omitted in
 provided with an interface (i.e. graphical user interface, order to provide an uninterrupted operation of Device 98 ,
 selectable list of anticipatory Instruction Sets 526 , etc. ) to Processor 11 , Logic Circuit 250 , and / or Application Pro
 approve or confirm execution of the anticipatory Instruction gram 18. For example, a microwave oven may be suitable
 Sets 526. In some aspects , Confirmation Unit 550 can 35 for implementing the user confirmation step , whereas, a
 automate User 50 confirmation. In one example , if one or robot or vehicle may be less suitable for implementing such
 more incoming Digital Pictures 525 from Picture Capturing interrupting step due to the real time nature of robot or
 Apparatus 90 and one or more Digital Pictures 525 from a vehicle operation.
 Knowledge Cell 800 were found to be a perfect or highly            Referring to FIG . 12 , an embodiment of Knowledge
 similar match , anticipatory Instruction Sets 526 correlated 40 Structuring Unit 520 correlating individual Digital Pictures
 with the one or more Digital Pictures 525 from the Knowl- 525 with any Instruction Sets 526 and / or Extra Info 527 is
 edge Cell 800 can be automatically executed without User's illustrated . Knowledge Structuring Unit 520 comprises the
 50 confirmation . Conversely, if one or more incoming               functionality for structuring the knowledge of a device's
 Digital Pictures 525 from Picture Capturing Apparatus 90            operation in various visual surroundings, and / or other func
 and one or more Digital Pictures 525 from a Knowledge Cell 45 tionalities . Knowledge Structuring Unit 520 comprises the
 800 were found to be less than a highly similar match , functionality for correlating one or more Digital Pictures
 anticipatory Instruction Sets 526 correlated with the one or 525 of Device's 98 surrounding with any Instruction Sets
 more Digital Pictures 525 from the Knowledge Cell 800 can 526 and / or Extra Info 527. Knowledge Structuring Unit 520
 be presented to User 50 for confirmation and / or modifying. comprises the functionality for creating or generating
 A threshold that defines a highly or otherwise similar match 50 Knowledge Cell 800 and storing one or more Digital Pic
 can be utilized in such implementations. Such threshold can tures 525 correlated with any Instruction Sets 526 and / or
 be defined by a user, by VSADO system administrator, or Extra Info 527 into the Knowledge Cell 800. As such ,
 automatically by the system based on experience , testing, Knowledge Cell 800 comprises the functionality for storing
 inquiry, analysis , synthesis, or other techniques, knowledge, one or more Digital Pictures 525 correlated with any Instruc
 or input. In other embodiments, Confirmation Unit 550 can 55 tion Sets 526 and / or Extra Info 527. Knowledge Cell 800
 serve as a means of modifying or editing anticipatory includes a unit of knowledge of how Device 98 operated in
 Instruction Sets 526. For example , Decision - making Unit a visual surrounding. Once created or generated, Knowledge
 540 may determine one or more anticipatory Instruction Sets Cells 800 can be used in / as neurons, nodes, vertices, or other
 526 and provide them to User 50 for modification . User 50 elements in any of the data structures or arrangements ( i.e.
 may be provided with an interface ( i.e. graphical user 60 neural networks, graphs, sequences, etc. ) used for storing the
 interface, etc.) to modify the anticipatory Instruction Sets knowledge of Device's 98 operation in various visual sur
 526 before their execution . In further embodiments, Con- roundings, thereby facilitating learning functionalities
 firmation Unit 550 can serve as a means of evaluating or herein . It should be noted that Extra Info 527 may be
 rating anticipatory Instruction Sets 526 if they matched optionally used in some implementations to enable enhanced
 User's 50 intended operation. For example, Decision mak-
                                                        -    65 comparisons or decision making in autonomous device
 ing Unit 540 may determine one or more anticipatory operation where applicable, and that Extra Info 527 can be
 Instruction Sets 526 , which the system may automatically           omitted in alternate implementations.
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 93 of 131 PageID #: 678


                                                      US 11,055,583 B1
                               91                                                                    92
   In some embodiments, Knowledge Structuring Unit 520                 correspond to a Digital Picture 525 may include Instruction
 receives one or more Digital Pictures 525 from Picture                Sets 526 used and / or Extra Info 527 obtained within 50
 Capturing Apparatus 90. Knowledge Structuring Unit 520                milliseconds , 1 second, 3 seconds , 20 seconds , 1 minute , 41
 may also receive one or more Instruction Sets 526 from minutes, 2 hours, or any other time period before and / or after
 Acquisition Interface 120. Knowledge Structuring Unit 520 5 capturing the Digital Picture 525. Such time periods can be
 may further receive any Extra Info 527. Although , Extra Info defined by a user, by VSADO system administrator, or
 527 is not shown in this and / or other figures for clarity of automatically by the system based on experience , testing,
 illustration, it should be noted that any Digital Picture 525 , inquiry, analysis , synthesis, or other techniques, knowledge,
 Instruction Set 526 , and / or other element may include or be or input. In other aspects , Instruction Sets 526 and / or Extra
 associated with Extra Info 527. Knowledge Structuring Unit 10 Info 527 that temporally correspond to a Digital Picture 525
 520 may correlate one or more Digital Pictures 525 with any may include Instruction Sets 526 used and / or Extra Info 527
 Instruction Sets 526 and / or Extra Info 527. Knowledge obtained from the time of capturing of the Digital Picture
 Structuring Unit 520 may then create Knowledge Cell 800 525 to the time of capturing of a next Digital Picture 525. In
 and store the one or more Digital Pictures 525 correlated further aspects , Instruction Sets 526 and / or Extra Info 527
 with Instruction Sets 526 and/or Extra Info 527       into the 15 that temporally correspond to a Digital Picture 525 may
 Knowledge Cell 800. Knowledge Cell 800 may include any include Instruction Sets 526 used and / or Extra Info 527
 data structure or arrangement that can facilitate such storing . obtained from the time of capturing of a previous Digital
 For example, Knowledge Structuring Unit 520 may create Picture 525 to the time of capturing of the Digital Picture
 Knowledge Cell 800ax and structure within it Digital Picture 525. Any other temporal relationship or correspondence
 525al correlated with Instruction Sets 526a1-526a3 and /or 20 between Digital Pictures 525 and correlated Instruction Sets
 any Extra Info 527 (not shown) . Knowledge Structuring 526 and / or Extra Info 527 can be implemented .
 Unit 520 may further structure within Knowledge Cell                  In some embodiments, Knowledge Structuring Unit 520
 800ax a Digital Picture 525a2 correlated with Instruction Set can structure the knowledge of Device's 98 operation in a
 526a4 and / or any Extra Info 527 ( not shown ). Knowledge visual surrounding into any number of Knowledge Cells
 Structuring Unit 520 may further structure within Knowl- 25 800. In some aspects , Knowledge Structuring Unit 520 can
 edge Cell 800ax a Digital Picture 525a3 without a correlated structure into a Knowledge Cell 800 a single Digital Picture
 Instruction Set 526 and /or Extra Info 527. Knowledge 525 correlated with any Instruction Sets 526 and / or Extra
 Structuring Unit 520 may further structure within Knowl- Info 527. In other aspects , Knowledge Structuring Unit 520
 edge Cell 800ax a Digital Picture 525a4 correlated with can structure into a Knowledge Cell 800 any number ( i.e. 2 ,
 Instruction Sets 526a5-526a6 and / or any Extra Info 527 ( not 30 3 , 5 , 8 , 19 , 33 , 99 , 1715 , 21822 , 393477 , 6122805 , etc.) of
 shown ). Knowledge Structuring Unit 520 may further struc- Digital Pictures 525 correlated with any Instruction Sets 526
 ture within Knowledge Cell 800ax a Digital Picture 525a5 and / or Extra Info 527. In a special case , Knowledge Struc
 without a correlated Instruction Set 526 and / or Extra Info turing Unit 520 can structure all Digital Pictures 525 cor
 527. Knowledge Structuring Unit 520 may structure within related with any Instruction Sets 526 and / or Extra Info 527
 Knowledge Cell 800ax additional Digital Pictures 525 cor- 35 into a single long Knowledge Cell 800. In further aspects ,
 related with any number ( including zero [ i.e. uncorrelated ]) Knowledge Structuring Unit 520 can structure Digital Pic
 of Instruction Sets 526 and / or Extra Info 527 by following tures 525 correlated with any Instruction Sets 526 and / or
 the same logic as described above .                          Extra Info 527 into a plurality of Knowledge Cells 800. In
   In some embodiments, Knowledge Structuring Unit 520 a special case , Knowledge Structuring Unit 520 can store
 may correlate a Digital Picture 525 with one or more 40 periodic streams of Digital Pictures 525 correlated with any
 temporally corresponding Instruction Sets 526 and /or Extra Instruction Sets 526 and /or Extra Info 527 into a plurality of
 Info 527. This way, Knowledge Structuring Unit 520 can Knowledge Cells 800 such as hourly, daily, weekly, monthly ,
 structure the knowledge of Device's 98 operation at or yearly, or other periodic Knowledge Cells 800 .
 around the time of the capturing of Digital Pictures 525 of     In some embodiments, Knowledge Structuring Unit 520
 Device's 98 surrounding. Such functionality enables spon- 45 may be responsive to a triggering object, action, event, time ,
 taneous or seamless learning of Device's 98 operation in and /or other stimulus. In some aspects , the system can detect
 various visual surroundings as user operates the device in or recognize an object in Device's 98 visual surrounding ,
 real life situations . In some designs, Knowledge Structuring and Knowledge Structuring Unit 520 can structure into a
 Unit 520 may receive a stream of Instruction Sets 526 used Knowledge Cell 800 one or more Digital Pictures 525
 or executed to effect Device's 98 operations as well as a 50 correlated with any Instruction Sets 526 and / or Extra Info
 stream of Digital Pictures 525 of Device's 98 surrounding as 527 related to the object. For example , Knowledge Struc
 the operations are performed. Knowledge Structuring Unit turing Unit 520 can structure into a Knowledge Cell 800 one
 520 can then correlate Digital Pictures 525 from the stream or more Digital Pictures 525 of a pizza from a microwave
 of Digital Pictures 525 with temporally corresponding oven ( i.e. Device 98 , etc. ) correlated with any Instruction
 Instruction Sets 526 from the stream of Instruction Sets 526 55 Sets 526 ( i.e. inputs , outputs, or states of the microwave
 and / or any Extra Info 527. Digital Pictures 525 without a oven's microcontroller, etc.) causing the microwave oven to
 temporally corresponding Instruction Set 526 may be uncor- bake the pizza . Knowledge Structuring Unit 520 can also
 related , for instance . In some aspects , Instruction Sets 526 structure into the Knowledge Cell 800 any Extra Info 527
 and / or Extra Info 527 that temporally correspond to a Digital (i.e. time , location, computed, observed , sensory , and / or
 Picture 525 may include Instruction Sets 526 used and / or 60 other information , etc. ) . In other aspects , the system can
 Extra Info 527 obtained at the time of capturing the Digital detect or recognize a specific action or operation performed
 Picture 525. In other aspects , Instruction Sets 526 and /or by Device 98 , and Knowledge Structuring Unit 520 can
 Extra Info 527 that temporally correspond to a Digital structure into a Knowledge Cell 800 one or more Digital
 Picture 525 may include Instruction Sets 526 used and / or Pictures 525 correlated with any Instruction Sets 526 and /or
 Extra Info 527 obtained within a certain time period before 65 Extra Info 527 related to the action or operation. For
 and / or after capturing the Digital Picture 525. For example, example, Knowledge Structuring Unit 520 can structure into
 Instruction Sets 526 and / or Extra Info 527 that temporally a Knowledge Cell 800 one or more Digital Pictures 525
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 94 of 131 PageID #: 679


                                                     US 11,055,583 B1
                              93                                                                   94
 depicting screwing of a screw by a robotic arm ( i.e. Device        operation. In some designs where multiple processing ele
 98 , etc. ) correlated with any Instruction Sets 526 causing the ments are utilized, multiple VSADO Units 100 can also be
 robotic arm to screw the screw . Knowledge Structuring Unit utilized (i.e. one VSADO Unit 100 for each processing
 520 can also structure into the Knowledge Cell 800 any element, etc. ) . Digital Pictures 525 of Device's 98 surround
 Extra Info 527 (i.e. time , location , computed , observed , 5 ing can be correlated with any Instruction Sets 526 and / or
 sensory, and / or other information , etc. ) . In further aspects , Extra Info 527 as previously described . In other designs
 the system can detect a person in Device's 98 visual sur- where multiple processing elements are utilized, Digital
 rounding, and Knowledge Structuring Unit 520 can structure Pictures 525 of Device's 98 surrounding can be correlated
 into a Knowledge Cell 800 one or more Digital Pictures 525 with any collective Instruction Sets 526 and /or Extra Info
 correlated with any Instruction Sets 526 and /or Extra Info 10 527 used or executed by a plurality of processing elements.
 527 related to the person . For example, Knowledge Struc-             Any combination of the aforementioned multiple Picture
 turing Unit 520 can structure into a Knowledge Cell 800 one Capturing Apparatuses 90 , multiple processing elements,
 or more Digital Pictures 525 of a pedestrian in front of a and / or other elements can be implemented in alternate
 vehicle ( i.e. Device 98 , etc.) correlated with any Instruction embodiments.
 Sets 526 causing the vehicle to stop . Knowledge Structuring 15 Referring to FIG . 13 , another embodiment of Knowledge
 Unit 520 can also structure into the Knowledge Cell 800 any Structuring Unit 520 correlating individual Digital Pictures
 Extra Info 527 (i.e. time , location , computed, observed , 525 with any Instruction Sets 526 and / or Extra Info 527 is
 sensory, and / or other information , etc. ) . In further aspects , illustrated . In such embodiments, Knowledge Structuring
 the system can detect or recognize a significant change in          Unit 520 may generate Knowledge Cells 800 each compris
 Device's 98 visual surrounding, and Knowledge Structuring 20 ing a single Digital Picture 525 correlated with any Instruc
 Unit 520 can structure into a Knowledge Cell 800 one or             tion Sets 526 and / or Extra Info 527 .
 more Digital Pictures 525 correlated with any Instruction              Referring to FIG . 14 , an embodiment of Knowledge
 Sets 526 and / or Extra Info 527 related to the change in visual Structuring Unit 520 correlating streams of Digital Pictures
 surrounding. For example, the system can detect a vehicle's 525 with any Instruction Sets 526 and /or Extra Info 527 is
 ( i.e. Device 98 , etc. ) changing direction ( .e. turning left, 25 illustrated . In some aspects , a stream of Digital Pictures 525
 right, etc. ) and Knowledge Structuring Unit 520 can struc- may include a collection , a group , a sequence , or other
 ture into a Knowledge Cell 800 one or more Digital Pictures         plurality of Digital Pictures 525. In other aspects , a stream
 525 correlated with any Instruction Sets 526 causing the            of Digital Pictures 525 may include one or more Digital
 change of direction . Knowledge Structuring Unit 520 can Pictures 525. In further aspects , a stream of Digital Pictures
 also structure into the Knowledge Cell 800 any Extra Info 30 525 may include a digital motion picture (i.e. digital video ,
 527 (i.e. time , location, computed , observed , sensory , and / or etc. ) or portion thereof. For example, Knowledge Structur
 other information , etc. ) . A vehicle's changing direction may ing Unit 520 may create Knowledge Cell 800ax and struc
 be detected as a significant change in the vehicle's visual ture within it a stream of Digital Pictures 525a1-525an
 surrounding as the view of the vehicle's scenery changes correlated with Instruction Set 526al and / or any Extra Info
 significantly. Any features, functionalities, and embodi- 35 527 ( not shown ). Knowledge Structuring Unit 520 may
 ments of Picture Recognizer 350 can be utilized in the further structure within Knowledge Cell 800ax a stream of
 aforementioned detecting or recognizing. In general,                Digital Pictures 525b1-525bn correlated with Instruction
 Knowledge Structuring Unit 520 can structure into a Knowl-          Sets 526a2-526a4 and / or and Extra Info 527 (not shown ).
 edge Cell 800 any Digital Pictures 525 correlated with any Knowledge Structuring Unit 520 may further structure
 Instruction Sets 526 and / or Extra Info 527 related to any 40 within Knowledge Cell 800ax a stream of Digital Pictures
 triggering object, action , event, time , and /or other stimulus . 525c1-525cn without correlated Instruction Sets 526 and / or
    In some embodiments, Device 98 may include a plurality Extra Info 527. Knowledge Structuring Unit 520 may fur
 of Picture Capturing Apparatuses 90. In one example, dif- ther structure within Knowledge Cell 800ax a stream of
 ferent Picture Capturing Apparatuses 90 may capture Digital Digital Pictures 525d1-525dn correlated with Instruction
 Pictures 525 of different angles or sides of Device 98. In 45 Sets 526a5-526a6 and / or any Extra Info 527 ( not shown ).
 another example , different Picture Capturing Apparatuses 90 Knowledge Structuring Unit 520 may further structure
 may be placed on different sub - devices, sub - systems , or within Knowledge Cell 800ax additional streams of Digital
 elements of Device 98. Using multiple Picture Capturing Pictures 525 correlated with any number (including zero [ i.e.
 Apparatuses 90 may provide additional visual detail in uncorrelated ]) of Instruction Sets 526 and / or Extra Info 527
 learning and /or using Device's 98 surrounding for autono- 50 by following the same logic as described above . The number
 mous Device 98 operation . In some designs where multiple of Digital Pictures 525 in some or all streams of Digital
 Picture Capturing Apparatuses 90 are utilized , multiple Pictures 525a1-525an , 525b1-525bn , etc. may be equal or
 VSADO Units 100 can also be utilized (i.e. one VSADO          different. It should be noted that n or other such letters or
 Unit 100 for each Picture Capturing Apparatus 90 , etc. ) . indicia may follow the sequence and / or context where they
 Digital Pictures 525 of Device's 98 surrounding can be 55 are indicated .Also , a same letter or indicia such as n may
 correlated with any Instruction Sets 526 and / or Extra Info represent a different number in different elements of a
 527 as previously described . In other designs where multiple drawing.
 Picture Capturing Apparatuses 90 are utilized, collective        Referring to FIG . 15 , another embodiment of Knowledge
 Digital Pictures 525 of Device's 98 surrounding from mul- Structuring Unit 520 correlating streams of Digital Pictures
 tiple Picture Capturing Apparatuses 90 can be correlated 60 525 with any Instruction Sets 526 and / or Extra Info 527 is
 with any Instruction Sets 526 and / or Extra Info 527 .           illustrated . In such embodiments, Knowledge Structuring
    In some embodiments, Device 98 may include a plurality Unit 520 may generate Knowledge Cells 800 each compris
 of Logic Circuits 250 , Processors 11 , Application Programs ing a single stream of Digital Pictures 525 correlated with
 18 , and / or other processing elements . For example, each any Instruction Sets 526 and / or Extra Info 527 .
 processing element may control a sub -device, sub - system , or 65 Knowledgebase 530 comprises the functionality for stor
 an element of Device 98. Using multiple processing ele- ing the knowledge of a device's operation in various visual
 ments may provide enhanced control over Device's 98 surroundings, and / or other functionalities. Knowledgebase
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 95 of 131 PageID #: 680


                                                   US 11,055,583 B1
                             95                                                                 96
 530 comprises the functionality for storing one or more operation may include a neural network ( also referred to as
 Digital Pictures 525 of Device's 98 surrounding correlated artificial neural network, etc. ). As such, machine learning,
 with any Instruction Sets 526 and / or Extra Info 527. Knowl- knowledge structuring or representation , decision making,
 edgebase 530 comprises the functionality for storing one or pattern recognition, and /or other artificial intelligence func
 more Knowledge Cells 800 each including one or more 5 tionalities may include a network of Nodes 852 ( also
 Digital Pictures 525 of Device's 98 surrounding correlated referred to as neurons, etc. ) and Connections 853 similar to
 with any Instruction Sets 526 and / or Extra Info 527. In some that of a brain . Node 852 can store any data , object, data
 aspects , Digital Pictures 525 correlated with Instruction Sets structure, and /or other item , or reference thereto . Node 852
 526 and / or Extra Info 527 can be stored directly within may also include a function for transforming or manipulat
 Knowledgebase 530 without using Knowledge Cells 800 as 10 ing any data , object , data structure, and /or other item .
 the intermediary data structures. In some embodiments , Examples of such transformation functions include math
 Knowledgebase 530 may be or include Neural Network ematical functions (i.e. addition , subtraction , multiplication ,
 530a ( later described ). In other embodiments, Knowledge- division , sin , cos , log , derivative, integral, etc. ), object
 base 530 may be or include Graph 530b ( later described ). In manipulation functions ( i.e. creating an object, modifying an
 further embodiments, Knowledgebase 530 may be or 15 object, deleting an object, appending objects, etc. ) , data
 include Collection of Sequences 530c ( later described ). In structure manipulation functions ( i.e. creating a data struc
 further embodiments, Knowledgebase 530 may be or ture , modifying a data structure , deleting a data structure,
 include Sequence 533 (later described ). In further embodi- creating a data field , modifying a data field , deleting a data
 ments , Knowledgebase 530 may be or include Collection of field, etc. ) , and / or other transformation functions. Connec
 Knowledge Cells 530d ( later described ). In general, Knowl- 20 tion 853 may include or be associated with a value such as
 edgebase 530 may be or include any data structure or a symbolic label or numeric attribute (i.e. weight, cost ,
 arrangement capable of storing the knowledge of a device's capacity, length , etc. ) . A computational model can be uti
 operation in various visual surroundings. Knowledgebase lized to compute values from inputs based on a pre -pro
 530 may reside locally on Device 98 , or remotely ( i.e. grammed or learned function or method . For example, a
 remote Knowledgebase 530 , etc. ) on a remote computing 25 neural network may include one or more input neurons that
 device ( i.e. server, cloud , etc.) accessible over a network . can be activated by inputs. Activations of these neurons can
   Knowledgebase 530 from one Device 98 or VSADO Unit             then be passed on, weighted , and transformed by a function
 100 can be transferred to one or more other Devices 98 or         to other neurons. Neural networks may range from those
 VSADO Units 100. Therefore, the knowledge of Device's             with only one layer of single direction logic to multi-layer of
 98 operation in various visual surroundings learned on one 30 multi-directional feedback loops . A neural network can use
 Device 98 or VSADO Unit 100 can be transferred to one or weights to change the parameters of the network's through
 more other Devices 98 or VSADO Units 100. In one put. A neural network can learn by input from its environ
 example , Knowledgebase 530 can be copied or downloaded ment or from self - teaching using written -in rules . A neural
 to a file or other repository from one Device 98 or VSADO network can be utilized as a predictive modeling approach in
 Unit 100 and loaded or inserted into another Device 98 or 35 machine learning. An exemplary embodiment of a neural
 VSADO Unit 100. In another example, Knowledgebase 530 network ( i.e. Neural Network 530a , etc.) is described later.
 from one Device 98 or VSADO Unit 100 can be available           In another example shown in Model B , the disclosed
 on a server accessible by other Devices 98 or VSADO Units artificially intelligent systems , devices, and methods for
 100 over a network . Once loaded into or accessed by a learning and / or using visual surrounding for autonomous
 receiving Device 98 or VSADO Unit 100 , the receiving 40 device operation may include a graph or graph - like data
 Device 98 or VSADO Unit 100 can then implement the structure . As such , machine learning, knowledge structuring
 knowledge of Device's 98 operation in various visual sur- or representation , decision making, pattern recognition , and /
 roundings learned on the originating Device 98 or VSADO or other artificial intelligence functionalities may include
 Unit 100. This functionality enables User 50 such as a Nodes 852 ( also referred to as vertices or points, etc. ) and
 professional Device 98 operator to record his / her knowl- 45 Connections 853 (also referred to as edges, arrows, lines ,
 edge, methodology, or style of operating Device 98 in arcs, etc. ) organized as a graph. In general, any Node 852 in
 various visual surroundings and / or sell his /her knowledge to a graph can be connected to any other Node 852. A Con
 other users .                                                     nection 853 may include unordered pair of Nodes 852 in an
    Referring to FIG . 16 , the disclosed artificially intelligent undirected graph or ordered pair of Nodes 852 in a directed
 systems , devices , and methods for learning and / or using 50 graph. Nodes 852 can be part of the graph structure or
 visual surrounding for autonomous device operation may external entities represented by indices or references. A
 include various artificial intelligence models and / or tech- graph can be utilized as a predictive modeling approach in
 niques . The disclosed systems, devices , and methods are machine learning. Nodes 852 , Connections 853 , and / or other
 independent of the artificial intelligence model and / or tech- elements or operations of a graph may include any features,
 nique used and any model and / or technique can be utilized 55 functionalities, and embodiments of the aforementioned
 to facilitate the functionalities described herein . Examples of Nodes 852 , Connections 853 , and / or other elements or
 these models and / or techniques include deep learning,           operations of a neural network , and vice versa . An exem
 supervised learning, unsupervised learning, neural networks       plary embodiment of a graph ( i.e. Graph 530b , etc. ) is
 ( i.e. convolutional neural network , recurrent neural network , described later.
 deep neural network , etc. ), search -based , logic and /or fuzzy 60 In a further example shown in Model C , the disclosed
 logic -based, optimization -based, tree /graph /other data struc- artificially intelligent systems, devices , and methods for
 ture -based, hierarchical, symbolic and / or sub - symbolic, learning and / or using visual surrounding for autonomous
 evolutionary, genetic, multi -agent, deterministic , probabilis- device operation may include a tree or tree - like data struc
 tic , statistical , and / or other models and / or techniques.   ture . As such, machine learning, knowledge structuring or
     In one example shown in Model A , the disclosed artifi- 65 representation, decision making, pattern recognition , and / or
 cially intelligent systems , devices , and methods for learning other artificial intelligence functionalities may include
 and / or using visual surrounding for autonomous device Nodes 852 and Connections 853 ( also referred to as refer
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 96 of 131 PageID #: 681


                                                   US 11,055,583 B1
                              97                                                                98
 ences, edges , etc.) organized as a tree . In general, a Node further example, the disclosed systems , devices, and meth
 852 in a tree can be connected to any number ( i.e. including ods may include a probabilistic model and / or technique. As
 zero , etc. ) of children Nodes 852. A tree can be utilized as such , machine learning, knowledge structuring or represen
 a predictive modeling approach in machine learning. Nodes tation , decision making, pattern recognition , and / or other
 852 , Connections 853 , and / or other elements or operations 5 artificial intelligence functionalities can be implemented to
 of a tree may include any features, functionalities, and operate with incomplete or uncertain information where
 embodiments of the aforementioned Nodes 852 , Connec- probabilities may affect outcomes . Bayesian network,
 tions 853 , and / or other elements or operations of a neural among other models, is an example of a probabilistic tool
 network and / or graph , and vice versa .                          used for purposes such as reasoning, learning, planning,
    In a further example shown in Model D , the disclosed 10 perception , and / or others . One of ordinary skill in art will
 artificially intelligent systems , devices, and methods for understand that the aforementioned artificial intelligence
 learning and / or using visual surrounding for autonomous models and /or techniques are described merely as examples
 device operation may include a sequence or sequence - like of a variety of possible implementations, and that while all
 data structure . As such , machine learning, knowledge struc- possible artificial intelligence models and / or techniques are
 turing or representation , decision making, pattern recogni- 15 too voluminous to describe, other artificial intelligence
 tion, and /or other artificial intelligence functionalities may models and / or techniques known in art are within the scope
 include a structure of Nodes 852 and / or Connections 853 of this disclosure . One of ordinary skill in art will also
 organized as a sequence . In some aspects , Connections 853 recognize that an intelligent system may solve a specific
 may be optionally omitted from a sequence as the sequential problem by using any model and/or technique that works
 order of Nodes 852 in a sequence may be implied in the 20 such as , for example , some systems can be symbolic and
 structure . A sequence can be utilized as a predictive mod- logical , some can be sub - symbolic neural networks, some
 eling approach in machine learning. Nodes 852 , Connec- can be deterministic or probabilistic, some can be hierar
 tions 853 , and /or other elements or operations of a sequence chical, some may include searching techniques, some may
 may include any features, functionalities, and embodiments include optimization techniques, while others may use other
 of the aforementioned Nodes 852 , Connections 853 , and / or 25 or a combination of models and / or techniques. In general,
 other elements or operations of a neural network , graph , any artificial intelligence model and / or technique can be
 and / or tree , and vice versa. An exemplary embodiment of a utilized that can facilitate the functionalities described
 sequence (i.e. Collection of Sequences 530c , Sequence 533 , herein .
 etc. ) is described later.                                           Referring to FIGS . 17A - 17C , embodiments of intercon
    In yet another example , the disclosed artificially intelli- 30 nected Knowledge Cells 800 and updating weights of Con
 gent systems , devices, and methods for learning and / or using nections 853 are illustrated . As shown for example in FIG .
 visual surrounding for autonomous device operation may 17A , Knowledge Cell 800za is connected to Knowledge
 include a search -based model and / or technique. As such , Cell 800zb and Knowledge Cell 800zc by Connection 853z1
 machine learning, knowledge structuring or representation, and Connection 853z2 , respectively. Each of Connection
 decision making, pattern recognition, and / or other artificial 35 853zl and Connection 853z2 may include or be associated
 intelligence functionalities may include searching through a with occurrence count, weight, and / or other parameter or
 collection of possible solutions . For example, a search data . The number of occurrences may track or store the
 method can search through a neural network , graph , tree , number of observations that a Knowledge Cell 800 was
 sequence , or other data structure that includes data elements followed by another Knowledge Cell 800 indicating a con
 of interest .A search may use heuristics to limit the search for 40 nection or relationship between them . For example, Knowl
 solutions by eliminating choices that are unlikely to lead to edge Cell 800za was followed by Knowledge Cell 800zb 10
 the goal . Heuristic techniques may provide a best guess times as indicated by the number of occurrences of Con
 solution . A search can also include optimization. For nection 853zl . Also , Knowledge Cell 800za was followed
 example, a search may begin with a guess and then refine the by Knowledge Cell 800zc times as indicated by the number
 guess incrementally until no more refinements can be made . 45 of occurrences of Connection 853z2 . The weight of Con
 In a further example, the disclosed systems , devices , and nection 853zl can be calculated or determined as the number
 methods may include logic -based model and / or technique. of occurrences of Connection 853zl divided by the sum of
 As such , machine learning, knowledge structuring or repre- occurrences of all connections (i.e. Connection 853z1 and
 sentation , decision making , pattern recognition, and / or other Connection 853z2 , etc. ) originating from Knowledge Cell
 artificial intelligence functionalities can use formal or other 50 800za . Therefore, the weight of Connection 853zl can be
 type of logic . Logic based models may involve making calculated or determined as 10 / ( 10 + 15 ) = 0.4 , for example.
 inferences or deriving conclusions from a set ofpremises.As Also , the weight of Connection 853z2 can be calculated or
 such , a logic based system can extend existing knowledge or determined as 15 / ( 10 + 15 ) = 0.6 , for example. Therefore, the
 create new knowledge automatically using inferences. sum of weights of Connection 853z1 , Connection 853z2 ,
 Examples of the types of logic that can be utilized include 55 and /or any other Connections 853 originating from Knowl
 propositional or sentential logic that comprises logic of edge Cell 800za may equal to 1 or 100% . As shown for
 statements which can be true or false; first - order logic that example in FIG . 17B , in the case that Knowledge Cell 800zd
 allows the use of quantifiers and predicates and that can is inserted and an observation is made that Knowledge Cell
 express facts about objects, their properties, and their rela- 800zd follows Knowledge Cell 800za, Connection 853z3
 tions with each other; fuzzy logic that allows degrees of truth 60 can be created between Knowledge Cell 800za and Knowl
 to be represented as a value between 0 and 1 rather than edge Cell 800zd . The occurrence count of Connection 853z3
 simply 0 ( false ) or 1 ( true ), which can be used for uncertain can be set to 1 and weight determined as 1 / ( 10 + 15 + 1 ) =
 reasoning; subjective logic that comprises a type of proba- 0.038 . The weights of all other connections (i.e. Connection
 bilistic logic that may take uncertainty and belief into 853z1 , Connection 853z2 , etc.) originating from Knowledge
 account, which can be suitable for modeling and analyzing 65 Cell 800za may be updated to account for the creation of
 situations involving uncertainty, incomplete knowledge and Connection 853z3 . Therefore , the weight of Connection
 different world views ; and / or other types of logic . In a 853z1 can be updated as 10 / ( 10 + 15 + 1 ) = 0.385. The weight
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 97 of 131 PageID #: 682


                                                   US 11,055,583 B1
                             99                                                                100
 of Connection 853z2 can also be updated as 15 /( 10 + 15 + 1 )= Collection of Knowledge Cells 530d . In the case that a
 0.577 . As shown for example in FIG . 17C , in the case that substantially similar match is not found , the system may
 an additional occurrence of Connection 853z1 is observed insert a new Knowledge Cell 800 into Collection of Knowl
 ( i.e. Knowledge Cell 800zb followed Knowledge Cell edge Cells 530d and copy Knowledge Cell 800bb into the
 800za , etc. ) , occurrence count of Connection 853z1 and 5 inserted new Knowledge Cell 800. The system can then
 weights of all connections (i.e. Connection 853z1 , Connec- perform Similarity Comparisons 125 of Knowledge Cell
 tion 853z2 , and Connection 853z3 , etc. ) originating from 800bc from Knowledge Structuring Unit 520 with Knowl
 Knowledge Cell 800za may be updated to account for this           edge Cells 800 in Collection of Knowledge Cells 530d . In
 observation . The occurrence count of Connection 853zl can       the case that a substantially similar match is found between
 be increased by 1 and its weight updated as 11 / ( 11 + 15 + 1 ) = 10 Knowledge Cell 800bc and any of the Knowledge Cells 800
 0.407 . The weight of Connection 853z2 can also be updated in Collection of Knowledge Cells 530d , the system may
 as 15 / ( 11 + 15 + 1 ) =0.556 . The weight of Connection 853z3 perform no action . The system can then perform Similarity
 can also be updated as 1 / ( 11 + 15 + 1 ) =0.037 .                   Comparisons 125 of Knowledge Cell 800bd from Knowl
   Referring to FIG . 18 , an embodiment of learning Knowl- edge Structuring Unit 520 with Knowledge Cells 800 in
 edge Cells 800 comprising one or more Digital Pictures 525 15 Collection of Knowledge Cells 530d. In the case that a
 correlated with any Instruction Sets 526 and / or Extra Info substantially similar match is not found , the system may
 527 using Collection of Knowledge Cells 530d is illustrated . insert a new Knowledge Cell 800 into Collection of Knowl
 Collection of Knowledge Cells 530d comprises the func-            edge Cells 530d and copy Knowledge Cell 800bd into the
 tionality for storing any number of Knowledge Cells 800. In       inserted new Knowledge Cell 800. The system can then
 some aspects , Knowledge Cells 800 may be stored into or 20 perform Similarity Comparisons 125 of Knowledge Cell
 applied onto Collection of Knowledge Cells 530d in a 800be from Knowledge Structuring Unit 520 with Knowl
 learning or training process . In effect, Collection of Knowl- edge Cells 800 in Collection of Knowledge Cells 530d . In
 edge Cells 530d may store Knowledge Cells 800 that can the case that a substantially similar match is not found, the
 later be used to enable autonomous Device 98 operation. In system may insert a new Knowledge Cell 800 into Collec
 some embodiments, Knowledge Structuring Unit 520 struc- 25 tion of Knowledge Cells 530d and copy Knowledge Cell
 tures or generates Knowledge Cells 800 as previously 800be into the inserted new Knowledge Cell 800. Applying
 described and the system applies them onto Collection of any additional Knowledge Cells 800 from Knowledge Struc
 Knowledge Cells 530d , thereby implementing learning turing Unit 520 onto Collection of Knowledge Cells 530d
 Device's 98 operation in various visual surroundings. The follows similar logic or process as the above - described .
 term apply or applying may refer to storing, copying, 30 Referring to FIG . 19 , an embodiment of learning Knowl
 inserting, updating, or other similar action , therefore, these edge Cells 800 comprising one or more Digital Pictures 525
 terms may be used interchangeably herein depending on correlated with any Instruction Sets 526 and / or Extra Info
 context. The system can perform Similarity Comparisons 527 using Neural Network 530a is illustrated . Neural Net
 125 ( later described ) of a newly structured Knowledge Cell      work 530a includes a number of neurons or Nodes 852
 800 from Knowledge Structuring Unit 520 with Knowledge 35 interconnected by Connections 853 as previously described .
 Cells 800 in Collection of Knowledge Cells 530d . If a Knowledge Cells 800 are shown instead of Nodes 852 to
 substantially similar Knowledge Cell 800 is not found in simplify the illustration as Node 852 includes a Knowledge
 Collection of Knowledge Cells 530d, the system may insert Cell 800 , for example. Therefore, Knowledge Cells 800 and
 ( i.e. copy , store , etc.) the Knowledge Cell 800 from Knowl- Nodes 852 can be used interchangeably herein depending on
 edge Structuring Unit 520 into Collection of Knowledge 40 context. It should be noted that Node 852 may include other
 Cells 530d, for example . On the other hand , if a substantially elements and / or functionalities instead of or in addition to
 similar Knowledge Cell 800 is found in Collection of Knowledge Cell 800. In some aspects , Knowledge Cells 800
 Knowledge Cells 530d, the system may optionally omit may be stored into or applied onto Neural Network 530a
 inserting the Knowledge Cell 800 from Knowledge Struc-            individually or collectively in a learning or training process.
 turing Unit 520 as inserting a substantially similar Knowl- 45 In some designs , Neural Network 530a comprises a number
 edge Cell 800 may not add much or any additional knowl- of Layers 854 each of which may include one or more
 edge to the Collection of Knowledge Cells 530d, for Knowledge Cells 800. Knowledge Cells 800 in successive
 example . Also , inserting a substantially similar Knowledge Layers 854 can be connected by Connections 853. Connec
 Cell 800 can optionally be omitted to save storage resources tion 853 may include or be associated with occurrence
 and limit the number of Knowledge Cells 800 that may later 50 count, weight, and / or other parameter or data as previously
 need to be processed or compared. Any features, function- described . Neural Network 530a may include any number of
 alities , and embodiments of Similarity Comparison 125 , Layers 854 comprising any number of Knowledge Cells
 importance index (later described ), similarity index ( later 800. In some aspects , Neural Network 530a may store
 described ), and / or other disclosed elements can be utilized Knowledge Cells 800 interconnected by Connections 853
 to facilitate determination of substantial or other similarity 55 where following a path through the Neural Network 530a
 and whether to insert a newly structured Knowledge Cell can later be used to enable autonomous Device 98 operation .
 800 into Collection of Knowledge Cells 530d .                     It should be understood that, in some embodiments, Knowl
    For example , the system can perform Similarity Com-           edge Cells 800 in one Layer 854 of Neural Network 530a
 parisons 125 ( later described ) of Knowledge Cell 800ba          need not be connected only with Knowledge Cells 800 in a
 from Knowledge Structuring Unit 520 with Knowledge 60 successive Layer 854 , but also in any other Layer 854 ,
 Cells 800 in Collection of Knowledge Cells 530d. In the thereby creating shortcuts ( i.e. shortcut Connections 853 ,
 case that a substantially similar match is found between etc. ) through Neural Network 530a . A Knowledge Cell 800
 Knowledge Cell 800ba and any of the Knowledge Cells 800 can also be connected to itself such as , for example , in
 in Collection of Knowledge Cells 530d, the system may recurrent neural networks. In general, any Knowledge Cell
 perform no action . The system can then perform Similarity 65 800 can be connected with any other Knowledge Cell 800
 Comparisons 125 of Knowledge Cell 800bb from Knowl- anywhere else in Neural Network 530a . In further embodi
 edge Structuring Unit 520 with Knowledge Cells 800 in ments, back -propagation of any data or information can be
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 98 of 131 PageID #: 683


                                                   US 11,055,583 B1
                            101                                                               102
 implemented. In one example, back -propagation of similar- Connection 853e2 between Knowledge Cell 800eb and
 ity ( i.e. similarity index , etc. ) of compared Knowledge Cells Knowledge Cell 800ec with occurrence count of 1 and
 800 in a path through Neural Network 530a can be imple- weight calculated based on the occurrence count as previ
 mented . In another example, back -propagation of errors can ously described . The system may also update weights of
 be implemented. Such back -propagations can then be used 5 other Connections 853 ( one in this example ) originating
 to adjust occurrence counts and / or weights of Connections from Knowledge Cell 800eb as previously described . The
 853 for better future predictions, for example . Any other system can then perform Similarity Comparisons 125 of
 back -propagation can be implemented for other purposes . Knowledge Cell 800bd from Knowledge Structuring Unit
 Any combination of Nodes 852 (i.e. Nodes 852 comprising 520 with Knowledge Cells 800 in Layer 854d of Neural
 Knowledge Cells 800 , etc. ) , Connections 853 , Layers 854 , 10 Network 530a . In the case that a substantially similar match
 and / or other elements or techniques can be implemented in is not found, the system may insert Knowledge Cell 800ed
 alternate embodiments. Neural Network 530a may include into Layer 854d and copy Knowledge Cell 800bd into the
 any type or form of a neural network known in art such as inserted Knowledge Cell 800ed. The system may also create
 a feed - forward neural network, a back -propagating neural Connection 853e3 between Knowledge Cell 800ec and
 network , a recurrent neural network, a convolutional neural 15 Knowledge Cell 800ed with occurrence count of 1 and
 network , deep neural network , and / or others including a weight of 1. The system can then perform Similarity Com
 custom neural network .                                         parisons 125 of Knowledge Cell 800be from Knowledge
    In some embodiments, Knowledge Structuring Unit 520 Structuring Unit 520 with Knowledge Cells 800 in Layer
 structures or generates Knowledge Cells 800 and the system     854e of Neural Network 530a . In the case that a substan
 applies them onto Neural Network 530a , thereby imple- 20 tially similar match is not found, the system may insert
 menting learning Device's 98 operation in various visual Knowledge Cell 800ee into Layer 854e and copy Knowl
 surroundings. The system can perform Similarity Compari- edge Cell 800be into the inserted Knowledge Cell 800ee .
 sons 125 ( later described ) of a Knowledge Cell 800 from The system may also create Connection 853e4 between
 Knowledge Structuring Unit 520 with Knowledge Cells 800 Knowledge Cell 800ed and Knowledge Cell 800ee with
 in a corresponding Layer 854 of Neural Network 530a . If a 25 occurrence count of 1 and weight of 1. Applying any
 substantially similar Knowledge Cell 800 is not found in the additional Knowledge Cells 800 from Knowledge Structur
 corresponding Layer 854 of Neural Network 530a , the ing Unit 520 onto Neural Network 530a follows similar
 system may insert (i.e. copy, store, etc. ) the Knowledge Cell logic or process as the above -described.
 800 from Knowledge Structuring Unit 520 into the corre-           Similarity Comparison 125 comprises the functionality
 sponding Layer 854 of Neural Network 530a , and create a 30 for comparing or matching Knowledge Cells 800 or portions
 Connection 853 to the inserted Knowledge Cell 800 from a thereof, and / or other functionalities. Similarity Comparison
 Knowledge Cell 800 in a prior Layer 854 including assign-        125 comprises the functionality for comparing or matching
 ing an occurrence count to the new Connection 3 , calcu-         Digital Pictures 525 or portions thereof. Similarity Com
 lating a weight of the new Connection 853 , and updating any parison 125 comprises the functionality for comparing or
 other  Connections 853 originating from the Knowledge Cell 35 matching streams of Digital Pictures 525 or portions thereof.
 800 in the prior Layer 854. On the other hand, if a substan- Similarity Comparison 125 comprises the functionality for
 tially similar Knowledge Cell 800 is found in the corre- comparing or matching Instruction Sets 526 , Extra Info 527 ,
 sponding Layer 854 of Neural Network 530a , the system text ( i.e. characters, words , phrases, etc. ) , pictures, sounds ,
 may update occurrence count and weight of Connection 853 data , and / or other elements or portions thereof. Similarity
 to that Knowledge Cell 800 from a Knowledge Cell 800 in 40 Comparison 125 may include functions, rules, and / or logic
 a prior Layer 854 , and update any other Connections 853 for performing matching or comparisons and for determin
 originating from the Knowledge Cell 800 in the prior Layer ing that while a perfect match is not found, a similar or
 854 .                                                       partial match has been found . In some aspects , Similarity
    For example, the system can perform Similarity Com- Comparison 125 may include determining substantial simi
 parisons 125 ( later described ) of Knowledge Cell 800ba 45 larity or substantial match of compared elements. In other
 from Knowledge Structuring Unit 520 with Knowledge               aspects , a partial match may include a substantial or other
 Cells 800 in Layer 854a ofNeural Network 530a . In the case      wise similar match , and vice versa . Although , substantial
 that a substantially similar match is found between Knowl-     similarity or substantial match is frequently used herein, it
 edge Cell 800ba and Knowledge Cell 800ea , the system may      should be understood that any level of similarity, however
 perform no action since Knowledge Cell 800ea is the initial 50 high or low , may be utilized as defined by the rules (i.e.
 Knowledge Cell 800. The system can then perform Simi- thresholds, etc. ) for similarity . The rules for similarity or
 larity Comparisons 125 of Knowledge Cell 800bb from similar match can be defined by a user, by VSADO system
 Knowledge Structuring Unit 520 with Knowledge Cells 800 administrator, or automatically by the system based on
 in Layer 854b of Neural Network 530a . In the case that a        experience, testing , inquiry, analysis, synthesis, or other
 substantially similar match is found between Knowledge 55 techniques, knowledge, or input. In some designs , Similarity
 Cell 800bb and Knowledge Cell 800eb , the system may             Comparison 125 comprises the functionality to automati
 update occurrence count and weight of Connection 853e1           cally define appropriately strict rules for determining simi
 between Knowledge Cell 800ea and Knowledge Cell 800eb ,          larity of the compared elements. Similarity Comparison 125
 and update weights of other Connections 853 originating can therefore set , reset , and / or adjust the strictness of the
 from Knowledge Cell 800ea as previously described. The 60 rules for finding or determining similarity of the compared
 system can then perform Similarity Comparisons 125 of elements, thereby fine tuning Similarity Comparison 125 so
 Knowledge Cell 800bc from Knowledge Structuring Unit that the rules for determining similarity are appropriately
 520 with Knowledge Cells 800 in Layer 854c of Neural strict. In some aspects, the rules for determining similarity
 Network 530a . In the case that a substantially similar match may include a similarity threshold . As such , Similarity
 is not found , the system may insert Knowledge Cell 800ec 65 Comparison 125 can determine similarity of compared ele
 into Layer 854c and copy Knowledge Cell 800bc into the ments if their similarity exceeds a similarity threshold . In
 inserted Knowledge Cell 800ec . The system may also create other aspects , the rules for determining similarity may
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 99 of 131 PageID #: 684


                                                   US 11,055,583 B1
                             103                                                             104
 include a difference threshold . As such , Similarity Compari- further aspects , substantial similarity can be achieved when
 son 125 can determine similarity of compared elements if all but a threshold number or percentage of Digital Pictures
 their difference is lower than a difference threshold . In 525 or portions thereof of the compared Knowledge Cells
 further aspects , the rules for determining similarity may 800 match or substantially match . Such thresholds can be
 include other thresholds.                                     5 defined by a user, by VSADO system administrator, or
    In some embodiments, in determining similarity of automatically by the system based on experience , testing ,
 Knowledge Cells 800 , Similarity Comparison 125 can com- inquiry , analysis , synthesis, or other techniques, knowledge,
 pare one or more Digital Pictures 525 or portions ( i.e. or input. In one example, substantial similarity can be
 regions , features, pixels , etc. ) thereof from one Knowledge achieved when at least 1 , 2 , 3 , 4 , or any other threshold
 Cell 800 with one or more Digital Pictures 525 or portions 10 number of Digital Pictures 525 or portions thereof of the
 thereof from another Knowledge Cell 800. In some aspects , compared Knowledge Cells 800 match or substantially
 total equivalence is achieved when all Digital Pictures 525 match . Similarly, substantial similarity can be achieved
 or portions thereof of the compared Knowledge Cells 800 when the number of matching or substantially matching
 match . If total equivalence is not found, Similarity Com- Digital Pictures 525 or portions thereof of the compared
 parison 125 may attempt to determine substantial or other 15 Knowledge Cells 800 exceeds 1 , 2 , 3 , 4 , or any other
 similarity. Any features, functionalities, and embodiments of threshold number. In another example, substantial similarity
 the previously described Picture Recognizer 350 can be used can be achieved when at least 10 % , 21 % , 30% , 49 % , 66 % ,
 in determining such substantial similarity .                  89 % , 93 % , or any other percentage of Digital Pictures 525
    In some embodiments where compared Knowledge Cells or portions thereof of the compared Knowledge Cells 800
 800 include a single Digital Picture 525 , Similarity Com- 20 match or substantially match. Similarly, substantial similar
 parison 125 can compare Digital Picture 525 from one            ity can be achieved when the percentage of matching or
 Knowledge Cell 800 with Digital Picture 525 from another        substantially matching Digital Pictures 525 or portions
 Knowledge Cell 800 using comparison techniques for indi- thereof of the compared Knowledge Cells 800 exceeds 10 % ,
 vidual pictures described below . In some embodiments 21 % , 30 % , 49 % , 66 % , 89 % , 93 % , or any other threshold
 where compared Knowledge Cells 800 include streams of 25 percentage. In other embodiments, substantial similarity of
 Digital Pictures 525 ( i.e. motion pictures, videos , etc. ), the compared Knowledge Cells 800 can be achieved in
 Similarity Comparison 125 can compare a stream of Digital terms of matches or substantial matches in more important
 Pictures 525 from one Knowledge Cell 800 with a stream of ( i.e. as indicated by importance index [ later described ], etc.)
 Digital Pictures 525 from another Knowledge Cell 800 . Digital Pictures 525 or portions thereof, thereby tolerating
 Such comparison may include comparing Digital Pictures 30 mismatches in less important Digital Pictures 525 or por
 525 from one Knowledge Cell 800 with corresponding ( i.e. tions thereof. In one example, substantial similarity can be
 similarly positioned, temporally related, etc. ) Digital Pic- achieved when matches or substantial matches are found
 tures 525 from another Knowledge Cell 800. In one with respect to more substantive Digital Pictures 525 (i.e.
 example, a 67th Digital Picture 525 from one Knowledge pictures comprising content of interest [ i.e. persons, objects,
 Cell 800 can be compared with a 67th Digital Picture 525 35 etc. ] , etc. ) or portions thereof of the compared Knowledge
 from another Knowledge Cell 800. In another example, a Cells 800 , thereby tolerating mismatches in less substantive
 67th Digital Picture 525 from one Knowledge Cell 800 can Digital Pictures 525 ( i.e. pictures comprising background ,
 be compared with a number of Digital Picture 525 around insignificant content , etc.) or portions thereof. In another
 ( i.e. preceding and / or following ) a 67th Digital Picture 525 example, substantial similarity can be achieved when
 from another Knowledge Cell 800. This way, flexibility can 40 matches or substantial matches are found in earlier Digital
 be implemented in finding a substantially similar Digital Pictures 525 or portions thereof of the compared Knowledge
 Picture 525 if the Digital Pictures 525 in the compared Cells 800 , thereby tolerating mismatches in later Digital
 Knowledge Cells 800 are not perfectly aligned . In other Pictures 525 or portions thereof. In general, any importance
 aspects , Similarity Comparison 125 can utilize Dynamic or weight can be assigned to any Digital Picture 525 or
 Time Warping (DTW) and / or other techniques know in art 45 portion thereof, and / or other elements . In some designs,
 for comparing and / or aligning temporal sequences ( i.e. Similarity Comparison 125 can be configured to omit any
 streams of Digital Pictures 525 , etc. ) that may vary in time Digital Picture 525 or portion thereof from the comparison .
 or speed . Once the corresponding (i.e. similarly positioned , In one example, less substantive Digital Pictures 525 or
 temporally related, time warped /aligned, etc.) Digital Pic- portions thereof can be omitted . In another example, some or
 tures 525 in the compared streams of Digital Pictures 525 are 50 all Digital Pictures 525 or portions thereof related to a
 compared and their substantial similarity determined using specific time period can be omitted . In a further example,
 comparison techniques for individual pictures described later Digital Pictures 525 or portions thereof can be omitted .
 below , Similarity Comparison 125 can utilize a threshold for In further embodiments, substantial similarity can be
 the number or percentage of matching or substantially achieved taking into account the number of Digital Pictures
 matching Digital Pictures 525 for determining substantial 55 525 of the compared Knowledge Cells 800. For example,
 similarity of the compared Knowledge Cells 800. In some         substantial similarity can be achieved if the number, in
 aspects , substantial similarity can be achieved when most of   addition to the content, of Digital Pictures 525 of the
 the Digital Pictures 525 or portions (i.e. regions, features,   compared Knowledge Cells 800 match or substantially
 pixels , etc. ) thereof of the compared Knowledge Cells 800     match . In further embodiments, substantial similarity can be
 match or substantially match. In other aspects , substantial 60 achieved taking into account the objects detected within
 similarity can be achieved when at least a threshold number Digital Pictures 525 and / or other features of Digital Pictures
 or percentage of Digital Pictures 525 or portions thereof of 525 of the compared Knowledge Cells 800. For example ,
 the compared Knowledge Cells 800 match or substantially substantial similarity can be achieved if same or similar
 match . Similarly, substantial similarity can be achieved objects are detected in Digital Pictures 525 of the compared
 when a number or percentage of matching or substantially 65 Knowledge Cells 800. Any features, functionalities, and
 matching Digital Pictures 525 or portions thereof of the embodiments of Picture Recognizer 350 can be used in such
 compared Knowledge Cells 800 exceeds a threshold . In detection . In some aspects , Similarity Comparison 125 can
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 100 of 131 PageID #: 685


                                                     US 11,055,583 B1
                              105                                                                  106
 compare the number, objects detected , and /or other features aspects , a region may include content defined using a picture
 of Digital Pictures 525 as an initial check before proceeding segmentation technique. Examples of picture segmentation
 to further detailed comparisons.                                  techniques include thresholding, clustering, region - growing,
    Similarity Comparison 125 can automatically adjust ( i.e. edge detection, curve propagation , level sets , graph parti
 increase or decrease ) the strictness of the rules for deter- 5 tioning, model -based segmentation , trainable segmentation
 mining substantial similarity of Knowledge Cells 800. In (i.e. artificial neural networks, etc. ) , and / or others. In further
 some aspects , such adjustment in strictness can be done by aspects , a region may include content defined using any
 Similarity Comparison 125 in response to determining that technique. In further aspects , a region may include any
 total equivalence of compared Knowledge Cells 800 had not arbitrary region comprising any arbitrary content. Once
 been found . Similarity Comparison 125 can keep adjusting 10 regions of the compared Digital Pictures 525 are known,
 the strictness of the rules until substantially similarity is Similarity Comparison 125 can compare the regions to
 found . All the rules or settings of substantial similarity can determine substantial similarity of the compared Digital
 be set , reset, or adjusted by Similarity Comparison 125 in Pictures 525. In some aspects , total equivalence is found
 response to another strictness level determination . For when all regions of one Digital Picture 525 match all regions
 example, Similarity Comparison 125 may attempt to find a 15 of another Digital Picture 525. In other aspects , if total
 match or substantial match in a certain percentage (i.e. 95 % , equivalence is not found , Similarity Comparison 125 may
 etc. ) of Digital Pictures 525 or portions thereof from the attempt to determine substantial similarity of compared
 compared Knowledge Cells 800. If the comparison does not Digital Pictures 525. In one example, substantial similarity
 determine substantial similarity of compared Knowledge can be achieved when most of the regions of the compared
 Cells 800, Similarity Comparison 125 may decide to 20 Digital Picture 525 match or substantially match . In another
 decrease the strictness of the rules . In response , Similarity example, substantial similarity can be achieved when at least
 Comparison 125 may attempt to find fewer matching or a threshold number (i.e. 1 , 2 , 5 , 11 , 39 , etc. ) or percentage
 substantially matching Digital Pictures 525 or portions (i.e. 38 % , 63 % , 77 % , 84 % , 98 % , etc.) of regions of the
 thereof than in the previous attempt using stricter rules. If compared Digital Pictures 525 match or substantially match .
 the comparison still does not determine substantial similarity 25 Similarly, substantial similarity can be achieved when the
 of compared Knowledge Cells 800 , Similarity Comparison number or percentage of matching or substantially matching
 125 may further decrease ( i.e. down to a certain minimum regions of the compared Digital Pictures 525 exceeds a
 strictness or threshold , etc. ) the strictness by requiring fewer threshold number ( i.e. 1 , 2 , 5 , 11 , 39 , etc.) or a threshold
 Digital Pictures 525 or portions thereof to match or sub- percentage ( i.e. 48 % , 63 % , 77 % , 84 % , 98 % , etc. ). In a
 stantially match , thereby further increasing a chance of 30 further example, substantial similarity can be achieved when
 finding substantial similarity in compared Knowledge Cells all but a threshold number or percentage of regions of the
 800. In further aspects , an adjustment in strictness can be compared Digital Pictures 525 match or substantially match .
 done by Similarity Comparison 125 in response to deter- Such thresholds can be defined by a user, by VSADO system
 mining that multiple substantially similar Knowledge Cells administrator, or automatically by the system based on
 800 had been found . Similarity Comparison 125 can keep 35 experience, testing, inquiry, analysis , synthesis, and / or other
 adjusting the strictness of the rules until a best of the techniques, knowledge, or input. In further aspects , Simi
 substantially similar Knowledge Cells 800 is found . For larity Comparison 125 can utilize the type of regions for
 example , Similarity Comparison 125 may attempt to find a determining substantial similarity of Digital Pictures 525 .
 match or substantial match in a certain percentage (i.e. 70 % , For example, substantial similarity can be achieved when
 etc. ) of Digital Pictures 525 or portions thereof from the 40 matches or substantial matches are found with respect to
 compared Knowledge Cells 800. If the comparison deter- more substantive , larger, and / or other regions, thereby tol
 mines a number of substantially similar Knowledge Cells erating mismatches in less substantive, smaller, and / or other
 800 , Similarity Comparison 125 may decide to increase the regions. In further aspects , Similarity Comparison 125 can
 strictness of the rules to decrease the number of substantially utilize the importance (i.e. as indicated by importance index
 similar Knowledge Cells 800. In response , Similarity Com- 45 [later described ], etc. ) of regions for determining substantial
 parison 125 may attempt to find more matching or substan- similarity of Digital Pictures 525. For example , substantial
 tially matching Digital Pictures 525 or portions thereof in similarity can be achieved when matches or substantial
 addition to the earlier found Digital Pictures 525 or portions matches are found with respect to more important regions
 thereof to limit the number of substantially similar Knowl- such as the above described more substantive , larger, and / or
 edge Cells 800. If the comparison still provides more than 50 other regions, thereby tolerating mismatches in less impor
 one substantially similar Knowledge Cell 800 , Similarity tant regions such as less substantive, smaller, and/ or other
 Comparison 125 may further increase the strictness by regions. In further aspects , Similarity Comparison 125 can
 requiring additional Digital Pictures 525 or portions thereof omit some of the regions from the comparison in determin
 to match or substantially match , thereby further narrowing ing substantial similarity of Digital Pictures 525. In one
 the number of substantially similar Knowledge Cells 800 55 example, isolated regions can be omitted from comparison.
 until a best substantially similar Knowledge Cells 800 is In another example, less substantive or smaller regions can
 found.                                                            be omitted from comparison . In general, any region can be
    In some embodiments, in determining substantial simi- omitted from comparison. In further aspects , Similarity
 larity of individual Digital Pictures 525 ( i.e. Digital Pictures Comparison 125 can focus on certain regions of interest
 525 from the compared Knowledge Cells 800 , etc. ) , Simi- 60 from the compared Digital Pictures 525. For example ,
 larity Comparison 125 can compare one or more regions of substantial similarity can be achieved when matches or
 one Digital Picture 525 with one or more regions of another substantial matches are found with respect to regions com
 Digital Picture 525. A region may include a collection of prising persons or parts ( i.e. head , arm , leg , etc. ) thereof,
 pixels . In some aspects , a region may include detected or large objects, close objects, and / or other content of interest,
 recognized content of interest such as an object or person . 65 thereby tolerating mismatches in regions comprising the
 Such region may be detected using any features, function- background, insignificant content, and /or other content. In
 alities , and embodiments of Picture Recognizer 350. In other        further aspects , Similarity Comparison 125 can detect or
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 101 of 131 PageID #: 686


                                                     US 11,055,583 B1
                              107                                                                  108
 recognize persons or objects in the compared Digital Pic- pixels . Some of the steps or elements in a feature oriented
 tures 525 using regions . Any features , functionalities , and technique include pre -processing, feature extraction, detec
 embodiments of Picture Recognizer 350 can be used in such tion /segmentation , decision -making , and / or others, or a
 detection or recognition . Once a person or object is detected combination thereof, each of which may include its own
 in a Digital Picture 525 , Similarity Comparison 125 may 5 sub - steps or sub - elements depending on the application .
 attempt to detect the person or object in the compared Examples of features that can be used include lines , edges ,
 Digital Picture 525. In one example, substantial similarity ridges, corners , blobs , and / or others. Examples of feature
 can be achieved when the compared Digital Pictures 525 extraction techniques include Canny, Sobe , Kayyali , Harris
 comprise one or more same persons or objects. In another & Stephens et al , SUSAN , Level Curve Curvature , FAST,
 example concerning streams of Digital Pictures 525 , sub- 10 Laplacian of Gaussian , Difference of Gaussians , Determi
 stantial similarity can be achieved when the compared nant of Hessian, MSER , PCBR , Grey - level Blobs , and / or
 streams of Digital Pictures 525 comprise a detected person others. Once features of the compared Digital Pictures 525
 or object in at least a threshold number or percentage of their are known, Similarity Comparison 125 can compare the
 pictures.                                                            features to determine substantial similarity. In some aspects ,
   Similarity Comparison 125 can automatically adjust ( i.e. 15 total equivalence is found when all features of one Digital
 increase or decrease ) the strictness of the rules for deter- Picture 525 match all features of another Digital Picture 525 .
 mining substantial similarity of Digital Pictures 525 using In other aspects , if total equivalence is not found, Similarity
 regions . In some aspects , such adjustment in strictness can Comparison 125 may attempt to determine substantial simi
 be done by Similarity Comparison 125 in response to larity of compared Digital Pictures 525. In one example,
 determining   that total equivalence of compared Digital 20 substantial similarity can be achieved when most of the
 Pictures 525 had not been found. Similarity Comparison 125 features of the compared Digital Picture 525 match or
 can keep adjusting the strictness rules until a substantial substantially match . In another example, substantial simi
 similarity is found . All the rules or settings of substantial larity can be achieved when at least a threshold number (i.e.
 similarity can be set, reset, or adjusted by Similarity Com- 3 , 22 , 47 , 93 , 128 , 431 , etc. ) or percentage ( i.e. 49 % , 53 % ,
 parison 125 in response to another strictness level determi- 25 68 % , 72 % , 95 % , etc. ) of features of the compared Digital
 nation . For example, Similarity Comparison 125 may Pictures 525 match or substantially match . Similarly, sub
 attempt to find a match or substantial match in a certain stantial similarity can be achieved when the number or
 percentage ( i.e. 74 % , etc. ) of regions from the compared percentage of matching or substantially matching features of
 Digital Pictures 525. If the comparison does not determine the compared Digital Pictures 525 exceeds a threshold
 substantial similarity of compared Digital Pictures 525 , 30 number ( i.e. 3 , 22 , 47 , 93 , 128 , 431 , etc. ) or a threshold
 Similarity Comparison 125 may decide to decrease the percentage ( i.e. 49 % , 53 % , 68 % , 72 % , 95 % , etc. ). In a
 strictness of the rules. In response , Similarity Comparison further example, substantial similarity can be achieved when
 125 may attempt to find fewer matching or substantially all but a threshold number or percentage of features of the
 matching regions than in the previous attempt using stricter compared Digital Pictures 525 match or substantially match .
 rules. If the comparison still does not determine substantial 35 Such thresholds can be defined by a user, by VSADO system
 similarity of compared Digital Pictures 525 , Similarity administrator, or automatically by the system based on
 Comparison 125 may further decrease the strictness ( i.e. experience, testing , inquiry, analysis, synthesis, and / or other
 down to a certain minimum strictness or threshold , etc. ) by techniques, knowledge, or input. In further aspects , Simi
 requiring fewer regions to match or substantially match , larity Comparison 125 can utilize the type of features for
 thereby   further increasing a chance of finding substantial 40 determining substantial similarity of Digital Pictures 525. In
 similarity in compared Digital Pictures 525 .                      one example, substantial similarity can be achieved when
    Where a reference to a region is used herein it should be matches or substantial matches are found with respect to
 understood that a portion of a region or a collection of edges, thereby tolerating mismatches in blobs . In another
 regions can be used instead of or in addition to the region . example , substantial similarity can be achieved when
 In one example, instead of or in addition to regions , indi- 45 matches or substantial matches are found with respect to
 vidual pixels and / or features that constitute a region can be more substantive , larger, and / or other features, thereby tol
 compared . In another example , instead of or in addition to erating mismatches in less substantive, smaller, and / or other
 regions , collections of regions can be compared. As such , features. In further aspects, Similarity Comparison 125 can
 any operations, rules, logic , and / or functions operating on utilize the importance (i.e. as indicated by importance index
 regions similarly apply to any portion of a region and / or any 50 [later described ], etc.) of features for determining substantial
 collection of regions. In general, whole regions, portions of similarity of Digital Pictures 525. For example , substantial
 a region , and / or collections of regions, including any opera- similarity can be achieved when matches or substantial
 tions thereon , can be combined to arrive at desired results . matches are found with respect to more important features
 Some or all of the above - described rules, logic , and / or such as the above described more substantive, larger, and / or
 techniques can be utilized alone or in combination with each 55 other features , thereby tolerating mismatches in less impor
 other or with other rules, logic , and / or techniques. One of tant features such as less substantive, smaller, and / or other
 ordinary skill in art will recognize that other techniques features. In further aspects , Similarity Comparison 125 can
 known in art for determining similarity of digital pictures, omit some of the features from the comparison in determin
 streams of digital pictures, and /or other data that would be ing substantial similarity of Digital Pictures 525. In one
 too voluminous to describe are within the scope of this 60 example , isolated features can be omitted from comparison.
 disclosure.                                                        In another example, less substantive or smaller features can
    In some embodiments, in determining substantial simi- be omitted from comparison. In general, any feature can be
 larity of individual Digital Pictures 525 ( i.e. Digital Pictures omitted from comparison . In further aspects , Similarity
 525 from the compared Knowledge Cells 800 , etc. ) , Simi- Comparison 125 can focus on features in certain regions of
 larity Comparison 125 can compare one or more features of 65 interest of the compared Digital Pictures 525. For example,
 one Digital Picture 525 with one or more features of another substantial similarity can be achieved when matches or
 Digital Picture 525. A feature may include a collection of substantial matches are found with respect to features in
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 102 of 131 PageID #: 687
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 103 of 131 PageID #: 688
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 104 of 131 PageID #: 689
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 105 of 131 PageID #: 690
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 106 of 131 PageID #: 691
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 107 of 131 PageID #: 692
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 108 of 131 PageID #: 693
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 109 of 131 PageID #: 694
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 110 of 131 PageID #: 695
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 111 of 131 PageID #: 696
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 112 of 131 PageID #: 697
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 113 of 131 PageID #: 698
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 114 of 131 PageID #: 699
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 115 of 131 PageID #: 700
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 116 of 131 PageID #: 701
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 117 of 131 PageID #: 702
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 118 of 131 PageID #: 703
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 119 of 131 PageID #: 704
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 120 of 131 PageID #: 705
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 121 of 131 PageID #: 706
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 122 of 131 PageID #: 707
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 123 of 131 PageID #: 708
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 124 of 131 PageID #: 709
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 125 of 131 PageID #: 710
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 126 of 131 PageID #: 711
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 127 of 131 PageID #: 712
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 128 of 131 PageID #: 713
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 129 of 131 PageID #: 714
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 130 of 131 PageID #: 715
Case 1:22-cv-01466-MN Document 1-5 Filed 11/07/22 Page 131 of 131 PageID #: 716
